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                      Deposition Transcripts
         Cited in Supplemental Complaint, March 19, 2021


                   Transcript 3 – James Manning
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·1· · · · · · · · · ·- JAMES MANNING -

·2· ·UNITED STATES DISTRICT COURT

·3· ·NORTHERN DISTRICT OF CALIFORNIA

·4· ·-------------------------------- X

·5· ·THERESA SWEET, et al., on behalf

·6· ·of themselves and all others

·7· ·similarly situated,

·8· · · · · · · · Plaintiffs,

·9· ·vs.

10· ·ELISABETH DEVOS, in her official

11· ·capacity as Secretary of the

12· ·United States Department of

13· ·Education, et al.

14· · · · · · · · Defendants.

15· ·--------------------------------- X

16

17· ·DATE:· December 17, 2020

18· ·TIME:· 9:36 a.m.

19

20· · · · · · · · VIDEOTAPED VIDEOCONFERENCE DEPOSITION

21· ·OF JAMES MANNING, pursuant to Agreement, before

22· ·Hope Menaker, a Shorthand Reporter and Notary

23· ·Public of the State of New York.

24

25


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·2· ·A P P E A R A N C E S                                      ·2· · · · · · · · IT IS HEREBY STIPULATED AND AGREED by

·3                                                              ·3· ·and among the attorneys for the respective parties

·4· ·LEGAL SERVICES CENTER OF HARVARD LAW SCHOOL                ·4· ·hereto, that the sealing and filing of the within

·5· ·Attorneys for the Plaintiffs                               ·5· ·deposition be waived.

·6· · · · 122 Boylston Street                                   ·6

·7· · · · Jamaica Plain, Massachusetts 02130                    ·7· · · · · · · · IT IS FURTHER STIPULATED AND AGREED

·8· ·BY:· TOBY R. MERRILL, ESQ. (Via Zoom)                      ·8· ·that all objections, except as to the form, are

·9· · · · EILEEN CONNOR, ESQ. (Via Zoom)                        ·9· ·reserved to the time of trial.

10· · · · MARGARET O'GRADY, ESQ. (Via Zoom)                     10

11· · · · (617) 390-3003                                        11· · · · · · · · IT IS FURTHER STIPULATED AND AGREED

12· · · · tmerrill@law.harvard.edu                              12· ·that the within examination and any corrections

13· · · · econnor@law.harvard.edu                               13· ·thereto may be signed before any Notary Public

14· · · · mogrady@law.harvard.edu                               14· ·with the same force and effect as if signed and

15                                                              15· ·sworn to before this Court.

16· · · · · · · · - and -                                       16

17                                                              17

18· ·HOUSING & ECONOMIC RIGHTS ADVOCATES                        18

19· · · · 3950 Broadway, Suite 200                              19

20· · · · Oakland, California 94611                             20

21· ·BY:· JOSEPH JARAMILLO, ESQ. (Via Zoom)                     21

22· · · · CLAIRE TORCHIANA, ESQ. (Via Zoom)                     22

23· · · · (510)271-8443                                         23

24· · · · jjaramillo@heraca.org.                                24· · · · · · · · · · · · ·-o0o-

25· · · · ctorchiana@heraca.org.                                25



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·1· · · · · · · · · ·- JAMES MANNING -                          ·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -
·2· ·A P P E A R A N C E S                                      ·2·   ·   ·   ·   · · · ·THE VIDEOGRAPHER:· We are now on the
·3                                                              ·3·   ·   ·   ·   record.· Participants should be aware that
·4· ·U.S. DEPARTMENT OF JUSTICE                                 ·4·   ·   ·   ·   this proceeding is being recorded and that as
·5· ·Attorneys for Defendants                                   ·5·   ·   ·   ·   such, all conversations held will be recorded
·6· · · · Civil Division, Federal Programs Branch               ·6·   ·   ·   ·   unless there is a request and agreement to go
·7· · · · 1100 L Street, Northeast                              ·7·   ·   ·   ·   off the record.· Private conversations and/or
·8· · · · Washington, D.C.· 20530                               ·8·   ·   ·   ·   attorney-client interactions should be held
·9· ·BY:· R. CHARLIE MERRITT, ESQ. (Via Zoom)                   ·9·   ·   ·   ·   outside the presence of the remote interface.
10· · · · KEVIN P. HANCOCK, ESQ. (Via Zoom)                     10·   ·   ·   ·   · · · ·This is Media Unit 1 of the
11· · · · (202) 307-0342                                        11·   ·   ·   ·   video-recorded deposition of James Manning
12· · · · robert.c.merritt@usdoj.gov                            12·   ·   ·   ·   being taken by counsel.
13· · · · kevin.p.hancock@usdoj.gov                             13·   ·   ·   ·   · · · ·Today is Thursday, December 17, 2020.
14                                                              14·   ·   ·   ·   The time now is 14:36 in the UTC time code.
15                                                              15·   ·   ·   ·   We're here in the matter of Theresa Sweet
16· ·ALSO PRESENT:· (Via Zoom)                                  16·   ·   ·   ·   versus Elisabeth DeVos.
17                                                              17·   ·   ·   ·   · · · ·My name is Joe Raguso, remote video
18· · · · JOSEPH RAGUSO - Videographer                          18·   ·   ·   ·   technician on behalf of U.S. Legal Support
19                                                              19·   ·   ·   ·   located at 90 Broad Street, New York, New
20                                                              20·   ·   ·   ·   York and I'm not related to any party in this
21                                                              21·   ·   ·   ·   action nor am I financially interested in the
22                                                              22·   ·   ·   ·   outcome.
23                                                              23·   ·   ·   ·   · · · ·At this time will the reporter, Hope
24                                                              24·   ·   ·   ·   Menaker, on behalf of U.S. Legal Support
25                                                              25·   ·   ·   ·   please enter the statement for remote


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·2·   ·   ·   ·   proceedings into the record.                    ·2·   ·this case.
·3·   ·   ·   ·   · · · ·THE REPORTER:· The attorneys             ·3·   · · · · · · ·I wanted to go over a few of the
·4·   ·   ·   ·   participating in this deposition acknowledge    ·4·   ·ground rules for the deposition, particularly
·5·   ·   ·   ·   that I am not physically present in the         ·5·   ·since we're doing this over Zoom.· So, first of
·6·   ·   ·   ·   deposition room and that I will be reporting    ·6·   ·all, I wanted to confirm there's no one else in
·7·   ·   ·   ·   this deposition remotely.· They further         ·7·   ·the room with you at this point.
·8·   ·   ·   ·   acknowledge that in lieu of an oath             ·8·   · · · A.· · ·There's no one else in the room with
·9·   ·   ·   ·   administered in person, the witness will        ·9·   ·me.
10·   ·   ·   ·   verbally declare his testimony in this matter   10·   · · · Q.· · ·And can I have your agreement not to
11·   ·   ·   ·   is under penalty of perjury.· The parties and   11·   ·communicate with anyone else while we're on the
12·   ·   ·   ·   their counsel consent to this arrangement and   12·   ·record in the deposition through electronic device
13·   ·   ·   ·   waive any objections to this manner of          13·   ·or otherwise?
14·   ·   ·   ·   reporting.· Please indicate your agreement by   14·   · · · A.· · ·Yes.· I'm assuming that means if I
15·   ·   ·   ·   stating your name and your agreement on the     15·   ·need to go off to ask counsel a question, that's
16·   ·   ·   ·   record.                                         16·   ·permissible; isn't it?
17·   ·   ·   ·   · · · ·MR. JARAMILLO:· This is Joseph           17·   · · · Q.· · ·Yes.· Off -- off the record
18·   ·   ·   ·   Jaramillo for plaintiffs and I agree.           18·   ·when -- when we're not doing questions and
19·   ·   ·   ·   · · · ·MR. MERRITT:· This is Charlie            19·   ·answers, you can speak with your counsel.
20·   ·   ·   ·   Merritt, the defense agrees.                    20·   · · · A.· · ·Okay.
21·   ·   ·   ·   · · · ·THE VIDEOGRAPHER:· We're now off the     21·   · · · Q.· · ·And can you identify any electronic
22·   ·   ·   ·   record.· The time is 14:38 UTC.                 22·   ·communication devices in the room such as
23·   ·   ·   ·   · · · ·(Whereupon a brief recess was taken      23·   ·telephones or things of that nature, iPads?
24·   ·   ·   ·   at this time.)                                  24·   · · · A.· · ·Yes.· I have -- well, I'm working
25·   ·   ·   ·   · · · ·THE REPORTER:· Will the witness          25·   ·from a small laptop and I have two telephones,

                                                        Page 7                                                      Page 9
·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·   ·   ·   kindly present his government-issued            ·2·   ·electronic telephones in the room.
·3·   ·   ·   ·   identification by holding it up to the camera   ·3·   · · · Q.· · ·Can you -- can I have your agreement
·4·   ·   ·   ·   for verification.                               ·4·   ·to put those out of reach so that you're not using
·5·   ·   ·   ·   · · · ·(Verified.)                              ·5·   ·those during the deposition while we're on the
·6·   ·   ·   ·   · · · ·THE VIDEOGRAPHER:· We are now on the     ·6·   ·record?
·7·   ·   ·   ·   record, the time is 14:38 UTC.                  ·7·   · · · A.· · ·Sure.· Let me put them out of reach.
·8·   ·   ·   ·   · · · ·JAMES MANNING, called as a witness,      ·8·   · · · · · · ·They're well out of reach.
·9·   ·   ·   ·   having been duly sworn on December 17, 2020,    ·9·   · · · Q.· · ·Thank you, Mr. Manning.
10·   ·   ·   ·   by a Notary Public, was examined and            10·   · · · A.· · ·Sure.
11·   ·   ·   ·   testified as follows:                           11·   · · · Q.· · ·Even though we're sitting here in our
12·   ·   ·   ·   · · · · · 2001 Pennsylvania Avenue NW           12·   ·respective homes or offices, I want to emphasize
13·   ·   ·   ·   · · · · · Washington D.C. 20006                 13·   ·that the --· the oath that you've taken carries
14·   ·   ·   ·   · · · · · · ·(Business)                         14·   ·the same weight as if given in a court of law.· Do
15                                                                15·   ·you understand that?
16·   ·EXAMINATION BY MR. JARAMILLO:                              16·   · · · A.· · ·I do.
17·   · · · Q.· · ·Good morning, Mr. Manning.· My name            17·   · · · Q.· · ·And the court reporter, Ms. Menaker,
18·   ·is Joseph Jaramillo and I'm one of the attorneys           18·   ·is taking down everything we say and it will be
19·   ·for the plaintiffs in this case.                           19·   ·produced in a transcript form later and serve as
20·   · · · · · · ·Can you please state your name for             20·   ·evidence in this the case.· For that reason, it's
21·   ·the record?                                                21·   ·important to give audible answers such as yes or
22·   · · · A.· · ·James Manning.                                 22·   ·no, rather than nods of the head or uh-huh or
23·   · · · Q.· · ·Mr. Manning, thank you for making              23·   ·uh-uh.· Do you understand that?
24·   ·yourself available today and we appreciate you             24·   · · · A.· · ·Yes.
25·   ·voluntarily appearing to serve as a witness in             25·   · · · Q.· · ·And it's also important that we don't


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·talk over each other so that Ms. Menaker can get a   ·2·   ·know.
·3·   ·clear record of the questions and answers.· I will   ·3·   · · · Q.· · ·Okay.· Can you open that package,
·4·   ·do my best not to talk over you and I would ask      ·4·   ·please?
·5·   ·that you could do your best not to talk over me.     ·5·   · · · A.· · ·Here it is.· Here are the documents.
·6·   ·Is that acceptable?                                  ·6·   · · · Q.· · ·Great.· Thank you, Mr. Manning.
·7·   · · · A.· · ·Yes.                                     ·7·   · · · · · · ·Now, there should be a set of tabbed
·8·   · · · Q.· · ·Are you represented by legal counsel     ·8·   ·documents that are tabbed with Numbers 1 through
·9·   ·today in this deposition?                            ·9·   ·22.· Is that what you see before you?
10·   · · · A.· · ·Charlie Merritt, the Department of       10·   · · · A.· · ·I see Tabs 1 through 22.
11·   ·Justice attorneys that are handling this.            11·   · · · Q.· · ·So during the course of the
12·   · · · Q.· · ·And they represent you in this           12·   ·deposition, I'm going to ask you to look at some
13·   ·deposition, correct?                                 13·   ·of these documents and I will refer to them by tab
14·   · · · A.· · ·My understanding.                        14·   ·numbers.· Do you understand that?
15·   · · · Q.· · ·Okay.· Now, from time to time Mr.        15·   · · · A.· · ·Yes, and -- yes.
16·   ·Merritt may object to my questions during the        16·   · · · Q.· · ·I'm going to have you look at the
17·   ·deposition.· I just want to explain that unless he   17·   ·document that is marked as Tab 1 and in the
18·   ·instructs you not to answer the question, even       18·   ·electronic files there should simply appear the
19·   ·though he has objected you are still under an        19·   ·Number 1 on the PDF file and it would say "Revised
20·   ·obligation to answer my question.· Do you            20·   ·Notice of Deposition of James Manning."· Do you
21·   ·understand that?                                     21·   ·see that document?
22·   · · · A.· · ·Can you repeat that again so it's        22·   · · · A.· · ·I do.
23·   ·clear.                                               23·   · · · Q.· · ·And have you seen this document
24·   · · · · · · ·MR. JARAMILLO:· Ms. Menaker, can you     24·   ·before?
25·   · · · read back my statement.                         25·   · · · A.· · ·I don't recall seeing the revised

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·(The question requested was read back    ·2·   ·notice.
·3·   · · · by the reporter.)                               ·3·   · · · · · · ·MS. BERMAN:· Sorry.· Joseph, is there
·4·   · · · A.· · ·Yes.                                     ·4·   · · · a password for the electronic documents?
·5·   · · · Q.· · ·In -- in other words, it may seem        ·5·   · · · · · · ·MR. JARAMILLO:· Marcia, I'm sorry,
·6·   ·awkward because I'm going to ask you a question      ·6·   · · · there is.· I just forwarded it to you.
·7·   ·and Mr. Merritt may object, but the next step        ·7·   · · · · · · ·MS. BERMAN:· Okay.· Okay, great.
·8·   ·would be for you to still answer the question        ·8·   · · · Thanks.
·9·   ·unless he instructs you not to answer.· Do you       ·9·   · · · Q.· · ·So do you recall seeing a Notice of
10·   ·understand that?                                     10·   ·Deposition of James Manning at some point?
11·   · · · A.· · ·Yes.                                     11·   · · · A.· · ·Well, no, I guess I don't recall.
12·   · · · Q.· · ·Now, this is not an endurance            12·   · · · Q.· · ·Did you ever receive a -- I'm sorry,
13·   ·contest.· We can take breaks whenever we want.       13·   ·did I cut you off?
14·   ·You can take a break whenever you want.· My only     14·   · · · A.· · ·This is just a declaration I made
15·   ·request is that if I have a question pending, that   15·   ·previously.
16·   ·you answer that question before we take the break.   16·   · · · Q.· · ·Okay.· So you do not recall seeing a
17·   ·Do you understand that?                              17·   ·notice of your deposition that's dated the -- the
18·   · · · A.· · ·Yes.                                     18·   ·time -- or the time and the date of the
19·   · · · Q.· · ·Is there any reason why you can't        19·   ·deposition?
20·   ·give truthful testimony today?                       20·   · · · A.· · ·I don't recall that.
21·   · · · A.· · ·No.                                      21·   · · · Q.· · ·And you are voluntarily appearing
22·   · · · Q.· · ·Now, did you receive a package with      22·   ·here today for this deposition, correct?
23·   ·the -- the documents that we may look at today?      23·   · · · A.· · ·Yes.
24·   · · · A.· · ·I have a package.· I haven't opened      24·   · · · Q.· · ·Have you ever had your deposition
25·   ·it so I assume it's the documents, but I don't       25·   ·taken before?


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·2·   · · · A.· · ·No.                                      ·2·   · · · A.· · ·1977, 1978.
·3·   · · · Q.· · ·Have you ever given testimony in         ·3·   · · · Q.· · ·And -- and you were a witness in this
·4·   ·court before?                                        ·4·   ·case?
·5·   · · · A.· · ·Yes.                                     ·5·   · · · A.· · ·I was the complainant and I
·6·   · · · Q.· · ·How many times?                          ·6·   ·testified.
·7·   · · · A.· · ·Multiple times years ago.                ·7·   · · · Q.· · ·Okay, and what court was that in?
·8·   · · · Q.· · ·When was the last time that you          ·8·   · · · A.· · ·West Roxbury District Court, Boston,
·9·   ·recall?                                              ·9·   ·Massachusetts.
10·   · · · A.· · ·About 1983.                              10·   · · · Q.· · ·Any other cases that you can recall
11·   · · · Q.· · ·Do you recall what court the trial       11·   ·giving testimony in?
12·   ·took place in?                                       12·   · · · A.· · ·No.
13·   · · · A.· · ·No.                                      13·   · · · Q.· · ·What did you do to prepare for
14·   · · · Q.· · ·Do you recall the state in which the     14·   ·today's deposition?
15·   ·trial took place?                                    15·   · · · A.· · ·I -- I talked to counsel and I
16·   · · · A.· · ·District of Columbia.                    16·   ·revisited my declaration and declarations made by
17·   · · · Q.· · ·What was your role in that case, if      17·   ·Colleen Nevin and Diane Jones.
18·   ·any?                                                 18·   · · · Q.· · ·How many times did you meet with
19·   · · · A.· · ·I'm trying to -- I'm trying to recall    19·   ·counsel?
20·   ·the, the -- the particulars.· I can't recall if it   20·   · · · A.· · ·A few, like three.· I'm -- I'm not
21·   ·was a trial or not.· I, at the time, was serving     21·   ·sure how many.
22·   ·as special agent at the security service at the      22·   · · · Q.· · ·And what are the dates or approximate
23·   ·State Department.· There was an incident at the      23·   ·dates that you met with them?
24·   ·State Department that went to court and I went to    24·   · · · A.· · ·Over the last few days.
25·   ·testify on it; and I don't remember beyond that      25·   · · · Q.· · ·About how many hours did you spend

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·because it was a one-time thing.                     ·2·   ·meeting with them?
·3·   · · · Q.· · ·And you were -- so you were a witness    ·3·   · · · A.· · ·Oh, I don't recall specifically, but
·4·   ·in that case and you gave testimony?                 ·4·   ·maybe about four.
·5·   · · · A.· · ·Yes.                                     ·5·   · · · Q.· · ·Four hours total or four hours in
·6·   · · · Q.· · ·Do you recall give -- I'm sorry, go      ·6·   ·each meeting?
·7·   ·ahead.                                               ·7·   · · · A.· · ·Total.· Maybe a little more than four
·8·   · · · A.· · ·It wasn't '83.· It was -- it was         ·8·   ·total.· No four-hour meeting.
·9·   ·probably -- '81, '82 probably.                       ·9·   · · · Q.· · ·And how did you meet with them; was
10·   · · · Q.· · ·Do you recall giving testimony in any    10·   ·this in person or via Zoom or by telephone?
11·   ·other court cases before that?                       11·   · · · · · · ·I'm sorry, can you repeat your
12·   · · · A.· · ·Yes.· I testified regularly in           12·   ·answer.
13·   ·(unintelligible) District Court in Boston,           13·   · · · A.· · ·I was, you know, just using this same
14·   ·Massachusetts between 1975 and 1978 when I was a     14·   ·type of system, the Zoom system.
15·   ·university police officer at Northeastern            15·   · · · Q.· · ·And who were the counsel that you met
16·   ·University.                                          16·   ·with over Zoom?
17·   · · · Q.· · ·And before those cases do you recall     17·   · · · A.· · ·Charlie Merritt, Marcia -- I forget
18·   ·giving testimony in any court cases, any other       18·   ·Marcia's last name.· Marcia.· I -- I don't recall
19·   ·court cases?                                         19·   ·Marcia's last name.· Call into Charlie.· And Kevin
20·   · · · A.· · ·The only other court case that I         20·   ·-- and I don't recall his last name either.· He
21·   ·would have testified in was a civil action where I   21·   ·was on the call with Charlie.
22·   ·had a two-family house in Boston and a tenant that   22·   · · · Q.· · ·Anybody else?
23·   ·didn't want to leave or wasn't paying rent to me.    23·   · · · A.· · ·Not that I recall, but --
24·   ·I wanted to remove him from the space.               24·   · · · Q.· · ·And you said you reviewed your
25·   · · · Q.· · ·When was that case, approximately?       25·   ·declaration?


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·2·   · · · A.· · ·Yes.                                     ·2·   · · · A.· · ·Yes.
·3·   · · · Q.· · ·When -- when did you give -- when did    ·3·   · · · Q.· · ·Were you involved in discussions with
·4·   ·you -- did you sign that declaration?                ·4·   ·counsel about that case during your tenure at the
·5·   · · · A.· · ·Yes.                                     ·5·   ·Department of Education?
·6·   · · · Q.· · ·When did you sign it?                    ·6·   · · · A.· · ·I expect that I had communications
·7·   · · · A.· · ·I don't recall.· I have it here, if      ·7·   ·with counsel about the issue.· I don't recall any
·8·   ·you'd like me to pull it out and look at it.         ·8·   ·of them specifically.
·9·   · · · Q.· · ·Sure.                                    ·9·   · · · Q.· · ·Were you involved, in any way, with
10·   · · · A.· · ·I signed it on April 12, 2018.           10·   ·the preparation or production of monthly reports
11·   · · · Q.· · ·And on the front page of that -- can     11·   ·or any periodic reports associated with that case?
12·   ·you just hold up the front page of the declaration   12·   · · · A.· · ·I don't recall what the reports
13·   ·to your camera.                                      13·   ·associated with the case.
14·   · · · A.· · ·Of course.· Can you see it?              14·   · · · Q.· · ·Did you follow any of the legal
15·   · · · Q.· · ·Yeah.· If you could move it              15·   ·developments in that case such as Court Orders?
16·   ·back -- actually, just hold it right there.· Thank   16·   · · · A.· · ·Not specifically.
17·   ·you and can you move it back a bit.                  17·   · · · Q.· · ·We may have further discussions.· In
18·   · · · · · · ·And how many pages -- you can remove     18·   ·fact, we will have further discussions about that
19·   ·it from the camera now.· How many pages is that      19·   ·case later on as it impacts this case, but let's
20·   ·declaration?                                         20·   ·move on to discuss about any other documents -- if
21·   · · · A.· · ·Seven.· There's an exhibit attached      21·   ·you could let me know about any other documents
22·   ·to it beyond that.· I said in addition to the        22·   ·that you've reviewed in preparation for today's
23·   ·declaration, there is an exhibit attached to it.     23·   ·deposition.
24·   · · · Q.· · ·And what is that exhibit?                24·   · · · A.· · ·As I said, Diane Jones' declaration I
25·   · · · A.· · ·It looks like it's a -- a                25·   ·reviewed and Colleen Nevin's declaration I

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·press -- press release looks like entitled           ·2·   ·reviewed and the attachments on mine.· I don't
·3·   ·"Improved Borrower Defense Discharge Process Will    ·3·   ·recall if there were attachments on the other
·4·   ·Aid Defrauded Borrowers, Protect Taxpayers."· So     ·4·   ·documents, but whatever was attached to it I
·5·   ·and this press release was December 20, 2017.        ·5·   ·looked at.
·6·   · · · Q.· · ·Did you have any involvement in the      ·6·   · · · Q.· · ·Any other documents besides those
·7·   ·creation of that press release?                      ·7·   ·you've listed?
·8·   · · · A.· · ·No.· It's from the Press Office of       ·8·   · · · A.· · ·Well, I'm just looking at -- there
·9·   ·the Department of Education.                         ·9·   ·was an Exhibit 2 on my declaration which I also
10·   · · · Q.· · ·And what' the title of the press         10·   ·reviewed and it's remarks that I made prior to one
11·   ·release?                                             11·   ·of the negotiated rulemaking sessions.
12·   · · · A.· · ·"Improved Borrower Defense Discharge     12·   · · · Q.· · ·And what was the date of that
13·   ·Process Will Aid Defrauded Borrowers, Protect        13·   ·rulemaking session?
14·   ·Taxpayers."                                          14·   · · · A.· · ·Well, looking at the remarks and -- I
15·   · · · Q.· · ·Did you -- did you, yourself, write      15·   ·don't see the date on it, but it was shortly after
16·   ·the declaration or did someone draft it for you?     16·   ·the 1st of the year.
17·   · · · A.· · ·It was drafted for me.                   17·   · · · Q.· · ·The 1st of the year 2018?
18·   · · · Q.· · ·And who drafted it?                      18·   · · · A.· · ·Yes.
19·   · · · A.· · ·I don't know.· Someone in the General    19·   · · · Q.· · ·And is this a transcript of your
20·   ·Counsel's Office, I believe.                         20·   ·remarks?
21·   · · · Q.· · ·And you reviewed it and signed it        21·   · · · A.· · ·Yes.
22·   ·attesting to its accuracy?                           22·   · · · Q.· · ·And is -- why don't I just -- well,
23·   · · · A.· · ·Yes.                                     23·   ·let's do this.· How many pages is that transcript?
24·   · · · Q.· · ·And this was in the Calvillo             24·   · · · A.· · ·Six.
25·   ·Manriquez versus Secretary DeVos' case?              25·   · · · Q.· · ·And is that transcript an accurate


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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·reflection of the remarks you made in January,      ·2·   · · · A.· · ·No.
·3·   ·2018 of the negotiated rulemaking -- negotiate --   ·3·   · · · Q.· · ·Did you speak with her about this
·4·   ·wait, Negotiated Rulemaking Committee?              ·4·   ·case?
·5·   · · · A.· · ·Yes.                                    ·5·   · · · A.· · ·No.
·6·   · · · Q.· · ·Do any of these documents refresh       ·6·   · · · Q.· · ·Did you speak with her about the
·7·   ·your recollection of the facts?                     ·7·   ·Calvillo Manriquez case?
·8·   · · · A.· · ·I'm -- I'm sure they did, but I         ·8·   · · · A.· · ·No.
·9·   ·couldn't say specifically what at this moment.      ·9·   · · · Q.· · ·Did you speak with her about borrower
10·   · · · Q.· · ·Other than meetings with your counsel   10·   ·defense?
11·   ·over Zoom-type platform, did you speak with         11·   · · · A.· · ·No.
12·   ·anybody else about your deposition?                 12·   · · · Q.· · ·And you didn't speak with anybody
13·   · · · A.· · ·No.                                     13·   ·else about this case that was at that reception?
14·   · · · Q.· · ·You didn't speak with anybody           14·   · · · A.· · ·Nobody else.
15·   ·currently at the Department of Education other      15·   · · · Q.· · ·Besides the -- the unidentified woman
16·   ·than counsel, legal counsel, about your             16·   ·that you mentioned?
17·   ·deposition?                                         17·   · · · A.· · ·Yes.
18·   · · · A.· · ·I didn't speak to anybody about the     18·   · · · Q.· · ·Okay.· Did you review any of the
19·   ·deposition.· I had somebody approach me at a        19·   ·deposition transcripts in this case?
20·   ·reception who said they heard I was going to be     20·   · · · A.· · ·No.
21·   ·doing a deposition.                                 21·   · · · Q.· · ·Okay.
22·   · · · Q.· · ·And who was that?                       22·   · · · A.· · ·I mean, people that have since
23·   · · · A.· · ·Someone who knew me, but I -- I         23·   ·been -- been deposed previously up to now, is that
24·   ·didn't know, a young woman.· I think she was in     24·   ·what you're saying?
25·   ·the General Counsel's Office, actually.· I don't    25·   · · · Q.· · ·Yes.· There are -- as you may be

                                                 Page 23                                                    Page 25
·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·know her name.                                      ·2·   ·aware, there are people who have been deposed
·3·   · · · Q.· · ·Okay.                                   ·3·   ·previously in this case.
·4·   · · · A.· · ·There was no conversation beyond        ·4·   · · · A.· · ·No, I have not read any of those
·5·   ·that.                                               ·5·   ·depositions.
·6·   · · · Q.· · ·I'm sorry?                              ·6·   · · · Q.· · ·And you -- you did not talk to
·7·   · · · A.· · ·I said there was no conversation        ·7·   ·Colleen Nevin about your deposition today?
·8·   ·beyond that.                                        ·8·   · · · A.· · ·No, I did not.
·9·   · · · Q.· · ·When was this reception?                ·9·   · · · Q.· · ·You didn't talk to Diane Auer Jones?
10·   · · · A.· · ·The day before yesterday.               10·   · · · A.· · ·I did not.
11·   · · · Q.· · ·Where did it take place?                11·   · · · Q.· · ·You did not talk to Mark Brown about
12·   · · · A.· · ·In the Barnard Auditorium at the U.S.   12·   ·it?
13·   ·Department of Education.                            13·   · · · A.· · ·No, I did not.
14·   · · · Q.· · ·How many people were there?             14·   · · · Q.· · ·Mr. Manning, we're going to be
15·   · · · A.· · ·Approximately 50.                       15·   ·discussing a lot, as -- as you may imagine, the
16·   · · · Q.· · ·And what was the occasion for the       16·   ·borrower defense to Repayment Discharges of
17·   ·reception?                                          17·   ·federal student loans today.
18·   · · · A.· · ·A holiday reception at the end of       18·   · · · A.· · ·Yes.
19·   ·an administration.                                  19·   · · · Q.· · ·I will refer to those in the
20·   · · · Q.· · ·Was Secretary DeVos there?              20·   ·shorthand as just borrower defense or sometimes
21·   · · · A.· · ·She stopped by, yes.                    21·   ·even BD.· Will that make sense to you?
22·   · · · Q.· · ·Did you speak with her?                 22·   · · · A.· · ·Yeah, BDTR would make sense to me to.
23·   · · · A.· · ·I did.                                  23·   · · · Q.· · ·BDTR meaning Borrower Defense to
24·   · · · Q.· · ·Did you speak with her about your       24·   ·Repayment?
25·   ·deposition?                                         25·   · · · A.· · ·Yes.


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·1·   · · · · · · · · ·- JAMES MANNING -                      ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Mr. Manning, do you have a LinkedIn        ·2·   · · · the Revised Notice of Deposition of James
·3·   ·profile?                                               ·3·   · · · Manning, and I would like to now mark the
·4·   · · · A.· · ·I do.                                      ·4·   · · · second tab in the PDF files for Mr. Manning
·5·   · · · Q.· · ·And did you create that profile?           ·5·   · · · as Exhibit 32.
·6·   · · · A.· · ·Yes.                                       ·6·   · · · · · · ·(Whereupon, Exhibit 31 was marked at
·7·   · · · Q.· · ·Did you, yourself, enter the               ·7·   · · · this time.)
·8·   ·information in that profile?                           ·8·   · · · · · · ·(Whereupon, Exhibit 32 was marked for
·9·   · · · A.· · ·Nobody else that I'm aware of put          ·9·   · · · identification.)
10·   ·anything on my profile.                                10·   · · · Q.· · ·Mr. Manning, have you had a chance to
11·   · · · Q.· · ·Okay.· I'll just represent to you          11·   ·look at the document that is Tab 2 in your
12·   ·that I -- I went on LinkedIn and I looked at your      12·   ·package?
13·   ·profile and there's a feature on LinkedIn to           13·   · · · A.· · ·Well, I -- I started to, but I went
14·   ·generate the profile in a resume-type format and I     14·   ·back because I had seen the Notice, this -- I was
15·   ·did that so that we could go over your career          15·   ·just looking for the first time at the actual
16·   ·background and experience at the Department of         16·   ·Notice of Deposition.
17·   ·Education today as sort of a guidepost; and so I       17·   · · · Q.· · ·Okay.· So, just for clarity, you were
18·   ·would like to have you turn to Tab 2 in your stack     18·   ·looking at a document outside of the packet that
19·   ·of documents.                                          19·   ·you received?
20·   · · · A.· · ·Are we done with Tab 1?                    20·   · · · A.· · ·No.· I'm looking at the document that
21·   · · · Q.· · ·Yes, we're done with Tab 1.                21·   ·was behind Tab 1.
22·   · · · A.· · ·Okay.                                      22·   · · · Q.· · ·Okay, and that document is called
23·   · · · · · · ·MS. BERMAN:· Joseph, I just want           23·   ·"Revised Notice of Deposition of James Manning"?
24·   · · · to -- excuse me, I just want to note for the      24·   · · · A.· · ·Yes, and it's just about, you know,
25·   · · · record that I'm not able to open the Dropbox      25·   ·today's date basically.· I think that's being the

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·1·   · · ·   · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · ·   attachments.· I seem to be the only person on   ·2·   ·deposition there, right.
·3·   · · ·   our team having trouble with it, but it's       ·3·   · · · Q.· · ·Did -- had you received that document
·4·   · · ·   not -- it's opening for me.· It's asking me     ·4·   ·before you got it in the package today?
·5·   · · ·   to do all sorts of things like create an        ·5·   · · · A.· · ·No.
·6·   · · ·   account; and I tried to do that, but that       ·6·   · · · Q.· · ·Okay.· Well, let's move on to Tab 2.
·7·   · · ·   didn't even work.                               ·7·   · · · A.· · ·Okay.
·8·   · · ·   · · · ·MR. JARAMILLO:· Mr. Merritt, can we      ·8·   · · · Q.· · ·And please take a moment to look at
·9·   · · ·   go off the record for this?                     ·9·   ·that and let me know if that accurately reflects
10·   · · ·   · · · ·MR. MERRITT:· Yes.                       10·   ·the information from your LinkedIn profile?
11·   · · ·   · · · ·THE VIDEOGRAPHER:· Going off the         11·   · · · · · · ·Mr. Manning, I'm sorry to interrupt
12·   · · ·   record, the time is 15:08 UTC.                  12·   ·your review, I know you're looking carefully --
13·   · · ·   · · · ·(Whereupon, a brief discussion was       13·   · · · A.· · ·I'm -- I'm on the last page.· It's
14·   · · ·   held off record.)                               14·   ·a -- this is --
15·   · · ·   · · · ·THE VIDEOGRAPHER:· We're now on the      15·   · · · Q.· · ·I'll let you finish up and then we
16·   · · ·   record, time is 15:11 UTC.                      16·   ·can talk about it.
17·   · · ·   Q.· · ·Okay, Mr. Manning, so I'm having you     17·   · · · A.· · ·Okay.
18·   ·look   at Tab 2.                                       18·   · · · Q.· · ·Is this an accurate -- was this
19·   · · ·   · · · ·MR. JARAMILLO:· And, Ms. Menaker, I      19·   ·information on -- on this document as to Exhibit
20·   · · ·   would like to have you mark this as --          20·   ·32 reflect your -- the information that you put on
21·   · · ·   actually, Ms. Menaker, we did not mark the      21·   ·your LinkedIn profile?
22·   · · ·   first tab, did we?                              22·   · · · A.· · ·It seems to be from another document
23·   · · ·   · · · ·THE REPORTER:· We did not.               23·   ·rather than what I put in my LinkedIn profile.
24·   · · ·   · · · ·MR. JARAMILLO:· Okay.· Can we mark       24·   ·This looks like a -- a resume that I've used a
25·   · · ·   the first tab as Exhibit 31, that would be      25·   ·number of times.· I didn't -- I don't -- I have to


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·go back and look -- to look and see this.· See       ·2·   ·said 2017 to 2017, you know.· I made, you know,
·3·   ·this, I don't know how it was attached in all this   ·3·   ·notations January '17 to April '17, you know.
·4·   ·detail and things, this type -- I'm not saying       ·4·   · · · Q.· · ·Okay.· So would that be on Page 3 of
·5·   ·it's not there.· I just don't recall posting this    ·5·   ·the document?
·6·   ·there.                                               ·6·   · · · A.· · ·That is Page 3, yeah.
·7·   · · · Q.· · ·Sure, and I'll represent to you that     ·7·   · · · Q.· · ·And would that be for the entry for
·8·   ·there's a function on LinkedIn that generates this   ·8·   ·Office of the Secretary of Education, Senior
·9·   ·type of resume document from the profile.            ·9·   ·Advisor to the Secretary of Higher Education where
10·   · · · A.· · ·Oh, I didn't -- if that's generated      10·   ·it says "2017 to 2017"?
11·   ·by LinkedIn, then that's -- that's understandable    11·   · · · A.· · ·Yes.
12·   ·then, but I did not put this on my LinkedIn.         12·   · · · Q.· · ·And you noted the months for that?
13·   · · · · · · ·I did not put this -- I did not put      13·   · · · A.· · ·January to April, yes.
14·   ·this document on LinkedIn.· This is a                14·   · · · Q.· · ·So you were senior advisor to the
15·   ·representation of resume that I have used            15·   ·Secretary of Higher Education from January to
16·   ·previously, yes.                                     16·   ·April, 2017?
17·   · · · Q.· · ·But the information contained in this    17·   · · · A.· · ·Yes.· January 20 -- well, she didn't
18·   ·document was information that you input into         18·   ·come onboard until the first week of February.· My
19·   ·LinkedIn on your profile?                            19·   ·appointment was senior advisor to the Secretary
20·   · · · A.· · ·I -- I didn't put all this detail in     20·   ·and I had January 7th -- 20th 1970 -- 2017.
21·   ·myself.· You -- you had suggested that there's a     21·   · · · · · · ·Okay, yes.· This is my title from
22·   ·-- a way that LinkedIn finds outside documents and   22·   ·January of '17 through April, into April of '17,
23·   ·attaches them; so I asked you what happened with     23·   ·following which I became, you know, the acting
24·   ·this.· I did not post all of this on this page.      24·   ·under the Secretary which appears earlier on this
25·   · · · Q.· · ·Okay.                                    25·   ·list.

                                                 Page 31                                                     Page 33
·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·But it's a fair representation           ·2·   · · · Q.· · ·And that entry appears on Page 2 of 5
·3·   ·of -- of my career.· It's a -- in normally the way   ·3·   ·of the document?
·4·   ·I do things, this is not the same structure, so it   ·4·   · · · A.· · ·Yes.
·5·   ·gives years of service.· I would have put months.    ·5·   · · · Q.· · ·And did you fill in the months for
·6·   ·I would have typed particular months in.· There --   ·6·   ·the -- for that entry for the acting
·7·   ·it's -- it's a close approximation to a resume       ·7·   ·Undersecretary of Education?
·8·   ·that I've used.                                      ·8·   · · · A.· · ·I did it was from April, 2017 to May
·9·   · · · · · · ·It's not what I attached to LinkedIn.    ·9·   ·of 2018.
10·   ·If it's on LinkedIn, I'm going on what you           10·   · · · Q.· · ·And then above that on Page 2 is an
11·   ·suggested that there's a way that LinkedIn, I        11·   ·entry for Federal Student Aid and Office of the
12·   ·guess, captures related information and attaches     12·   ·U.S. Department of Education acting chief
13·   ·it somehow.· I'll have to go back and look, but      13·   ·operating officer.· Are those dates correct;
14·   ·the question -- but that is what's happened.         14·   ·January, 2018 through March, 2019?
15·   · · · · · · ·I don't need all of this information     15·   · · · A.· · ·No, I don't think that's correct. I
16·   ·on this page, but this is -- this is my              16·   ·don't.
17·   ·experience, yes.                                     17·   · · · Q.· · ·What would you do to correct those
18·   · · · Q.· · ·I understand, Mr. Manning.· So this      18·   ·dates?
19·   ·generally reflects your work experience?             19·   · · · A.· · ·I can start by saying I can go back
20·   · · · A.· · ·Yes.                                     20·   ·over in my mind, but the timeline on this is not
21·   · · · Q.· · ·And I noticed when you were reviewing    21·   ·exactly correct.
22·   ·the -- the document, you had a pen in your hand.     22·   · · · Q.· · ·Okay, and as you sit here today what
23·   ·Did you make any notations on the document?          23·   ·is your best recollection of your time in the
24·   · · · A.· · ·Yes, I -- a few places I noticed         24·   ·acting chief operating officer position with FSA?
25·   ·where there was no month mentioned, where it just    25·   · · · A.· · ·Well, I -- I had several different


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·periods when I was acting chief operating officer.   ·2·   ·through your career history.· Let's put it to the
·3·   · · · Q.· · ·During the Trump Administration.         ·3·   ·side and draw from your memory, which might be
·4·   · · · A.· · ·During the Trump Administration, so I    ·4·   ·more efficient.
·5·   ·became acting chief.· I was -- I was the Secretary   ·5·   · · · · · · ·The question being:· Do you know when
·6·   ·from April -- this is -- this is incorrect.· I was   ·6·   ·you stopped serving as the acting COO of FSA
·7·   ·not nor have I ever claimed to be acting chief       ·7·   ·during the Trump Administration?
·8·   ·operating officer from January -- what a second.     ·8·   · · · A.· · ·I'm going to miss a block, I'm sorry.
·9·   ·I'm -- I'm mistaken.                                 ·9·   ·I have all this written down somewhere else.
10·   · · · · · · ·It's out of order.· My resume would      10·   · · · Q.· · ·That's okay.· This is not -- this is
11·   ·have reflected this in chronological order.          11·   ·not, you know, a -- you know, a -- there's no
12·   · · · Q.· · ·Just, Mr. Manning, what's your best      12·   ·right or wrong answer.· I just want to know your
13·   ·recollection of when you served as -- as acting      13·   ·best recollection.· It's whatever you can come up
14·   ·chief operating officer for FSA?                     14·   ·with as you sit here today in recollection of when
15·   · · · A.· · ·During the Trump Administration?         15·   ·you stopped working as acting COO for FSA in the
16·   · · · Q.· · ·Yes.                                     16·   ·Trump Administration.
17·   · · · A.· · ·Okay.· I started January, 2017 senior    17·   · · · · · · ·MR. MERRITT: And, Joe, I'll let him
18·   ·advisor, became Undersecretary in April, served to   18·   · · · answer this question, I just want to -- we
19·   ·the following May.                                   19·   · · · have been going for about an hour.· I was
20·   · · · · · · ·There -- there was a -- a career         20·   · · · wondering whether we might have a short break
21·   ·staff person as the chief operating officer in       21·   · · · after he answers this question or -- or
22·   ·January of 2017, James Franzi, who was retained.     22·   · · · sometime soon.
23·   ·He stayed with the Department until May of 2017.     23·   · · · · · · ·MR. JARAMILLO:· Yeah.· Let me -- I
24·   ·That he -- he might have left the first few days     24·   · · · would like to ask him just a couple of more
25·   ·of June, in that area, and we began a search         25·   · · · questions related to this, but if -- if you

                                                 Page 35                                                     Page 37
·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·immediately for a new chief operating officer and    ·2·   · · · don't mind it might just take a minute or
·3·   ·Wayne Johnson became the chief operating officer,    ·3·   · · · two.
·4·   ·the permanent chief operating officer, in July       ·4·   · · · · · · ·THE WITNESS:· Well, at the rate I'm
·5·   ·2017.                                                ·5·   · · · answering this it might take longer than
·6·   · · · · · · ·He served in that capacity until late    ·6·   · · · that, I'm sorry to say.
·7·   ·January, 2018 when a major initiative at the         ·7·   · · · · · · ·MR. JARAMILLO:· Okay.· Well, let's
·8·   ·Department was going on with Federal Student Aid.    ·8·   · · · see how it goes, but I would like to if you
·9·   · · · · · · ·Next Gen, Next Generation FSA was        ·9·   · · · don't mind, Mr. Merritt, to just take a
10·   ·started under Dr. Johnson's leadership.· That was    10·   · · · couple more questions just to nail down ome
11·   ·an important enough issue that in late January of    11·   · · · of the dates here.
12·   ·'18, he was moved from the COO position and          12·   · · · · · · ·MR. MERRITT:· Yeah, that's okay with
13·   ·focused hundred percent of his time on the Next      13·   · · · me.· I just wanted to put it on the radar.
14·   ·Generation FSA initiative, and at that time I        14·   · · · A.· · ·Let me take a couple of minutes here
15·   ·became acting COO.                                   15·   ·and see I can reconstitute what I knew yesterday.
16·   · · · Q.· · ·That would have been January, 2018?      16·   ·.I've been thrown off by the way this was
17·   · · · A.· · ·Yes.· The end of January, you know,      17·   ·presented here today.
18·   ·first part of February.                              18·   · · · · · · ·MR. JARAMILLO:· Okay, Mr. Manning,
19·   · · · Q.· · ·And how long did you serve in that       19·   · · · why don't we do this; I'm not sure that that
20·   ·position?                                            20·   · · · Tab 2 document is -- is the best way to do
21·   · · · A.· · ·I'm -- that's not entirely correct       21·   · · · it.
22·   ·here.                                                22·   · · · · · · ·If you want to take a break and try
23·   · · · Q.· · ·Why -- why don't we do this, Mr.         23·   · · · to refresh your recollection as well, we can
24·   ·Manning:· I'm -- I'm finding that this -- this       24·   · · · -- we can do that.
25·   ·LinkedIn document may not me the best way to go      25·   · · · · · · ·THE WITNESS:· Yes.


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·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·   ·   ·   · · · ·MR. JARAMILLO:· So, you know, just to    ·2·   ·2018, were you wearing two hats; one as the acting
·3·   ·   ·   ·   be clear; I'm just trying to get your best      ·3·   ·COO of FSA and the other as the acting
·4·   ·   ·   ·   recollection of the time periods in which you   ·4·   ·Undersecretary of the Department of Education?
·5·   ·   ·   ·   served in, in -- in roles at the Department     ·5·   · · · A.· · ·Yes, I wore two hats when those
·6·   ·   ·   ·   of Education during the Trump Administration    ·6·   ·positions -- in the timeline there.
·7·   ·   ·   ·   at this point.                                  ·7·   · · · Q.· · ·And prior to becoming the acting
·8·   ·   ·   ·   · · · ·And we can discuss that when we come     ·8·   ·Undersecretary of Education in April, 2017 you
·9·   ·   ·   ·   back on the record, so we can go ahead and      ·9·   ·served as a senior advisor to the Secretary of
10·   ·   ·   ·   take -- how long would you like, Mr. Merritt,   10·   ·Education?
11·   ·   ·   ·   for the break and, Mr. Manning, five or ten     11·   · · · A.· · ·Yes, on higher education issues.
12·   ·   ·   ·   minutes?                                        12·   ·Yes.
13·   ·   ·   ·   · · · ·MR. MERRITT:· I will defer to Mr.        13·   · · · Q.· · ·And the dates of -- of that in that
14·   ·   ·   ·   Manning.· I was thinking it could be five       14·   ·role that you -- of senior advisor were January
15·   ·   ·   ·   minutes, but what do you think, Jim?            15·   ·20th, 2017 until April, 2017?
16·   ·   ·   ·   · · · ·THE WITNESS:· I would say give me ten    16·   · · · A.· · ·Yes.
17·   ·   ·   ·   minutes and I'll have this lined up.            17·   · · · Q.· · ·And prior to serving as senior
18·   ·   ·   ·   · · · ·MR. MERRITT:· All right.· Let's take     18·   ·advisor, did you hold a role on the Trump
19·   ·   ·   ·   ten minutes, if that's okay with you.           19·   ·transition -- I mean, I'm sorry, I didn't want to
20·   ·   ·   ·   · · · ·MR. JARAMILLO:· Okay.                    20·   ·-- on the Trump transition team?
21·   ·   ·   ·   · · · ·THE VIDEOGRAPHER:· We are now off the    21·   · · · A.· · ·Yes.
22·   ·   ·   ·   record.· The time is 15:35 UTC.                 22·   · · · Q.· · ·When did you start in that position?
23·   ·   ·   ·   · · · ·(Whereupon, a brief discussion was       23·   · · · A.· · ·September of 2016.
24·   ·   ·   ·   held off record.)                               24·   · · · Q.· · ·And when did you stop work in that
25·   ·   ·   ·   · · · ·THE VIDEOGRAPHER:· We are now on the     25·   ·role?

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·1·   · · · · · · · · ·- JAMES MANNING -                          ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · record, the time is 15:52 UTC.                        ·2·   · · · A.· · ·January 19th, 2017.· I was a
·3·   · · · Q.· · ·Mr. Manning, we were talking about             ·3·   ·volunteer.
·4·   ·your work history during the Trump Administration          ·4·   · · · Q.· · ·How -- how did you get into that
·5·   ·in the Department of Education.                            ·5·   ·position as a volunteer for the Trump transition
·6·   · · · A.· · ·Right.                                         ·6·   ·team?· Were you recruited or did you just -- did
·7·   · · · Q.· · ·And I wanted to see if you have any            ·7·   ·you call somebody and say, I want to do this?
·8·   ·clarity about your time in the role of -- of               ·8·   · · · A.· · ·No, I was recruited.· I'm trying to
·9·   ·acting COO of FSA.                                         ·9·   ·remember who contacted me.· Someone that had been
10·   · · · A.· · ·Yes.· Yes, working backwards I left            10·   ·working with Governor Christie who led the
11·   ·the Department March 4th, 2019.· I had been the            11·   ·transition team.· I was just retired at the time
12·   ·COO until then and I have become the COO after             12·   ·working for myself, but I agreed to do that as a
13·   ·Wayne Johnson in 2018 took over the Next Gen               13·   ·volunteer.
14·   ·portfolio.· I became the acting COO in February,           14·   · · · Q.· · ·What was your role in that -- in that
15·   ·2018 and served through the beginning of March,            15·   ·position?
16·   ·2019.                                                      16·   · · · A.· · ·Well, initially to think about
17·   · · · Q.· · ·And just to clarify, when were you in          17·   ·preparation for the new administration taking
18·   ·the role as acting Undersecretary of Education             18·   ·responsibility for the Department of Education and
19·   ·during the Trump Administration?                           19·   ·then after Trump was elected, began a few weeks
20·   · · · A.· · ·I think it began in April of 2017 and          20·   ·later going in and meeting with the staff around
21·   ·I've served through May of 2018.· Diane Jones              21·   ·the Department to get a sense on where they were
22·   ·succeeded me.· Diane I think came in in June, but          22·   ·and what their activities were and what their
23·   ·I -- I had left that office near the end of May.           23·   ·projects were.· Obviously no role to in --
24·   ·'18.                                                       24·   ·influence activities; just to learn about what was
25·   · · · Q.· · ·So between February, 2018 and May,             25·   ·the status of the Department.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·And did you also work on the Trump --    ·2·   ·believe he was at the Department at that time.· He
·3·   ·what was called the -- the transition landing        ·3·   ·-- he came onboard in the new administration.
·4·   ·team?                                                ·4·   · · · Q.· · ·Did you meet with Colleen Nevin?
·5·   · · · A.· · ·Yes.                                     ·5·   · · · A.· · ·I don't recall if I met with Colleen
·6·   · · · Q.· · ·And what was that different from the     ·6·   ·Nevin during the -- the landing team period.· That
·7·   ·transition team?                                     ·7·   ·would have been, you know, after -- it was
·8·   · · · A.· · ·Well, there's fewer people.· It was a    ·8·   ·actually probably just before Thanksgiving
·9·   ·-- it was effectively part of the transition team,   ·9·   ·through, you know, January 19th, but I don't know
10·   ·but it was the folks that actually went -- went      10·   ·-- I don't believe I met Colleen until after I got
11·   ·into the Department and met with folks in the        11·   ·onboard at the Department.
12·   ·Department.                                          12·   · · · Q.· · ·Prior -- prior to your work on this
13·   · · · Q.· · ·And what was your role on the landing    13·   ·transition and landing team, had you done any work
14·   ·team; did you have a leadership role or did you      14·   ·or related to borrower defense in your --
15·   ·have a title?                                        15·   · · · · · · ·MR. MERRITT:· Objection.
16·   · · · A.· · ·I didn't have a title, effectively,      16·   · · · Q.· · ·-- related to this position?
17·   ·as of the transition-- I led the landing team.       17·   · · · · · · ·MR. MERRITT:· It's a scope objection.
18·   · · · Q.· · ·And who was on the landing team?         18·   · · · What's the relevance to the topics identified
19·   · · · A.· · ·Myself, Kent Talbert and Bill, Bill      19·   · · · by the court in authorizing discovery?
20·   ·-- Bill Evers.                                       20·   · · · Q.· · ·You can answer the question.
21·   · · · Q.· · ·Just the three of you?                   21·   · · · A.· · ·Could you repeat the question?
22·   · · · A.· · ·Yes.                                     22·   · · · · · · ·MR. JARAMILLO:· Can you read back the
23·   · · · Q.· · ·Did you examine or educate yourself      23·   · · · question, Madam Court Reporter, please.
24·   ·on the Trump -- I mean, I'm sorry, the transition    24·   · · · · · · ·(The question requested was read back
25·   ·landing team about borrower defense?                 25·   · · · by the reporter.)

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·Somewhat, yes.                           ·2·   · · · Q.· · ·Mr. Manning, prior to working in the
·3·   · · · Q.· · ·And what did you do in order to          ·3·   ·Trump Administration or on the transition team,
·4·   ·educate yourself on that topic?                      ·4·   ·had any of your prior work involved borrower
·5·   · · · A.· · ·We -- we met once or twice with folks    ·5·   ·defense?
·6·   ·from the Enforcement group.                          ·6·   · · · A.· · ·Prior to working on the landing team?
·7·   · · · Q.· · ·Do you recall who you met with from      ·7·   · · · Q.· · ·Yes.
·8·   ·the Enforcement group?                               ·8·   · · · A.· · ·No.
·9·   · · · A.· · ·I -- I know at least one of the          ·9·   · · · Q.· · ·What was your understanding of
10·   ·meetings was the director and, you know, I don't     10·   ·borrower defense at -- at the time you were on the
11·   ·remember his name -- Robert -- whoever was the       11·   ·landing team?
12·   ·director of the Enforcement group was and several    12·   · · · A.· · ·I, I -- I don't recall what it was.
13·   ·of his staffers.· I don't recall any of their        13·   ·I'm -- I'm sure that I was learning about it.· You
14·   ·names.                                               14·   ·know, part of the, you know, responsibilities of
15·   · · · Q.· · ·Did you meet with Robert Eitel?          15·   ·the landing team was to understand what programs
16·   · · · A.· · ·Eitel.                                   16·   ·were going on.
17·   · · · Q.· · ·Yes.                                     17·   · · · Q.· · ·What did you learn about borrower
18·   · · · A.· · ·How do you spell Eitel?                  18·   ·defense on the landing team?
19·   · · · Q.· · ·I think it's E-I-T -- E-I-T-E-L.         19·   · · · A.· · ·I can't recall specifically, you
20·   · · · A.· · ·Bob Eitel.                               20·   ·know, anything in particular that I learned during
21·   · · · Q.· · ·Eitel.· I'm sorry.                       21·   ·that period.· Subsequently I, you know, learned
22·   · · · A.· · ·Okay.· I know -- I know Bob is in --     22·   ·more.· I learned more when I came onboard as an
23·   ·I know him well, worked with him.· I don't           23·   ·employee.
24·   ·recall -- he didn't have any role on the             24·   · · · Q.· · ·And this would have been in January
25·   ·transition and he had not -- he was -- I don't       25·   ·20, 2017 when you came onboard as an employee?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·Correct.                                 ·2·   ·know, we had any number of discussions where they
·3·   · · · Q.· · ·And at that time, did you understand     ·3·   ·would bring me up to speed on issues.
·4·   ·that borrower defense entailed the discharge of      ·4·   · · · Q.· · ·Anyone else that you recall, as you
·5·   ·federal loans available when a borrower can assert   ·5·   ·came into your new position in January of 2017
·6·   ·a defense to repayment?                              ·6·   ·with the administration, who gave you information
·7·   · · · A.· · ·Yes.                                     ·7·   ·about the borrower defense?
·8·   · · · Q.· · ·And did you understand that the          ·8·   · · · A.· · ·Well, those would have been the first
·9·   ·Department of Education's duty to resolve borrower   ·9·   ·couple of folks as I had known them for the -- the
10·   ·defense applications was mandatory?                  10·   ·better part of two decades, but that, that -- that
11·   · · · · · · ·MR. MERRITT:· Objection, beyond the      11·   ·group I'm sure got bigger over time and we had a
12·   · · · scope.                                          12·   ·working group that brought in more people.· We
13·   · · · Q.· · ·You can answer the question.             13·   ·had -- there were other attorneys at OGC.
14·   · · · · · · ·MR. MERRITT:· I'm going to instruct      14·   · · · Q.· · ·Was this working group specific to
15·   · · · you not to answer that question beyond the      15·   ·borrower defense?
16·   · · · scope of the discovery the court ordered.       16·   · · · A.· · ·Yes.· Yes, and then -- and then
17·   · · · Q.· · ·When you came on the -- in the           17·   ·ultimately Joe Connolly, the acting deputy
18·   ·administration in January, 2017 were you aware of    18·   ·Secretary, established a formal working group of
19·   ·the significant increase in the number of borrower   19·   ·borrower defense.· That would have been, you know,
20·   ·defense applications?                                20·   ·after a month or so.
21·   · · · A.· · ·The day I came on, I -- I don't          21·   · · · Q.· · ·Did the working group have a name?
22·   ·believe I knew that the day I came on.               22·   · · · A.· · ·I'm sure it did.· I -- I don't recall
23·   · · · Q.· · ·When did you -- when did you find        23·   ·offhand what the -- the name was, it was.
24·   ·that out?                                            24·   · · · Q.· · ·Was this the borrower defense Review
25·   · · · A.· · ·Shortly thereafter.                      25·   ·Panel?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Okay.· How did you find it out?          ·2·   · · · A.· · ·Effectively, yes.
·3·   · · · A.· · ·I don't recall specifically.· I, I --    ·3·   · · · Q.· · ·Were you on that panel?
·4·   ·I just -- I'm sorry.· I'm trying to remember when    ·4·   · · · A.· · ·I was one of the members, yes.
·5·   ·I actually can authoritatively answer the            ·5·   · · · Q.· · ·And you met regularly with people on
·6·   ·question.· Ask the question one more time, please.   ·6·   ·that panel?
·7·   · · · Q.                                              ·7·   · · · A.· · ·Well, we met several times.· I can't
·8·   · · · · · · ·MR. JARAMILLO:· Ms. Menaker, can you     ·8·   ·recall how regularly it was.
·9·   · · · repeat the question for me.                     ·9·   · · · Q.· · ·Okay.
10·   · · · · · · ·(The question requested was read back    10·   · · · A.· · ·Ultimately Colleen Nevin became part
11·   · · · by the reporter.)                               11·   ·of that.· I think that -- well, actually the --
12·   · · · A.· · ·I think certainly every day that I       12·   ·yeah, there were a couple of attorneys that --
13·   ·was on as a -- an employee, I was working to         13·   ·Justin Riemer was -- was one that came on and
14·   ·expand my knowledge on operations at the             14·   ·spent a significant amount of time working with
15·   ·Department; and it was very early on, I'm sure,      15·   ·that group.
16·   ·that I started getting information about this --     16·   · · · Q.· · ·What was the purpose of that group?
17·   ·the status and standing of the student borrower      17·   · · · A.· · ·To understand where we were and to
18·   ·defense issue.                                       18·   ·think about next steps.
19·   · · · Q.· · ·And who gave you that information?       19·   · · · Q.· · ·Were any decisions made by that group
20·   · · · A.· · ·I -- any -- any number of people.        20·   ·about borrower defense?
21·   ·You know, I met with -- I think before the           21·   · · · A.· · ·I don't know if there was a specific
22·   ·Secretary got there, Phil Rosenfelt was the acting   22·   ·action memo, so to speak, hat -- that resulted in
23·   ·Secretary.· I met with Phil a number of times        23·   ·that, but part of the discussion of that group was
24·   ·during that period; and the acting deputy            24·   ·around the approach to discharge and looking at an
25·   ·Secretary, Joe Connolly was there.· We -- you        25·   ·approach that would be fundamentally fair to every


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·borrower and also fair to the taxpayer.              ·2·   · · · Q.· · ·And what specifically did he
·3·   · · · Q.· · ·Do you have an understanding of why      ·3·   ·recommend with respect to the -- with the relief
·4·   ·that needed to be looked at?                         ·4·   ·methodology?
·5·   · · · A.· · ·I think the feeling was that it          ·5·   · · · · · · ·MR. MERRITT:· Objection to the extent
·6·   ·needed to be looked at because there -- there were   ·6·   · · · it calls for deliberative privileged
·7·   ·some that thought that borrowers making a claim,     ·7·   · · · information.
·8·   ·that was accepted to get a hundred percent relief;   ·8·   · · · · · · ·MR. JARAMILLO:· Are you instructing
·9·   ·and the question was raised in that group whether    ·9·   · · · the witness not to answer?
10·   ·or not that should always be a case or if there      10·   · · · · · · ·MR. MERRITT:· Yes.· Just your
11·   ·was an approach that could look at it through a      11·   · · · question asked for a recommendation, correct?
12·   ·different lens.                                      12·   · · · · · · ·MR. JARAMILLO:· I'll -- I'll
13·   · · · Q.· · ·And who suggested that in the group?     13·   · · · rephrase.
14·   · · · A.· · ·Who specifically suggested that?         14·   · · · Q.· · ·Was anything that Phil Jeunst
15·   · · · Q.· · ·Yes.                                     15·   ·suggested put into writing?
16·   · · · A.· · ·I, I -- I don't recall who was the       16·   · · · A.· · ·Oh, yes, absolutely.· It was put into
17·   ·first person to -- to say that.· I think that --     17·   ·effect.
18·   ·that when it came up, that there was, you know,      18·   · · · Q.· · ·How was it put into writing?
19·   ·further discussion on that; and that ult --          19·   · · · A.· · ·I -- I don't recall, but it was
20·   ·ultimately the -- the group decided/recommended an   20·   ·actually -- it was ultimately put aside by the
21·   ·approach to looking at developing methodology that   21·   ·court.
22·   ·could look at claims and make judgments on whether   22·   · · · Q.· · ·A partial relief meth -- methodology
23·   ·someone should get a hundred percent or some         23·   ·that resulted from the Borrower Review Defense
24·   ·lesser percentage.· There -- there was a range       24·   ·Panel was -- was put -- set aside by the court in
25·   ·that went down to ten percent, as I recall.          25·   ·the Calvillo Manriquez case?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·And most of the folks at the table       ·2·   · · · · · · ·MR. JARAMILLO:· Can we go off the
·3·   ·were not expert enough to -- to develop that, but    ·3·   · · · record.
·4·   ·there was an individual that was part of the group   ·4·   · · · · · · ·(Whereupon, a brief discussion was
·5·   ·who was a career member of the Department from the   ·5·   · · · held off record.)
·6·   ·finance office, Phillip Jeunst, who was -- was       ·6·   · · · Q.· · ·Mr. Manning, you froze there on the
·7·   ·qualified and charged to look at the issue and       ·7·   ·video screen for a second, so I'm not sure -- I
·8·   ·come back with a proposal and a methodology that     ·8·   ·didn't hear an answer.· I'm just -- I'm just going
·9·   ·could be used to make determinations that would      ·9·   ·to repeat my question.
10·   ·allow for forgiveness from ten percent to a          10·   · · · A.· · ·Go ahead.
11·   ·hundred percent.                                     11·   · · · Q.· · ·When you say that the -- what Mr.
12·   · · · Q.· · ·And you said that person's name was      12·   ·Phillip Jeunst suggested was -- was put aside by
13·   ·Phillip Jeunst?                                      13·   ·the court, are you referring to the court's order
14·   · · · A.· · ·Yeah, I think it was like                14·   ·enjoining the use of the average earnings rule in
15·   ·J-E-U-N-S-T.· I might have spelled that              15·   ·the Calvillo Manriquez case?
16·   ·indirectly.· J-U-E-N-S-T I think.· There might       16·   · · · A.· · ·Yes, that's correct.
17·   ·have been a G in there, too.· I -- I can't           17·   · · · Q.· · ·Did anything about the borrower
18·   ·remember how he spelled his name.                    18·   ·defense Panel review cause a delay in the
19·   · · · Q.· · ·And what was his position?               19·   ·Department's issuance of borrower defense
20·   · · · A.· · ·He was from the finance office.          20·   ·decisions?
21·   · · · Q.· · ·Do you know if he's still with the       21·   · · · · · · ·MR. MERRITT:· Objection, vague.
22·   ·Department of Education?                             22·   · · · Q.· · ·You can answer the question.
23·   · · · A.· · ·I believe he is, yes.                    23·   · · · A.· · ·I'm sorry, can you repeat it, please.
24·   · · · Q.· · ·Do you know his current position?        24·   ·Did anything?
25·   · · · A.· · ·I do not.                                25·   · · · Q.· · ·I'll rephrase it.· Let's back up a


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·little bit.                                          ·2·   · · · Q.· · ·Did you have any understanding about
·3·   · · · · · · ·When you came on to the                  ·3·   ·why she wasn't happy about it?
·4·   ·administration, what was your understanding of       ·4·   · · · · · · ·MR. MERRITT:· Objection, calls for
·5·   ·what the -- how the prior administration had         ·5·   · · · speculation.
·6·   ·approached borrower defense claims?                  ·6·   · · · Q.· · ·You can answer the question.· I just
·7·   · · · A.· · ·Well, when I came on at that point I     ·7·   ·want to know if you had any understanding of why
·8·   ·don't know that I had a position.· I -- I came to    ·8·   ·she was unhappy about this decision.
·9·   ·find out that over the course of the last several    ·9·   · · · A.· · ·Well, I think in principle there were
10·   ·weeks at the end of the previous administration      10·   ·a -- a number of folks that were not happy about
11·   ·that a number of actions had been taken and          11·   ·the situation.· I don't know if there were any
12·   ·decisions made and adjudication being taken on a     12·   ·things to say anyone was happy about the
13·   ·number of claims prepared and authorized by the --   13·   ·situation, but it was a decision that required
14·   ·the Secretary, previous Secretary for discharge.     14·   ·action.
15·   · · · · · · ·And, as I recall, there were             15·   · · · · · · ·I think that, you know, any
16·   ·approximately 16,000 claims that were signed off     16·   ·conversation beyond that, that -- well, I don't
17·   ·on that came to my attention early on when I was     17·   ·know how to say this.· I think that the -- the
18·   ·officially onboard; and we, we -- we looked at       18·   ·idea that every individual that made a claim that
19·   ·those and talked to general counsel and, you know,   19·   ·was to be discharged will a receive a hundred
20·   ·wanted to come to understand if these had been       20·   ·percent of, you know, discharge did strike any
21·   ·resolved to the point where the incoming Secretary   21·   ·number of us as not necessarily the right way to
22·   ·would need to authorize their approval.              22·   ·go, but yet still recognized that the Department
23·   · · · · · · ·There was a -- much discussion about     23·   ·had taken the action, the previous Secretary
24·   ·that and ultimately recognition that the previous    24·   ·approved it, and we, you know, effectively was
25·   ·administration action had been the final action,     25·   ·obligated to move it forward.

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·final Department action that -- that was arrived     ·2·   · · · Q.· · ·Why didn't you think it was the right
·3·   ·at with the proper authority.· While it hadn't       ·3·   ·way to go?
·4·   ·been discharged, they were necessarily needed to     ·4·   · · · · · · ·MR. MERRITT:· Objection to the extent
·5·   ·be discharged by the incoming Secretary.             ·5·   · · · that calls for deliberative privileged
·6·   · · · Q.· · ·And were you involved in any action      ·6·   · · · information.
·7·   ·to effectuate these discharges by getting the        ·7·   · · · Q.· · ·You can answer the question.
·8·   ·Secretary's approval?                                ·8·   · · · A.· · ·Well, the answer to the -- the
·9·   · · · A.· · ·I -- I did brief the Secretary on the    ·9·   ·specific question is I don't know.
10·   ·status and, you know, informed her that we had       10·   · · · Q.· · ·If you know, why did others think it
11·   ·done necessary due diligence and come to             11·   ·was not the right way to go?
12·   ·understand and appreciate that this action was a     12·   · · · · · · ·MR. MERRITT:· Objection, calling
13·   ·-- a lawful action of the previous administration    13·   · · · for -- to the extent that question calls for
14·   ·and that the changes needed to happen and, thus,     14·   · · · deliberative privileged information.
15·   ·became her responsibility to sign that               15·   · · · Q.· · ·You can answer the question.
16·   ·authorization.                                       16·   · · · A.· · ·Well --
17·   · · · Q.· · ·How did she react to this?               17·   · · · · · · ·MR. MERRITT:· I mean, if you're
18·   · · · · · · ·MR. MERRITT:· Objection, beyond the      18·   · · · gonna -- if the question is phrased as what
19·   · · · scope of discovery the court authorized.        19·   · · · do others think about why the discharge
20·   · · · Q.· · ·You can answer the question.             20·   · · · shouldn't happen leading up to that decision,
21·   · · · A.· · ·Well, she -- she wasn't particularly     21·   · · · then I'll instruct not to answer.· Is that
22·   ·happy about it.                                      22·   · · · the question?
23·   · · · Q.· · ·Did she tell you why she wasn't happy    23·   · · · · · · ·MR. JARAMILLO:· That wasn't the
24·   ·about it?                                            24·   · · · question.
25·   · · · A.· · ·Not specifically, no.                    25·   · · · · · · ·MR. MERRITT:· Can you rephrase the


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · question or restate the question?               ·2·   · · · A.· · ·It's a question around balancing it
·3·   · · · Q.· · ·Why did others think that this was       ·3·   ·between the bor -- the borrower and -- and the
·4·   ·not necessarily the right way to go, your words?     ·4·   ·taxpayer.· That was -- balance -- thinking of it
·5·   ·Why was this decision not necessarily the right      ·5·   ·in terms of -- I don't recall mentioning it quite
·6·   ·way to go?                                           ·6·   ·like that.
·7·   · · · A.· · ·Well -- well, obviously, I can't         ·7·   · · · Q.· · ·Was it -- was it the drive to try to
·8·   ·speak to what people are thinking, but I can say     ·8·   ·protect interest of taxpayers that resulted in
·9·   ·during conversations amongst the working group       ·9·   ·trying to find ways to limit the relief of -- of
10·   ·that there was discussion about alternatives to a    10·   ·applicants for borrower defense?
11·   ·hundred percent relief.                              11·   · · · · · · ·MR. MERRITT:· Objection to the extent
12·   · · · · · · ·The -- the Secretary had the             12·   · · · it calls for deliberative privileged
13·   ·authority to provide relief in part or in whole      13·   · · · information.
14·   ·and we looked at that carefully and had many         14·   · · · Q.· · ·I'm just asking, in general, at the
15·   ·discussions about that, and I don't recall anyone    15·   ·Department when you were there, was that the --
16·   ·ultimately suggesting that, oh, we really ought to   16·   ·was that the approach?
17·   ·just say a hundred percent of the claim is made,     17·   · · · A.· · ·Was what the approach?· Say that
18·   ·which led to further discussion that established     18·   ·again.
19·   ·the pre -- that worked on the entity of -- of        19·   · · · Q.· · ·To balance the interest of taxpayers
20·   ·methodology that would be fair to borrowers and      20·   ·by finding ways to limit relief awarded to
21·   ·taxpayers, that would look at, you know, the         21·   ·applicants for borrower defense.
22·   ·situation and the -- and look at records that        22·   · · · A.· · ·I, I -- I don't think that's -- the
23·   ·ultimately the court stopped us from using; but      23·   ·way you just put it is a fair representation of
24·   ·there were records that the -- the Department had    24·   ·how the conversation was, but the ideal behind
25·   ·in hand, because they were the same records that     25·   ·everything that we did from the beginning was to

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·were used earlier in the previous administration     ·2·   ·be fair to student borrowers that had been harmed
·3·   ·to address the gainful employment issue.             ·3·   ·and to give full consideration to how much harm
·4·   · · · · · · ·And so members of the group picked up    ·4·   ·was done and if it was worthy of a hundred percent
·5·   ·from there and looked at the potentiality of using   ·5·   ·forgiveness, then that's what should be provided.
·6·   ·that information that would be had, that had been    ·6·   · · · · · · ·If it was something where the
·7·   ·provided by the Social Security Administration for   ·7·   ·individual had moved forward and been successful
·8·   ·useful gainful employment, to look at that as part   ·8·   ·and should have had some relief, at some level,
·9·   ·of the methodology that was put forward in           ·9·   ·that should be considered too; and that -- and
10·   ·performance and effectuated, until the court ruled   10·   ·looking at things through that lens ultimately was
11·   ·that the use of the information was potentially a    11·   ·fair for the borrower and fair for the taxpayer in
12·   ·violation of a privacy act.                          12·   ·respect that it was going to cost something, but
13·   · · · Q.· · ·And -- and this approach that            13·   ·out of hand we shouldn't start with respect to
14·   ·resulted from the borrower defense Group Review      14·   ·that -- that everybody that was harmed was harmed
15·   ·Panel, was this -- in terms of not awarding a        15·   ·a hundred percent.
16·   ·hundred percent relief, that was a change in         16·   · · · Q.· · ·So in order to protect the taxpayer,
17·   ·position from how the prior administration           17·   ·the new administration took an approach that would
18·   ·approached this issue, correct?                      18·   ·find ways to -- to measure harm and such that a
19·   · · · A.· · ·That is correct.                         19·   ·hundred percent relief was not granted; is that
20·   · · · Q.· · ·And did -- was it your understanding     20·   ·true?
21·   ·that the prior adminis -- oh, strike that.           21·   · · · · · · ·MR. MERRITT:· Objection,
22·   · · · · · · ·Did the Department feel a need to        22·   · · · mischaracterization of prior testimony.
23·   ·balance the interests of student bor -- borrowers    23·   · · · Q.· · ·You can answer the question.
24·   ·who were victims of misconduct by their schools      24·   · · · A.· · ·Can you repeat the question, please.
25·   ·with the interest of taxpayers?                      25·   · · · Q.· · ·In order to protect the taxpayer, the


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -
·2·   ·new administration's approach was to find ways to    ·2·   ·   ·   ·   which the difficulty of reviewing borrower
·3·   ·limit relief commensurate with what the Department   ·3·   ·   ·   ·   defense applications -- sorry about that.
·4·   ·viewed as the harm to the borrower; is that true?    ·4·   ·   ·   ·   · · · ·So as relevant to this witness, the
·5·   · · · A.· · ·No, I don't think that is phrased        ·5·   ·   ·   ·   only topic that the court authorized
·6·   ·correctly.                                           ·6·   ·   ·   ·   discovery into is the extent to which the
·7·   · · · · · · ·I don't think we were thinking of the    ·7·   ·   ·   ·   difficulty of reviewing borrower defense
·8·   ·taxpayer, you know, first and then looking to --     ·8·   ·   ·   ·   applications actually caused or justified the
·9·   ·to have a balance.· I think we were looking to try   ·9·   ·   ·   ·   Secretary's 18-month delay and I don't think
10·   ·to make it fair across the board.                    10·   ·   ·   ·   that question relates to that topic.
11·   · · · Q.· · ·So what were you doing to protect the    11·   ·   ·   ·   · · · ·MR. JARAMILLO:· Well, the court did
12·   ·taxpayer?                                            12·   ·   ·   ·   say that there was a strong showing of agency
13·   · · · · · · ·MR. MERRITT:· Objection, overbroad.      13·   ·   ·   ·   pretext, the class had been prejudiced by
14·   · · · Q.· · ·You can answer.                          14·   ·   ·   ·   delay, and the court said we need to know
15·   · · · A.· · ·I -- I think, though, protecting the     15·   ·   ·   ·   what's really going on and that led him to
16·   ·taxpayer was -- I don't know what happened when we   16·   ·   ·   ·   compel discovery on the topic you listed, but
17·   ·were deciding correctly for borrowers.               17·   ·   ·   ·   other topics as well that Mr. Manning might
18·   · · · Q.· · ·Was the interest of schools also a       18·   ·   ·   ·   have knowledge of including the denial issue
19·   ·consideration in revising the -- the relief          19·   ·   ·   ·   before this suit and under the previous
20·   ·awarded to borrowers?                                20·   ·   ·   ·   administration and the extent to which the
21·   · · · A.· · ·I, I -- I never heard that was raised    21·   ·   ·   ·   Secretary denied applications of students who
22·   ·as a consideration.                                  22·   ·   ·   ·   attended the school subject to findings of
23·   · · · Q.· · ·So, in your view, the considerations     23·   ·   ·   ·   misconduct.· This all gets to pretext and
24·   ·were the taxpayer and the borrower?                  24·   ·   ·   ·   potential causes of the delay.
25·   · · · A.· · ·Yes.                                     25·   ·   ·   ·   · · · ·Are you going to instruct him not to

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Any other considerations?                ·2·   · · · answer that question?
·3·   · · · A.· · ·I'm sure there were other                ·3·   · · · · · · ·MR. MERRITT:· You're correct that
·4·   ·considerations discussed at the table.· I don't      ·4·   · · · some of the topics could be relevant to Mr.
·5·   ·recall what they were.                               ·5·   · · · Manning.
·6·   · · · Q.· · ·In your view, the prior                  ·6·   · · · · · · ·I will state that the court's general
·7·   ·administration did not sufficiently take into        ·7·   · · · statement that the pretext do not set the
·8·   ·account the interest of the taxpayer?                ·8·   · · · parameters for a technical discovery, the
·9·   · · · · · · ·MR. MERRITT:· Objection.· We're          ·9·   · · · actual topics that you listed do.
10·   · · · getting beyond the scope of the discovery the   10·   · · · · · · ·At this point we are very, very far
11·   · · · court authorized.                               11·   · · · before the 18-month delay the court
12·   · · · Q.· · ·You can answer unless your counsel       12·   · · · referenced, which as you now began in 2018.
13·   ·instructs you not to.                                13·   · · · So I guess, at this point, I'll -- I'll ask
14·   · · · · · · ·MR. MERRITT:· Well, which topic is       14·   · · · you to restate the question.
15·   · · · this relevant to?                               15·   · · · · · · ·MR. JARAMILLO:· We can move on.
16·   · · · · · · ·MR. JARAMILLO:· Well, this is            16·   · · · Q.· · ·Mr. -- Mr. Manning, you testified
17·   · · · background leading towards the eventual delay   17·   ·earlier that it was determined that the Secretary
18·   · · · in the processing of applications and it has    18·   ·needed to approve the applications of
19·   · · · to do with the view of the new administration   19·   ·approximately 16,000 borrowers of -- that were
20·   · · · toward Borrowers Defense claims and what        20·   ·prelim -- that were approved by the prior
21·   · · · would be used to evaluate them.                 21·   ·administration, but not actually discharged; is
22·   · · · · · · ·MR. MERRITT:· I don't think that's a     22·   ·that correct?
23·   · · · topic.· I mean, if the court's -- as relevant   23·   · · · A.· · ·Correct.
24·   · · · to this witness, the only topic the court       24·   · · · Q.· · ·And were you involved in the
25·   · · · authorized discovery into is the extent to      25·   ·Secretary's approval of those applications?


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·2·   · · · A.· · ·I -- I briefed her that that was the    ·2·   · · · A.· · ·I have no recollection of who gave me
·3·   ·determination after review by the Office of         ·3·   ·the draft.
·4·   ·General Counsel.· There was no option and I -- I    ·4·   · · · Q.· · ·Do you know if this resulted from the
·5·   ·recommended she sign.                               ·5·   ·borrower defense Review Panel?
·6·   · · · Q.· · ·That she sign what?                     ·6·   · · · A.· · ·I do not.· I think that I would say
·7·   · · · A.· · ·The discharge of those 16,000 loans     ·7·   ·that -- so the paragraph that reads, "We
·8·   ·--· $200 billion worth of loans.                    ·8·   ·established a review panel consisting of Joe
·9·   · · · Q.· · ·And was that an actual document         ·9·   ·Connolly, Lynn Mahaffy -- we established a review
10·   ·discharging the loans?                              10·   ·panel consisting of Joe Connolly, Lynn Mahaffy,
11·   · · · A.· · ·She signed recognizing that, that her   11·   ·Phil Rosenfelt, Justin· Riemer and myself who
12·   ·-- her action authorized the process to go          12·   ·examined the claims and background explanation and
13·   ·forward.                                            13·   ·made recommendations on how to resolve the pending
14·   · · · Q.· · ·And were you involved in drafting the   14·   ·claims and proceed in the future."
15·   ·written document for that action?                   15·   · · · · · · ·So this memo preparation was made in
16·   · · · A.· · ·I was not.                              16·   ·and amongst the group of people represented here.
17·   · · · Q.· · ·Did you give her, the Secretary, any    17·   · · · Q.· · ·And was this the action you referred
18·   ·written communication about the action?             18·   ·to previously of the -- of Secretary DeVos
19·   · · · A.· · ·I believe I may have.· I expect I       19·   ·authorizing the discharge of approximately 16,000
20·   ·did, yes.                                           20·   ·borrower defense claims?
21·   · · · Q.· · ·Why don't we look at Tab 11 in your     21·   · · · A.· · ·Yes.· It was --
22·   ·documents and this was previously submitted as      22·   · · · Q.· · ·I'm sorry, go ahead.
23·   ·Exhibit 7 in the Jones deposition.                  23·   · · · A.· · ·The answer to what you said so far is
24·   · · · · · · ·(Whereupon, Exhibit 7, having been      24·   ·yes.· It was a recommendation to the Secretary
25·   · · · previously marked, was tendered to the         25·   ·signed by me to "proceed with discharge for direct

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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · witness for identification.)                   ·2·   ·and non-direct loans for all impacted borrowers
·3·   · · · Q.· · ·And I'll ask you to just skip past      ·3·   ·direct for U.S. or in the CFO's Internal Control
·4·   ·the first page that says "Exhibit 7" because that   ·4·   ·Unit to set up interim procedures to process
·5·   ·was just used to get it into the court file; and    ·5·   ·claims until new borrower defense regulations are
·6·   ·if you turn to the second actual page of the        ·6·   ·operable and take effect.· Proceeding with
·7·   ·document, do you recognize this document?           ·7·   ·requesting OIG launch a review of the borrower
·8·   · · · A.· · ·Uh-huh.                                 ·8·   ·defense program."
·9·   · · · Q.· · ·And can you tell me what it is?         ·9·   · · · Q.· · ·And you're reading from Page 4 of
10·   · · · A.· · ·This is a memo from me to the           10·   ·this exhibit?
11·   ·Secretary.                                          11·   · · · A.· · ·Correct.
12·   · · · · · · ·MR. JARAMILLO: And I'm not sure that    12·   · · · Q.· · ·And you see that Secretary DeVos
13·   · · · I did this, but we should mark this -- I'm     13·   ·signed it and checked the -- the line that says
14·   · · · sorry, we don't have to mark this.· Strike     14·   ·"Approved"?
15·   · · · that.                                          15·   · · · A.· · ·I do.
16·   · · · Q.· · ·Did you write this memo, Mr. Manning?   16·   · · · Q.· · ·And this is a document that shows
17·   · · · A.· · ·I signed it.· I don't believe that I    17·   ·that she approved the action listed in the
18·   ·was the author.                                     18·   ·recommendation?
19·   · · · Q.· · ·Do you know who authored it?            19·   · · · A.· · ·It is.
20·   · · · A.· · ·Probably a committee.                   20·   · · · Q.· · ·And you see your comment at the
21·   · · · Q.· · ·And what committee would that be?       21·   ·bottom that says "With extreme displeasure"?
22·   · · · A.· · ·Oh, I, I -- I don't know.· I would      22·   · · · A.· · ·I do.
23·   ·say that I, you know, ultimately read it and sent   23·   · · · Q.· · ·After, did you -- do you recall
24·   ·it forward.                                         24·   ·seeing that after she signed this document?
25·   · · · Q.· · ·Who gave you the draft of it?           25·   · · · A.· · ·Well, I -- I don't recall that,


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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·but --                                              ·2·   ·discussion about moving forward with the
·3·   · · · Q.· · ·After she signed this document, did     ·3·   ·methodology and getting to a point where we would
·4·   ·you talk to her about her extreme displeasure?      ·4·   ·be able to move forward, as I said before, fairly
·5·   · · · · · · ·MR. MERRITT:· Objection, asked and      ·5·   ·for the borrower and the taxpayer by considering
·6·   · · · answered.                                      ·6·   ·the harm that was done to student borrowers and
·7·   · · · Q.· · ·You can answer.                         ·7·   ·providing relief at an appropriate level that
·8·   · · · A.· · ·Well, I know she was not happy about    ·8·   ·ultimately was between a hundred percent and ten
·9·   ·it and I know that she would have preferred that    ·9·   ·percent.
10·   ·the action was taken on fully under Trump's         10·   · · · Q.· · ·To your recollection, when was that
11·   ·administration, but she -- she knew she had an      11·   ·new methodology put into effect?
12·   ·obligation and she signed it and was not happy      12·   · · · A.· · ·Oh, I'm -- I'm trying to recall. I
13·   ·about it, the way it had been handled up to then.   13·   ·can't remember specifically when it was put into
14·   · · · Q.· · ·And after she signed the document, do   14·   ·effect, you know, obviously it would take
15·   ·you know if the 16,000 applications were actually   15·   ·some -- some time to stand up.· It was in
16·   ·discharged?                                         16·   ·effect -- started being worked on through '17.
17·   · · · A.· · ·Yes, they were.                         17·   · · · · · · ·You know, it was in effect for a
18·   · · · Q.· · ·Do you know when they were              18·   ·certain period of time before it was put aside by
19·   ·discharged?                                         19·   ·the court in 2018.· I, I -- I can't remember the
20·   · · · A.· · ·I do not.                               20·   ·specific start date in terms of when it was up for
21·   · · · Q.· · ·Do you have an estimate as to when      21·   ·operation.
22·   ·they were discharged?                               22·   · · · Q.· · ·Until it was up in operation, is it
23·   · · · A.· · ·Not long after she signed this.         23·   ·true that the Department did not issue any other
24·   · · · Q.· · ·And were they all discharged with a     24·   ·final borrower defense decisions except for the
25·   ·hundred percent relief?                             25·   ·approximately 16,000 that were approved by the

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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·That's my understanding.                ·2·   ·Secretary in the memo we just looked at?
·3·   · · · Q.· · ·During the time period in which the     ·3·   · · · A.· · ·I don't specifically recall, but I
·4·   ·borrower defense Review Panel was -- was meeting    ·4·   ·expect that it's true though.
·5·   ·to evaluate the borrower defense program, did FSA   ·5·   · · · Q.· · ·And this memo, as you read, did
·6·   ·issue any decisions on borrower defense             ·6·   ·authorize the CFO's Internal Control Unit to set
·7·   ·applications?                                       ·7·   ·up interim procedures to process claims, right?
·8·   · · · A.· · ·I don't recall if they issued any or    ·8·   · · · · · · ·MR. MERRITT:· Objection, ambiguous.
·9·   ·not.· They certainly were receiving applications    ·9·   · · · What -- what document?
10·   ·and were making judgments whether they were         10·   · · · · · · ·MR. JARAMILLO:· The document we
11·   ·acceptable for consideration or not, but I don't    11·   · · · looked at which was the May 4th, 2017 memo
12·   ·recall that.· I --                                  12·   · · · that's Exhibit 7 in this case.
13·   · · · Q.· · ·Do you recall there being -- sorry,     13·   · · · Q.· · ·Tab 11 for you, Mr. Manning.
14·   ·go ahead.· I talked over you.                       14·   · · · A.· · ·Yes.· That's Page 4 of Exhibit 7; is
15·   · · · A.· · ·That's okay.· Sorry.· I don't recall    15·   ·that right.
16·   ·that there were any that were finally fully         16·   · · · Q.· · ·Yes, the authorization of the setting
17·   ·settled beyond these.                               17·   ·up of interim procedures.
18·   · · · Q.· · ·Was there a decision to put a pause     18·   · · · A.· · ·Yes, I see what you're saying there.
19·   ·on issuing final decisions during the time period   19·   ·"Direct OUS and the CFO's Internal Control Unit"
20·   ·of the borrower defense Review Panel?               20·   ·--· sorry, I'll read the whole thing so you have
21·   · · · A.· · ·During a period that involved the       21·   ·it.
22·   ·panel?· I -- I don't recall a -- a formal           22·   · · · · · · ·"Proceed with discharge for direct
23·   ·decision, but -- I don't -- I don't recall a        23·   ·and non-direct loans for all impacted borrowers.
24·   ·decision that ordered that.                         24·   ·Direct OUS and the CFO's Internal Control Unit to
25·   · · · · · · ·I think there was certainly             25·   ·set up interim procedures to process claims until


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·new borrower defense regulations are adopted and     ·2·   ·that position I reported to the Secretary.
·3·   ·take effect.· Proceed with requesting OIG launch a   ·3·   · · · Q.· · ·How often did you meet with the
·4·   ·review of the borrower defense program."             ·4·   ·Secretary in that role?
·5·   · · · · · · ·And my reading of the second sentence    ·5·   · · · A.· · ·Well, I -- I met with her -- I'm not
·6·   ·"direct all OUS and CFOs' Internal Control Unit to   ·6·   ·sure if I met with her in that role specifically
·7·   ·set up interim procedures to process claims until    ·7·   ·or I had started a meeting with her as a senior
·8·   ·new borrower defense regulations are adopted" to     ·8·   ·advisor and I -- I guess I wasn't officially --
·9·   ·me refers to the establishment of the methodology.   ·9·   ·but I met with her every few weeks in a group with
10·   ·New borrower defense regulations, actions on that    10·   ·other -- with other senior advisors.· I would have
11·   ·didn't start until the end of 2017.                  11·   ·had some individual -- not individual -- some
12·   · · · Q.· · ·Right, and -- and this says that the     12·   ·smaller group meetings from time to time.
13·   ·OUS and the CFO's Internal Control Unit was          13·   · · · Q.· · ·With the Secretary?
14·   ·directed to set up interim procedures to process     14·   · · · A.· · ·With the Secretary, yeah.
15·   ·claims un -- until then; is that right?              15·   · · · Q.· · ·And did you discuss borrower defense
16·   · · · A.· · ·Yes, and I'm saying that the,            16·   ·issues during any of those meetings?
17·   ·the -- what was set up in the interim processes      17·   · · · A.· · ·During any of them?
18·   ·was to effectuate the methodology and apply that.    18·   · · · Q.· · ·Yes.
19·   · · · Q.· · ·And were the interim procedures set      19·   · · · A.· · ·Certainly.
20·   ·forth in any document, any document that you're      20·   · · · Q.· · ·And who else was present when you
21·   ·aware of?                                            21·   ·discussed borrower defense issues?
22·   · · · A.· · ·Not that I recall.                       22·   · · · A.· · ·I can't be clear in terms of, you
23·   · · · · · · ·MR. MERRITT:· Joe, would it be okay      23·   ·know, who was there when we were discussing
24·   · · · if we took a short break sometime soon for      24·   ·borrower defense issues, but generally the folks
25·   · · · five minutes.                                   25·   ·that would meet with the Secretary and I would

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·MR. JARAMILLO:· Yes, let's go ahead      ·2·   ·include Bob Eitel, Secretary chief of staff
·3·   · · · and take a break now for five minutes.          ·3·   ·depending on who that was at the time.· She had
·4·   · · · · · · ·MR. MERRITT:· Thank you.                 ·4·   ·two different chiefs of staff.
·5·   · · · · · · ·THE VIDEOGRAPHER:· We are now off the    ·5·   · · · · · · ·When Diane Jones came onboard, she
·6·   · · · record, the time is 16:53 UTC.                  ·6·   ·was part of that group.· Liz Hill, who was her
·7·   · · · · · · ·(Whereupon, there was a brief recess     ·7·   ·communications person and press spokesman.
·8·   · · · in the proceedings.)                            ·8·   · · · · · · ·Ultimately when Deputy Secretary came
·9·   · · · · · · ·THE VIDEOGRAPHER:· Please standby,       ·9·   ·on, General Zeiz, Deputy Secretary of Education
10·   · · · everyone.· We're now on the record, the time    10·   ·was in some of those meetings.· The Deputy
11·   · · · is 17:07 UTC.                                   11·   ·Secretary of Education, Zeiz is his last name,
12·   · · · Q.· · ·Mr. Manning, we're just back from        12·   ·Z-E-I-Z, former General.
13·   ·break and I wanted to ask you if to -- I don't       13·   · · · · · · ·When Wayne Johnson ultimately came
14·   ·want to know what you talked about.· I want to       14·   ·onboard, he would be part of those meetings as
15·   ·just ask you if you spoke with anybody during the    15·   ·well, initially as COO and then continuing to --
16·   ·break.                                               16·   ·as the director of Next Gen, as I said,
17·   · · · A.· · ·Briefly with the attorneys.              17·   ·initiative.
18·   · · · Q.· · ·Do you have anything to clarify from     18·   · · · Q.· · ·Other than the May 4th, 2017 memo
19·   ·your prior testimony?                                19·   ·that was from you to Secretary DeVos, did you have
20·   · · · A.· · ·No.                                      20·   ·any other written communications with Secretary
21·   · · · Q.· · ·Do you recall any direction -- let's     21·   ·DeVos about borrower defense issues?
22·   ·back up a little bit.                                22·   · · · A.· · ·Separately, not -- not that I recall.
23·   · · · · · · ·As acting Undersecretary of Higher       23·   · · · Q.· · ·No e-mail?
24·   ·Education, who did you report to?                    24·   · · · A.· · ·Quite frankly I can't be sure, but
25·   · · · A.· · ·In essence I reported to the -- in       25·   ·e-mails except but for the fact I don't recall


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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·sending e-mails to the Secretary.                   ·2·   · · · Q.· · ·Yes.
·3·   · · · Q.· · ·And no text messages?                   ·3·   · · · A.· · ·Not at FSA.
·4·   · · · A.· · ·No, none.                               ·4·   · · · Q.· · ·Okay.· Anywhere else?
·5·   · · · Q.· · ·And underneath you as under acting      ·5·   · · · A.· · ·Quite frankly, I don't know -- not
·6·   ·Secretary, was FSA, correct?                        ·6·   ·that I know of.
·7·   · · · A.· · ·Yes, in -- in principal the             ·7·   · · · Q.· · ·Okay.· So these people, when they
·8·   ·Undersecretary had oversight of the Higher          ·8·   ·were in that role, reported directly to you?
·9·   ·Education programs, so FSA is part of Education     ·9·   · · · A.· · ·I -- actually Jillian Schmoke when he
10·   ·and Career Adult Education.                         10·   ·came onboard, he came onboard and we had a
11·   · · · Q.· · ·Who from FSA reported directly to       11·   ·full-time COO that was Wayne Johnson, and he
12·   ·you?                                                12·   ·reported to Wayne while Wayne was COO through
13·   · · · A.· · ·Oh, a whole cadre of folks at           13·   ·July, '17 through January, '18.· That --
14·   ·different times.· I mean, there was a group of      14·   · · · Q.· · ·And Jillian -- go ahead.· I'm sorry.
15·   ·senior leaders of or ten or so that met regularly   15·   · · · A.· · ·Yeah, that was the reporting
16·   ·with me.                                            16·   ·relationship.
17·   · · · Q.· · ·Did any of them meet regularly with     17·   · · · Q.· · ·So from Julian Schmoke up to Wayne
18·   ·you about borrower defense?                         18·   ·Johnson and then up to you?
19·   · · · A.· · ·The issue of borrower defense may       19·   · · · A.· · ·Yes.
20·   ·have come up from time to time in general           20·   · · · Q.· · ·Did Colleen Nevin ever directly
21·   ·meetings, but...                                    21·   ·report to you?
22·   · · · Q.· · ·Who at FSA was responsible for          22·   · · · A.· · ·On paper I'm sure she did.· Let's
23·   ·overseeing the implementation of borrower defense   23·   ·see. It would have after the senior leaders had
24·   ·during your tenure at the Department?               24·   ·left -- I'm sorry, I don't know the gentleman's
25·   · · · A.· · ·The director of the Enforcement group   25·   ·name -- and then Laura Kim.· At -- at that point,

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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·officially had that responsibility.                 ·2·   ·Colleen reported directly to me.
·3·   · · · Q.· · ·And who was that during your tenure?    ·3·   · · · Q.· · ·It -- go ahead.· I'm sorry.
·4·   ·And if it was multiple people just tell me who      ·4·   · · · A.· · ·It -- it would have been -- you know,
·5·   ·recall, please.                                     ·5·   ·if it wasn't March, '17 it could have been shortly
·6·   · · · A.· · ·Oh, it was multiple people and it       ·6·   ·after that, early '17.
·7·   ·was -- I just forgot the name.· I just saw his      ·7·   · · · Q.· · ·And, Mr. -- Mr. Manning, please don't
·8·   ·name on a e-mail not too long ago.· Robert -- I     ·8·   ·take offense at my question, but I want to do a
·9·   ·don't remember his last name.· He left actually     ·9·   ·quick check-in to see if there's any reason that
10·   ·earlier; he left in February and then Laura Kim     10·   ·you're having trouble recalling any facts today
11·   ·and then shortly after that she left and Colleen    11·   ·and you don't have to tell me the reason at this
12·   ·Nevin effectively was the senior person there.      12·   ·point, but I want to know if you are having
13·   · · · · · · ·And I would seek Colleen from time to   13·   ·trouble.
14·   ·time until -- until Jillian Schmoke became the      14·   · · · A.· · ·Oh, well, I'm only reporting on what
15·   ·director of the borrower -- of the, you know,       15·   ·I -- well, I'm trying to remember things that I
16·   ·Enforcement Unit in the summer of '17.· So '17      16·   ·think I -- I should remember, but that are not
17·   ·probably August.                                    17·   ·coming right to mind.
18·   · · · Q.· · ·And, Mr. Manning, you've named people   18·   · · · Q.· · ·Okay.
19·   ·that were, as you described it, in the role of      19·   · · · A.· · ·I have been away from that for a
20·   ·director of Enforcement within FSA, correct?        20·   ·while.· I've been doing other work and I really
21·   · · · A.· · ·Yes.                                    21·   ·haven't been following any issues in and around,
22·   · · · Q.· · ·Between you and that role of director   22·   ·you know, the Department or borrower defense or I
23·   ·of Enforcement, was there anybody else in the       23·   ·didn't focus on those things.
24·   ·chain of reporting?                                 24·   · · · Q.· · ·I -- I understand, Mr. Manning, but I
25·   · · · A.· · ·Between me and director?                25·   ·just want to make sure that there's nothing that


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·2·   ·might be impeding your recollection today.· For      ·2·   ·take an active role; and when I dealt directly
·3·   ·example -- and you don't have to tell me if you      ·3·   ·with Colleen who was to get updated on activities,
·4·   ·don't want to, but sometimes medications may have    ·4·   ·but I had full faith and confidence in her and
·5·   ·an impact on recollections.                          ·5·   ·allowed her to do her job.
·6·   · · · · · · ·I just wanted to make sure there's       ·6·   · · · Q.· · ·So effectively during that time
·7·   ·nothing that you're aware of that could be           ·7·   ·period, was Colleen Nevin in charge of borrower
·8·   ·impacting your recollection today; and, again, I     ·8·   ·defense for the Department of Education?
·9·   ·apologize if this is sensitive for you, I know --    ·9·   · · · · · · ·MR. MERRITT:· Objection,
10·   ·I know it -- it would be for -- for most people,     10·   · · · mischaracterization of prior testimony.
11·   ·but are you aware of anything that might be          11·   · · · Q.· · ·You can answer the question.
12·   ·impacting your recollection, other than the          12·   · · · A.· · ·So repeat it again.· Was Colleen
13·   ·passage of time between your time at the             13·   ·what?
14·   ·Department and now?                                  14·   · · · Q.· · ·Was she effectively the person in
15·   · · · A.· · ·No.· Passage of time.                    15·   ·charge of -- of the borrower defense program at
16·   · · · Q.· · ·Okay.· You're not aware of anything      16·   ·the Department when she reported directly to you
17·   ·else?                                                17·   ·and you had full faith and -- and confidence in
18·   · · · A.· · ·I'm not aware -- not aware of            18·   ·her?
19·   ·anything else.                                       19·   · · · A.· · ·Well, she was -- she was in charge of
20·   · · · Q.· · ·Okay, I know it's kind of awkward,       20·   ·the Borrower Defense Unit.· She wasn't -- your --
21·   ·but I just kind of had to ask just because, you      21·   ·your statement was too broad in terms of, you
22·   ·know -- I know you're doing your best and you're     22·   ·know, for the whole Department.· There was
23·   ·taking time to think and jog your memory and I       23·   ·oversight, but she ran the borrower defense Unit
24·   ·just wanted to make sure nothing was --              24·   ·and...
25·   · · · A.· · ·Just the fact that I'm 67 and not 57     25·   · · · Q.· · ·And who gave that oversight to her?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·anymore.                                             ·2·   · · · A.· · ·Well, the -- the leaders in the
·3·   · · · Q.· · ·I understand.· I find myself going       ·3·   ·Enforcement Unit initially, which would have led
·4·   ·through some slowdowns as well.                      ·4·   ·to Julian Schmoke spending more of that time.
·5·   · · · · · · ·So did you communicate directly with     ·5·   · · · Q.· · ·And what was your understanding of
·6·   ·Colleen -- strike that.                              ·6·   ·the role of the Borrower Defense Unit?
·7·   · · · · · · ·Did you have any written                 ·7·   · · · A.· · ·They received an adjudicated
·8·   ·communications with Colleen Nevin about borrower     ·8·   ·applications for borrower defense relief.
·9·   ·defense?                                             ·9·   · · · Q.· · ·So that was one step in the process
10·   · · · A.· · ·Not that I recall.                       10·   ·of borrower defense's claim review and processing
11·   · · · Q.· · ·No e-mails between you and her about     11·   ·during your time at the Department?
12·   ·borrower defense?                                    12·   · · · A.· · ·Yes.
13·   · · · A.· · ·I'm not saying no e-mails, but I         13·   · · · Q.· · ·Well, let's go through the whole
14·   ·don't recall.                                        14·   ·process step by step.· When -- when claims came
15·   · · · Q.· · ·Okay.· What involvement did you have,    15·   ·into the Department, who was in charge of that
16·   ·if any, in overseeing the borrower defense program   16·   ·intake?
17·   ·as acting Undersecretary?                            17·   · · · A.· · ·Claims for borrower defense came into
18·   · · · A.· · ·As acting Undersecretary?· Re --         18·   ·the Department?
19·   ·repeat the question.                                 19·   · · · Q.· · ·Yes.
20·   · · · Q.· · ·Did you have a role in overseeing the    20·   · · · A.· · ·My understanding is they went
21·   ·borrower defense program when you were acting        21·   ·directly to the Borrower Defense Unit.
22·   ·Undersecretary in the Trump Administration?          22·   · · · Q.· · ·And what did the Borrower Defense
23·   · · · A.· · ·Well, in -- in principle the             23·   ·Unit do with them?
24·   ·Undersecretary oversees FSA.· During those periods   24·   · · · A.· · ·They reviewed them, made decisions on
25·   ·when there was someone else as COO, I would not      25·   ·whether or not they were sufficient to be given


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·2·   ·further consideration for relief or they made        ·2·   ·borrower defense applications or denying --
·3·   ·decisions that they were insufficient to be          ·3·   ·approving or denying them?
·4·   ·considered.                                          ·4·   · · · A.· · ·Initially?· I -- I didn't see the
·5·   · · · Q.· · ·If they determined that they were        ·5·   ·borrower defense claims as they were coming in.
·6·   ·sufficient to be given further consideration for     ·6·   ·The -- the reviews took place in the Borrower
·7·   ·relief, what happened to the claim at that point?    ·7·   ·Defense Unit and I got a report in terms of the
·8·   · · · A.· · ·I don't recall.                          ·8·   ·numbers that were coming in.· I wasn't engaged in
·9·   · · · Q.· · ·Are you aware of anybody else that       ·9·   ·the decisions.
10·   ·would look at it, besides the Borrower Defense       10·   · · · Q.· · ·Okay.· You said that was initially,
11·   ·Unit?                                                11·   ·did that change at any point in time during your
12·   · · · A.· · ·I expect that the director of the        12·   ·tenure at the Department in the Trump
13·   ·Enforcement group might look at it, but I            13·   ·Administration?
14·   ·expect -- well, I think that -- no.· I expected      14·   · · · A.· · ·Not that I know.· I, I--· I said I
15·   ·the -- the defense -- the director of -- I'm         15·   ·can't recall what the additional steps were once
16·   ·sorry -- the Enforcement group.                      16·   ·the methodology obviously -- I mean, not
17·   · · · Q.· · ·And what would director of the           17·   ·obviously, but I expect that would have impact the
18·   ·Enforcement group do at that point?                  18·   ·whole process; but I don't recall.
19·   · · · A.· · ·Just have an understanding of where      19·   · · · Q.· · ·Did you ever receive a package of
20·   ·the applications were.                               20·   ·borrower defense applications with the cover memo
21·   · · · Q.· · ·Okay.· So if someone applied and the     21·   ·to approve or deny?
22·   ·Borrower Defense Unit determined that their -- it    22·   · · · A.· · ·Borrower defense applications to
23·   ·warrants, the application warrants further           23·   ·approve or deny?
24·   ·consideration for relief, who gives that further     24·   · · · Q.· · ·Yes.
25·   ·consideration for relief or who during your tenure   25·   · · · A.· · ·No, I do not recall.· I don't

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·at the admin -- at the Department?                   ·2·   ·remember ever receiving a package like that. I
·3·   · · · A.· · ·Well, initially it was within the        ·3·   ·don't remember.· I don't recall.
·4·   ·Borrower Defense Unit.· Ultimately when there was    ·4·   · · · Q.· · ·Did you have approve any borrower
·5·   ·a methodology, I don't recall how the review         ·5·   ·defense applications yourself?
·6·   ·process went once the methodology was established.   ·6·   · · · A.· · ·Individually?
·7·   · · · Q.· · ·Once the methodology was established,    ·7·   · · · Q.· · ·Yes.
·8·   ·was there someone in charge of making a relief       ·8·   · · · A.· · ·Not -- not that I recall.
·9·   ·determination?                                       ·9·   · · · Q.· · ·How about as a group?
10·   · · · A.· · ·I don't recall.                          10·   · · · A.· · ·Not that I recall.
11·   · · · Q.· · ·Was BDU involved in making -- was the    11·   · · · Q.· · ·Did you ever deny borrower defense
12·   ·Borrower Defense Unit involved in making a relief    12·   ·applications individually?
13·   ·determination?                                       13·   · · · A.· · ·Individually?· No.
14·   · · · A.· · ·Well, I would say that their work was    14·   · · · Q.· · ·How about as a group?
15·   ·the first step in the process.· I -- I don't         15·   · · · A.· · ·If something came to me, I -- I don't
16·   ·recall beyond their adjudication what the            16·   ·recall.
17·   ·additional steps were beyond that.                   17·   · · · Q.· · ·You don't recall ever being directly
18·   · · · Q.· · ·Have you heard of their work             18·   ·involved in issuing borrower defense decisions to
19·   ·adjudicating claims being referred to as Step 1?     19·   ·individual borrowers or individual borrowers in a
20·   · · · A.· · ·I actually don't remember hearing it     20·   ·group?
21·   ·that way, but --                                     21·   · · · A.· · ·Not to individual borrowers, but
22·   · · · Q.· · ·Do you recall hearing of a -- of the     22·   ·individual borrowers in -- in a group says
23·   ·relief determination being referred to as Step 2?    23·   ·something different to me.· If there's a document
24·   · · · A.· · ·I don't recall hearing that.             24·   ·that, you know, asks for a -- approval on a group,
25·   · · · Q.· · ·Were you ever involved in approving      25·   ·something like that, it's possible.· Do I recall


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·2·   ·it, no.                                              ·2·   · · · A.· · ·I don't recall.
·3·   · · · Q.· · ·And why do you say it's possible?        ·3·   · · · Q.· · ·Were you involved in the development
·4·   · · · A.· · ·Well, because -- I would say it's        ·4·   ·of any policies that affected the borrower defense
·5·   ·possible because I had -- I certainly received       ·5·   ·Unit's work?
·6·   ·packages for consideration on any number of things   ·6·   · · · A.· · ·Any policies that affected the
·7·   ·for signature to signoff and I do not recall any     ·7·   ·borrowers?· I -- I don't recall the process that
·8·   ·involving borrower defense.· That -- that was not    ·8·   ·was followed when the methodology was in place and
·9·   ·the way information flowed on that, to my            ·9·   ·I -- I'm not sure if the borrower defense -- what,
10·   ·recollection.                                        10·   ·if any, role they had in the final resolution of
11·   · · · Q.· · ·Do you know if the Office of the         11·   ·those applications when the methodology was being
12·   ·Secretary was ever involved in approving borrower    12·   ·applied.
13·   ·defense applications, putting aside the -- the May   13·   · · · Q.· · ·How about any other policy decisions
14·   ·4th, 2017 decision to approve those approximately    14·   ·that you were involved in that might have affected
15·   ·16,000?                                              15·   ·the Borrower Defense Unit; are you aware of any
16·   · · · A.· · ·Do I know whether the Office was         16·   ·others?
17·   ·involved?· That -- that would be highly unusual,     17·   · · · · · · ·MR. MERRITT:· Objection.
18·   ·but I don't know.                                    18·   · · · A.· · ·I don't.
19·   · · · Q.· · ·Beyond the Borrower Defense Unit in      19·   · · · · · · ·MR. MERRITT:· Strike that.
20·   ·Enforcement in FSA, do you have any recollection     20·   · · · Q.· · ·And, Mr. Manning, you mentioned that
21·   ·of any other Department or any other unit being      21·   ·you -- you're not sure whether BDU, Borrower
22·   ·involved in making or issuing borrower defense       22·   ·Defense Unit, was involved with methodology, but
23·   ·decisions?                                           23·   ·other than that was there any policies that you're
24·   · · · A.· · ·Issuing or making borrower defense       24·   ·aware of that -- that you had a role in -- in
25·   ·decisions outside of En -- Enforcement Unit and      25·   ·making that affected the Borrower Defense Unit?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·Borrower Defense Unit?                               ·2·   · · · A.· · ·I don't recall.
·3·   · · · Q.· · ·Yes, that's the question.                ·3·   · · · Q.· · ·Now, the Office of the Undersecretary
·4·   · · · A.· · ·No, I don't.                             ·4·   ·was involved in making policy for the Department,
·5·   · · · Q.· · ·Do you know if, if -- if a decision      ·5·   ·correct?
·6·   ·was issued to approve or deny, do you know who       ·6·   · · · A.· · ·From time to time.
·7·   ·would draft the notice of decision?                  ·7·   · · · Q.· · ·And if you, if you -- if the Office
·8·   · · · · · · ·MR. MERRITT:· Objection, calls for       ·8·   ·of the Undersecretary made a policy, did it need
·9·   · · · speculation.                                    ·9·   ·or did you need the Secretary's approval for any
10·   · · · Q.· · ·You can answer.                          10·   ·of policies decisions?
11·   · · · A.· · ·I don't know.                            11·   · · · A.· · ·I don't recall the process.
12·   · · · Q.· · ·If a borrower application was            12·   · · · Q.· · ·Was it the Secretary's authority to
13·   ·approved and they were granted full relief, do you   13·   ·make certain policies delegated to the Office of
14·   ·know who would be involved in discharging the        14·   ·the Undersecretary?
15·   ·application -- I mean discharging the loan?· I'm     15·   · · · A.· · ·That's a good question.· I don't
16·   ·sorry.                                               16·   ·recall.
17·   · · · A.· · ·Well, when you say in "full relief,"     17·   · · · Q.· · ·If -- if the Office of the
18·   ·you mean a hundred percent?                          18·   ·Undersecretary made policy decisions, how would
19·   · · · Q.· · ·Well, let's, let's back -- let's         19·   ·that be reflected?
20·   ·strike that question.                                20·   · · · A.· · ·There was correspondence process that
21·   · · · · · · ·If a decision was made to grant          21·   ·directed it through the executive Secretary, but I
22·   ·relief on a borrower defense application, who at     22·   ·don't recall what it was.
23·   ·the Department would be involved in effectuating     23·   · · · Q.· · ·Would a written document be generated
24·   ·that discharge or that -- yeah, or grant --          24·   ·for a policy made by the Office of the
25·   ·effectuating the relief?                             25·   ·Undersecretary?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I expect so, but I don't recall in       ·2·   · · · · · · ·MR. MERRITT:· Objection, speculative
·3·   ·particular.                                          ·3·   · · · and overbroad.
·4·   · · · Q.· · ·Do you recall ever signing off on a      ·4·   · · · Q.· · ·Are you aware of any problems in
·5·   ·policy that was made by the Office of the            ·5·   ·communication of policy from the Office of the
·6·   ·Undersecretary?                                      ·6·   ·Undersecretary to the Borrower Defense Unit?
·7·   · · · A.· · ·I signed off on many letters.· I -- I    ·7·   · · · · · · ·MR. MERRITT:· Objection, overbroad.
·8·   ·can't recall if or what -- there were any that       ·8·   · · · Q.· · ·You can answer the question.
·9·   ·were specifically policy directives.                 ·9·   · · · A.· · ·I'm not, I'm not -- I'm not aware of
10·   · · · Q.· · ·Did FSA have authority to make policy    10·   ·any.
11·   ·or were they just implementing Department policy?    11·   · · · Q.· · ·You're not aware of any
12·   · · · A.· · ·They did not make policy FSA.· FSA       12·   ·misunderstandings that the Borrower Defense Unit
13·   ·was an operation, not a policymaking group.· It      13·   ·had about policy?
14·   ·was an Office of Policy Liaison, a small team of     14·   · · · A.· · ·I don't remember issues along those
15·   ·people at FSA that worked closely with the Office    15·   ·lines.
16·   ·of Postsecondary Education to understand, to be      16·   · · · Q.· · ·Okay. Did you ever give instructions
17·   ·fully appreciative of what the pol -- what the       17·   ·to the Borrower Defense Unit to stop issuing
18·   ·current policies were and to be part of the          18·   ·decisions on borrower defense claims?
19·   ·conversation and ultimately policies were going to   19·   · · · A.· · ·Do I have a memory of that, no. I
20·   ·change that had impact I would say, they played a    20·   ·don't remember.
21·   ·role in explaining to the policy arm of the Office   21·   · · · Q.· · ·Aren't you aware that the Borrower
22·   ·of Secretary of Education how that might impact      22·   ·Defense Unit at some point in time during your
23·   ·one way or the other operations of FSA, but FSA      23·   ·tenure had an understanding that they were to stop
24·   ·was not a policymaking organization.                 24·   ·issuing decisions on borrower defense claims?
25·   · · · · · · ·They had a liaison and policy was        25·   · · · · · · ·MR. MERRITT:· Objection, vague and

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·driven from -- Postsecondary Education policies      ·2·   · · · ambiguous.
·3·   ·was driven from the Department of Education.         ·3·   · · · Q.· · ·You can answer the question.
·4·   · · · · · · ·Policy was driven from the Office of     ·4·   · · · A.· · ·Can you repeat the question, please.
·5·   ·Postsecondary Education and FSA would receive, you   ·5·   · · · Q.· · ·Are you aware that during your
·6·   ·know, that policy and implement it, but we were      ·6·   ·tenure, the Borrower Defense Unit had an
·7·   ·not a policymaking organization.· We were an         ·7·   ·understanding that they were to stop issuing
·8·   ·operation.                                           ·8·   ·decisions on borrower defense claims?
·9·   · · · Q.· · ·If policy was made by the Secretary      ·9·   · · · A.· · ·I don't recall.
10·   ·or other Department leadership, that would need to   10·   · · · Q.· · ·Do you recall if the Borrower Defense
11·   ·be communicated to -- strike that.                   11·   ·Unit ever stopped issuing decisions on borrower
12·   · · · · · · ·If policy -- if the policy affecting     12·   ·defense claims?
13·   ·borrower defense was made by leadership at the       13·   · · · · · · ·MR. MERRITT:· Objection, ambiguous as
14·   ·Department, that would need to be communicated to    14·   · · · to timing.
15·   ·the Borrower Defense Unit, correct?                  15·   · · · Q.· · ·At any time during your tenure, are
16·   · · · A.· · ·Yes.                                     16·   ·you aware if the Borrower Defense Unit stopped
17·   · · · Q.· · ·And, in fact, was it the Office of       17·   ·issuing decisions on borrower defense claims?
18·   ·Undersecretary responsible for communicating         18·   · · · A.· · ·I don't recall.
19·   ·policy instructions to the Borrower Defense Unit?    19·   · · · Q.· · ·At any time during your tenure, are
20·   · · · A.· · ·That would have been one of the          20·   ·you aware that FSA stopped issuing decisions on
21·   ·responsibilities, I'm sure.                          21·   ·borrower defense claims?
22·   · · · Q.· · ·Would you agree that it's important      22·   · · · A.· · ·That FSA stop issuing?
23·   ·to have clear communication of policy from the       23·   · · · Q.· · ·Yes.
24·   ·Office of the Undersecretary to the Borrower         24·   · · · A.· · ·I -- I don't recall.
25·   ·Defense Unit about borrower defense policies?        25·   · · · Q.· · ·At any time during your tenure at the


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·Department, are you aware if the Department of       ·2·   ·defense applications?
·3·   ·Education stopped issuing borrower defense claims?   ·3·   · · · A.· · ·Between the summer of '18 and when I
·4·   · · · · · · ·MR. MERRITT:· Objection, asked and       ·4·   ·left in '19, I -- I don't recall.
·5·   · · · answered.                                       ·5·   · · · Q.· · ·Now, Mr. Manning, are you aware of
·6·   · · · · · · ·MR. JARAMILLO:· It's not asked and       ·6·   ·what this case is about, Sweet versus DeVos?
·7·   · · · answered.· I'm asking about the full            ·7·   · · · A.· · ·Not specifically.
·8·   · · · Department.                                     ·8·   · · · Q.· · ·Are -- are you aware of the
·9·   · · · A.· · ·Okay, well, repeat the question then.    ·9·   ·allegations that the Department -- in this case
10·   · · · Q.· · ·Are you aware at any time during your    10·   ·plaintiffs allege that the Department unreasonably
11·   ·tenure at the Department of Education in the Trump   11·   ·delayed in issuing borrower defense applications?
12·   ·Administration if the Department of Education        12·   · · · A.· · ·I, I -- I've heard that previously at
13·   ·stopped issuing decisions on borrower defense        13·   ·one point.
14·   ·claims?                                              14·   · · · Q.· · ·Are you aware of any delay in issuing
15·   · · · A.· · ·I, I -- I don't recall specifically      15·   ·borrower defense applications between July, 2018
16·   ·that it was stopped -- issued.· I expect --          16·   ·and March, 2019?
17·   · · · Q.· · ·Go ahead.· I'm sorry.                    17·   · · · A.· · ·Am I aware, no.· I don't recall.
18·   · · · A.· · ·I'm trying to recall the facts and I     18·   · · · Q.· · ·Are you aware of any delay in issuing
19·   ·can't.· It's not coming to me.· If there's           19·   ·borrower defense applications during your tenure
20·   ·something that could refresh my memory, it would     20·   ·in the Trump Administration at the Department of
21·   ·help that.· I -- I don't recall.                     21·   ·Education?
22·   · · · Q.· · ·Between July, 2018 and the time you      22·   · · · A.· · ·I don't recall delays specifically.
23·   ·left the Department of Education in March, 2019      23·   ·I -- I'll try to -- I'm trying to remember what,
24·   ·are you aware of any borrower defense decisions      24·   ·if anything, happened around -- during the period
25·   ·being noticed to borrowers?                          25·   ·of the --

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·Am -- am I aware of any -- of any        ·2·   · · · Q.· · ·Were you aware of any backlog in
·3·   ·what?                                                ·3·   ·processing Borrowers Defense applications during
·4·   · · · Q.· · ·Borrower defense decisions being         ·4·   ·the tenure -- your tenure at the Department of
·5·   ·noticed or issued to borrowers.                      ·5·   ·Education?
·6·   · · · A.· · ·I don't recall.                          ·6·   · · · A.· · ·Yes.
·7·   · · · Q.· · ·Between July -- July, 2018 and March,    ·7·   · · · Q.· · ·Okay.· Tell me about what your
·8·   ·2019 when you left the Department, are you aware     ·8·   ·awareness is of that backlog.
·9·   ·of any borrower defense applications being           ·9·   · · · A.· · ·Well, as I said earlier, I got a
10·   ·approved?                                            10·   ·legal report on the growing numbers.
11·   · · · A.· · ·Did you say July, 2018 and '19?          11·   · · · · · · ·MR. MERRITT:· Joe, just that we're
12·   · · · Q.· · ·Between July, 2018 and the time you      12·   · · · getting close to a lunch break.
13·   ·left in March, 2019 are you aware of any borrower    13·   · · · · · · ·MR. JARAMILLO:· Yes, and I'm sorry,
14·   ·defense claims being approved by the Department?     14·   · · · we did pass a little, but I want to ask a few
15·   · · · A.· · ·Between that time?· I don't recall.      15·   · · · more questions.· I think we'll be able to
16·   · · · Q.· · ·Between July, 2018 and March, 2019       16·   · · · wrap up in -- in at least one or two minutes
17·   ·are you aware of any borrower defense applications   17·   · · · and then --
18·   ·being denied?                                        18·   · · · · · · ·MR. MERRITT:· That's fine.· Thank
19·   · · · A.· · ·I've had a weekly report on -- on        19·   · · · you.· I just wanted to throw it out there.
20·   ·numbers of applications that came in.· I cannot      20·   · · · · · · ·MR. JARAMILLO:· Thank you, Mr.
21·   ·recall whether or not there were reports on the      21·   · · · Merritt.
22·   ·numbers that were acted upon or approved.            22·   · · · A.· · ·So do you have a question, Joe?
23·   · · · Q.· · ·During July, 2018 and March, 2019 you    23·   · · · Q.· · ·Yes, Mr. Manning.· Just during your
24·   ·don't recall whether or not the Department of        24·   ·tenure at the Department of Education, were you
25·   ·Education issued final decisions on borrower         25·   ·satisfied with the pace at which the Department


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·was issuing borrower defense decisions?              ·2·   ·March 31st, 2019.· How do those numbers sound in
·3·   · · · A.· · ·Was I satisfied with the pace? I         ·3·   ·terms of accuracy from what you remember?
·4·   ·observed that the numbers were growing. I            ·4·   · · · A.· · ·Well, I can't remember accurately.
·5·   ·can't -- I can't recall -- generally that was a      ·5·   ·You know, I'm -- I'm assuming that you have them,
·6·   ·concern, that the numbers were growing.· I can't     ·6·   ·they're the correct numbers.
·7·   ·recall anything more specific than that.             ·7·   · · · Q.· · ·Do you recall the numbers going up by
·8·   · · · Q.· · ·So you were -- were you aware or were    ·8·   ·over 73,000 or more between June 30th, 2018 and
·9·   ·you not concerned about the pace in which the        ·9·   ·March 31st, 2019?
10·   ·Department was issuing Borrowers Defense decisions   10·   · · · A.· · ·I specifically do not remember that.
11·   ·at any time during your tenure in the Trump          11·   · · · Q.· · ·Okay.· Isn't that something that
12·   ·Administration?                                      12·   ·would strike you as a significant increase?
13·   · · · A.· · ·I'm trying to recall what information    13·   · · · · · · ·MR. MERRITT:· Objection, speculation.
14·   ·I had in terms of how that number was growing and    14·   · · · Q.· · ·Impending applications, isn't that
15·   ·I'm re -- remembering a report that I saw weekly,    15·   ·something that you -- that would sit in your mind
16·   ·but I don't recall -- I can't specifically recall    16·   ·as a -- as a lingering concern?
17·   ·what that number was do -- doing or if I had that    17·   · · · A.· · ·I think the numbers growing -- sure,
18·   ·number at the time.                                  18·   ·there were concerns they were growing.
19·   · · · Q.· · ·So as you sit here today, you don't      19·   · · · · · · ·MR. JARAMILLO:· Okay, I'm happy to
20·   ·have any recollection of any concern over the pace   20·   · · · take a lunch break now.· Thank you, Mr.
21·   ·at which the Department was issuing decisions?       21·   · · · Manning.
22·   · · · A.· · ·Well, I -- I think it was growing and    22·   · · · · · · ·MR. MERRITT:· Okay.· Thanks, Joe.
23·   ·I think that, you know, it -- it clearly needed      23·   · · · · · · ·THE VIDEOGRAPHER:· We're off the
24·   ·additional attention.                                24·   · · · record, the time is 17:56 UTC.
25·   · · · Q.· · ·Are -- are you aware of the fact that    25·   · · · · · · ·(Whereupon, a lunch break was taken

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·for the quarter ending June 30th, 2018, according    ·2·   · · · from 1:00 p.m. to 1:30 p.m.)
·3·   ·to the Department there were 105,998 borrower        ·3·   · · · · · · ·THE VIDEOGRAPHER:· We're now on the
·4·   ·defense applications pending?                        ·4·   · · · record, the time is 18:33.
·5·   · · · A.· · ·In what month was that did you say?      ·5·   · · · Q.· · ·Hi, Mr. Manning.· I hope you had a
·6·   · · · Q.· · ·The quarter ending June 30th, 2018.      ·6·   ·good lunch break.
·7·   · · · A.· · ·2018, June 30th was what number          ·7·   · · · A.· · ·Thank you.
·8·   ·again?                                               ·8·   · · · Q.· · ·Did you have any meetings over this
·9·   · · · Q.· · ·105,998 applications pending.            ·9·   ·platform or any other platform with anybody during
10·   · · · · · · ·MR. MERRITT:· Objection, lack of         10·   ·the lunch break?
11·   · · · foundation.                                     11·   · · · A.· · ·No.· I didn't have any meetings with
12·   · · · Q.· · ·Does that sound accurate to you or       12·   ·anyone, but for the attorneys briefly at the
13·   ·does that sound way off?                             13·   ·beginning and briefly before we came back on.
14·   · · · A.· · ·I -- I hear that number and it feels     14·   · · · Q.· · ·Okay.· Do you have anything to
15·   ·low.                                                 15·   ·clarify from your prior testimony today?
16·   · · · Q.· · ·Okay.· Well, let's go -- if we go to     16·   · · · A.· · ·Not that I recall.
17·   ·March 31st, 2019 I'll represent to you that based    17·   · · · Q.· · ·And I hate to ask this again, but I
18·   ·on information provided by the Department, that      18·   ·just want to check:· Are you -- have you taken any
19·   ·number has grown to 179,377 for the quarter ending   19·   ·medication in the past 24 hours that could impact
20·   ·March 31st, 2019.· Does that sound accurate to       20·   ·your ability to recall facts?
21·   ·you?                                                 21·   · · · A.· · ·I don't believe the medication that I
22·   · · · A.· · ·I don't know.· What was the first        22·   ·take affects my ability to recall facts.
23·   ·number you gave me?                                  23·   · · · Q.· · ·Okay.
24·   · · · Q.· · ·105,998 for the quarter ending June      24·   · · · A.· · ·I don't know that I have any
25·   ·30th, 2018 and 179.377 for the quarter ending        25·   ·medications that are causing an issue.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Okay.· Thank you.                        ·2·   · · · Q.· · ·And if OUS did authorize the denial
·3·   · · · A.· · ·But, as I said earlier, being 67 as      ·3·   ·of over 10,000 applications, would you as acting
·4·   ·opposed to when I was 55 I can tell that there are   ·4·   ·Undersecretary have been involved in that
·5·   ·issues there.                                        ·5·   ·authorization?
·6·   · · · Q.· · ·Okay.· Let's turn to Tab 10 in the       ·6·   · · · A.· · ·I would expect the denials to come
·7·   ·packet of documents and, for the record, this is     ·7·   ·out of the Borrower Defense Unit as a
·8·   ·already admitted as Exhibit 21 in a prior            ·8·   ·recommendation.· I didn't actively review
·9·   ·deposition and it's the declaration of Colleen       ·9·   ·individual applications.
10·   ·Nevin.                                               10·   · · · Q.· · ·Would you have been the person at
11·   · · · · · · ·(Whereupon, Exhibit 21, having been      11·   ·OUS, as the acting Undersecretary, to authorize
12·   · · · previously marked, was tendered to the          12·   ·the denial?
13·   · · · witness for identification.)                    13·   · · · A.· · ·During that period of time, it would
14·   · · · Q.· · ·And, Mr. Manning, I believe you          14·   ·have come to my attention; and could I have had a
15·   ·stated that you reviewed this, the declaration, in   15·   ·document that I had to sign related to this, I
16·   ·preparation for today's deposition; is that          16·   ·could have.· I could have signed it, but I do not
17·   ·correct?                                             17·   ·recall.
18·   · · · A.· · ·I did read through it briefly, yes.      18·   · · · Q.· · ·If OUS authorizes the denial of these
19·   · · · Q.· · ·Okay.· If I could have you turn to       19·   ·applications, would anyone else at OUS besides you
20·   ·the last page.                                       20·   ·have authorized them?
21·   · · · A.· · ·Signature page?                          21·   · · · A.· · ·During this period of time anyone
22·   · · · Q.· · ·Yes, and can you -- can you read me      22·   ·else at OUS, no.
23·   ·the date on which Ms. Nevin executed this            23·   · · · Q.· · ·It would have had to have been you,
24·   ·declaration?                                         24·   ·correct?
25·   · · · A.· · ·The 14th day of November, 2019.          25·   · · · A.· · ·Yes.

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Okay.· So it may me obvious, but I       ·2·   · · · Q.· · ·In Paragraph 65, I'm not going to
·3·   ·think you would understand that her statements in    ·3·   ·read the -- well, I'll read the whole sentence.
·4·   ·here purports to be accurate as of that date; is     ·4·   ·Ms. Nevin writes, "While no additional decisions
·5·   ·that your understanding?                             ·5·   ·have been issued to borrowers since in or about
·6·   · · · A.· · ·I -- I believe that to be true.          ·6·   ·June, 2018, BDU discontinued to make progress on
·7·   · · · Q.· · ·Okay.· Let's turn to Page 15 of Ms.      ·7·   ·adjudicating applications."
·8·   ·Nevin's declaration.                                 ·8·   · · · · · · ·Does this indicate to you that
·9·   · · · A.· · ·Okay, and could I point out that         ·9·   ·between in or about June, 2018 and the date Ms.
10·   ·I -- I left the Department on March 14th of 2019.    10·   ·Nevin's signed the declaration on November 14th,
11·   · · · Q.· · ·Yes, we understand that.· Let's turn     11·   ·2019 that no additional decisions were issued to
12·   ·to Page 15 of Ms. Nevin's declaration.               12·   ·borrowers on their borrower defense applications?
13·   · · · A.· · ·Okay.                                    13·   · · · A.· · ·"The borrower defense has continued
14·   · · · Q.· · ·And if you look at Paragraph 64,         14·   ·to make progress on adjudicating applications,
15·   ·Lines 14 and 15 of Page 15 it says, "Additionally    15·   ·specifically noting 50,000 applications have been
16·   ·between December, December, 2017 and May, 2018,      16·   ·adjudicated on merits" --
17·   ·OUS authorized the denial of over 10,000             17·   · · · Q.· · ·I'm sorry to interrupt, Mr. Manning.
18·   ·applications."                                       18·   ·I'm not asking you about the -- that language that
19·   · · · · · · ·Do you recall OUS authorizing the        19·   ·you're reading.· I'm asking you specifically about
20·   ·denial of over 10,000 applications during that       20·   ·the first sentence in Paragraph 65 which states,
21·   ·time period?                                         21·   ·"While no additional decisions have been issued to
22·   · · · A.· · ·Do I recall it?                          22·   ·borrowers since in or about June, 2018."
23·   · · · Q.· · ·Yes.                                     23·   · · · · · · ·And what I'm asking you is:· Does
24·   · · · A.· · ·No, I actually do not.· However is it    24·   ·that indicate to you that no decisions were issued
25·   ·likely to be correct, I expect that it is.           25·   ·to borrowers between in or about June, 2018 and at


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·least, to your knowledge, the time you left the      ·2·   ·testimony of Secretary DeVos in response to
·3·   ·Department in March, 2019?                           ·3·   ·questions, for the record, submitted by U.S.
·4·   · · · A.· · ·Well, quite frankly, what I was          ·4·   ·Senator Patty Murray.
·5·   ·reading was just the rest of the sentence;           ·5·   · · · A.· · ·Uh-huh.
·6·   ·and -- and normally when I look at something like    ·6·   · · · Q.· · ·And it has a total of 48 pages.
·7·   ·this, I look at the whole sentence just to make      ·7·   · · · A.· · ·I see it and I have it in hand.
·8·   ·sure I understand what the whole sentence means.     ·8·   · · · Q.· · ·Okay, I would like you to turn to
·9·   · · · Q.· · ·I -- I understand, Mr. Manning, but I    ·9·   ·Page 20 of 48, if you could.
10·   ·will point out that was not the rest of the          10·   · · · A.· · ·Okay, I'm there.
11·   ·sentence, you're starting to read the second         11·   · · · Q.· · ·Okay.· At the time bottom third of
12·   ·sentence and I would like you to focus just on the   12·   ·the page under the heading "Recent Activity on
13·   ·first part of the first sentence and whether that    13·   ·borrower defense approvals, Denials, and
14·   ·indicates to you that no decisions were issued to    14·   ·Findings," the question was posed "As of March 20,
15·   ·borrowers on the borrower defense applications       15·   ·2019 when was the last time the Department, A,
16·   ·since in or about June, 2018 up until the date       16·   ·approved a borrower defense claim?"
17·   ·Colleen Nevin signed her declaration on November     17·   · · · · · · ·Can you read Secretary DeVos' answer
18·   ·14th, 2019.· Is that what it indicates to you?       18·   ·to Part A?
19·   · · · A.· · ·Again -- yeah, I had said that that      19·   · · · A.· · ·The last time a borrower defense
20·   ·seems to be correct.                                 20·   ·application was approved was June 12th, 2018.
21·   · · · Q.· · ·Okay, and would it also be correct       21·   · · · Q.· · ·Okay, and then Part B of the question
22·   ·based on that, that no -- no decisions were issued   22·   ·asks "For the same time period, when was the last
23·   ·to borrowers since in or about June, 2018 up until   23·   ·time the Department denied a borrower defense
24·   ·the time you left the Department in March 2019;      24·   ·claim."· Can you just read for me the first
25·   ·yes or no?                                           25·   ·sentence of Secretary DeVos' answer in Part B?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·Say that again.· Repeat it, what you     ·2·   · · · A.· · ·The last time a borrower against
·3·   ·just said.                                           ·3·   ·application was denied was May 24th, 2018.
·4·   · · · Q.· · ·No additional decisions were issued      ·4·   · · · Q.· · ·Does that indicate to you again that
·5·   ·to borrowers under borrower defense applications     ·5·   ·there were no borrower defense decisions issued to
·6·   ·since on or about June, 2018 --                      ·6·   ·borrowers between June, 2018 and in this case as
·7·   · · · A.· · ·Right, I got that part.· What's the      ·7·   ·of March 28, 2019?
·8·   ·rest?                                                ·8·   · · · A.· · ·I see that.· I'm looking at -- this
·9·   · · · Q.· · ·-- through the time you left the         ·9·   ·is all I've been doing.· I'm looking at the -- the
10·   ·Department and beyond in March, 2019?                10·   ·-- her answer A and then B and the last time a
11·   · · · A.· · ·That appears to be correct.              11·   ·borrower -- from A, the last time a borrower
12·   · · · Q.· · ·Do you have any reason to doubt that?    12·   ·defense application was approved was June 12,
13·   · · · A.· · ·Not at all.                              13·   ·2018.
14·   · · · Q.· · ·Okay.· You're not aware of any           14·   · · · Q.· · ·Are you aware of any reasons why the
15·   ·decisions being issued during that time period?      15·   ·Department stopped approving or denying borrower
16·   · · · A.· · ·Not that I recall.                       16·   ·defense claims during this time period?
17·   · · · Q.· · ·I would like you to turn to Tab 7        17·   · · · A.· · ·I'm not aware.
18·   ·and, for the record --                               18·   · · · Q.· · ·Do you have any recollection of
19·   · · · A.· · ·Tab 7?                                   19·   ·anything that would have caused the Department of
20·   · · · Q.· · ·Yes, and I would like to mark this as    20·   ·Education to stop issuing borrower defense
21·   ·Exhibit 33.                                          21·   ·decisions during this time?
22·   · · · · · · ·(Whereupon, Exhibit 33 was marked at     22·   · · · · · · ·MR. MERRITT:· Objection, calls for
23·   · · · this time.)                                     23·   · · · speculation.
24·   · · · Q.· · ·And, for the record, this is a           24·   · · · Q.· · ·Do you have any recollection, sir?
25·   ·document from June 13, 2019 that includes the        25·   · · · A.· · ·Do I have any recollection?· I'm


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·sorry, repeat the question again.· Do I have any     ·2·   ·Unit, the Borrower Defense Unit, how could you not
·3·   ·recollection of?                                     ·3·   ·know why this important practice or decision was
·4·   · · · Q.· · ·Why did the Department stop issuing      ·4·   ·made in or about June, 2018 to stop issuing
·5·   ·borrower defense decisions during this time          ·5·   ·decisions; how could you not know, sir?
·6·   ·period?                                              ·6·   · · · · · · ·MR. MERRITT:· Objection,
·7·   · · · A.· · ·I don't recall.                          ·7·   · · · argumentative.
·8·   · · · Q.· · ·Can you recall anything happening        ·8·   · · · Q.· · ·Did you at one time know?
·9·   ·during this time period that would have caused the   ·9·   · · · A.· · ·I believe so.
10·   ·Department to stop issuing borrower defense          10·   · · · Q.· · ·When -- when do you think you knew?
11·   ·decisions?                                           11·   · · · A.· · ·I don't recall.
12·   · · · · · · ·MR. MERRITT:· Objection, vague.          12·   · · · Q.· · ·Who would know the answer to this,
13·   · · · Q.· · ·You can answer the question.             13·   ·Mr. Manning?
14·   · · · A.· · ·Sorry repeat the question.               14·   · · · · · · ·MR. MERRITT:· Objection.
15·   · · · Q.· · ·Mr. Manning, you were acting             15·   · · · Q.· · ·To your personal knowledge within the
16·   ·Undersecretary of the Department of Education, the   16·   ·realm of what you can recall, who do you think
17·   ·third-in-command, is that right, during this time    17·   ·would know the answer to this question of why the
18·   ·period?                                              18·   ·Department of Education stopped issuing decisions
19·   · · · A.· · ·Yes.                                     19·   ·and did not resume issuing decisions for
20·   · · · Q.· · ·You were the third-in-command in the     20·   ·approximately 18 months?· Who would you expect to
21·   ·Department of Education and the Department of        21·   ·know the answer to that?
22·   ·Education was responsible for issuing borrower       22·   · · · A.· · ·I don't know.· I wish I could recall
23·   ·defense decisions to over 100,000 applicants who     23·   ·the answer to that, but I don't.
24·   ·claimed that they had been harmed by school          24·   · · · Q.· · ·All right.
25·   ·misconduct and, therefore, their federal student     25·   · · · A.· · ·If there was a document that -- that

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·loans should be discharged, correct?                 ·2·   ·would refresh my memory I could consider that, but
·3·   · · · A.· · ·I'm not sure that 100,000 students is    ·3·   ·I do not remember.
·4·   ·the correct number, but aside from that it does      ·4·   · · · Q.· · ·Okay.· Who would you have expected to
·5·   ·sound like a correct statement.                      ·5·   ·makes such a decision to stop issuing borrower
·6·   · · · Q.· · ·Well, I'll tell you, sir, I would        ·6·   ·defense decisions for such a long time period?
·7·   ·expect you to have an understanding as the           ·7·   · · · · · · ·MR. MERRITT:· Objection, calls for
·8·   ·third-in-command of this important program           ·8·   · · · speculation.
·9·   ·affecting over 100,000 borrowers with pending        ·9·   · · · Q.· · ·Who would you expect to know the
10·   ·applications.· I would expect you to know the        10·   ·answer, sir?· That's not speculating.· Either you
11·   ·answer to this.· Is, is -- is my expectation         11·   ·would expect somebody to know or you wouldn't.
12·   ·unreasonable?                                        12·   · · · A.· · ·I don't know.
13·   · · · · · · ·MR. MERRITT:· Objection, misstates       13·   · · · Q.· · ·I'll represent to you that Colleen
14·   · · · prior testimony.· He said he didn't recall.     14·   ·Nevin testified in her deposition that she was
15·   · · · · · · ·MR. JARAMILLO:· Which means he           15·   ·informed of a decision to stop making -- to stop
16·   · · · doesn't know the reason.                        16·   ·issuing decisions on borrower defense applications
17·   · · · · · · ·MR. MERRITT:· Now.                       17·   ·as a result of an injunction order in the
18·   · · · · · · ·THE WITNESS:· That's correct.            18·   ·Manriquez -- the Calvillo Manriquez case, that she
19·   · · · · · · ·MR. JARAMILLO:· I didn't ask -- I'm      19·   ·was informed by Justin Riemer.
20·   · · · asking him now, what's your recollection.       20·   · · · · · · ·Do you recall any communications with
21·   · · · Q.· · ·You have no recollection whatsoever      21·   ·Justin Riemer about the decision to stop issuing
22·   ·of why -- the Department of which you were           22·   ·applications as a result of the Calvillo Manriquez
23·   ·third-in-command responsible for FSA, responsible    23·   ·injunction order?
24·   ·for Borrower's Defense, underneath your chain of     24·   · · · A.· · ·So I don't remember specifically a
25·   ·command directly reporting to you the Enforcement    25·   ·conversation regarding that.· I don't recall that.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·I -- I do recall that that case effectively put      ·2·   · · · A.· · ·(Unintelligible cross talk)
·3·   ·aside the methodology that we had established and    ·3·   · · · Q.· · ·Please repeat your answer, Mr.
·4·   ·to -- to use going forward.                          ·4·   ·Manning, about Mr. Riemer.
·5·   · · · Q.· · ·Sir, what category of claims did that    ·5·   · · · A.· · ·What was -- what was your question
·6·   ·methodology apply; do you know?                      ·6·   ·again directly, so I make sure I'm answering the
·7·   · · · A.· · ·No, I don't recall.                      ·7·   ·right question.
·8·   · · · Q.· · ·It only applied to the class members     ·8·   · · · Q.· · ·Okay, I'm sorry.· Did Justin Riemer
·9·   ·involved in to Calvillo Manriquez case; is that      ·9·   ·make the decision?
10·   ·right?                                               10·   · · · A.· · ·I don't expect that could be the case
11·   · · · A.· · ·I don't know if that's correct or        11·   ·because he personally didn't have that authority
12·   ·not.· I don't recall the specifics of the finding.   12·   ·and wouldn't have made a mistake like that.· He
13·   · · · Q.· · ·And -- and when you submitted the        13·   ·would have come to me, if he needed.
14·   ·declaration in the Calvillo Manriquez case, did      14·   · · · Q.· · ·Who had the authority to make a
15·   ·you have an understanding of what that case          15·   ·decision like that?
16·   ·involved?                                            16·   · · · A.· · ·Well --
17·   · · · A.· · ·At that time when I wrote -- when I      17·   · · · · · · ·MR. MERRITT:· Objection, vague.
18·   ·signed the document I understood all of that, yes.   18·   · · · · · · ·MR. JARAMILLO:· That's not vague.
19·   · · · Q.· · ·But as you sit here today you don't      19·   · · · Q.· · ·You just testified Mr. Riemer
20·   ·have a clear recollection of it?                     20·   ·that -- I mean, excuse me, Mr. Manning, that
21·   · · · A.· · ·I absolutely do not have a clear         21·   ·Justin Riemer did not have the authority to make
22·   ·recollection of it.                                  22·   ·as such a decision?
23·   · · · Q.· · ·Do you recall that the methodology       23·   · · · A.· · ·Well, in the first one -- go back and
24·   ·enjoined in the Calvillo Manriquez case was          24·   ·repeat the original question because I didn't --
25·   ·developed specifically for CCI students, the         25·   · · · · · · ·MR. MERRITT:· I'll say vague as to

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·current in-school students, at issue in that case?   ·2·   · · · what the decision was.
·3·   · · · A.· · ·Only the CCI students, is that what      ·3·   · · · Q.· · ·What we're talking about here, Mr.
·4·   ·you said?                                            ·4·   ·Manning, is who made the decision to stop issuing
·5·   · · · Q.· · ·For the class members of that case       ·5·   ·borrower's defense decisions during the time
·6·   ·which were CCI students, I believe, with job         ·6·   ·period?
·7·   ·placement race claims -- I apologize if I'm not      ·7·   · · · A.· · ·Well -- well, in --in Justin Riemer's
·8·   ·getting that correctly -- correct?                   ·8·   ·time?· I'm -- I'm a little confused here.
·9·   · · · A.· · ·I specifically didn't recall that was    ·9·   · · · · · · ·I think that I need to go back and
10·   ·only CCI students.                                   10·   ·have, you know, the last couple of questions and
11·   · · · Q.· · ·So your recollection is that the         11·   ·answers repeated to me so I -- cause I've lost my
12·   ·Calvillo Manriquez's case included students other    12·   ·place in thought here.
13·   ·than CCI students?                                   13·   · · · Q.· · ·Well, why don't we just -- why don't
14·   · · · A.· · ·No.· You asked the question -- I         14·   ·we just move on.· I'm just going to ask -- try to
15·   ·didn't recall one way or the other that there was    15·   ·make my questions clear and specific.
16·   ·specified schools.· I didn't recall.                 16·   · · · A.· · ·Well, that would be good.
17·   · · · Q.· · ·Okay.· Did you review the Calvillo       17·   · · · Q.· · ·Yes.· Did Secretary DeVos make a
18·   ·injunction order?                                    18·   ·decision to stop issuing decisions on borrower
19·   · · · A.· · ·I don't believe I did review the         19·   ·defense applications?
20·   ·injunction order.· I'm not an attorney and I would   20·   · · · A.· · ·I don't know the answer to that
21·   ·have attorneys like Justin Riemer of -- look at      21·   ·question.
22·   ·that form.                                           22·   · · · Q.· · ·Would she have the authority to issue
23·   · · · Q.· · ·Is it possible that Justin Riemer        23·   ·such a decision?
24·   ·made the decision to stop issuing borrower defense   24·   · · · A.· · ·Probably counsel -- I'll the
25·   ·--                                                   25·   ·double-check with OGC, but I believe that the


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·Secretary has the authority to give a part in the    ·2·   ·briefed by others, including general counsel on an
·3·   ·whole in that -- in principle, but again I'd want    ·3·   ·issue before an action like that was taken.
·4·   ·guidance from general counsel at the Department      ·4·   · · · Q.· · ·But she would have the authority to
·5·   ·before going forward but --                          ·5·   ·take the action after that briefing, correct?
·6·   · · · Q.· · ·Would anyone else besides Secretary      ·6·   · · · A.· · ·I expect that's correct.· I --
·7·   ·DeVos have authority to issue such a decision?       ·7·   · · · Q.· · ·Did you ever at any time issue an
·8·   · · · A.· · ·I don't know.                            ·8·   ·order regarding borrower defense?
·9·   · · · Q.· · ·Would you have authority to issue        ·9·   · · · · · · ·MR. MERRITT:· Objection, vague.
10·   ·such a decision?                                     10·   · · · Q.· · ·Did you ever issue a decision
11·   · · · A.· · ·I would have to see the decisions        11·   ·regarding borrower defense in your tenure at the
12·   ·like in front of me for consideration.· I --         12·   ·Department of Education?
13·   · · · Q.· · ·Well, we don't -- I'm not aware of       13·   · · · A.· · ·Did I have --
14·   ·such a decision document per se, but there was       14·   · · · · · · ·MR. MERRITT:· Objection, vague.
15·   ·obviously as you've seen a stoppage in the           15·   · · · Q.· · ·You can answer the question, Mr.
16·   ·issuance of borrower defense claims and for an       16·   ·Manning, and I'll repeat it.· Did you ever at any
17·   ·extended period of time.                             17·   ·time issue a decision regarding borrower defense?
18·   · · · A.· · ·Right.                                   18·   · · · A.· · ·A specific decision?
19·   · · · Q.· · ·So you would expect that decision to     19·   · · · Q.· · ·Any decision.
20·   ·come from Department leadership, correct?            20·   · · · A.· · ·I don't recall.
21·   · · · A.· · ·I would expect that's correct, but I     21·   · · · Q.· · ·But you might have issued a decision
22·   ·don't know where that decision ultimately came       22·   ·about borrower defense, but you just don't recall;
23·   ·from.                                                23·   ·is that right?
24·   · · · Q.· · ·Would you have authority to issue        24·   · · · A.· · ·It's possible.
25·   ·such a decision?                                     25·   · · · Q.· · ·I want you to turn to Tab 16, if you

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I would have -- if I had that option     ·2·   ·could.· This was previously marked as Exhibit 12
·3·   ·in front of me, I would have discussed so with the   ·3·   ·and it appears to be a PowerPoint presentation
·4·   ·general counsel's office to clarify that because     ·4·   ·that's titled "Borrower Defense to Repayment
·5·   ·it's not clear to me.                                ·5·   ·August 21, 2019."
·6·   · · · Q.· · ·But you -- in consultation with the      ·6·   · · · · · · ·(Whereupon, Exhibit 12, having been
·7·   ·Office of General Counsel, you would have the        ·7·   · · · previously marked, was tendered to the
·8·   ·authority to issue such a decision or not?           ·8·   · · · witness for identification.)
·9·   · · · A.· · ·I, I -- I don't know.· I'd have to       ·9·   · · · Q.· · ·And I recognize, Mr. Manning, that
10·   ·have their counsel advise me to that.· I don't       10·   ·this postdates your tenure at the Department, but
11·   ·know.                                                11·   ·there is something in this document that I want to
12·   · · · Q.· · ·But one thing that's absolutely clear    12·   ·ask you about.
13·   ·is that Secretary DeVos would have that              13·   · · · A.· · ·Okay, fair enough.· I have it.
14·   ·decision-making authority, correct?                  14·   · · · Q.· · ·Okay.· Thank you, Mr. Manning.· If
15·   · · · · · · ·MR. MERRITT:· Objection,                 15·   ·you could turn -- the page numbers are located in
16·   · · · mischaracterization of prior testimony.         16·   ·the lower left-hand corner.
17·   · · · Q.· · ·I'm just asking the question:· One       17·   · · · A.· · ·I see them.· What number?
18·   ·thing that's clear, Mr. Manning, is that of          18·   · · · Q.· · ·I want to go to Page 6 or Slide 6.
19·   ·anybody at the Department of Education, Secretary    19·   · · · A.· · ·Okay.
20·   ·DeVos would have the authority to issue a decision   20·   · · · Q.· · ·And there's a question on top "Why
21·   ·that would require stopping the issuance of          21·   ·are BD applications on Hold" and for approvals it
22·   ·borrower defense approvals and denials; is that      22·   ·says, "'Manriquez' tier relief methodology for CCI
23·   ·right?                                               23·   ·subject to injunction (as of May, 2018) and no
24·   · · · A.· · ·I expect the Secretary has that          24·   ·alternative methodology available."
25·   ·authority and so I would expect that she'd be        25·   · · · · · · ·Do you have any recollection of that


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·being a reason why BD applications or borrower       ·2·   ·time you left.
·3·   ·defense applications were on hold?                   ·3·   · · · A.· · ·Right.
·4·   · · · A.· · ·Well, I'm trying to understand the       ·4·   · · · Q.· · ·And so we're looking at this document
·5·   ·page as I look at this.                              ·5·   ·and I want you to tell me if you have any comments
·6·   · · · Q.· · ·I just want to ask you about that        ·6·   ·or if it refreshes your recollection at all as to
·7·   ·bullet point.· I really -- I mean, that's what I     ·7·   ·the first bullet point, as to that being a reason
·8·   ·would like to focus on at this point, if you         ·8·   ·why borrower defense applications were on hold.
·9·   ·would.                                               ·9·   · · · A.· · ·"Tiered relief methodology for CCI
10·   · · · · · · ·MR. MERRITT:· The witness is entitled    10·   ·subject to injunction (as of May, 2018) and no
11·   · · · to familiarize himself with document you're     11·   ·alternative methodology available."· No relief
12·   · · · showing him.                                    12·   ·methodology developed for non-CCI claims.
13·   · · · Q.· · ·Okay, Mr. Manning, but if I              13·   · · · Q.· · ·Does this refresh your recollection
14·   ·recall and I don't want to rush you, but sometimes   14·   ·at all, Mr. Manning, about why borrower defense
15·   ·you can take a while and I'm not sure it's           15·   ·decisions were put on hold?
16·   ·pertinent to read each and every line of this; but   16·   · · · A.· · ·Not -- no, it doesn't.· I remember
17·   ·if -- if that's what you want to do we can go off    17·   ·that Manriquez put aside methodology; and could
18·   ·the record so you could do it, if that's okay with   18·   ·that have led to delay in approvals, I expect it
19·   ·Mr. Merritt.                                         19·   ·could have, but --
20·   · · · · · · ·MR. MERRITT:· I don't think there's      20·   · · · Q.· · ·Would the Department have been
21·   · · · any need to go off the record for that. I       21·   ·legally required to stop issuing decisions on
22·   · · · mean, when you show the witness documents he    22·   ·borrower defense as a result of the Calvillo
23·   · · · has every right to read them and make sure he   23·   ·Manriquez's decision and injunction order, to your
24·   · · · understands what it is before he answers.       24·   ·knowledge?· I'm not asking you as a lawyer, but
25·   · · · · · · ·MR. JARAMILLO:· Okay, and use up         25·   ·just to your understanding.

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · record time, that's fine.                       ·2·   · · · A.· · ·Would the Department be required to
·3·   · · · · · · ·Go ahead, Mr. Manning.                   ·3·   ·what again?
·4·   · · · · · · ·Why don't we take a short break, Mr.     ·4·   · · · Q.· · ·Stop issuing decisions on all
·5·   · · · Merritt, and we'll come back to this.           ·5·   ·borrower defense applications as a result of the
·6·   · · · A.· · ·Well, this is just a one-page slide.     ·6·   ·Manriquez -- the Calvillo Manriquez injunction
·7·   ·It's not going to take me a half an hour to read     ·7·   ·order, to your understanding as layperson or the
·8·   ·it.                                                  ·8·   ·third-in-command at the Department of Education at
·9·   · · · Q.· · ·I just want to know what you             ·9·   ·the time.
10·   ·under -- if you understood the first bullet point,   10·   · · · A.· · ·Well, yes, I am a layperson and this
11·   ·that one reason why BD applications were on hold     11·   ·-- that question is something if I -- I was
12·   ·according to this document was that "the Manriquez   12·   ·getting at the time, I'd be talking to my
13·   ·tier relief methodology for CCI subject to           13·   ·attorneys in OGC.
14·   ·injunction as of May, 2018 and no alternative        14·   · · · Q.· · ·And did you do that?
15·   ·methodology available."                              15·   · · · A.· · ·I can't recall.
16·   · · · · · · ·Do you have -- was that anything that    16·   · · · Q.· · ·As you can see, Mr. Manning, I'm
17·   ·you recall, anything about that statement?           17·   ·trying to get to the bottom of who made the
18·   · · · A.· · ·Well, this, as you pointed out           18·   ·decision to stop issuing the borrower defense
19·   ·earlier, happened after.                             19·   ·approvals and denials; and I appreciate your
20·   · · · Q.· · ·Certainly the PowerPoint application     20·   ·patience in trying to work with me to jog your
21·   ·is after your tenure, but we've already seen         21·   ·memory about it and we're coming up blank from
22·   ·documentation and you have -- you testified you      22·   ·your memory, which it is what it is.· Who would
23·   ·have no reason to doubt that there was a -- a        23·   ·you expect to know the answer to my questions?
24·   ·stoppage in the issuance of borrower defense         24·   · · · A.· · ·What somebody in the Department you
25·   ·decisions between June, 2018 at least until the      25·   ·could go back to and ask, is that what you mean?


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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Who made the decision to stop issuing   ·2·   ·go to Colleen.
·3·   ·approvals and denials?                              ·3·   · · · Q.· · ·From -- I'll represent to you, Mr.
·4·   · · · · · · ·MR. MERRITT:· Objection, asked and      ·4·   ·Manning, that both Colleen Nevin and Diane Auer
·5·   · · · answered.                                      ·5·   ·Jones testified in their depositions they didn't
·6·   · · · Q.· · ·Well, the -- the question is, who       ·6·   ·know who made the decision, but that it was
·7·   ·would you expect to know?· I -- I understand that   ·7·   ·communicated -- that Nevin testified that it was
·8·   ·you say you don't know.· Who would you expect to    ·8·   ·communicated by Justin Riemer.
·9·   ·know?                                               ·9·   · · · · · · ·Would you expect Wayne Johnson to
10·   · · · · · · ·MR. MERRITT:· I believe he answered     10·   ·know?
11·   · · · that as well.                                  11·   · · · A.· · ·It was communicated by Justin Riemer
12·   · · · Q.· · ·Refresh my memory please, Mr.           12·   ·is what --
13·   ·Manning.· Who would you expect to know, if          13·   · · · Q.· · ·What Colleen Nevin testified to.
14·   ·anybody?                                            14·   · · · A.· · ·I'm trying to recall.· I'm -- I'm
15·   · · · A.· · ·Someone in the General Counsel's        15·   ·trying to recall the time frame and Julian
16·   ·office.                                             16·   ·Schmoke's responsibilities.
17·   · · · Q.· · ·Can you name somebody in the General    17·   · · · Q.· · ·You're thinking about Julian Schmoke
18·   ·Counsel's office that you would expect to know?     18·   ·at this point in time?
19·   · · · A.· · ·I probably would go to Phil             19·   · · · A.· · ·Yeah, I'm trying to recall when --
20·   ·Rosenfelt.                                          20·   ·when he --
21·   · · · Q.· · ·Is Mr. Rosenfelt still at the Office    21·   · · · Q.· · ·Depending on The time frame in which
22·   ·of General Counsel, to your knowledge?              22·   ·Julian Schmoke worked at the Department, you might
23·   · · · A.· · ·Yes, he is.                             23·   ·expect him to know as well?
24·   · · · Q.· · ·Besides Phil Rosenfelt, would you       24·   · · · A.· · ·Well, I'm thinking out loud here.
25·   ·expect anybody else to know who made the decision   25·   ·I'm sorry, I shouldn't be doing that, but

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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·to stop issuing approvals and denials during the    ·2·   ·unfortunately I'm trying to recall when Julian
·3·   ·time period?                                        ·3·   ·Schmoke was assigned -- was delegated
·4·   · · · A.· · ·I would expect other people to know,    ·4·   ·responsibility as chief of the Enforcement Unit.
·5·   ·but I don't.                                        ·5·   · · · Q.· · ·Okay, that's fine.· We can move on.
·6·   · · · Q.· · ·Which other people, sir?                ·6·   · · · · · · ·Let me ask you this:· Would you
·7·   · · · A.· · ·I don't know.· I'm saying there         ·7·   ·expect Martin Brown to know?
·8·   ·certainly would be other people.· I don't know      ·8·   · · · A.· · ·At -- at this time May, 2018?
·9·   ·who.                                                ·9·   · · · Q.· · ·Well, I think what we saw from the
10·   · · · Q.· · ·Would you expect Diane Auer Jones to    10·   ·prior documents was that there were no borrower
11·   ·know?                                               11·   ·defense decisions issued between June, 2018 until
12·   · · · A.· · ·Well, she became Undersecretary         12·   ·the time that Ms. Colleen Nevin had signed her
13·   ·around this time so --                              13·   ·declaration in November, 2019, but you -- you
14·   · · · Q.· · ·Would you expect her to know?           14·   ·expect Mark Brown to know who issued that
15·   · · · A.· · ·I would ask her.                        15·   ·decision?
16·   · · · Q.· · ·Would you expect her to know as the     16·   · · · A.· · ·I don't know.· I don't remember. I
17·   ·third-in-command as acting Undersecretary?          17·   ·don't remember what Mark Brown started at the
18·   · · · · · · ·MR. MERRITT:· Objection, asked and      18·   ·Department.
19·   · · · answered.                                      19·   · · · Q.· · ·Okay.· Would you agree that for
20·   · · · Q.· · ·Yes or no, sir, would you expect her    20·   ·decisions to stop on borrower defense applications
21·   ·to know or not?                                     21·   ·for such an extended period of time would have
22·   · · · A.· · ·I would expect she knows.               22·   ·required the approval of Department leadership?
23·   · · · Q.· · ·Would you expect Colleen Nevin to       23·   · · · A.· · ·In principle, I think that's right.
24·   ·know?                                               24·   · · · · · · ·MR. JARAMILLO:· Why don't we take a
25·   · · · A.· · ·I, I -- I do expect that that would     25·   · · · short break.· Is that okay, Charlie?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·MR. MERRITT:· Yes, that's okay.          ·2·   ·Exhibit 12, Page 6 about why are BD applications
·3·   · · · · · · ·MR. JARAMILLO:· All right.· Let's        ·3·   ·on hold?
·4·   · · · take -- let's take ten minutes because I need   ·4·   · · · A.· · ·No, no, no. I was looking -- I was
·5·   · · · to use the restroom.· Let's go off the          ·5·   ·looking at this because it frustrated me that I
·6·   · · · record, sorry.                                  ·6·   ·couldn't to read the whole thing.
·7·   · · · · · · ·THE VIDEOGRAPHER:· We're off the         ·7·   · · · Q.· · ·I apologize for not letting you read
·8·   · · · record, the time is 19:12 UTC.                  ·8·   ·the whole thing, but that is Tab 16, correct, the
·9·   · · · · · · ·(Whereupon, there was a brief recess     ·9·   ·PowerPoint?
10·   · · · in the proceedings.)                            10·   · · · A.· · ·It was this one.
11·   · · · · · · ·THE VIDEOGRAPHER:· We're now on the      11·   · · · Q.· · ·Yes, okay.· That's right.· Let the
12·   · · · record, the time 19:23 UTC.                     12·   ·record reflect that you've shown Tab 16.
13·   · · · Q.· · ·Hi, Mr. Manning.                         13·   · · · A.· · ·Yes.
14·   · · · A.· · ·Hi, Joe.                                 14·   · · · Q.· · ·I apologize for the frustration, but
15·   · · · Q.· · ·I don't want to belabor the point,       15·   ·I just want to know what -- what your expectation
16·   ·but I do want to kind of ask a little bit more       16·   ·would be for such a decision to put applications
17·   ·about this time period when there were no borrower   17·   ·on hold for so long.· Would you expect that to be
18·   ·defense decisions, which demonstrates in my mind a   18·   ·set forth in writing somewhere within the
19·   ·--· a policy decision for some reason or another     19·   ·Department of Education?
20·   ·to not issue the decisions and I want to ask you:    20·   · · · A.· · ·I don't know if I expect that or not.
21·   ·Would such a policy decision to not issue borrower   21·   ·I'm -- I'm -- I'd be interested in trying to find
22·   ·defense approvals or denials for such an extended    22·   ·out if it exists or not.
23·   ·period of time, would you expect that to be set      23·   · · · Q.· · ·Would it poss -- I'm sorry, sir, I'll
24·   ·forth in writing somewhere in the Department?        24·   ·let you finish.· I'm sorry for interrupting.
25·   · · · A.· · ·I -- I don't know if that exists or      25·   · · · A.· · ·I was about to say I'm speculating

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·not.· I'd have to --                                 ·2·   ·and I shouldn't be speculating, you know.
·3·   · · · Q.· · ·Yeah, I'm not asking you if it           ·3·   · · · Q.· · ·All right.· We don't want you to
·4·   ·exists.· I'm just asking you what your expectation   ·4·   ·speculate.· We just want to know what your
·5·   ·would be as third-in-command at the time of the      ·5·   ·expectation would be.
·6·   ·Department of Education.· Would you expect such a    ·6·   · · · · · · ·So would it -- would it be normal
·7·   ·decision to be put forth in writing within the       ·7·   ·under your -- to your recollection, would it be
·8·   ·Department?                                          ·8·   ·normal in the Department to -- at the Department
·9·   · · · A.· · ·I'm trying to recall what actually       ·9·   ·to order FSA to stop issuing decisions on borrower
10·   ·was happening at that time and I don't recall. I     10·   ·defense applications without that being put forth
11·   ·don't know whether there was or was not a -- a       11·   ·in writing?
12·   ·document of that type put forward.                   12·   · · · A.· · ·Would that be what?
13·   · · · Q.· · ·And my question is would you expect      13·   · · · Q.· · ·Would that be normal; is that
14·   ·such a decision to be put in writing, not whether    14·   ·something the Department, you would expect them to
15·   ·there was or wasn't but would you expect there to    15·   ·engage in?
16·   ·be a writing showing such a decision?                16·   · · · A.· · ·It was -- Well, no, I wouldn't expect
17·   · · · A.· · ·Are you saying There is not any in       17·   ·that.
18·   ·writing, no decisions in writing?                    18·   · · · Q.· · ·Would you expect such a decision to
19·   · · · Q.· · ·I'm just asking you whether you would    19·   ·be put in writing?
20·   ·expect there to be something in writing and, if      20·   · · · · · · ·MR. MERRITT:· Objection, asked and
21·   ·you don't mind, is there something that you're       21·   · · · answered.
22·   ·looking at, at this point?                           22·   · · · Q.· · ·You can answer, sir.
23·   · · · A.· · ·Yeah, I'm actually looking at the        23·   · · · A.· · ·I'm -- I --
24·   ·last document that you asked me to look at.          24·   · · · Q.· · ·I'm giving you three choices; yes,
25·   · · · Q.· · ·And this would be Tab 16 which was       25·   ·no, I don't know?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·Well, then it's I don't know.            ·2·   ·-- that you authored or that has your name on it
·3·   · · · Q.· · ·Okay.· Let's look back at Tab 16,        ·3·   ·from May 4th, 2017 that was given to Secretary
·4·   ·Page 6, what you were looking at before, "Why are    ·4·   ·DeVos and that you looked at as Tab 11 which is
·5·   ·BD applications on the hold."                        ·5·   ·Exhibit 7 in this case?
·6·   · · · A.· · ·Which page?                              ·6·   · · · A.· · ·Uh-huh.
·7·   · · · Q.· · ·Page 6.· It's the page we were           ·7·   · · · Q.· · ·Is that a yes?
·8·   ·looking at.                                          ·8·   · · · A.· · ·No, it's not a yes to the question.
·9·   · · · A.· · ·Yes.· So what I had left open on the     ·9·   ·I recognize what you're talking about.· Tab 11,
10·   ·desk here, yeah.                                     10·   ·I'll look at it again to see what it says.· You
11·   · · · Q.· · ·Yes, sir.· So there's a heading in       11·   ·said Tab 11?
12·   ·the left-hand side that says "Denials" and the       12·   · · · Q.· · ·Yes.
13·   ·first bullet point says, "Policy decisions spring    13·   · · · A.· · ·What was your question again about
14·   ·2018 to not issue denials until approvals could be   14·   ·this?
15·   ·issued."· Were you aware of such a policy            15·   · · · Q.· · ·Would you expect -- a policy decision
16·   ·decision?                                            16·   ·like the bullet point under "Denials" to not issue
17·   · · · A.· · ·I think I heard some discussion about    17·   ·denials until approvals could also be issued,
18·   ·that issue.· I don't recall policy decision around   18·   ·would you expect that to be in writing -- strike
19·   ·it.                                                  19·   ·that.
20·   · · · Q.· · ·Who would make such a policy decision    20·   · · · · · · ·You testified that you would expect
21·   ·if it were in fact made as stated here?              21·   ·that to be in writing and my question is:· Is
22·   · · · A.· · ·I don't know.                            22·   ·there a certain title that the document would have
23·   · · · Q.· · ·Would the Office of the                  23·   ·if a policy decision like that were put in
24·   ·Undersecretary have authority to make such a         24·   ·writing?
25·   ·decision?                                            25·   · · · A.· · ·Well, then you're referring to like

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I think on this issue, I would have      ·2·   ·this document that went to the Secretary from me
·3·   ·to engage in further discussion.                     ·3·   ·on May 4th, '17 that she signed.· Because, no, I
·4·   · · · Q.· · ·On this issue, the Office of             ·4·   ·would not expect it to be like this kind of
·5·   ·Undersecretary would have to engage further          ·5·   ·document that I sent to the Secretary.
·6·   ·discussion --                                        ·6·   · · · Q.· · ·All right.· What -- what would you --
·7·   · · · A.· · ·This type of a policy decision and       ·7·   ·sorry, go ahead.
·8·   ·policy, you know, the Office of Postsecondary        ·8·   · · · A.· · ·So you know, I had -- I'm saying that
·9·   ·Education has a voice there.· OGC, you know, has a   ·9·   ·this document I'm looking at from the Secretary,
10·   ·responsibility there, in -- In addition to OUS.      10·   ·that would have been signed by the Secretary, is a
11·   · · · Q.· · ·And after that consultation, would       11·   ·memorandum for decision which is different than a
12·   ·you expect such a decision to be set forth in        12·   ·policy document.
13·   ·writing?                                             13·   · · · · · · ·It has a -- has a recommendation to
14·   · · · A.· · ·Generally once policy decisions are      14·   ·her for approval or disapproval and that's --
15·   ·made as policy decisions, they are memorialized in   15·   ·that's a decision memo, not an -- an established
16·   ·writing.                                             16·   ·policy.
17·   · · · Q.· · ·What is a regulatory action memo?        17·   · · · Q.· · ·So is there a certain title that was
18·   · · · A.· · ·I don't recall.                          18·   ·used at the Department of Education for policy
19·   · · · Q.· · ·What -- what would you call the          19·   ·decisions?
20·   ·writing that you would put a policy decision at      20·   · · · A.· · ·I don't recall.
21·   ·the Department in; what -- is there a title, a       21·   · · · Q.· · ·But you would expect it to be in
22·   ·certain title for the document that would reflect    22·   ·writing?
23·   ·the policy decision?                                 23·   · · · A.· · ·Look, if it's -- if there's a new
24·   · · · A.· · ·I don't recall.                          24·   ·policy that impacts the general public, then it
25·   · · · Q.· · ·Would it be similar to the memo that     25·   ·gets published in -- in the public register.· It


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·2·   ·depends on what level of policy you're talking       ·2·   · · · A.· · ·I don't recall.
·3·   ·about.                                               ·3·   · · · Q.· · ·Okay.
·4·   · · · Q.· · ·So what level of policy was the          ·4·   · · · · · · ·Mark Brown came in as COO of FSA af
·5·   ·policy decision of spring 2018 to not issue          ·5·   ·-- when you left the Department, is that right, he
·6·   ·denials until approvals also could be issued?        ·6·   ·replaced you in that position?
·7·   ·What type of policy would you classify that as?      ·7·   · · · A.· · ·Correct.
·8·   · · · A.· · ·Well, ask me this question again         ·8·   · · · Q.· · ·Did you have any discussions --
·9·   ·because I don't --                                   ·9·   · · · A.· · ·My -- my answer was -- Joe was
10·   · · · Q.· · ·Okay.· You're looking at -- can you      10·   ·correct, that Mark Brown succeeded me as -- as
11·   ·look at Page 6 of why are BD applications on hold    11·   ·COO.
12·   ·at Tab 16, Exhibit 12, second bullet point;          12·   · · · Q.· · ·In connection with the transition
13·   ·"Denials:· Policy decision (spring 2018) to not      13·   ·from you as COO to Mark Brown as COO, did you have
14·   ·issue denials until approvals could be issued"?      14·   ·any discussions with Mr. Brown about borrower
15·   · · · A.· · ·Yes.                                     15·   ·defense?
16·   · · · Q.· · ·What type of policy decision do you      16·   · · · A.· · ·I don't recall discussions we had.
17·   ·classify that as?                                    17·   ·We had -- you know, it was a relatively quick I
18·   · · · A.· · ·Well, this is a -- this is a --          18·   ·decided to leave; and I certainly had
19·   · · · Q.· · ·I'm not asking you about the             19·   ·conversations with him, may have discussed
20·   ·document, sir.· I'm asking you about the policy      20·   ·borrower defense.· I don't recall, you know.
21·   ·decision described in that bullet point.             21·   · · · Q.· · ·Why did you leave the Department?
22·   · · · · · · ·Is that a policy decision that you       22·   · · · · · · ·MR. MERRITT:· Objection, beyond the
23·   ·would expect to be set forth in a certain type of    23·   · · · scope of the discovery the -- the court has
24·   ·document within the Department?                      24·   · · · authorized.
25·   · · · A.· · ·Well, I don't have enough information    25·   · · · Q.· · ·You can answer the question, Mr.

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·to know that this is a policy decision that was in   ·2·   ·Manning.
·3·   ·place based on what I'm looking at.                  ·3·   · · · A.· · ·Okay, I had retired -- sorry.
·4·   · · · Q.· · ·Okay.· Well, it says "Policy decision    ·4·   ·(Unintelligible crosstalk)
·5·   ·spring 2018" and you were at the Department at       ·5·   · · · A.· · ·I retired from the Department in
·6·   ·that time, correct?                                  ·6·   ·2015, January 3rd, 2015.
·7·   · · · A.· · ·Yes.                                     ·7·   · · · Q.· · ·I understand, but why -- why did you
·8·   · · · Q.· · ·And you were acting as Undersecretary    ·8·   ·leave the Department in March, 2019?
·9·   ·at that time, correct?                               ·9·   · · · A.· · ·Keep listening.· I'll answer that
10·   · · · A.· · ·'Til May.· May, 2018.                    10·   ·question.
11·   · · · Q.· · ·Okay, and you were also COO of FSA at    11·   · · · Q.· · ·Oh, I'm sorry,· Mr. Manning. I
12·   ·that time, correct?                                  12·   ·didn't know.
13·   · · · A.· · ·Yes.· I had to stop and think about      13·   · · · A.· · ·I -- I expected to be in a state of
14·   ·the calendar again but, yes, that's correct.         14·   ·retirement and do different things; and I was
15·   · · · Q.· · ·So wouldn't you have known about a       15·   ·approached to go back on the transition team and
16·   ·policy decision like this?                           16·   ·then I was asked to stay; and because I've been a
17·   · · · · · · ·MR. MERRITT:· Objection, asked and       17·   ·public servant all of my life, I agreed to stay
18·   · · · answered.                                       18·   ·for a period of time; and I stayed for more than
19·   · · · Q.· · ·Let's just go back to -- to what         19·   ·two years and it was time to, you know, retire
20·   ·I'm -- I just want to, you know, just get a solid    20·   ·again or resign again and did outside consulting
21·   ·answer from you.                                     21·   ·myself before I ultimately moved into another
22·   · · · A.· · ·What's the question?                     22·   ·position.
23·   · · · Q.· · ·Would there be a certain title to a      23·   · · · Q.· · ·How many presidential administrations
24·   ·document that would contain a policy decision as     24·   ·did you work for?
25·   ·is described here in that bullet point?              25·   · · · A.· · ·All of them since Carter except for


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·2·   ·Clinton, but I was a career officer, a career        ·2·   ·connection with the Penn Hill Group after leaving
·3·   ·member of the senior executive service.· At the      ·3·   ·the Department of Education?
·4·   ·beginning of my service, I was in the Career         ·4·   · · · · · · ·MR. MERRITT:· Objection, and I'm
·5·   ·Foreign Service.                                     ·5·   · · · going to object to that question, beyond the
·6·   · · · Q.· · ·And immediately prior to joining the     ·6·   · · · scope.· This has gone on long enough.· I'm
·7·   ·Trump transition team, were you self-employed        ·7·   · · · going to instruct the witness not to answer
·8·   ·doing consulting work?                               ·8·   · · · to enforce a court order limitation on
·9·   · · · A.· · ·Yes.                                     ·9·   · · · discovery.
10·   · · · Q.· · ·So what were the types of clients        10·   · · · Q.· · ·Have you done any work after leaving
11·   ·that you had?                                        11·   ·the administration related to the discharge of
12·   · · · · · · ·MR. MERRITT:· Objection, it's beyond     12·   ·student loans?
13·   · · · the scope of the discovery that's been          13·   · · · · · · ·MR. MERRITT:· Objection.· Beyond the
14·   · · · authorized.                                     14·   · · · scope.· I instruct not to answer to protect
15·   · · · Q.· · ·Did you have any higher education        15·   · · · the limitation, the court ordered limitation
16·   ·clients?                                             16·   · · · on discovery.
17·   · · · A.· · ·What's your definition of higher         17·   · · · Q.· · ·Have you done any the work on behalf
18·   ·education?                                           18·   ·of institutions of higher education as in your --
19·   · · · Q.· · ·How about student loan guarantors?       19·   ·in your consulting work after leaving the Trump
20·   · · · A.· · ·I did work for Strata Education, you     20·   ·Administration?
21·   ·know, a former student loan guarantee agency         21·   · · · · · · ·MR. MERRITT:· Objection to this line
22·   ·that's no longer a guarantee agency.                 22·   · · · of questioning, we objected to it, beyond the
23·   · · · Q.· · ·Anybody else?                            23·   · · · scope of what the court authorized discovery
24·   · · · A.· · ·Nobody else in higher education.         24·   · · · on.· Continue to instruct not to answer.
25·   · · · Q.· · ·No -- no institutions of higher          25·   · · · · · · ·MR. JARAMILLO:· Well, I think it's --

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·education?                                           ·2·   · · · I think it's relevant.· It goes to
·3·   · · · A.· · ·That I worked for as a consultant?       ·3·   · · · credibility and it goes to bias.
·4·   · · · Q.· · ·Yes, prior to joining the Department     ·4·   · · · · · · ·MR. MERRITT:· Was that one of the
·5·   ·or the Trump transition team.                        ·5·   · · · topics the court authorized discovery on?
·6·   · · · · · · ·MR. MERRITT:· I going to object to       ·6·   · · · · · · ·MR. JARAMILLO:· That's always an
·7·   · · · the scope of this line of questioning and how   ·7·   · · · issue when you're talking about a discovery.
·8·   · · · it's relevant to the discovery the court        ·8·   · · · I don't think Judge Alsup would disagree with
·9·   · · · authorized.                                     ·9·   · · · that.
10·   · · · Q.· · ·You can answer the question.· You        10·   · · · · · · ·MR. MERRITT:· And this an ATA case
11·   ·mentioned Stratta Education.· Was there any other    11·   · · · and as you just said the Judge also
12·   ·higher education-related institution that you had    12·   · · · recognized, a discovery of the agency is
13·   ·as a client?                                         13·   · · · favored, that's the presumption.· He
14·   · · · A.· · ·No.                                      14·   · · · obviously authorized discovery in this case,
15·   · · · Q.· · ·What about USA Funds?                    15·   · · · but it must be limited to the topics he
16·   · · · A.· · ·USA -- USA Funds was a pre -- Stratta    16·   · · · actually set forth and this is not related to
17·   ·was spun off from USA Funds.· I did not work for     17·   · · · any of the -- the topics described --
18·   ·you USA Funds.                                       18·   · · · (unintelligible crosstalk).
19·   · · · Q.· · ·Did any of your consulting work          19·   · · · Q.· · ·Did your work at the President Forum
20·   ·involve the discharge of federal student loans?      20·   ·involve any work for non-for-profit schools?
21·   · · · · · · ·MR. MERRITT:· Objection, it's beyond     21·   · · · · · · ·MR. MERRITT:· Objection, still beyond
22·   · · · the scope.                                      22·   · · · the scope.
23·   · · · Q.· · ·Your answer, sir?                        23·   · · · Q.· · ·Does your work at President Forum,
24·   · · · A.· · ·No.                                      24·   ·Mr. Manning, involve any discharge of federal
25·   · · · Q.· · ·And did you ever consult in              25·   ·student loans?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·MR. MERRITT:· Objection, beyond the      ·2·   ·complete document?
·3·   · · · scope of the court-authorized discovery. I      ·3·   · · · Q.· · ·Well, sir, I -- thanks for pointing
·4·   · · · instruct the witness not to answer to protect   ·4·   ·that out.· I think that we just excerpted here
·5·   · · · the limitation ordered by the court.            ·5·   ·your -- your remarks as they appear in this
·6·   · · · Q.· · ·After leaving the Trump                  ·6·   ·transcript.
·7·   ·Administration, Mr. Manning, did you have any        ·7·   · · · A.· · ·Okay.
·8·   ·discussions with anybody at the Department of        ·8·   · · · Q.· · ·If you could turn to Page 8 on Line
·9·   ·Education regarding borrower defense issues?         ·9·   ·11.· Can you read for me the second beginning with
10·   · · · A.· · ·After I left the Trump                   10·   ·"As you know"?
11·   ·Administration?                                      11·   · · · A.· · ·Yes.· "As you know, the borrower
12·   · · · Q.· · ·Yes, sir.                                12·   ·defense regulations enacted in 2016 have been
13·   · · · A.· · ·Did I have any conversations with        13·   ·delayed and so the Department has and will
14·   ·people at the Department about borrower defense,     14·   ·continue to consider claims under the regulatory
15·   ·is that what you said?· Repeat the question· · ·,    15·   ·status quo which assesses a claim under applicable
16·   ·please.                                              16·   ·state law and commits to the Secretary's
17·   · · · Q.· · ·That's it.· You got it, Mr. Manning.     17·   ·discretion how to fashion reliefl"
18·   ·That's -- that's the question.· You repeated it      18·   · · · Q.· · ·And do you recall making that
19·   ·accurately.                                          19·   ·statement to this committee?
20·   · · · A.· · ·After I left the Trump                   20·   · · · A.· · ·Yes.
21·   ·Administration, did I have conversations             21·   · · · Q.· · ·I would like you to turn to Page 10.
22·   ·with -- none that I recall.                          22·   · · · A.· · ·Okay.
23·   · · · Q.· · ·I would like you to turn to Tab 12       23·   · · · Q.· · ·Can you read the sentence beginning
24·   ·and this is a document that we need to mark as the   24·   ·at Line 5.
25·   ·next exhibit, which I believe is 34.                 25·   · · · A.· · ·"Throughout the winter and early

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·(Whereupon, Exhibit 34 was marked at     ·2·   ·spring, a team consisting of both career and
·3·   · · · this time.)                                     ·3·   ·non-career Department leadership evaluated the
·4·   · · · Q.· · ·And this is a document that has on       ·4·   ·program and worked to implement controls and
·5·   ·top "U.S. Department of Education Borrower           ·5·   ·procedures for reviewing claims and processes for
·6·   ·Defenses and Financial Responsibility Negotiated     ·6·   ·discharging loans for successful claimants."
·7·   ·Rulemaking Committee 2017-2018· Session 1."          ·7·   · · · Q.· · ·And was that the Borrower Review
·8·   · · · A.· · ·Yes.                                     ·8·   ·Defense Panel that we discussed earlier?
·9·   · · · Q.· · ·Have you seen this document before,      ·9·   · · · A.· · ·I believe so.
10·   ·Mr. Manning?                                         10·   · · · Q.· · ·And what controls and procedures were
11·   · · · A.· · ·It looks like a transcript of the        11·   ·implemented?· You -- you say that they "worked to
12·   ·remarks I gave at the beginning of this session.     12·   ·implement controls and procedures for reviewing
13·   · · · Q.· · ·Have you seen it before?                 13·   ·claims and processes for discharging loans for
14·   · · · A.· · ·Have I seen this document before?        14·   ·successful claimants."
15·   · · · Q.· · ·Yes, sir.                                15·   · · · · · · ·Do you recall any more about those
16·   · · · A.· · ·In this form, not that I recall.         16·   ·controls and procedures?
17·   · · · Q.· · ·Okay.· I want you to turn to Page 8,     17·   · · · A.· · ·Well, what came out of that was the
18·   ·please.                                              18·   ·establishment of the methodology.
19·   · · · A.· · ·Happy to.                                19·   · · · Q.· · ·Did anything else come out of that
20·   · · · Q.· · ·And I would like you to look at the      20·   ·that was related to controls and procedures for
21·   ·sentence beginning in the middle of Line 11.         21·   ·reviewing claims and processes for discharging
22·   · · · A.· · ·Can I just point out, just for my own    22·   ·loans?
23·   ·clarification, this document -- there's a couple     23·   · · · A.· · ·I don't recall.
24·   ·of pages Number 1 and the back of the cover page     24·   · · · Q.· · ·Can you look at -- on the same page,
25·   ·is Number 7, 8, 9, 10.· So is this -- is this a      25·   ·the sentence starting at Line 17.


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·2·   · · · · · · ·Could you read that one?                 ·2·   ·adjustments to the program during the short-term
·3·   · · · A.· · ·Yeah. " Our review uncovered several     ·3·   ·hiatus in adjudicating claims will yield long term
·4·   ·areas of concern which required building an          ·4·   ·improvements and efficiencies beneficial to all."
·5·   ·infrastructure to remain, to review claims and       ·5·   · · · Q.· · ·So at that point in time in November,
·6·   ·make programmatic tweaks, which in turn              ·6·   ·2017 did you believe that the approval of some of
·7·   ·contributed to the time it has taken to adjudicate   ·7·   ·these claims was imminent?
·8·   ·additional claims."                                  ·8·   · · · A.· · ·That's what I said.· I believed it
·9·   · · · Q.· · ·Do you recall what these several         ·9·   ·then.
10·   ·areas of concern were?                               10·   · · · Q.· · ·Did -- did anything about your belief
11·   · · · A.· · ·I do not recall.· No, I do not           11·   ·change after that point in time whether the
12·   ·recall.                                              12·   ·approval was imminent or not?
13·   · · · Q.· · ·Do you recall what the programmatic      13·   · · · A.· · ·I -- I don't recall.
14·   ·tweaks were?                                         14·   · · · Q.· · ·Do you know if any of those claims
15·   · · · A.· · ·I don't recall that.                     15·   ·you believed were about to be approved were, in
16·   · · · Q.· · ·Do you recall how all of this            16·   ·fact, improved -- approved during your tenure?
17·   ·contributed to the time it has taken to adjudicate   17·   · · · A.· · ·At this point, I do not recall.
18·   ·additional claims?                                   18·   · · · Q.· · ·And you mentioned that there was a
19·   · · · A.· · ·I'm -- I'm sorry.· Repeat that,          19·   ·short-term hiatus in adjudicating claims.· Do you
20·   ·please.                                              20·   ·remember what caused the short term hiatus?
21·   · · · Q.· · ·Do you recall how these things           21·   · · · A.· · ·I do not remember.
22·   ·contributed to the time it has taken to adjudicate   22·   · · · Q.· · ·Do you remember how long that hiatus
23·   ·additional claims?                                   23·   ·actually was?
24·   · · · A.· · ·I don't recall how this -- no.· No, I    24·   · · · A.· · ·I do not remember.
25·   ·don't recall.                                        25·   · · · Q.· · ·Do you know if -- up to this point,

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·At this point in time which was in       ·2·   ·November 14th, 2017, do you recall any approvals
·3·   ·November of 2017, do you recall there being a        ·3·   ·other than the 16,000 approximate claims that
·4·   ·delay in the issuance of borrower defense claims     ·4·   ·were approved in the prior administration that
·5·   ·decisions?                                           ·5·   ·Secretary DeVos decided to discharge; are you
·6·   · · · A.· · ·I specifically do not recall that.       ·6·   ·aware of any other approvals between the time you
·7·   · · · Q.· · ·If I can have you turn to Page 13.       ·7·   ·started in the Department in January, 2017 up
·8·   · · · A.· · ·Okay.                                    ·8·   ·until now this point in November, 2017?
·9·   · · · Q.· · ·Can you read -- sorry.· Can you read     ·9·   · · · A.· · ·I don't recall.
10·   ·the sentence starting in the middle of Line 6?       10·   · · · Q.· · ·You don't know one way or the other
11·   · · · A.· · ·"Moving forward"?                        11·   ·whether there were any approvals during that time
12·   · · · Q.· · ·Yes.                                     12·   ·period?
13·   · · · A.· · ·"Moving forward, we have                 13·   · · · A.· · ·I don't recall one way or the other.
14·   ·approximately 95,000 pending claims of which         14·   · · · Q.· · ·Do you know if there were any denials
15·   ·roughly 65 percent are from former Corinthian        15·   ·during that time period?
16·   ·students."                                           16·   · · · A.· · ·I don't recall.
17·   · · · Q.· · ·And can you read the next sentence.      17·   · · · Q.· · ·Do you know when the short -- the
18·   · · · A.· · ·"While I cannot give you a specific      18·   ·hiatus that you call short term, do you know when
19·   ·date or number, I can tell you that approval of      19·   ·it ended?
20·   ·some these claims is imminent.· While it has taken   20·   · · · A.· · ·I -- no, I don't recall.
21·   ·some time" -- or did you want me to keep on going?   21·   · · · Q.· · ·Okay.· Do you recall anything about
22·   · · · Q.· · ·You can keep on going, sir.· Thank       22·   ·the hiatus?
23·   ·you.                                                 23·   · · · A.· · ·Not -- no, I don't recall anything
24·   · · · A.· · ·"While it has some time, I am            24·   ·about the hiatus.· I remember saying it here, but
25·   ·confident that the work done to assess and make      25·   ·I --· I don't have any recollection now.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Okay.· If we could, turn to Page 14.     ·2·   ·what did I say here?· I stand by what I said.
·3·   · · · A.· · ·Okay.                                    ·3·   · · · Q.· · ·And you said the Department is also
·4·   · · · Q.· · ·Mr. Manning, could you please read       ·4·   ·working to adjudicate pending claims related to
·5·   ·for me the sentence beginning on Line 18.            ·5·   ·other schools?
·6·   · · · A.· · ·"The Department is also working to       ·6·   · · · A.· · ·Right.
·7·   ·adjudicate pending claims related to other           ·7·   · · · Q.· · ·And you stand by that?
·8·   ·schools.· We are making progress on that front.      ·8·   · · · A.· · ·Yes.
·9·   · · · Q.· · ·Was that an accurate statement?          ·9·   · · · Q.· · ·And you state that "We are making
10·   · · · A.· · ·I believe it to be true when I said      10·   ·progress on that front."· Do you recall what
11·   ·it.                                                  11·   ·progress was being made on that front?
12·   · · · Q.· · ·What did you base that statement on?     12·   · · · A.· · ·No, but I expect that it was slow.
13·   · · · A.· · ·Discussion with others I'm sure at       13·   · · · Q.· · ·Why did you expect that it was slow?
14·   ·the time, but I don't recall who was consulted on    14·   · · · A.· · ·Because I'm sure the desire was to
15·   ·this or who initially had a -- a hand in writing     15·   ·move them quicker than they were being moved.
16·   ·it.                                                  16·   · · · Q.· · ·Do you recall being dissatisfied with
17·   · · · Q.· · ·So when you had made these remarks,      17·   ·the pace at which they were moving at that time?
18·   ·was ---· was it sort of a written speech you had     18·   · · · A.· · ·My hope always was to move them
19·   ·prepared beforehand?                                 19·   ·quicker.· It was a small staff who was handling it
20·   · · · A.· · ·It certainly was written and prepared    20·   ·at borrower defense, which was an issue and that
21·   ·beforehand.                                          21·   ·remained an issue for a long time.· I understand
22·   · · · Q.· · ·Did you write it yourself or did         22·   ·now that the -- the staffing there is much better
23·   ·someone on your staff help you write it?             23·   ·than it used to be now.
24·   · · · A.· · ·I had help.· I -- there was staff        24·   · · · Q.· · ·Did you take any steps to try to make
25·   ·writer, I'm sure.· I don't remember who it was. I    25·   ·the -- the pace of the claim adjudication go more

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·definitely saw it before I read it -- before I,      ·2·   ·quickly?
·3·   ·you know, delivered it and made adjustments.         ·3·   · · · A.· · ·I don't recall.
·4·   · · · Q.· · ·Have you ever --                         ·4·   · · · Q.· · ·Did you take any steps to increase
·5·   · · · A.· · ·I can't recall.                          ·5·   ·the -- the staff of the Borrower Defense Unit?
·6·   · · · Q.· · ·Go ahead.· We spoke over each other.     ·6·   · · · A.· · ·There was some discussions about that
·7·   ·Go ahead, Mr. Manning.                               ·7·   ·and in principle supported additional staff. I
·8·   · · · A.· · ·If I put my voice to it, I couldn't      ·8·   ·know it was some time before there was a
·9·   ·tell you now which -- which parts were written by    ·9·   ·significant growth in staff, though.
10·   ·somebody else or which were written by me.           10·   · · · Q.· · ·Did anyone at FSA ever make a request
11·   · · · Q.· · ·And you don't recall who would have      11·   ·to you for additional staff for the Borrower
12·   ·been involved in -- in writing it besides you?       12·   ·Defense Unit?
13·   · · · A.· · ·I don't recall.                          13·   · · · A.· · ·Oh, I'm sure I had conversations
14·   · · · Q.· · ·Normally, who would write your           14·   ·with Colleen where additional staff were discussed
15·   ·speeches for you or, or -- or write drafts of them   15·   ·and --
16·   ·for your review?                                     16·   · · · Q.· · ·Did Colleen ever request additional
17·   · · · A.· · ·I -- I didn't give that many.            17·   ·staff for the Borrower Defense Unit?
18·   · · · Q.· · ·Okay.· That's fine, if you don't         18·   · · · A.· · ·We discussed that.
19·   ·recall.                                              19·   · · · Q.· · ·Did she request it?
20·   · · · A.· · ·I don't.                                 20·   · · · A.· · ·I can't remember a specific request,
21·   · · · Q.· · ·And is it true that the Department at    21·   ·but she and I agreed that there should be more
22·   ·that time in November, 2017 was also working to      22·   ·staff.· I don't know when the -- the staff grew.
23·   ·adjudicate pending claims related to schools other   23·   ·You know, when it grew I don't recall.
24·   ·than Corinthian?                                     24·   · · · Q.· · ·What did Ms. Nevin tell you about her
25·   · · · A.· · ·If they were doing it at that time,      25·   ·concerns about staff?


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·2·   · · · A.· · ·I don't remember specifically.· Just    ·2·   ·September, 2017?
·3·   ·knowing that we had -- we had the conversation      ·3·   · · · A.· · ·November, 2016 and November,
·4·   ·that we needed more staff.                          ·4·   ·2017 --
·5·   · · · Q.· · ·Do you know why it took some time for   ·5·   · · · Q.· · ·To September, 2017.
·6·   ·additional staff to be added to the Borrower        ·6·   · · · A.· · ·I do recall, not specifically what
·7·   ·Defense Unit?                                       ·7·   ·you said, but that people left between late '16
·8·   · · · A.· · ·I don't recall.                         ·8·   ·and is early '17, including both the -- the
·9·   · · · Q.· · ·Did you ever make a request to          ·9·   ·gentlemen whose names I can't remember; Robert who
10·   ·increase the staff of the DBU or Borrower Defense   10·   ·led the Enforcement Unit left early and his deputy
11·   ·Unit?                                               11·   ·ultimately left as well and there were other
12·   · · · A.· · ·I can't remember specifically making    12·   ·attorneys that left.· Colleen Nevin had been
13·   ·that request, but I believe I did.· I don't         13·   ·principal of -- Number 3 person there and she
14·   ·recall.· I don't recall.                            14·   ·remains to this day.
15·   · · · Q.· · ·What was the process addition -- for    15·   · · · · · · ·Staff did go.· I don't recall how low
16·   ·requesting additional staff for the BDU?            16·   ·the number got and I know now that they have
17·   · · · A.· · ·I don't recall.                         17·   ·significantly more staff.
18·   · · · Q.· · ·And do you recall having a request      18·   · · · Q.· · ·And how do you know that, Mr.
19·   ·for additional staff for the BDU ever having been   19·   ·Manning?
20·   ·denied by the Department?                           20·   · · · A.· · ·I'm trying to recall who told me
21·   · · · A.· · ·Denied by who?                          21·   ·that.· I can't remember.
22·   · · · Q.· · ·Denied by anybody at the Department.    22·   · · · Q.· · ·During your tenure at the Department,
23·   · · · A.· · ·I don't recall that.                    23·   ·was there any assessment made of the amount of
24·   · · · Q.· · ·If you wanted -- if you were to         24·   ·staff needed to reduce the backlog of pending
25·   ·request additional staff for the BDU, what would    25·   ·borrower defense applications?

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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·you do?                                             ·2·   · · · A.· · ·A formal assessment, not that I
·3·   · · · · · · ·MR. MERRITT:· Objection, calls for      ·3·   ·recall.
·4·   · · · speculation.                                   ·4·   · · · Q.· · ·How about an in formal assessment?
·5·   · · · Q.· · ·You can answer the question.            ·5·   · · · A.· · ·Well, I think that Colleen had ideas.
·6·   · · · A.· · ·You mean now or then?                   ·6·   · · · Q.· · ·What became of Colleen's ideas, if
·7·   · · · Q.· · ·Then.                                   ·7·   ·you know?
·8·   · · · A.· · ·I don't recall what --                  ·8·   · · · A.· · ·I don't recall.· I can't remember,
·9·   · · · Q.· · ·Do you recall now what would be done?   ·9·   ·you know, what the level fell to or -- or where
10·   · · · A.· · ·I don't recall.· You know, I don't      10·   ·it, you know, rose to over the following years. I
11·   ·recall.                                             11·   ·just don't remember.
12·   · · · Q.· · ·Do you -- do you recall the number of   12·   · · · Q.· · ·I would like to 1have you turn back
13·   ·staffing that was in place when you were acting     13·   ·to Tab 7, which was marked as Exhibit 33.
14·   ·Undersecretary in terms of staffing at the BDU?     14·   · · · A.· · ·Okay.
15·   · · · A.· · ·No, I don't recall what it was then.    15·   · · · Q.· · ·And these again are the questions
16·   ·I do understand that it's significantly higher      16·   ·submitted by Senator Patty Murray and Secretary
17·   ·now --                                              17·   ·DeVos' answers.
18·   · · · Q.· · ·Okay.· Would --                         18·   · · · A.· · ·All right.· I'm trying to keep these
19·   · · · A.· · ·-- which is a good thing.· I hd added   19·   ·things in order.
20·   ·which is a goo thing.· I understand that there's    20·   · · · · · · ·Okay, I have it.
21·   ·more staffing now and I said which is a good        21·   · · · Q.· · ·If you could turn to Page 19 and I'm
22·   ·thing.                                              22·   ·just going to read to you the question that
23·   · · · Q.· · ·Are you aware that the contractor       23·   ·appears there.
24·   ·staffing at the Borrower Defense Unit went from     24·   · · · A.· · ·Okay.
25·   ·twenty to six between November, 2016 and            25·   · · · Q.· · ·Are you at Page 19 of 48?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I was making the mistake of reading      ·2·   ·sentences, I want to ask you about it.· Can you
·3·   ·the page numbers from the top.                       ·3·   ·read it out loud for the record.
·4·   · · · Q.· · ·I should point out I'm -- I'm going      ·4·   · · · A.· · ·"Yes.· The Department recently
·5·   ·by the ones at the bottom.                           ·5·   ·completed a preliminary estimate of the full-time
·6·   · · · · · · ·The ones at the top appear because of    ·6·   ·and contractor resources needed to eliminate or
·7·   ·electronically filing the document with the court,   ·7·   ·substantially reduce the number of pending
·8·   ·but I'm just going to go with the bottom.            ·8·   ·borrower defense applications."
·9·   · · · A.· · ·And I found it.· I'm with you.           ·9·   · · · Q.· · ·I want to ask you about that, Mr.
10·   ·Gotcha.                                              10·   ·Manning.
11·   · · · Q.· · ·Okay, Mr. Manning.· At the bottom of     11·   · · · A.· · ·Oh, that was two sentences.· "Yes"
12·   ·the page there is a heading that says "Resources     12·   ·was the first sentence, okay.· I got it.
13·   ·required to address borrower defense backlog."       13·   · · · Q.· · ·Were you involved with this
14·   · · · · · · ·I'm going to read the question and       14·   ·preliminary estimate at all?
15·   ·then we can talk about Secretary DeVos' answer.      15·   · · · A.· · ·Well, considering that these were
16·   ·The question at that time --                         16·   ·asked after I left, I would say that -- no. I
17·   · · · A.· · ·May I ask the time frame when this       17·   ·have no recollection.· I mean, I was gone then and
18·   ·was happening?                                       18·   ·then was not involved in assisting in answering
19·   · · · Q.· · ·Yes, and I -- this was from June         19·   ·these kind of questions and stuff like that.
20·   ·13th, 2019.· Recognize that this postdates your      20·   · · · Q.· · ·I understand, Mr. Manning.· I was
21·   ·time at the Department, but it does discuss some     21·   ·just curious as to -- you know -- I wanted to just
22·   ·things that I wanted to ask you about just in case   22·   ·probe a little bit about whether that estimate was
23·   ·you were involved with any related items during      23·   ·undertaken during the time you were at the
24·   ·your time at the Department.                         24·   ·Department, and I understand the answers to these
25·   · · · A.· · ·Okay.                                    25·   ·questions are from a few months afterward and I

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·And I'm going to read the question       ·2·   ·just wanted to see if you had any knowledge of
·3·   ·from Senator Murray and then we'll go over Ms.       ·3·   ·such an effort being undertaken during your
·4·   ·DeVos' answer and I just wanted to pick your brain   ·4·   ·tenure.
·5·   ·a little bit about -- I would'nt know anything       ·5·   · · · A.· · ·I don't recall.· May have, but I
·6·   ·about what she's saying here.                        ·6·   ·don't recall.
·7·   · · · · · · ·So the question is, "Has the             ·7·   · · · Q.· · ·All right.· So you don't know when
·8·   ·Department conducted any analysis of the             ·8·   ·this preliminary estimate was undertaken that's
·9·   ·resources, including staff full-time equivalencies   ·9·   ·described here?
10·   ·and any contract funding necessary to clear the      10·   · · · A.· · ·I'm looking at the question just to
11·   ·backlog of pending borrower defense claims, now      11·   ·make sure I get it correctly.
12·   ·totaling at least 158,000 from the end of quarter    12·   · · · · · · ·Yeah, I don't recall.
13·   ·4 of 2018?· If so, please describe how such          13·   · · · Q.· · ·Are you aware of any time when the
14·   ·analysis was conducted and the principal             14·   ·Department undertook this type of preliminary
15·   ·findings of such analysis, including staffing or     15·   ·estimate of the full-time and contractor resources
16·   ·contracting resources that could be utilized or      16·   ·needed to eliminate or substantially reduce the
17·   ·necessary."                                          17·   ·number of pending BD applications during your
18·   · · · · · · ·Mr. Manning, can you read for me just    18·   ·tenure?
19·   ·the first two sentences of the answer, "Yes" being   19·   · · · A.· · ·I don't recall.
20·   ·the first sentence and then after that the second    20·   · · · Q.· · ·And, you know, as we discussed, this
21·   ·sentence.                                            21·   ·statement was made in June, 2019.· Assuming that
22·   · · · A.· · ·Only the first two sentences, not the    22·   ·preliminary estimate was in or around that time,
23·   ·whole response?                                      23·   ·do you know why it took the Department so long to
24·   · · · Q.· · ·Yes, because I -- yeah, I just want      24·   ·conduct such an estimate of resources to reduce
25·   ·to ask you -- after you read that first two          25·   ·the backlog with -- with additional staffing?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I do not.                                ·2·   ·Department in January 20, 2017 and you left
·3·   · · · Q.· · ·And you're not aware of any prior        ·3·   ·March --
·4·   ·estimate made by the Department about this issue?    ·4·   · · · A.· · ·I misread my own note here.· You're
·5·   · · · A.· · ·About the time to complete -- I don't    ·5·   ·correct.· If I had a plan why there's only an
·6·   ·recall.                                              ·6·   ·increase of one attorney, is that it?
·7·   · · · Q.· · ·Okay.· I'll just represent to you        ·7·   · · · Q.· · ·Were you concerned about this issue
·8·   ·that the Department has produced a chart that        ·8·   ·of staffing?
·9·   ·shows the -- the number of staffers of the           ·9·   · · · A.· · ·Yes, in principle I was concerned
10·   ·Borrower Defense Unit from May, 2018 to the          10·   ·that they didn't have everyone that they needed to
11·   ·present.                                             11·   ·have.
12·   · · · · · · ·I'm not going to show it to you, it's    12·   · · · Q.· · ·What did you do to address your
13·   ·not in your packet, but I'll represent to you that   13·   ·concern?
14·   ·it shows the total of sixteen attorneys and          14·   · · · A.· · ·I don't recall, to tell you the
15·   ·contracting staff in May, 2018 when you were at      15·   ·truth.
16·   ·the Department and then it fluctuates, but it ends   16·   · · · Q.· · ·Do you recall doing anything to
17·   ·up at a total of seventeen attorney and contractor   17·   ·address that issue?
18·   ·staff in March, 2019.                                18·   · · · A.· · ·I do remember, you know, having
19·   · · · · · · ·Can you explain why there was not an     19·   ·conversations with, you know, Colleen.
20·   ·increase in staff to address the backlog in          20·   · · · Q.· · ·Did you ever have any conversations
21·   ·borrower defense applications?                       21·   ·with Secretary DeVos about the staffing issue?
22·   · · · A.· · ·Could you just give me those numbers     22·   · · · A.· · ·I don't recall.
23·   ·again so I can try to get my head around it.· May,   23·   · · · Q.· · ·You don't recall Secretary DeVos ever
24·   ·2018 you said was the first thing you gave me.       24·   ·asking you about whether additional resources were
25·   · · · Q.· · ·Yeah, so a total of sixteen attorney     25·   ·needed for borrower defense?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·and contractor staff at the BDU.                     ·2·   · · · A.· · ·I don't recall that specific question
·3·   · · · A.· · ·Okay, and then the second date, what     ·3·   ·being asked, and I -- I don't recall specifically
·4·   ·was it?                                              ·4·   ·having a conversation about this issue, about the
·5·   · · · Q.· · ·As of March, 2019 that number was        ·5·   ·staffing issue with Secretary DeVos.· I simply do
·6·   ·seventeen and -- and I'll recognize that there was   ·6·   ·not recall.· Not to mean that I didn't, but I
·7·   ·some fluctuation in the middle, but by March, 2019   ·7·   ·don't recall.
·8·   ·around the time you left the Department, it was at   ·8·   · · · Q.· · ·Do you recall there being a hiring
·9·   ·seventeen.                                           ·9·   ·freeze at the Department that affected the ability
10·   · · · A.· · ·Uh-huh.                                  10·   ·to hire staff at the beginning of the Trump
11·   · · · Q.· · ·My question is; why wasn't there a       11·   ·Administration?
12·   ·steady increase to address the backlog in borrower   12·   · · · A.· · ·Yes, I do understand that.
13·   ·defense applications by hiring more staff for the    13·   · · · Q.· · ·Do you know how long that hiring
14·   ·BDU?                                                 14·   ·freeze lasted?
15·   · · · A.· · ·You -- you don't have a -- a number      15·   · · · A.· · ·Pretty much from the beginning
16·   ·that represents what the onboard number is today,    16·   ·through most of '17.· That's -- I can't -- I can't
17·   ·by chance?                                           17·   ·say authoritatively when it ended.· It was for a
18·   · · · Q.· · ·Well, yes, the number is there, but      18·   ·significant period of time, if not most of '17.
19·   ·I'm not asking you about that because you're not     19·   · · · Q.· · ·Were you surprised at how long that
20·   ·at the Department anymore, Mr. Manning.              20·   ·hiring freeze was in place?
21·   · · · A.· · ·I was -- I wasn't at the Department      21·   · · · A.· · ·Well, I've been in federal service
22·   ·during this -- this period that you're talking       22·   ·for a long time and hiring freezes happen from
23·   ·about here either and so...                          23·   ·time to time and so I wasn't completely surprised
24·   · · · Q.· · ·I'm talking about May, 2018 to March,    24·   ·that there was a freeze.
25·   ·2019.· My understanding is you started at the        25·   · · · Q.· · ·Who ordered the hiring freeze?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I have no idea.                          ·2·   · · · A.· · ·No, I don't recall any e-mail groups
·3·   · · · Q.· · ·How did you find out about the hiring    ·3·   ·like that that -- I was not aware of any e-mail
·4·   ·freeze?                                              ·4·   ·groups like that.
·5·   · · · A.· · ·It was announced, I'm sure.· There       ·5·   · · · Q.· · ·Was this hiring freeze specific to
·6·   ·was notice given that it would be -- there would     ·6·   ·the Department of Education only or was it within
·7·   ·be a hiring freeze.                                  ·7·   ·particular units of the Department?
·8·   · · · Q.· · ·Where did that notice come from?         ·8·   · · · A.· · ·I think it impacted the entire
·9·   · · · A.· · ·I don't recall.· It came -- normally     ·9·   ·Department my recollection, but I can't be sure.
10·   ·those kinds of announcements would come from the     10·   · · · Q.· · ·After the freeze was lifted, do you
11·   ·Office of Administration, but I don't recall         11·   ·recall having any -- any discussions with anyone
12·   ·specifically where they come from.                   12·   ·at FSA about oh, now that the freeze is lifted we
13·   · · · Q.· · ·What is the Office of Administration?    13·   ·can try to get more staff for the borrower defense
14·   · · · A.· · ·The management office that               14·   ·claims review process?
15·   ·coordinates general management issues, including     15·   · · · A.· · ·I don't recall.
16·   ·personnel.· It was headed by Denise Carter then      16·   · · · Q.· · ·Let me have you turn, Mr. Manning,
17·   ·and I think today --                                 17·   ·back to Tab 7 which is Exhibit 33, the question
18·   · · · Q.· · ·And is that within the Department of     18·   ·and answer between Senator Patty Murray and
19·   ·Education?                                           19·   ·Secretary DeVos.
20·   · · · A.· · ·Yes.                                     20·   · · · A.· · ·Oh, thank goodness I didn't put it
21·   · · · Q.· · ·How did you find out that the hiring     21·   ·away.· Here it is.· What page?
22·   ·freeze was lifted?                                   22·   · · · Q.· · ·Turn to Page 21 of 48.
23·   · · · A.· · ·I don't recall.                          23·   · · · A.· · ·Okay, got it.
24·   · · · Q.· · ·Do you recall ever finding out that      24·   · · · Q.· · ·I'll read the -- the question and
25·   ·it was lifted?                                       25·   ·then I'll just have you read the answer and we can

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I do believe that I was there when it    ·2·   ·talk about it.
·3·   ·was lifted, but I can't specifically recall when     ·3·   · · · A.· · ·Okay.
·4·   ·that was or when it was lifted.                      ·4·   · · · Q.· · ·This is under "Staff allocated to
·5·   · · · Q.· · ·How would you expect to find out         ·5·   ·borrower defense activity.· ·Question:· "How many
·6·   ·about whether -- about how it was lifted, would      ·6·   ·full-time equivalent positions with the primary
·7·   ·you expect to receive a written document?            ·7·   ·job function of forward-responsibility of
·8·   · · · A.· · ·Well, an announcement of one type or     ·8·   ·reviewing or providing analysis of borrower
·9·   ·another and I think by that point, you know,         ·9·   ·claims, including attorneys' advisors, were filled
10·   ·e-mails were sent probably, but I don't recall how   10·   ·with active employees as of January 19, 2017, have
11·   ·it actually was done.                                11·   ·become vacant since January 20, 2017, have been
12·   · · · Q.· · ·Was there some sort of e-mail group      12·   ·listed with a vacancy announcement by the
13·   ·at the Department that was for leadership only?      13·   ·Department since January 20, 2017, have been hired
14·   · · · A.· · ·I don't know what that means.            14·   ·by the Department since January 20, 2017, are
15·   · · · Q.· · ·In other words, was there a certain      15·   ·employed as of the date of the response inquiry?"
16·   ·e-mail group designated for people such as           16·   · · · · · · ·And, Mr. Manning, can you read
17·   ·yourself who were in higher command positions        17·   ·Secretary DeVos's answer for the record?
18·   ·within the Department.                               18·   · · · A.· · ·Well, I'm trying to -- answer:· "As
19·   · · · · · · ·MR. MERRITT:· Objection.· Sorry, go      19·   ·of January 19, 2017, there were eleven employees
20·   · · · ahead.                                          20·   ·in the borrower defense group.· Since January 20,
21·   · · · · · · ·MR. JARAMILLO:· No, go ahead.            21·   ·'17, four of those employees voluntarily separated
22·   · · · · · · ·MR. MERRITT:· I'm am just going to       22·   ·from the Department.· As of March 31st, 2019,
23·   · · · state an objection to that being outside the    23·   ·seven employees remained in the borrower defense
24·   · · · scope of court-ordered discovery.               24·   ·group which included six full time employees and
25·   · · · Q.· · ·You can answer the question.             25·   ·one part-time employee.· As of January 20th, 2017


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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·no additional employees have been hired in the      ·2·   ·hires for the borrower defense group, would that
·3·   ·borrower defense group.· The Department currently   ·3·   ·request necessarily be communicated to you?
·4·   ·is preparing announcements to fill the vacant       ·4·   · · · A.· · ·While I was COO, probably.
·5·   ·positions."                                         ·5·   · · · Q.· · ·What about when you were acting
·6·   · · · Q.· · ·Thank you for reading that, Mr.         ·6·   ·Undersecretary, during the time period you were
·7·   ·Manning.                                            ·7·   ·not COO at the same time?
·8·   · · · · · · ·Do you know why as of this date in      ·8·   · · · A.· · ·Yeah, I don't recall what we were
·9·   ·this document, since January 20, 2017 no            ·9·   ·doing then around this, and I don't recall -- and
10·   ·additional employees have been hired into the       10·   ·beyond this, my understanding -- and I'm not with
11·   ·borrower defense group?                             11·   ·the Department, but my understanding that if you
12·   · · · A.· · ·In this documentation June 13th,        12·   ·were answering -- if she was answering this
13·   ·2019, is that what you're saying?                   13·   ·question now, that there are a significantly more
14·   · · · Q.· · ·Yes, and we -- and, you know, just      14·   ·hires that have been made since she answered this.
15·   ·because I know you left in March, 2017 so I can     15·   · · · Q.· · ·Thank you for that, Mr. Manning.· We
16·   ·rephrase it -- I mean 2019.· I can rephrase the     16·   ·are fully aware the staffing at this point and
17·   ·question:· Do you know why since January 20, 2017   17·   ·that's not what I want to ask you about.
18·   ·up until the time you left the Department, no       18·   · · · · · · ·This response from Ms. DeVos also
19·   ·additional employees have been hired in the         19·   ·says "The Department currently is preparing
20·   ·borrower defense group?                             20·   ·announcements to fill the vacant positions."· Were
21·   · · · A.· · ·That surprises me.                      21·   ·you aware of any announcement being prepared to
22·   · · · Q.· · ·Why does that surprise you?             22·   ·fill vacant positions at borrower defense group
23·   · · · A.· · ·I was -- I would have thought that      23·   ·during your tenure in the Trump Administration?
24·   ·there had been a one -- you know, minimal number    24·   · · · A.· · ·I don't recall.
25·   ·of additional employees hired I would have          25·   · · · Q.· · ·And this refers to the vacancies

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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·guessed, but apparently -- I'm sure the Secretary   ·2·   ·basically for attorneys.· Do you think four
·3·   ·was correct when she said this, but --              ·3·   ·additional attorneys at that time would have been
·4·   · · · Q.· · ·Well, wouldn't you -- wouldn't you      ·4·   ·sufficient to address the backlog in borrower
·5·   ·have known if there were additional hires?          ·5·   ·defense applications.
·6·   · · · A.· · ·Wouldn't what?                          ·6·   · · · · · · ·MR. MERRITT:· Objection, calls for
·7·   · · · Q.· · ·Would -- wouldn't you have known if     ·7·   · · · speculation.
·8·   ·there had been additional hires in the borrower     ·8·   · · · · · · ·MR. JARAMILLO:· Well, let -- let me
·9·   ·defense group?                                      ·9·   · · · rephrase the question.
10·   · · · A.· · ·You're asking me if I would have        10·   · · · Q.· · ·Do you think at any time during your
11·   ·known.· If I would have known, is that your         11·   ·tenure at the Department of Education in the Trump
12·   ·question?                                           12·   ·Administration, that merely adding four attorneys
13·   · · · Q.· · ·That's my question,· yes.               13·   ·to the borrower defense group would have been
14·   · · · A.· · ·In -- in principle, yes, but I don't    14·   ·sufficient to address the backlog in borrower
15·   ·recall.                                             15·   ·defense applications that needed to be
16·   · · · Q.· · ·In principle, yes, you would have       16·   ·adjudicated?
17·   ·known or is should have known what --               17·   · · · A.· · ·I don't know what that number would
18·   · · · A.· · ·Because I'm sure I had conversations    18·   ·have been, but where I would start was to look and
19·   ·with Colleen in -- about new hires, so I would      19·   ·see how many were onboard as of January 19, 2017
20·   ·have heard that.                                    20·   ·when there were eleven and that was the number
21·   · · · · · · ·I -- I specifically don't recall that   21·   ·that apparently was working for the previous
22·   ·-- that there were none and I don't recall --       22·   ·administration.· That -- that would be a target
23·   ·obviously if there were none, there were none and   23·   ·number to have used.
24·   ·I don't -- my recollection --                       24·   · · · Q.· · ·Mr. Manning, what if the backlog was
25·   · · · Q.· · ·If -- if there were requests for more   25·   ·significantly more in March, 2019 than it was in


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·January, 2017; would you agree that perhaps more     ·2·   · · · · · · ·MR. MERRITT:· He stated his knowledge
·3·   ·than four staff attorneys would be necessary to      ·3·   · · · about this time period.· You are also making
·4·   ·address the backlog?                                 ·4·   · · · up numbers, so the speculation objection
·5·   · · · A.· · ·No, I'd have to go to experts in the     ·5·   · · · stands.
·6·   ·staffing to project what -- how many additional      ·6·   · · · Q.· · ·One of the --
·7·   ·staffing would be needed.                            ·7·   · · · · · · ·MR. MERRITT:· You can -- you can
·8·   · · · Q.· · ·Mr. Manning, one of the remarks that     ·8·   · · · answer the question.
·9·   ·you read earlier which was in Tab 12 -- which I      ·9·   · · · · · · ·THE WITNESS:· I can answer the
10·   ·hope we marked as an exhibit, I think we did as      10·   · · · question?· I can?
11·   ·Exhibit 34 --· you said "Moving forward we have      11·   · · · · · · ·MR. MERRITT:· Yes, Mr. Manning.· You
12·   ·approximately 95,000 pending claims" and that was    12·   · · · can answer the question.
13·   ·in November, 2017.· If we ran that round that up     13·   · · · · · · ·THE WITNESS:· Okay.
14·   ·to 100,000 pending claims --                         14·   · · · A.· · ·The answer is I -- I don't know the
15·   · · · A.· · ·I'm sorry, what exhibit was that?        15·   ·right number and I would have to consult with
16·   · · · Q.· · ·I don't need you to look at it now.      16·   ·experts and staffing.
17·   ·I just want -- I'm representing to you               17·   · · · Q.· · ·Did you ever consult with experts
18·   ·what's -- what's in the document.                    18·   ·about this staffing issue?
19·   · · · A.· · ·Okay.· Well, go ahead.· Then start       19·   · · · A.· · ·I'm sure I discussed the issue. I
20·   ·over if, you wouldn't mind.                          20·   ·can't recall.· Outside of Colleen, I don't -- I
21·   · · · Q.· · ·Okay, sir.· You read that the            21·   ·can't recall specifically who.
22·   ·Borrower Defenses and Financial Responsibility       22·   · · · Q.· · ·Do you believe you discussed this
23·   ·Negotiated Rulemaking Committee November 14, 2017,   23·   ·issue with anybody, but Colleen Nevin who was not
24·   ·that at that time there were 95,000 pending          24·   ·in a position to obtain more staffing for the BDU?
25·   ·claims.                                              25·   · · · A.· · ·Yeah, I expect that I talked to

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·And let's just -- let's assume that      ·2·   ·somebody in personnel.· I don't recall who,
·3·   ·there were ten staff attorneys at that time and      ·3·   ·though.
·4·   ·let's round it up to 100,000 claims.                 ·4·   · · · Q.· · ·And what would you have talked to
·5·   · · · · · · ·Do you think it's reasonable for the     ·5·   ·them about?
·6·   ·Department to expect there to only be ten Borrower   ·6·   · · · A.· · ·Appropriate numbers of staff under
·7·   ·Defense Unit attorneys for 100,00 claims, making     ·7·   ·certain criteria, but I don't recall.
·8·   ·it like 10,000 claims per attorney if you were to    ·8·   · · · Q.· · ·What kind of criteria?
·9·   ·divide through by straight division?· Would that     ·9·   · · · A.· · ·I don't recall.
10·   ·--                                                   10·   · · · Q.· · ·Looking back from today's vantage
11·   · · · · · · ·MR. MERRITT:· Objection.· Sorry.         11·   ·point, would you have approached staffing for the
12·   · · · Please, continue.· I'm sorry.                   12·   ·BDU any differently than you did when you were at
13·   · · · · · · ·MR. JARAMILLO:· Okay.                    13·   ·the Department in the Trump Administration?
14·   · · · · · · ·MR. MERRITT:· But if you're done, I'm    14·   · · · A.· · ·Perhaps, but I don't -- I don't know.
15·   · · · going to object, court stipulation.             15·   ·I think that the staffing level that's there right
16·   · · · Q.· · ·I would think, Mr. Manning, as the       16·   ·now is better from, what I understand.· I don't
17·   ·third-in-command, also wearing two hats during a     17·   ·have an informed position there.
18·   ·certain period of time as COO of FSA and the         18·   · · · Q.· · ·In -- in hindsight, do you wish you
19·   ·acting U.S. Undersecretary regularly communicating   19·   ·would have got that level of staffing when you
20·   ·with Colleen Nevin, the director of the BDU, you     20·   ·were at the Department?
21·   ·would have a sense of whether seven staff            21·   · · · A.· · ·I think, you know, any manager always
22·   ·attorneys would be sufficient for 95,000 pending     22·   ·wants to have the proper level of staffing.
23·   ·claims or even eleven staff attorneys for 95,000     23·   · · · Q.· · ·That's an important issue, right?
24·   ·claims.· Would that be a reasonable workload to      24·   · · · A.· · ·Certainly.
25·   ·expect of the BDU staff?                             25·   · · · Q.· · ·And you were aware of Ms. Nevin's


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·2·   ·concern as a director of BDU that she wanted more    ·2·   ·enforcement officer and worked closely with Wayne.
·3·   ·staff, correct?                                      ·3·   · · · Q.· · ·Did you have discussions with Julian
·4·   · · · A.· · ·Yes.                                     ·4·   ·Schmoke about borrower defense?
·5·   · · · Q.· · ·But as you sit here today you cannot     ·5·   · · · A.· · ·I'm sure I did.· I don't recall the
·6·   ·recall taking any concrete action to request more    ·6·   ·discussions that I -- yeah.
·7·   ·staff for the BDU, correct?                          ·7·   · · · Q.· · ·Do you recall discussing staffing
·8·   · · · A.· · ·I don't recall.                          ·8·   ·levels for the BDU with Julian Schmoke?
·9·   · · · Q.· · ·To your knowledge, was -- was the        ·9·   · · · A.· · ·Not specifically.· I would expect
10·   ·lack of adequate staffing a cause of the delay in    10·   ·that I did, but I can't attest to that I
11·   ·issuing borrower defense decisions during your       11·   ·absolutely did.· I don't recall.
12·   ·tenure at the Department?                            12·   · · · Q.· · ·Do you recall Julian Schmoke
13·   · · · · · · ·MR. MERRITT:· Objection, calls for       13·   ·discussing the need for more staffing for the BDU
14·   · · · speculation.                                    14·   ·with you?
15·   · · · Q.· · ·To your knowledge, sir, was the lack     15·   · · · A.· · ·I don't specifically recall that.
16·   ·of staffing a cause of the delay in processing       16·   ·Could have happened, but I don't recall that.
17·   ·borrower defense applications?                       17·   · · · Q.· · ·And when -- when Mr. Johnson left his
18·   · · · A.· · ·I don't know.                            18·   ·position of COO of FSA and you took that over in
19·   · · · · · · ·MR. MERRITT:· Joe, I'll let you keep     19·   ·the acting role did, you have discussions with him
20·   · · · going, but I just wanted to ask for a break     20·   ·at that point about the status of borrower
21·   · · · at some point relatively soon.                  21·   ·defense?
22·   · · · · · · ·MR. JARAMILLO:· We can -- we can take    22·   · · · A.· · ·Did I have discussions with who at
23·   · · · a break now.· I actually need it myself?        23·   ·that point?
24·   · · · · · · ·MR. MERRITT:· Okay, great.               24·   · · · Q.· · ·Mr. Johnson.
25·   · · · · · · ·MR. JARAMILLO:· Thank you.               25·   · · · A.· · ·I don't recall.

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·THE WITNESS:· I'll take advantage of     ·2·   · · · Q.· · ·Did you do anything to educate
·3·   · · · it, too.                                        ·3·   ·yourself more about the operations of BDU or
·4·   · · · · · · ·MR. JARAMILLO:· All right.· Okay.        ·4·   ·borrower defense claims processing when you took
·5·   · · · · · · ·THE VIDEOGRAPHER:· We're off the         ·5·   ·on the acting role as COO of FSA?
·6·   · · · record, the time is 20:36 UTC.                  ·6·   · · · A.· · ·I don't recall.
·7·   · · · · · · ·(Whereupon, there was a brief recess     ·7·   · · · Q.· · ·I'll have you turn back, Mr. Manning,
·8·   · · · in the proceedings.)                            ·8·   ·to Tab 12, which we have marked previously as
·9·   · · · · · · ·THE VIDEOGRAPHER:· We're back on the     ·9·   ·Exhibit 34.· Your remarks at BD Negotiated
10·   · · · record, the time is 20:53 UTC.                  10·   ·Rulemaking Committee on November 14, 2017.
11·   · · · Q.· · ·Mr. Manning, did you ever have any       11·   · · · A.· · ·Okay, yes.
12·   ·discussions with a Wayne Johnson about borrower      12·   · · · Q.· · ·And if you could turn to Page 13,
13·   ·defense when you were at the Department?             13·   ·please:
14·   · · · A.· · ·I -- I must have, but I don't recall     14·   · · · A.· · ·Okay.
15·   ·any of them.                                         15·   · · · Q.· · ·And can you read for me the sentence
16·   · · · Q.· · ·Do you recall Mr. Johnson expressing     16·   ·that begins on Line 18?
17·   ·any opinions about how the borrower defense claims   17·   · · · A.· · ·" Even the most strident borrower
18·   ·review was going at the Department?                  18·   ·defense advocate would recognize that undoubtedly
19·   · · · A.· · ·No, not specifically but when Mr.        19·   ·some claims are going to be denied. "
20·   ·Johnson became the COO he brought Julian Schmoke     20·   · · · Q.· · ·What did you mean by "strident
21·   ·and put him in the vacant chief enforcement          21·   ·borrower defense advocate"?
22·   ·officer position; and Julian -- Wayne Johnson        22·   · · · A.· · ·I don't recall.
23·   ·became COO in July of 2017 and Julian came in -- I   23·   · · · Q.· · ·Well, sitting here today what does
24·   ·don't recall.· It would have been a couple of        24·   ·that mean to you, "strident borrower defense
25·   ·months after that and he became a chief              25·   ·advocate"?


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·1·   · · · · · · · · ·- JAMES MANNING -                          ·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·It makes me wonder why I used the              ·2·   ·   ·   ·   especially a controversial one, in an
·3·   ·word "strident."                                           ·3·   ·   ·   ·   excessively and unpleasant forceful way and
·4·   · · · Q.· · ·What does the word "strident" mean to          ·4·   ·   ·   ·   this is how Mr. Manning describes borrower
·5·   ·you?                                                       ·5·   ·   ·   ·   defense advocate.· This is -- goes directly
·6·   · · · A.· · ·Well, I think I misused the word               ·6·   ·   ·   ·   to pretext and this goes directly to why
·7·   ·here.                                                      ·7·   ·   ·   ·   there was potentially other reasons for the
·8·   · · · Q.· · ·And why do you think you misused it?           ·8·   ·   ·   ·   delay beyond any difficulty in reviewing
·9·   · · · A.· · ·I don't know why I misused.· I'm not           ·9·   ·   ·   ·   borrower defense applications and so I'm
10·   ·reading it now thinking that even the most --              10·   ·   ·   ·   going to ask him again.
11·   · · · Q.· · ·Do you have an understanding of what           11·   ·   ·   ·   · · · ·MR. MERRITT:· (Unintelligible
12·   ·the word "strident" means, Mr. Manning?                    12·   ·   ·   ·   crosstalk) In response to your point, the
13·   · · · A.· · ·Yes, I have an understanding.                  13·   ·   ·   ·   court did not authorize an open-ended
14·   · · · Q.· · ·Please inform us of your                       14·   ·   ·   ·   discovery into pretext.· Pretext was defined
15·   ·understanding.                                             15·   ·   ·   ·   -- the court defined pretext as based on the
16·   · · · A.· · ·Dogmatic.                                      16·   ·   ·   ·   fact that, you know, the described difficulty
17·   · · · Q.· · ·Okay.· Anything else?                          17·   ·   ·   ·   of reviewing borrower defense applications do
18·   · · · · · · ·And what do you mean by dogmatic?              18·   ·   ·   ·   not necessary appear on the face of denial
19·   · · · · · · ·MR. MERRITT:· Objection.· This is all          19·   ·   ·   ·   notices.
20·   · · · beyond the scope of the discovery the court           20·   ·   ·   ·   · · · ·He's carefully specified -- Judge
21·   · · · ordered.                                              21·   ·   ·   ·   Alsup carefully specified three topics in
22·   · · · · · · ·MR. JARAMILLO:· I don't think                  22·   ·   ·   ·   discovery, but certainly we can't interpret
23·   · · · referring to borrower defense advocates of            23·   ·   ·   ·   that so broadly to mean any kind of inquiries
24·   · · · which -- as strident is beyond --                     24·   ·   ·   ·   of pretext and some of these inquiries, and
25·   · · · A.· · ·My --                                          25·   ·   ·   ·   particularly in your line of questioning

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·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -                    ·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -
·2·   ·   ·   ·   Q.· · ·Go ahead, Mr. Manning.                   ·2·   ·   ·   ·   right now, is particularly, you know, an
·3·   ·   ·   ·   · · · ·MR. MERRITT:· Well, I mean just how      ·3·   ·   ·   ·   open-ended discussion into pretext and not
·4·   ·   ·   ·   does that relate to the extent to which the     ·4·   ·   ·   ·   based on or relevant to any of the topics the
·5·   ·   ·   ·   difficulty of reviewing borrower defense        ·5·   ·   ·   ·   court authorized discovery into.
·6·   ·   ·   ·   applications -- how does relate to any of the   ·6·   ·   ·   ·   · · · ·MR. JARAMILLO:· The Judge did say on
·7·   ·   ·   ·   three topics that court authorized discovery    ·7·   ·   ·   ·   Page 15 of his order on October 19th, 2020,
·8·   ·   ·   ·   on?                                             ·8·   ·   ·   ·   "In sum, we are faced with a strong showing
·9·   ·   ·   ·   · · · ·MR. JARAMILLO:· Well, the -- the         ·9·   ·   ·   ·   of agency pretext and the class has been
10·   ·   ·   ·   court-ordered discovery on the extent to        10·   ·   ·   ·   prejudiced by delaying that.· We need to know
11·   ·   ·   ·   which the difficulty of reviewing borrower      11·   ·   ·   ·   what is really going on.· This compels
12·   ·   ·   ·   defense applications contributed to the         12·   ·   ·   ·   expedited discovery."· And so --
13·   ·   ·   ·   18-month delay, implicit in that part of it     13·   ·   ·   ·   · · · ·MR. MERRITT:· Bearing in my mind,
14·   ·   ·   ·   is the extent to which the difficulty did not   14·   ·   ·   ·   discovery of this agency is disfavored it
15·   ·   ·   ·   and the extent to which there were other        15·   ·   ·   ·   will be limited, but broad enough to be
16·   ·   ·   ·   reasons.                                        16·   ·   ·   ·   effective which" -- you know, and then it
17·   ·   ·   ·   · · · ·And the court in the prior page,         17·   ·   ·   ·   goes on to say what exactly it will be.· So
18·   ·   ·   ·   before setting forth the three topics, listed   18·   ·   ·   ·   what discovery is into is the three topics,
19·   ·   ·   ·   a clear showing of pretext as being something   19·   ·   ·   ·   not pretext stated that broadly.· There would
20·   ·   ·   ·   that was apparent to him in potentially         20·   ·   ·   ·   be no limitations on that and this is still
21·   ·   ·   ·   causing the delay and I'm probing about         21·   ·   ·   ·   an ATA case.
22·   ·   ·   ·   pretext, because he's referring to both a --    22·   ·   ·   ·   · · · ·MR. JARAMILLO:· This relates to Topic
23·   ·   ·   ·   a strident borrower defense advocate.           23·   ·   ·   ·   2, and I'm going to press unless you instruct
24·   ·   ·   ·   · · · ·In my mind, strident means loud and      24·   ·   ·   ·   him not to answer.· I want to know what he
25·   ·   ·   ·   harsh or grating presenting a point of view,    25·   ·   ·   ·   meant by strident.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·MR. MERRITT:· Okay.· I mean, I'm not     ·2·   · · · A.· · ·I was briefed on some, but I didn't
·3·   · · · going to instruct him not to answer that        ·3·   ·review them.· I didn't see them regularly.
·4·   · · · question, but just stating that it's            ·4·   · · · Q.· · ·And from your briefing, did you have
·5·   · · · irrelevant to the case, to the topics the       ·5·   ·any understanding of whether they were easy to
·6·   · · · court authorized discovery on.                  ·6·   ·resolve or difficult to resolve?
·7·   · · · · · · ·MR. JARAMILLO:· Duly noted.              ·7·   · · · A.· · ·As I recall, some were easy to
·8·   · · · Q.· · ·Mr. Manning, why did you refer to        ·8·   ·resolve and some were difficult to resolve.
·9·   ·borrower defense advocates as strident?              ·9·   · · · Q.· · ·And what did you understand about the
10·   · · · A.· · ·I don't recall, reading this now. I      10·   ·ones that were easy to resolve, why 1were they
11·   ·already told you that I'm surprised that word was    11·   ·easy to resolve?
12·   ·used.                                                12·   · · · A.· · ·Because the attorneys reviewing them
13·   · · · Q.· · ·Do you think -- do you think it would    13·   ·made the judgment that they weren't sufficient to
14·   ·be strident for a borrower defense advocate to       14·   ·be considered further.
15·   ·assert the rights of student and borrowers?          15·   · · · Q.· · ·And what was your understanding of
16·   · · · A.· · ·That's not what this sentence has to     16·   ·why they were not sufficient to be considered
17·   ·do with.· This has to do with a borrower -- using    17·   ·further?
18·   ·a borrower defense advocate to recognize that        18·   · · · A.· · ·I have no idea.· I -- I relied on the
19·   ·undoubtedly some claims are going to be denied and   19·   ·attorneys to make that call.· I didn't review
20·   ·that's absolutely true.· Some claims are going to    20·   ·their work or make decisions about those
21·   ·be denied.                                           21·   ·applications.
22·   · · · Q.· · ·How do you define "some claims"?         22·   · · · Q.· · ·In your opinion, to what extent did
23·   · · · A.· · ·More than one.                           23·   ·the difficulty of reviewing borrower defense
24·   · · · Q.· · ·Okay.· Would you be surprised --         24·   ·applications actually cause a delay in issuing
25·   ·would you expect there to be a 90 percent denial     25·   ·decisions during your tenure?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·rate by the Department of Education for borrower     ·2·   · · · A.· · ·I -- I don't know.· I don't know.
·3·   ·defense claims?                                      ·3·   · · · Q.· · ·Is it your understanding that
·4·   · · · A.· · ·I don't know.                            ·4·   ·generally the applications were easy to be
·5·   · · · Q.· · ·Does that surprise you?                  ·5·   ·decided?
·6·   · · · A.· · ·Well, borrower defense claims are,       ·6·   · · · A.· · ·I think there were some very easy to
·7·   ·you know, reviewed one at a time and...              ·7·   ·be decide and some that were very difficult, so I
·8·   · · · Q.· · ·Did you harbor some bias against         ·8·   ·don't know specifically; but I would I stand by
·9·   ·borrowers --                                         ·9·   ·what I said subsequent to the sentence we're
10·   · · · A.· · ·No.                                      10·   ·talking about, is that we had been working
11·   · · · Q.· · ·-- if they were just asserting           11·   ·carefully to ensure that any denial until there
12·   ·frivolous claims?                                    12·   ·was a total review of the claim.· We were
13·   · · · · · · ·MR. MERRITT:· Objection.· It's beyond    13·   ·absolutely committed to that.
14·   · · · the scope.                                      14·   · · · Q.· · ·And what did you do to demonstrate
15·   · · · Q.· · ·You can answer, Mr. Manning.             15·   ·your commitment to that?
16·   · · · A.· · ·Restate your question.                   16·   · · · A.· · ·I don't recall.
17·   · · · Q.· · ·Did you harbor any --                    17·   · · · Q.· · ·What did anyone at the Department due
18·   · · · A.· · ·You're halfway through it, but go        18·   ·to demonstrate a commitment to that?
19·   ·ahead.                                               19·   · · · · · · ·MR. MERRITT:· Objection, overbroad.
20·   · · · Q.· · ·Did you harbor any bias towards          20·   · · · Q.· · ·To the extent you know, what did
21·   ·student borrower applicants for borrower defense     21·   ·anyone at the Department do?
22·   ·discharge?                                           22·   · · · A.· · ·I think Colleen Nevin was absolutely
23·   · · · A.· · ·No, I did not.                           23·   ·committed to that with her staff and reviewed
24·   · · · Q.· · ·Did you ever -- are you familiar with    24·   ·every application that came in appropriately.
25·   ·the content of borrower defense applications?        25·   · · · Q.· · ·Were -- were you aware of the use of


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·legal mem -- memoranda at the Department that set    ·2·   · · · Q.· · ·Mr. Manning, I want to show you
·3·   ·forth categories of claims that would qualify for    ·3·   ·something --
·4·   ·discharge under borrower defense?                    ·4·   · · · A.· · ·I can't hear you.
·5·   · · · A.· · ·Repeat that again.                       ·5·   · · · Q.· · ·Say it again.
·6·   · · · Q.· · ·Were you aware of any legal memoranda    ·6·   · · · A.· · ·I couldn't hear you.· You -- you
·7·   ·or category of claims that would qual -- that        ·7·   ·faded.
·8·   ·would set forth criteria to qualifying applicants    ·8·   · · · Q.· · ·I apologize.· Bear with me one
·9·   ·for borrower defense discharge?                      ·9·   ·second.
10·   · · · A.· · ·I don't recall.                          10·   · · · A.· · ·Yeah, of course.
11·   · · · Q.· · ·You don't recall memoranda in place      11·   · · · Q.· · ·You mentioned, Mr. Manning, that
12·   ·for seven categories of claims that -- from the      12·   ·during the review of the borrower defense program
13·   ·prior administration that included job placement     13·   ·during the transition, that you -- you had
14·   ·rates claims from Hiel and from Ever -- Everest      14·   ·reviewed as part of that effort established
15·   ·and Wyo -- Wyotech, transfer of credit               15·   ·protocols in place at the time; is that right?
16·   ·misrepresentation claims?                            16·   · · · A.· · ·I think formerly the -- what that --
17·   · · · A.· · ·I -- I remember -- I remember            17·   ·that issue after the 20th, normally we had -- you
18·   ·those -- those schools and the issues that you       18·   ·know -- had meetings previously raising, you know,
19·   ·just mentioned because I just heard you say that,    19·   ·the -- the question involved.
20·   ·but I don't remember -- I do not remember the        20·   · · · Q.· · ·Did you review any protocols in place
21·   ·legal memorandum that were circulated on that        21·   ·at that time?
22·   ·during previous administrations, probably have       22·   · · · A.· · ·Not during the transition.
23·   ·seen them.                                           23·   · · · Q.· · ·How about once you started on with
24·   · · · Q.· · ·Do you know if the Borrower Defense      24·   ·the Department in the new administration?
25·   ·Unit relied on those memoranda in order to make      25·   · · · A.· · ·Yes, absolutely.· We sent two people.

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·decisions?                                           ·2·   ·I can't remember the second person, but one was
·3·   · · · A.· · ·If those were provided by the            ·3·   ·Justin Riemer, attorney from the Department, to
·4·   ·previous administration, I expect fully that the     ·4·   ·look at operations and documentation in the
·5·   ·Borrower Defense Unit was, you know, aware for all   ·5·   ·Borrower Defense Unit.
·6·   ·of them.· That -- that would be my belief. I         ·6·   · · · Q.· · ·Are you aware of what documentation
·7·   ·don't know for sure.                                 ·7·   ·they looked at?
·8·   · · · Q.· · ·Were you aware of any memoranda or       ·8·   · · · A.· · ·I don't recall.
·9·   ·protocols that the Borrower Defense Unit used in     ·9·   · · · Q.· · ·Did you look at any of that
10·   ·order to adjudicate borrower defense claims?         10·   ·documentation?
11·   · · · A.· · ·Memoranda?                               11·   · · · A.· · ·Personally, no.
12·   · · · Q.· · ·Let's start with memoranda, yes.         12·   · · · Q.· · ·Okay.· I'm going to have you look at
13·   · · · A.· · ·Oh, I haven't -- I don't recall any      13·   ·Tab 4, which was previously marked as Exhibit 9.
14·   ·legal memoranda.                                     14·   · · · A.· · ·Okay.
15·   · · · Q.· · ·What about protocols?                    15·   · · · · · · ·(Whereupon, Exhibit 9, having been
16·   · · · A.· · ·I -- I remember that when we             16·   · · · previously marked, was tendered to the
17·   ·conducted the review, before we asked the            17·   · · · witness for identification.)
18·   ·Inspector General to -- from the beginning on the    18·   · · · A.· · ·Okay, I have it.
19·   ·transition team and then subsequently instruction    19·   · · · Q.· · ·And the first page we can -- we can
20·   ·looking for established protocols and -- you know,   20·   ·ignore.· This is -- it says "Exhibit 9" there
21·   ·and other types of guides for decision-making in     21·   ·because it was submitted to the court as an
22·   ·the process and recognizing that they were short;    22·   ·exhibit, but I want you to look at the second page
23·   ·that they, the -- the protocols, were not clearly    23·   ·where it says "Borrowers' Defense Unit Claims
24·   ·established and that more work had to be done by     24·   ·Rreview Protocol."
25·   ·them to improve those -- those types of documents.   25·   · · · · · · ·Have you ever -- do you ever recall


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·2·   ·seeing a Borrower Defense Unit Claims Review         ·2·   ·just to be sure.
·3·   ·Protocol?                                            ·3·   · · · Q.· · ·Okay.
·4·   · · · A.· · ·No, I don't recall that.                 ·4·   · · · · · · ·MR. MERRITT:· Just to be clear, you
·5·   · · · Q.· · ·I don't think you need to read this      ·5·   · · · -- you asked specifically whether he was
·6·   ·document line by line, but if you could just flip    ·6·   · · · familiar with any of the language in there,
·7·   ·through and tell me whether any of the contents      ·7·   · · · so --
·8·   ·look familiar to you or whether you don't recall     ·8·   · · · · · · ·MR. JARAMILLO:· That's true.
·9·   ·ever seeing those.                                   ·9·   · · · A.· · ·The legal threshold for eligibility
10·   · · · A.· · ·I don't remember seeing this             10·   ·equals preponderance of the evidence."· I've seen
11·   ·document.· There's certainly some facts              11·   ·that any number of times.
12·   ·represented here that can be replicated other        12·   · · · · · · ·"Must base decisions granting or
13·   ·places I've read outside, but I've never seen this   13·   ·denying relief on a record sufficient to withstand
14·   ·document before.                                     14·   ·court scrutiny."· Most of the rest of it I haven't
15·   · · · Q.· · ·Can you point out the facts that         15·   ·seen.
16·   ·you've seen replicated in other places, and you      16·   · · · Q.· · ·Okay.· Thank you, Mr. Manning. I
17·   ·can let us know the Bates number?                    17·   ·would like you to turn to Tab 5.
18·   · · · A.· · ·"The legal framework "BD application     18·   · · · A.· · ·Okay.
19·   ·must state a claim under state law."                 19·   · · · Q.· · ·And the first page of this tab has
20·   · · · Q.· · ·And that -- that would be on the         20·   ·Exhibit 10 and I would like to just move on and
21·   ·third page of this document?· If you look at the     21·   ·ignore that.· That was submitted for purposes of
22·   ·lower right-hand corner, there's a 3?                22·   ·getting it into the court.
23·   · · · A.· · ·Yes.· Yep.                               23·   · · · · · · ·I want to look at the second page
24·   · · · Q.· · ·All right, and when did you see that     24·   ·that says "Borrower Defense Unit Claims Review
25·   ·language before?                                     25·   ·Protocol" and let's mark this --

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·When did I see it before?                ·2·   · · · · · · ·MR. MERRITT:· I'm sorry.· I just want
·3·   · · · Q.· · ·Yes.                                     ·3·   · · · to make sure we're on the same page.· The
·4·   · · · A.· · ·When -- when did I see it before?        ·4·   · · · document I'm looking at doesn't say -- have
·5·   · · · Q.· · ·That's the question, sir.                ·5·   · · · an exhibit marking.
·6·   · · · A.· · ·I was repeating it for, Hope.            ·6·   · · · · · · ·MR. JARAMILLO:· Oh, okay.
·7·   · · · · · · ·So I couldn't tell you, but that         ·7·   · · · · · · ·MR. MERRITT:· It does -- it does say
·8·   ·certainly was a part of the legal framework that     ·8·   · · · "Borrower Defense Unit Claims Review
·9·   ·BD application must have a state -- must state a     ·9·   · · · Protocol."
10·   ·claim under state law.· Elsewhere I've seen that,    10·   · · · · · · ·MR. JARAMILLO:· Right, right.
11·   ·you know, plenty of times.· Like I -- I can't say    11·   · · · A.· · ·It looks like -- it looks similar to
12·   ·where -- where.· I have never seen this document     12·   ·the last thing I just looked at.
13·   ·in this form.· I mean --                             13·   · · · Q.· · ·Okay.
14·   · · · Q.· · ·All right.· Have you seen -- is there    14·   · · · · · · ·MR. JARAMILLO:· And let's just --
15·   ·any other language here that looks familiar to       15·   · · · just to clarify the record, thank you for
16·   ·you?                                                 16·   · · · pointing that out, Charlie.· I think I might
17·   · · · A.· · ·I'm -- I'm having to read to make        17·   · · · have -- when I sent the document, I took off
18·   ·sure to satisfy --                                   18·   · · · the exhibit page just to go straight to the
19·   · · · Q.· · ·I'll tell you what, if you're going      19·   · · · first page of the actual document.
20·   ·to read line by line we can move on.                 20·   · · · · · · ·And so this is Tab 5 and I would like
21·   · · · A.· · ·You are going to do what?                21·   · · · to mark it as Exhibit 35.
22·   · · · Q.· · ·If you want -- if you're going to        22·   · · · · · · ·MR. MERRITT:· Again, just to confirm
23·   ·read to this line by line, I would just like to      23·   · · · what we're talking about, like at the top
24·   ·move on.                                             24·   · · · it's a document filed in this case;· 66-3
25·   · · · A.· · ·Let me just take another minute here     25·   · · · Page 118 of 137.· I was going to ask a


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · question, Mr. Jaramillo, but --                 ·2·   · · · Q.· · ·Okay.
·3·   · · · · · · ·MR. JARAMILLO:· I'll, I'll -- let's      ·3·   · · · A.· · ·I see the chart.
·4·   · · · clarify just to -- I think to identify this.    ·4·   · · · Q.· · ·And have you ever seen that chart
·5·   · · · This is Tab 5 which is now Exhibit 35.          ·5·   ·before?
·6·   · · · · · · ·(Whereupon, Exhibit 35 was marked at     ·6·   · · · A.· · ·I've seen a thousand charts that look
·7·   · · · this time.)                                     ·7·   ·like this at first glance, and even with my
·8·   · · · · · · ·MR. JARAMILLO:· At the top of the        ·8·   ·glasses the printing on these boxes is a -- a
·9·   · · · page above the title of the document, you       ·9·   ·little tough.
10·   · · · can see a case file number, Case                10·   · · · · · · ·I -- I don't recall specifically
11·   · · · 3:19-cv-03674-WHA Document 66-3, filed          11·   ·seeing this chart.· It was updated on January 30,
12·   · · · 12/23/19, page 118 of 137.                      12·   ·2017, so --
13·   · · · · · · ·And there's another case stamp on the    13·   · · · Q.· · ·Yes, it does say "Updated January 30,
14·   · · · right-hand side.· I'm not going to go over it   14·   ·2017" --
15·   · · · because I think we've sufficiently identified   15·   · · · A.· · ·Right.
16·   · · · this.                                           16·   · · · Q.· · ·-- and which I recognize is only ten
17·   · · · · · · ·MR. MERRITT:· That's good enough for     17·   ·days after you came into the Department under the
18·   · · · me.· Thank you.                                 18·   ·new administration, correct?
19·   · · · A.· · ·I'll just say that this document         19·   · · · A.· · ·Without responsibility for this issue
20·   ·looks remarkably like the document you just had me   20·   ·at the time.
21·   ·look at previously, that Borrower Defense Unit       21·   · · · Q.· · ·Right, because you were senior
22·   ·Claims Review Protocol, the one that was Exhibit 9   22·   ·advisor to the Secretary, correct?
23·   ·we looked at just a few minutes ago, and I was --    23·   · · · A.· · ·That's correct.
24·   ·I made some comments about particular lines.         24·   · · · Q.· · ·And just to do a little side
25·   · · · · · · ·This -- what I'm looking at now, the     25·   ·questioning on that, what, what -- did -- did any

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·second document you just had us look through,        ·2·   ·of that ad -- advisory responsibility include
·3·   ·looks very similar.                                  ·3·   ·advice on borrower defense for that particular
·4·   · · · Q.· · ·Okay, great.· Thank you.· Thank you,     ·4·   ·position when you first came into the
·5·   ·Mr. Manning.                                         ·5·   ·administration?
·6·   · · · A.· · ·Am I looking at something or --          ·6·   · · · A.· · ·Not to that particular position, but
·7·   · · · Q.· · ·You know, you were looking at the        ·7·   ·I -- I did speak with the Secretary on issues
·8·   ·right thing.· There are some additional pages --     ·8·   ·around borrower defense, in -- in particular the,
·9·   ·there are some pages in this document that were      ·9·   ·the -- the previous administration's actions at
10·   ·redacted, so it's not exactly the same.              10·   ·the end of the administration that led to the
11·   · · · · · · ·And then at the end, there are --        11·   ·16,000 cases that were to be ultimately discharged
12·   ·it's the last three pages -- I'm sorry, the last     12·   ·by the Secretary.
13·   ·one, two, three, four -- the last five pages are     13·   · · · Q.· · ·And when you had those discussions
14·   ·what I want to just focus in on --                   14·   ·with the Secretary, you at that point were acting
15·   · · · A.· · ·Okay.                                    15·   ·Undersecretary?
16·   · · · Q.· · ·-- to identify them.· I'm going --       16·   · · · A.· · ·No.
17·   ·look at case file stamp at the top of the document   17·   · · · Q.· · ·Okay.· You were senior policy
18·   ·it looks -- I want you to turn to Page 133 of 137    18·   ·advisor?
19·   ·because that's how it's represented.                 19·   · · · A.· · ·Yes -- no, senior advisor.
20·   · · · A.· · ·I'm there now.                           20·   · · · Q.· · ·Senior advisor, I'm sorry.
21·   · · · Q.· · ·Gotcha, and there's chart that says      21·   · · · · · · ·And besides that particular topic,
22·   ·"Approvals· Borrower Defense Claims."· Do you see    22·   ·did you speak to the Secretary as senior advisor
23·   ·that?                                                23·   ·about anything else related to borrower defense?
24·   · · · A.· · ·Yes, let me just get reorganized here    24·   · · · A.· · ·Not that I recall.· The issue was,
25·   ·so I -- I'm looking at the right things.             25·   ·you know, what was there and ready for review and


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·signature.                                           ·2·   · · · Q.· · ·Do you see that?
·3·   · · · Q.· · ·Okay.· Let's turn back to the -- I'm     ·3·   · · · A.· · ·I see that.
·4·   ·sorry, did I interrupt you, sir.                     ·4·   · · · Q.· · ·Were you aware of any borrower
·5·   · · · A.· · ·Well, I was going to say I don't         ·5·   ·defense process during your tenure where the
·6·   ·remember specifically when she first was             ·6·   ·Undersecretary would need to approve a -- a
·7·   ·Secretary, but I think it was, you know, the first   ·7·   ·borrower defense claim if the -- or set of claims
·8·   ·week of February.· I could be wrong.                 ·8·   ·if the impact was greater than 10 million or it
·9·   · · · Q.· · ·That's fine.· Looking at this            ·9·   ·raised policy issues?
10·   ·approval chart and what we marked as Exhibit 35 --   10·   · · · A.· · ·I don't specifically remember that.
11·   · · · A.· · ·Am I still on Page 133?                  11·   · · · Q.· · ·And do you have -- okay, you don't
12·   · · · Q.· · ·Yes.                                     12·   ·remember that.
13·   · · · A.· · ·Okay.· I'm looking at the chart.         13·   · · · · · · ·Let's -- let's just move on to the
14·   · · · Q.· · ·Yeah, I'm kind of following like the     14·   ·next page which says Page 134 of 137, "Denials
15·   ·little people symbols from the left to the right     15·   ·Borrower Defense Claims."
16·   ·and I see three people and then there's an arrow     16·   · · · A.· · ·Right.
17·   ·and then I see a person sitting at a desk and then   17·   · · · Q.· · ·Have you ever seen this chart before?
18·   ·an arrow going down that says "FSA Internal          18·   · · · A.· · ·No.· ·Not to my -- best of my
19·   ·Control notification."· Do you have any idea what    19·   ·recollection.· I don't remember seeing this.
20·   ·that means?                                          20·   · · · Q.· · ·Okay, and for -- for both of these
21·   · · · A.· · ·No, I'm not exactly -- I don't recall    21·   ·charts, the approvals and denials, are you aware
22·   ·what that means.· It looks like it's something I     22·   ·of the Borrowers Defense Unit ever using them?
23·   ·-- I'd get from executive Secretary, but this is     23·   · · · A.· · ·Using these charts?
24·   ·outside the executive Secretary process.             24·   · · · Q.· · ·Yes.
25·   · · · Q.· · ·Okay, and then if I follow the arrows    25·   · · · A.· · ·I -- I don't remember if I was ever

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·to the right there's two more people sitting at      ·2·   ·aware.· I don't recall anything about these charts
·3·   ·desks and then I see a diamond.                      ·3·   ·at this point.
·4·   · · · A.· · ·Yes.                                     ·4·   · · · Q.· · ·Okay.· If we could turn to the next
·5·   · · · Q.· · ·And inside that diamond it says;         ·5·   ·page of this document.· It's a little hard to read
·6·   ·"Fiscal impact greater than 10 million or raises     ·6·   ·the page number because the two cases have a Bates
·7·   ·policy issues?"· Do you know what that means, Mr.    ·7·   ·stamp on the top -- or on the right-hand side I
·8·   ·Manning?                                             ·8·   ·think.
·9·   · · · · · · ·And no need to speculate.· I just        ·9·   · · · · · · ·I'm not sure how you're seeing it. I
10·   ·want to know if you know what it means or not.· If   10·   ·printed my out a little different, but they seem
11·   ·you could -- yeah, if you're familiar with that      11·   ·to be superimposed.
12·   ·language.                                            12·   · · · A.· · ·It looks like -- it looks like it
13·   · · · A.· · ·Well, I'm -- I'm reading it.· It --      13·   ·says 135 of 137 on the -- one of them.
14·   ·it would mean different things to me depending on    14·   · · · Q.· · ·That's correct, and it says "Number
15·   ·what day you were reading it, effectively.           15·   ·of Borrower Defense Claims" and it looks like on
16·   · · · Q.· · ·Okay, that's -- that's understood and    16·   ·the right- hand side there's different lines that
17·   ·I don't think we need to get into that in detail.    17·   ·represent CCI, ITT and other schools?
18·   · · · · · · ·My next question is; from that           18·   · · · A.· · ·Yes.
19·   ·diamond there's an arrow down with a box that says   19·   · · · Q.· · ·Have you seen this chart before?
20·   ·"Yes"?                                               20·   · · · A.· · ·I, I -- I don't know if I've seen
21·   · · · A.· · ·Yes.                                     21·   ·this one before or not.· It has a familiar look to
22·   · · · Q.· · ·And then there's a person sitting at     22·   ·it, but all these kinds of charts they look -- I
23·   ·a desk and to the left it says "Undersecretary       23·   ·can't authoritatively attest that I've absolutely
24·   ·Approved."· Were you --                              24·   ·seen this before.· I don't know if I've seen this
25·   · · · A.· · ·Yes.                                     25·   ·before or not.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·And can you see on the chart that by     ·2·   ·proper -- proper management documents in order to
·3·   ·January, 2017 according to this chart there were     ·3·   ·maintain records appropriately and that type of
·4·   ·about 60,000 CCI borrower defense claims?            ·4·   ·thing.
·5·   · · · A.· · ·Yes, I see that.                         ·5·   · · · Q.· · ·Did you communicate with the
·6·   · · · Q.· · ·And so is that -- did you                ·6·   ·Inspector General's Office about their reviews?
·7·   ·have -- were you -- did you realize that there       ·7·   · · · A.· · ·Quite possibly.· I don't specifically
·8·   ·were that amount of claims when you came into the    ·8·   ·recall.· I do recall that their -- their review
·9·   ·administration?                                      ·9·   ·came black with a few findings, some
10·   · · · A.· · ·I don't recall that I knew when I        10·   ·recommendations on improvements and -- but I don't
11·   ·came into the administration and I don't remember    11·   ·remember the particulars beyond that.
12·   ·the number was 60,000 in particular.                 12·   · · · Q.· · ·Are you aware of a Department policy
13·   · · · Q.· · ·Okay.· Earlier, Mr. Manning, you had     13·   ·that requires developing a corrective action plan
14·   ·mentioned an Inspector General's report --           14·   ·within 30 days of the issuance of an Inspector
15·   · · · A.· · ·Yes.                                     15·   ·General's report?
16·   · · · Q.· · ·-- do you recall that?                   16·   · · · · · · ·MR. MERRITT:· Objection as beyond the
17·   · · · A.· · ·Yes.                                     17·   · · · scope of the court-ordered discovery.
18·   · · · Q.· · ·What do you recall about this            18·   · · · · · · ·MR. JARAMILLO:· Are you instructing
19·   ·Inspector General report?                            19·   · · · him not to answer it?
20·   · · · A.· · ·The Secretary asked the Inspector        20·   · · · · · · ·MR. MERRITT:· No.
21·   ·General to do a review of the Enforcement involved   21·   · · · A.· · ·I am familiar with that.
22·   ·defense units.                                       22·   · · · Q.· · ·Okay, and are you familiar with
23·   · · · Q.· · ·And did you have any communication       23·   ·communications from the Inspector General to the
24·   ·yourself with the Inspector General's Office about   24·   ·COO of FSA at the time, Dr. A. Wayne Johnson ad --
25·   ·that review?                                         25·   ·advising him of that policy?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·The Secretary wrote the Inspector        ·2·   · · · A.· · ·I don't specifically remember that,
·3·   ·General.· I don't recall I had conversation with     ·3·   ·but I would expect that I saw it, seen it and read
·4·   ·the Inspector General at that point about this       ·4·   ·it.
·5·   ·issue.                                               ·5·   · · · Q.· · ·I'm sorry, can you -- can you --
·6·   · · · · · · ·They took it up and they delivered a     ·6·   · · · A.· · ·I -- I can't speak to the particulars
·7·   ·report later in the year.                            ·7·   ·because I don't re -- recall particulars in the
·8·   · · · Q.· · ·And did you see a copy of what the       ·8·   ·report.
·9·   ·Secretary wrote to the Inspector General?            ·9·   · · · Q.· · ·And are you aware of any final
10·   · · · A.· · ·I -- I don't recall I had. I             10·   ·corrective action plan as it -- as developed by
11·   ·probably did, but I don't recall.                    11·   ·FSA in response to the report?
12·   · · · Q.· · ·Do you know if it was a letter?          12·   · · · A.· · ·I don't recall.
13·   · · · A.· · ·Well, I -- I think most of the           13·   · · · Q.· · ·Would you expect that there would
14·   ·correspondence that came from the Secretary go as    14·   ·have been a corrective action plan developed by
15·   ·letters, but I'm not absolutely certain that it      15·   ·FSA in response to the report?
16·   ·was a letter, so it's not something that you'd       16·   · · · A.· · ·I --
17·   ·have to see.· The Secretary wouldn't send an         17·   · · · · · · ·MR. MERRITT:· Objection, calls for
18·   ·e-mail like that informal request.· I expect it      18·   · · · speculation.
19·   ·was a letter, but I don't know.                      19·   · · · Q.· · ·Just -- just what you would expect as
20·   · · · Q.· · ·Do you know what the Secretary           20·   ·Undersecretary at the time?
21·   ·communicated to the Inspector General about the      21·   · · · A.· · ·I -- I think the -- the question
22·   ·request?                                             22·   ·calls for a response that is generally uniformly
23·   · · · A.· · ·I don't recall what the specific         23·   ·followed and so I would -- I -- I don't recall
24·   ·language was that was used, but once again I feel    24·   ·seeing a response, but I expect that there was
25·   ·for operations there and if they had the -- the      25·   ·one.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·You -- you expect that there was a       ·2·   ·3?· I have something labeled Exhibit 19.
·3·   ·response to this?                                    ·3·   · · · Q.· · ·No, I'll explain that.· This was just
·4·   · · · A.· · ·I -- I expect there would have been a    ·4·   ·previously introduced as an exhibit with the
·5·   ·response.                                            ·5·   ·court, so we can skip over that page.
·6·   · · · Q.· · ·And you expect that that response        ·6·   · · · A.· · ·Okay.· So here it is, the "Federal
·7·   ·would have been a corrective action plan?            ·7·   ·Student Aid's Borrower Defense to Repayment -- I
·8·   · · · A.· · ·Well, I, I -- I don't know how it        ·8·   ·have the Inspector General's report entitled
·9·   ·might have been structured.· Normally you address    ·9·   ·"Federal Student Aid's Borrower Defense to
10·   ·some of the issues that were raised and agree with   10·   ·Repayment Loan Discharge Process."
11·   ·some and disagree with others, but I don't -- I      11·   · · · Q.· · ·All right, and the date on that is
12·   ·don't recall the specificity what that included.     12·   ·December 8, 2017?
13·   · · · Q.· · ·Did you, yourself, read the Inspector    13·   · · · A.· · ·Date on that is December 8, 2017,
14·   ·General's report?                                    14·   ·correct.
15·   · · · A.· · ·I believe I did.                         15·   · · · Q.· · ·And would you say this is the report
16·   · · · Q.· · ·And who within the Department would      16·   ·that we have been discussing that was requested by
17·   ·you expect to review such a report when it comes     17·   ·the Department for a review of the borrower
18·   ·back from the Inspector General?                     18·   ·defense process?
19·   · · · A.· · ·When the report comes back from the      19·   · · · A.· · ·I expect it is, yeah, just looking at
20·   ·Inspector General?                                   20·   ·the letter.
21·   · · · Q.· · ·Yes.                                     21·   · · · Q.· · ·Okay, so you're looking at the page
22·   · · · A.· · ·It goes to the office that makes the     22·   ·that I'm going -- we'll just look at the -- the
23·   ·request, the leadership there.                       23·   ·court stamp page numbers, so Page 182 of 270 and
24·   · · · Q.· · ·Okay, in this case being the Office      24·   ·it looks like it's a December 8, 2017 memo to Dr.
25·   ·of the Secretary?                                    25·   ·A. Wayne Johnson?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I -- I'm not -- it might have been       ·2·   · · · A.· · ·Yes.
·3·   ·delegated to FSA.· Did you say that -- you           ·3·   · · · Q.· · ·And it looks -- you wanted to look at
·4·   ·commented earlier about A. Wayne Johnson and IG,     ·4·   ·this letter.· Does this refresh your recollection
·5·   ·can you refresh my memory on that.· Just a few       ·5·   ·about anything about how the report --
·6·   ·minutes ago, you mentioned that.                     ·6·   · · · A.· · ·Give me a minute.· I was reading.
·7·   · · · Q.· · ·Yeah, sure.· The report has a cover      ·7·   · · · Q.· · ·All right, and I'm just going to
·8·   ·letter from Patrick J. Howard, assistant Inspector   ·8·   ·request you don't read the whole report during
·9·   ·General for audit to Dr. A. Wayne Johnson COO of     ·9·   ·this deposition.
10·   ·FSA and so does that refresh your recollection as    10·   · · · A.· · ·But I want to read the letter.
11·   ·to who the report would have come back to at the     11·   · · · Q.· · ·I understand.
12·   ·Department?                                          12·   · · · A.· · ·Read the letter.
13·   · · · A.· · ·Well, is a name on the report?· Is       13·   · · · · · · ·Okay.
14·   ·this a report based on the review of the             14·   · · · Q.· · ·All right.· Does this -- after
15·   ·Enforcement and Borrower Defense Unit?               15·   ·reviewing the December 8th letter included in this
16·   · · · Q.· · ·Yeah.· Normally I don't answer like      16·   ·report, does that refresh your recollection about
17·   ·the witness to ask questions, but that is a good     17·   ·who this report would come back to at the
18·   ·question that you just raised and I'll just show     18·   ·Department?
19·   ·it to you.                                           19·   · · · A.· · ·Yes, it was through correspondence
20·   · · · · · · ·If you could, look to Tab 3 which has    20·   ·from Dr. Johnson and that appears, according to
21·   ·been previously introduced as Exhibit 3.             21·   ·this letter, that they received comments from FSA.
22·   · · · · · · ·(Whereupon, Exhibit 3, having been       22·   ·Let's see -- just a second.
23·   · · · previously marked, was tendered to the          23·   · · · Q.· · ·Do you have anything else to answer,
24·   · · · witness for identification.)                    24·   ·Mr. Manning?· We can move on.
25·   · · · A.· · ·Does it matter that I don't have Tab     25·   · · · A.· · ·Okay, just give me 30 seconds more,


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·please.                                              ·2·   ·would have borrower defense as part of her
·3·   · · · · · · ·Okay, thank you.                         ·3·   ·portfolio?
·4·   · · · Q.· · ·Now, does anything else about this       ·4·   · · · A.· · ·Yes, and I'm not sure that she didn't
·5·   ·letter refresh your recollection about the report    ·5·   ·get it and read it, but she wouldn't have --
·6·   ·coming back in to the Department?                    ·6·   · · · Q.· · ·Would you be surprised to learn that
·7·   · · · A.· · ·No.                                      ·7·   ·she testified she -- she never read it?
·8·   · · · Q.· · ·Okay.· If you look at the bottom         ·8·   · · · · · · ·MR. MERRITT:· Objection, asked and
·9·   ·left-hand corner, there's a CC and it has your       ·9·   · · · answered.
10·   ·name as Acting Undersecretary.· Do you see that?     10·   · · · Q.· · ·Would that surprise you, sir?
11·   · · · A.· · ·Yes, I do.                               11·   · · · A.· · ·I don't know if that surprises me or
12·   · · · Q.· · ·And you remember getting a copy of       12·   ·not, but there are other avenues of communication
13·   ·this letter?                                         13·   ·when a new senior leader comes and is reassigned
14·   · · · A.· · ·Not specifically, but I'm sure I got     14·   ·issues as important as this one was to the
15·   ·a copy of the report so I --                         15·   ·Department and in particular the Undersecretary,
16·   · · · Q.· · ·When a report like this is issued, do    16·   ·but this was the report that was -- I'm assuming
17·   ·you expect people in the Department to read it?      17·   ·that there was a corrective action plan and she
18·   · · · A.· · ·The parties that are impacted, yes.      18·   ·might have seen the corrective action plan but,
19·   · · · Q.· · ·And in this case, who would be the       19·   ·you know, I don't know.
20·   ·impacted parties?                                    20·   · · · · · · ·I don't know what transpired once she
21·   · · · A.· · ·Well, Dr. Johnson, the folks in the      21·   ·arrived.· I wouldn't expect that she'd be in a
22·   ·borrower defense that were involved in this, the     22·   ·position to look back and read every document
23·   ·FSA, the Undersecretary, copies would also go to,    23·   ·that, you know, was made available from the
24·   ·you know, other senior leaders, OGC.                 24·   ·Inspector General necessarily.
25·   · · · Q.· · ·What other senior leaders?               25·   · · · Q.· · ·Okay.· Let's turn to Page 186 of 270

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·Deputy Secretary.                        ·2·   ·of this document.· I'm just using the court
·3·   · · · Q.· · ·And --                                   ·3·   ·stamps --
·4·   · · · A.· · ·(Unintelligible crosstalk) Yes,          ·4·   · · · A.· · ·I got it, 186.
·5·   ·generally the folks that get this routinely.         ·5·   · · · Q.· · ·Out of 270.
·6·   · · · Q.· · ·And would you expect folks in the        ·6·   · · · A.· · ·I'm there.
·7·   ·Department afterwards, let's say relatively          ·7·   · · · Q.· · ·All right.· That was really quick,
·8·   ·shortly afterward would then -- within six months,   ·8·   ·Mr. Manning.· I appreciate it.· Under -- you see
·9·   ·would you expect them to review a report like this   ·9·   ·there's a chart there, "Table 1: FSA's Borrower
10·   ·even if they had not been one of the directly        10·   ·Defense Outcomes"?
11·   ·impacted parties to begin with?                      11·   · · · A.· · ·I see that, yes.
12·   · · · · · · ·MR. MERRITT:· Objection, vague.          12·   · · · Q.· · ·And then underneath that there's
13·   · · · Q.· · ·In other words, would ex -- would you    13·   ·some text that starts with "From January 20, 2017?
14·   ·be surprised to learn that Diane Auer Jones          14·   · · · A.· · ·Yes.
15·   ·testified in her deposition that she never read      15·   · · · Q.· · ·All right.· Well just follow along.
16·   ·it?                                                  16·   ·I'm going to do the reading this time and then I
17·   · · · A.· · ·I guess it wouldn't surprise me          17·   ·want to pause after some reading and then ask you
18·   ·because it was -- she -- she wasn't at the           18·   ·a few questions.
19·   ·Department for more than a year after this.· Right   19·   · · · A.· · ·Okay.
20·   ·-- no, December 8th.· It was before -- it was --     20·   · · · Q.· · ·"From January" -- this is, I'm
21·   ·it was before her time in terms of -- she wasn't     21·   ·reading from the report, "From January 20th, 2017
22·   ·at the Department when this was issued.· She         22·   ·to July 31, 2017 business operations continued to
23·   ·started in her position later -- in '17, '18.        23·   ·receive borrowers defense claims.· From January
24·   · · · Q.· · ·But wouldn't it be important             24·   ·20, 2017 through March, 2017 BDU continued to
25·   ·background for her to know, taking on a role that    25·   ·review transfer of credit and guaranteed


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·employment claims."                                  ·2·   ·sentence says; "However, the acting Undersecretary
·3·   · · · · · · ·I want to pause there even though        ·3·   ·has not approved or denied these claims."· You
·4·   ·it's mid-sentence just because I want to ask about   ·4·   ·were the under act -- you were the acting
·5·   ·this date, January 20th, 2017 through March, 2017?   ·5·   ·Undersecretary at that time, right, Mr. Manning?
·6·   · · · A.· · ·Uh-huh.                                  ·6·   · · · A.· · ·Not from January 20th but
·7·   · · · Q.· · ·Do you -- do you have any idea why       ·7·   ·from --
·8·   ·BDU would have stopped reviewing those claims in     ·8·   · · · Q.· · ·Right.· And refresh my memory was
·9·   ·March, 2017?                                         ·9·   ·it --
10·   · · · A.· · ·I'm sorry, where does it tell me that    10·   · · · A.· · ·April, I think, yeah.
11·   ·they stopped March, 2017?                            11·   · · · Q.· · ·April, okay.· Sorry about that.
12·   · · · Q.· · ·Well, it says that's when they           12·   · · · A.· · ·Then late April.· Yes.
13·   ·reviewed them.· Let's go a little further.· Maybe    13·   · · · Q.· · ·Who was -- was there an Acting
14·   ·it will be more clear.                               14·   ·Undersecretary before you from January to April?
15·   · · · A.· · ·Yeah, it wasn't as clear.· It didn't     15·   · · · A.· · ·You know, there probably was.· I'm
16·   ·say stopped at that point, but go ahead.             16·   ·thinking out loud here.· You know, Joe Connolly
17·   · · · Q.· · ·Right.· So, I mean, implicit in that     17·   ·was Acting Deputy Secretary at the beginning.
18·   ·is that -- that there was -- that they didn't        18·   ·Phil Rosenfelt was the Acting Secretary.· I don't
19·   ·continue after March, 2017.· Would you agree or      19·   ·recall who the person was.· It could have --
20·   ·you disagree about that?                             20·   ·possibly have been Lynn Haffey who was -- who was
21·   · · · A.· · ·Now -- well --· well, let me read it     21·   ·the Acting Assistant Secretary to secondary for
22·   ·myself again because I -- that's not what I got      22·   ·Postsecondary Education at the time.· She happens
23·   ·out of it.· So I'll tell you one thing that          23·   ·to be an attorney in OGC now, but I -- I don't
24·   ·surprised me here though is that "January 20th,      24·   ·know at the time who was the Acting
25·   ·2017 to July 31st, 2017 business operations          25·   ·Undersecretary.

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·continued to receive borrower defense claims" --     ·2·   · · · Q.· · ·Okay, let's, let's -- let's go back
·3·   ·I'm sorry.· I was saying that the -- the sentence    ·3·   ·to the document.
·4·   ·at the beginning of the paragraph "From January      ·4·   · · · A.· · ·Okay.
·5·   ·20, 2017 to July 31, 2017 business operations        ·5·   · · · Q.· · ·What I'm getting from what you read
·6·   ·continued to receive borrower defense claims."       ·6·   ·so far, is that the BDU was continuing to review
·7·   · · · Q.· · ·Why does that surprise you, Mr.          ·7·   ·and receive these claims.
·8·   ·Manning?                                             ·8·   · · · A.· · ·Right.
·9·   · · · A.· · ·Because I, I -- borrower defense         ·9·   · · · Q.· · ·And they were able to make
10·   ·claims should have been going to -- directly to      10·   ·preliminary determinations of denial or approval.
11·   ·the Borrower Defense Unit.                           11·   · · · A.· · ·Right.
12·   · · · Q.· · ·Okay.                                    12·   · · · Q.· · ·Based on existing legal memoranda or
13·   · · · A.· · ·I wasn't expected to take over           13·   ·reports.· However the acting under Secretary has
14·   ·directly Borrower Defense Unit business              14·   ·not approved or denied these claims, understanding
15·   ·operations; but beyond that "BD continued to         15·   ·that you didn't come into that role or -- or
16·   ·review transfer credit and guaranteed employment     16·   ·position until April, 2017, but by the time of
17·   ·claims, and from January 20, 2017 through May 4,     17·   ·this report in December, 2017 certainly you had
18·   ·2017, BDU continued to review job placement rate     18·   ·been in -- in that role for several months and I
19·   ·claims where they were able to make preliminary      19·   ·want to ask you why you did not approve or deny
20·   ·determinations of denial or approval based on        20·   ·those claims at that time?
21·   ·existing legal memoranda or reports.· However, the   21·   · · · A.· · ·Does it say I didn't approve them by
22·   ·acting Under Secretary has not approve or denied     22·   ·that time?
23·   ·these claims."                                       23·   · · · Q.· · ·It says "However, the Acting
24·   · · · Q.· · ·I would like to pause right there if     24·   ·Undersecretary has not approved or denied these
25·   ·I could and I appreciate you reading it.· The last   25·   ·claims" and this report is dated from December,


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·2017.                                                ·2·   ·this page that continues on to the next page, I'll
·3·   · · · A.· · ·Okay.                                    ·3·   ·just read it and we can talk about it.
·4·   · · · Q.· · ·So the question is, do you know why      ·4·   · · · A.· · ·Okay.
·5·   ·you, at that point in time, had not approved or      ·5·   · · · Q.· · ·It says "According to the director of
·6·   ·denied those claims?                                 ·6·   ·BDU, FSA's former Deputy Chief Enforcement Officer
·7·   · · · A.· · ·I -- I don't recall.                     ·7·   ·communicated to the BDU not to submit additional
·8·   · · · Q.· · ·Okay.· Were you aware that the BDU       ·8·   ·claims for approval or to continue developing
·9·   ·had made preliminary determinations of denial or     ·9·   ·memoranda on additional categories of claims that
10·   ·approval for those claims?                           10·   ·qualify for discharge because the borrower defense
11·   · · · A.· · ·I don't recall when I learned that,      11·   ·policies are being reviewed with the change in
12·   ·but I understood that that was what the BDU did.     12·   ·administrations."
13·   · · · Q.· · ·That they made preliminary               13·   · · · · · · ·Now, I want to -- that's a long
14·   ·determinations of denial or approval?                14·   ·sentence.· I want to just kind of ask you about
15·   · · · A.· · ·Yes.                                     15·   ·different pieces of it, if you don't mind.
16·   · · · Q.· · ·And so who made the final decisions,     16·   · · · A.· · ·Sure, and to clarify that begins by
17·   ·if their decisions were preliminary?                 17·   ·saying "According to the director of BDU, FSA's
18·   · · · A.· · ·Well, I guess the approval of the        18·   ·former Deputy Chief Enforcement Officer
19·   ·Undersecretary apparently.                           19·   ·communicated to the BDU."
20·   · · · Q.· · ·Okay, but I -- so did you approve or     20·   · · · Q.· · ·Yes, sir.· So let's -- do you know
21·   ·deny claims based on the preliminary                 21·   ·who the director of BDU was at that time?
22·   ·determinations of the BDU?                           22·   · · · A.· · ·And which dates are we talking about
23·   · · · A.· · ·Talking about these ones that are        23·   ·there for that?
24·   ·referenced here?· I, I -- I don't recall.            24·   · · · Q.· · ·I'm talking about -- well, this
25·   · · · Q.· · ·Okay.· How about any preliminary         25·   ·report was written in December, 2017 and I'll just

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·determinations -- did you make, did you approve or   ·2·   ·say that my understanding was it was Collin Nevin
·3·   ·deny claims based on other claims, any other         ·3·   ·was the director of BDU at that time; was that
·4·   ·claims for borrower defense based on the BDU         ·4·   ·your understanding?
·5·   ·preliminary determination?                           ·5·   · · · A.· · ·Well, Colleen was the director of --
·6·   · · · · · · ·MR. MERRITT:· Objection, asked and       ·6·   ·of BDU after the gentleman left -- someone should
·7·   · · · answered.                                       ·7·   ·help me with that name -- and -- and Laura Kim was
·8·   · · · · · · ·MR. JARAMILLO:· Well, I don't think      ·8·   ·-- was the top two folks left, yes, that's correct
·9·   · · · he answered.· He answered -                     ·9·   ·that Colleen Nevin became direct -- was definitely
10·   · · · · · · ·MR. MERRITT:· We've gone through         10·   ·director of BDU.
11·   · · · several -- sorry.                               11·   · · · Q.· · ·Do you take the sentence to be
12·   · · · · · · ·MR. JARAMILLO:· He answered about the    12·   ·referring to Colleen Nevin when it says director
13·   · · · particular claims that are listed here and      13·   ·of BDU?
14·   · · · I'm asking beyond that about any claims.        14·   · · · A.· · ·If we -- reading it from the
15·   · · · · · · ·MR. MERRITT:· We've gone through this    15·   ·assumption that this is as of, you know, December
16·   · · · several times what his memory of approving or   16·   ·8th then -- I just don't remember specifically
17·   · · · denying borrower defense claims during his      17·   ·when she became the director of BDU.
18·   · · · tenure but you can answer the question, Mr.     18·   · · · Q.· · ·Okay, and then it says "FSA's former
19·   · · · Manning.                                        19·   ·Deputy Chief Enforcement Officer communicated to
20·   · · · A.· · ·I don't recall.                          20·   ·the BDU not to submit additional claims for
21·   · · · Q.· · ·You don't recall whether you approved    21·   ·approval."
22·   ·or denied any claims based on preliminary            22·   · · · A.· · ·Right.
23·   ·determinations from the BDU?                         23·   · · · Q.· · ·Are you aware of that communication?
24·   · · · A.· · ·I -- I don't -- do not recall.           24·   ·Were you aware of that communication when you were
25·   · · · Q.· · ·Okay.· ·Now, the last sentence on        25·   ·at the Department?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I wasn't aware of it when it occurred    ·2·   ·Manning.
·3·   ·that former Deputy Chief Enforcement Officer         ·3·   · · · · · · ·So your answer is you don't know.
·4·   ·communicated to BDU not to submit additional         ·4·   ·You're telling me that as you sit here today you
·5·   ·claims.                                              ·5·   ·don't remember one way or another whether you
·6·   · · · Q.· · ·Did you ever become aware of that        ·6·   ·directed FSA to stop issuing decisions for
·7·   ·communication?                                       ·7·   ·approval?
·8·   · · · A.· · ·Apparently when I read this, I must      ·8·   · · · A.· · ·I don't have any recollection of
·9·   ·have become aware of it, but I skimmed over it. I    ·9·   ·relaying that information to the former Deputy
10·   ·don't recall but --                                  10·   ·Chief Enforcement Officer to, to -- to relay; and
11·   · · · Q.· · ·Did you direct FSA's former Deputy       11·   ·if I had I -- I expect that I would remember that,
12·   ·Chief Enforcement Officer to communicate to BDU      12·   ·but I have no recollection of doing anything like
13·   ·not to submit additional claims for approval?        13·   ·that.· That's outside of a normal procedure.
14·   · · · A.· · ·I don't remember anything like that.     14·   · · · Q.· · ·Now, let's put aside the relaying
15·   · · · Q.· · ·Do you --                                15·   ·information.· I want to just back up because my
16·   · · · · · · ·MR. MERRITT:· Joe, we -- oh, sorry.      16·   ·question really was focused on whether you
17·   · · · · · · ·MR. JARAMILLO:· Go ahead.                17·   ·directed FSA to stop issuing decisions for
18·   · · · · · · ·MR. MERRITT:· I was going to say         18·   ·approval.
19·   · · · we've gone for a little over an hour again.     19·   · · · A.· · ·I --
20·   · · · We missed our break window, sometime soon.      20·   · · · Q.· · ·Did you?
21·   · · · · · · ·MR. JARAMILLO:· All right.· Let's        21·   · · · A.· · ·I don't recall doing that, no, but I
22·   · · · unpack this sentence a little bit and then      22·   ·don't see that reference or inference being made
23·   · · · we'll take our break.· I don't think it will    23·   ·here.
24·   · · · take that long.                                 24·   · · · Q.· · ·I'm not asking for an inference.· I'm
25·   · · · · · · ·THE WITNESS:· Sure.                      25·   ·kind of backing up for now because I don't want to

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·MR. JARAMILLO:· All right.               ·2·   ·get caught up in, in the -- you know -- in the
·3·   · · · Q.· · ·Do you have any idea who would have      ·3·   ·relay of information.
·4·   ·made a decision to communicate to the BDU not to     ·4·   · · · · · · ·I just --- really just the important
·5·   ·submit additional claims for approval?               ·5·   ·part of this for my purposes is to know whether
·6·   · · · A.· · ·I don't know.· I can't tell from         ·6·   ·you directed FSA to stop issuing decisions for
·7·   ·this.· I -- I read this and --                       ·7·   ·approval and your answer was you don't recall; is
·8·   · · · Q.· · ·At this time, sir.· I'm just asking      ·8·   ·that correct?
·9·   ·for your memory.                                     ·9·   · · · A.· · ·I don't recall.
10·   · · · A.· · ·Well, I, I, I -- I know, but I read      10·   · · · Q.· · ·Could you have directed FSA to stop
11·   ·this and the "FSA's former Deputy Chief              11·   ·issuing decisions for approval?
12·   ·Enforcement Officer communicated to the BDU not to   12·   · · · A.· · ·When are we talking about, what date?
13·   ·submit additional claims."· According to the         13·   ·As what?
14·   ·director of BDU, FSA's former Deputy Chief           14·   · · · Q.· · ·Any time -- any time in your tenure
15·   ·Enforcement Officer communicated to the BDU not to   15·   ·as Acting Undersecretary, could you have directed
16·   ·submit additional claims for approval or to          16·   ·FSA to stop issuing decisions for approval?
17·   ·continue developing memoranda."                      17·   · · · A.· · ·Well, would I have had the legal
18·   · · · · · · ·It goes on, but the confusion for me     18·   ·authority?· I'm not -- it's not clear to me that I
19·   ·here is that former Deputy Chief Enforcement         19·   ·would have to do that and would have done that.
20·   ·Officer, I mean is -- is that Laura Kim?· Is that    20·   · · · Q.· · ·It's not clear to you whether you had
21·   ·who we're talking about, communicating to the --     21·   ·the legal authority to do that?
22·   ·the BDU to Colleen Nevin not to submit additional    22·   · · · A.· · ·I would have to -- to consult with
23·   ·claims?· On whose authority was that?· I don't       23·   ·the attorneys at OGC to be clear on that.
24·   ·know.· I can't tell by reading this.                 24·   · · · Q.· · ·Did you ever direct that no more
25·   · · · Q.· · ·Those are precisely my questions, Mr.    25·   ·decisions for borrower defense be issued?


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I have no recollection of ever saying    ·2·   · · · · · · ·MR. MERRITT:· Objection, asked and
·3·   ·that.                                                ·3·   · · · answered.
·4·   · · · Q.· · ·Is that something that you would have    ·4·   · · · Q.· · ·You can answer, sir.
·5·   ·had the authority to do?                             ·5·   · · · A.· · ·I don't recall ever hearing Secretary
·6·   · · · A.· · ·As I said, I would want to check with    ·6·   ·DeVos say that.
·7·   ·the OGC to confirm that before I made a statement    ·7·   · · · Q.· · ·And you don't recall anybody ever
·8·   ·like that.                                           ·8·   ·saying that Secretary DeVos issued such a
·9·   · · · Q.· · ·Did you ever check with OGC about        ·9·   ·decision?
10·   ·that issue?                                          10·   · · · A.· · ·That -- I don't recall that.
11·   · · · A.· · ·Not that I recall.                       11·   · · · Q.· · ·You don't have any awareness that she
12·   · · · Q.· · ·Did you ever check with anybody about    12·   ·issued such a decision?
13·   ·that issue of being able to direct that no more      13·   · · · · · · ·MR. MERRITT:· Objection, asked and
14·   ·decisions by borrower defense be issued?             14·   · · · answered several times.
15·   · · · A.· · ·No, I don't remember.                    15·   · · · Q.· · ·Do you have any awareness, sir, as
16·   · · · Q.· · ·And it's your testimony that within      16·   ·you sit here today that she issued such a
17·   ·the department, it's office-of-the-general-counsel   17·   ·decision?
18·   ·that would know whether or not you had the           18·   · · · A.· · ·Awareness as I sit here today?
19·   ·authority to do something like that?                 19·   · · · Q.· · ·Yes, sir.
20·   · · · A.· · ·I think checking with the attorneys      20·   · · · A.· · ·Do you have a document here to show
21·   ·always a good thing to do at the Department of       21·   ·me this and I can see --
22·   ·Education when you have a question about lawful      22·   · · · Q.· · ·I'm just asking whether you have any
23·   ·authority.                                           23·   ·awareness, you can tell me --
24·   · · · Q.· · ·Certainly Secretary DeVos would have     24·   · · · A.· · ·No, I don't --
25·   ·authority to issue such a decision, correct?         25·   · · · Q.· · ·You can tell me --

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I -- I expect that is correct.           ·2·   · · · A.· · ·I don't have any awareness or
·3·   · · · Q.· · ·Did the Secretary ever direct FSA        ·3·   ·recollection.· No, do not.
·4·   ·that no mire borrower defense decisions should be    ·4·   · · · Q.· · ·Okay.· Now, let's turn back to the
·5·   ·issued?                                              ·5·   ·bottom of Page 3.
·6·   · · · A.· · ·I never heard her say that.              ·6·   · · · A.· · ·Do you mind, could I take two
·7·   · · · Q.· · ·Did you ever see any documents that      ·7·   ·minutes.
·8·   ·-- implying that she make such a decision?           ·8·   · · · · · · ·MR. JARAMILLO:· Oh, I'm sorry, you
·9·   · · · A.· · ·I never -- I don't recall seeing         ·9·   · · · had asked about that earlier.· We can go off
10·   ·anything like that.                                  10·   · · · the record.
11·   · · · Q.· · ·Did anyone ever tell you that she had    11·   · · · · · · ·THE VIDEOGRAPHER:· Off the record.
12·   ·made such a decision?                                12·   · · · The time is 22:09 UTC.
13·   · · · A.· · ·I don't recall ever hearing that.        13·   · · · · · · ·(Whereupon, there was a brief recess
14·   · · · Q.· · ·Did you ever hear Secretary DeVos        14·   · · · in the proceedings.)
15·   ·express an interest in stopping borrower defense     15·   · · · · · · ·THE VIDEOGRAPHER:· We are now on the
16·   ·decisions?                                           16·   · · · record, the time is 22:22 UTC.
17·   · · · · · · ·MR. MERRITT:· Objection, vague.          17·   · · · Q.· · ·Mr. Manning, we were looking at Tab 3
18·   · · · Q.· · ·Did you ever come to know that the       18·   ·which has been marked as Exhibit 3.· That's the
19·   ·Secretary directed that no decisions on borrower     19·   ·Inspector General's report and I think when we
20·   ·defense should be issued?                            20·   ·left off, we were at the bottom of Page 3 of the
21·   · · · A.· · ·I don't recall ever hearing that.        21·   ·report and in a sentence that carried over to Page
22·   · · · Q.· · ·As you sit here today, you're not        22·   ·4.
23·   ·aware of Secretary DeVos ever directing that no      23·   · · · A.· · ·Page 3 -- okay, at the bottom?
24·   ·borrower defense decisions be issued by the          24·   · · · Q.· · ·Or if you want to look at the top, it
25·   ·Department?                                          25·   ·would say Page 186 of 270.


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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·No, I got it.· I got it.· I got it.     ·2·   · · · Q.· · ·Giving directions to the Chief
·3·   · · · Q.· · ·So that last sentence which is pretty   ·3·   ·Enforcement Officer?
·4·   ·long and -- and pretty packed with information,     ·4·   · · · A.· · ·In -- in terms of a chain of command
·5·   ·the second part of that, when it describes the      ·5·   ·type of thing, that's the way I would have
·6·   ·communication from FSA as -- that, you know,        ·6·   ·recalled that.
·7·   ·according to the -- the director of BDU             ·7·   · · · Q.· · ·Okay.· Are you aware if the COO of
·8·   ·communications to the BDU.                          ·8·   ·FSA made the decision to -- to tell the B-- to
·9·   · · · A.· · ·Yeah.                                   ·9·   ·have the BDU stop developing memoranda?
10·   · · · Q.· · ·The second part says -- basically       10·   · · · A.· · ·No.· I'm -- I'm not aware of that.
11·   ·says that there was a communication not to          11·   · · · Q.· · ·Are you aware of anyone issuing such
12·   ·continue developing memoranda and additional        12·   ·a decision?
13·   ·categories of claims that qualify for discharge     13·   · · · A.· · ·I'm sorry?
14·   ·because the borrower defense policies are being     14·   · · · Q.· · ·Are you aware of anyone making such a
15·   ·reviewed with the change in administration.         15·   ·decision?
16·   · · · · · · ·Were you aware of that particular       16·   · · · A.· · ·No, I don't -- I don't recall that.
17·   ·decision not to continue developing memoranda?      17·   · · · Q.· · ·Do you -- do you ever recall BDU
18·   · · · A.· · ·Well, I -- I wasn't aware that the      18·   ·stopping their development of memoranda on
19·   ·chief enforcement officer had anything to           19·   ·additional categories of claims that qualify for
20·   ·communicate period.                                 20·   ·discharge?
21·   · · · Q.· · ·Okay.· So -- so you were not aware of   21·   · · · A.· · ·I don't recall all that.
22·   ·a communication not to develop legal memoranda?     22·   · · · Q.· · ·Let me turn to Page 193 of 270 in
23·   · · · A.· · ·Not that way it's represented here,     23·   ·this document, which is Tab 3 in Exhibit 3, that
24·   ·"the former Deputy Chief Enforcement Officer        24·   ·Inspector General's report.
25·   ·communicated to the BDU not to submit" -- I -- I    25·   · · · A.· · ·Okay.

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·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·don't know whether -- I don't know whether the      ·2·   · · · Q.· · ·At the top of the page, the first
·3·   ·former Deputy Chief Enforcement Officer would       ·3·   ·full sentence says; "FSA established seven
·4·   ·accept that.                                        ·4·   ·categories of borrower defense claims that
·5·   · · · Q.· · ·Were you aware of any decisions to      ·5·   ·supported the cause of action under applicable
·6·   ·tell the BDU to stop developing memoranda and       ·6·   ·state law and thus qualified the borrowers for a
·7·   ·additional categories of claims that qualify for    ·7·   ·loan discharge."
·8·   ·discharge?                                          ·8·   · · · · · · ·Were you aware of these seven
·9·   · · · A.· · ·I -- I don't recall that.               ·9·   ·categories when you worked at the Department?
10·   · · · Q.· · ·Who in -- in your experience at the     10·   · · · A.· · ·Well, let me take a look at them.
11·   ·Department of Education, who would be the person    11·   · · · · · · ·Okay.· This, this -- these are
12·   ·at Department of Education that would make such a   12·   ·familiar.· I don't recall specifically all the
13·   ·decision to tell the BDU to stop developing         13·   ·detail, but when it says "FSA established seven
14·   ·memoranda on additional categories of claims that   14·   ·categories, who is FSA in that reference?
15·   ·qualify for discharge?                              15·   · · · Q.· · ·I'm not -- you know -- I'm not --
16·   · · · A.· · ·Well, I don't remember who would be     16·   ·you're -- I'm the one asking the questions so --
17·   ·the correct person, perhaps what individual.        17·   · · · A.· · ·I'm sorry, but I'm reading this and
18·   ·Potentially it could be the Undersecretary.· It     18·   ·I, I -- I don't know what's meant by that so I --
19·   ·might be the COO at FSA.· It might be the Chief     19·   · · · Q.· · ·Okay.· You don't know what's meant
20·   ·Enforcement Officer relaying that after getting     20·   ·FSA, Federal Student Aid?
21·   ·direction from someone else.                        21·   · · · A.· · ·"FSA established seven categories."
22·   · · · Q.· · ·After getting direction from someone    22·   ·Well, some -- I mean, there are human beings that,
23·   ·else?· Who else?                                    23·   ·you know, worked on that.· I -- I'm trying to, you
24·   · · · A.· · ·Well, like -- like the COO or the       24·   ·know, envision -- you know -- there -- there are
25·   ·Undersecretary and --                               25·   ·plenty of folks that work at FSA that are capable


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·2·   ·of doing this, of writing this.                      ·2·   · · · Q.· · ·Could the BDU adjudicate applications
·3·   · · · · · · ·But, you know, it's like, as I           ·3·   ·from borrowers whose claims did not fall within
·4·   ·mentioned earlier, importance of chain of command    ·4·   ·the categories of -- the seven categories?
·5·   ·a few minutes ago, I would like to know who the      ·5·   · · · · · · ·MR. MERRITT:· Objection, ambiguous on
·6·   ·responsible people are and to be able to go to       ·6·   · · · timing.
·7·   ·them; and so I read this, I see "FSA established"    ·7·   · · · Q.· · ·During your tenure at the Department.
·8·   ·and my first question is okay, who do I talk to      ·8·   · · · A.· · ·I -- I don't recall.
·9·   ·there?                                               ·9·   · · · Q.· · ·So to your recollection, was it
10·   · · · Q.· · ·Who would you talk to?                   10·   ·possible for the BDU to adjudicate claims that
11·   · · · A.· · ·Well, I'd -- I'd start with, you         11·   ·involved pools that were not mentioned in these
12·   ·know, the -- the COO at FSA, an explanation as to    12·   ·seven categories?
13·   ·what this is, you know, and where did it come        13·   · · · A.· · ·I -- I don't recall.
14·   ·from.                                                14·   · · · Q.· · ·Do you know if during your tenure the
15·   · · · Q.· · ·Because the leadership makes the         15·   ·Department ever adopted any one of these seven
16·   ·decisions, right?                                    16·   ·categories?
17·   · · · · · · ·MR. MERRITT:· Objection, overbroad.      17·   · · · A.· · ·They -- They look familiar, but I
18·   · · · Q.· · ·You said human -- you want to talk to    18·   ·can't, you know, state that they -- whether any of
19·   ·a human being.· It's not an organization that        19·   ·them were specifically adopted.· I would need to
20·   ·makes the decision; it's the human being, correct?   20·   ·get more information.
21·   · · · A.· · ·Well, it's a human being of several      21·   · · · Q.· · ·Okay, and you -- and you looked
22·   ·human beings in a group of human beings, but it's    22·   ·through the -- each of the seven categories as
23·   ·-- it's ul -- ultimately you can identify folks      23·   ·they're described there, correct?
24·   ·that were part of the, you know, conversation and    24·   · · · A.· · ·Generally, yeah.· I mean job
25·   ·discussion and decision and good to know the         25·   ·placement (unintelligible) --· yes.· Yes, I looked

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·answer to who they are; so it's sufficient to say    ·2·   ·at them.
·3·   ·they established.                                    ·3·   · · · Q.· · ·Okay.· And you -- and you saw that
·4·   · · · Q.· · ·Okay.· So for this particular            ·4·   ·each of these categories that describes the
·5·   ·sentence, you would talk to -- you would start       ·5·   ·particular document or memoranda with -- that that
·6·   ·with the COO who was A. Wayne Johnson at the time?   ·6·   ·provides the grounds for each of the categories?
·7·   · · · A.· · ·Was the COO at the time this was         ·7·   · · · A.· · ·Well, yes, I can see that.· There are
·8·   ·issued, yes.                                         ·8·   ·-- as I look at this, there are more questions
·9·   · · · Q.· · ·You would start with Mr. Johnson,        ·9·   ·that are raised I'd be asking yes.
10·   ·right?                                               10·   · · · · · · ·Heald College transfer of credit rate
11·   · · · A.· · ·Yes, but I'm also trying to figure       11·   ·misrepresentation claims based on a May, 2015
12·   ·out when this particular act was supposed to have    12·   ·memorandum.· Was that May, 2015 memorandum
13·   ·taken place.                                         13·   ·superseded by a -- another action.
14·   · · · Q.· · ·Okay, it's not -- it's really not        14·   · · · Q.· · ·Do -- do you know?
15·   ·that important, so I'm going to have you put the     15·   · · · A.· · ·I believe it was, but I'm not -- I
16·   ·document down, if you will.                          16·   ·don't -- can't say authoritatively that --
17·   · · · A.· · ·Okay, it's down.                         17·   · · · Q.· · ·Okay, and why do you believe it was
18·   · · · Q.· · ·So your understanding of the borrower    18·   ·superseded?
19·   ·defense review process, could the Borrower Defense   19·   · · · A.· · ·I might be confusing it with
20·   ·Unit adjudicate applications from borrowers whose    20·   ·something else.
21·   ·claims did not fall within the established           21·   · · · Q.· · ·Would you agree that all of these
22·   ·categories that support -- the claims that           22·   ·seven categories were established by memoranda
23·   ·supported a cause of action under applicable state   23·   ·that were drafted during the prior administration;
24·   ·law?                                                 24·   ·prior to -- in other words, the Obama
25·   · · · A.· · ·Re -- repeat the question.               25·   ·Administration?


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·2·   · · · A.· · ·I, I -- I can't be sure that they       ·2·   · · · A.· · ·I don't recall.
·3·   ·were all drafted during the Obama Administration.   ·3·   · · · Q.· · ·Okay.· Are you aware that in
·4·   · · · · · · ·I spent six years in the Obama          ·4·   ·November, 2017 COO Johnson of FSA prepared --
·5·   ·Administration. The -- questions in my mind are     ·5·   ·addressed to Christopher Gamble, Regional
·6·   ·raised about the ones that were based on the        ·6·   ·Inspector General for Audit of the U.S. Department
·7·   ·January '17 memorandum.                             ·7·   ·of Education, a response to the draft review
·8·   · · · Q.· · ·Okay, the question is because January   ·8·   ·report that we're looking at?
·9·   ·1st through 19th was the Obama Administration and   ·9·   · · · A.· · ·Was I aware?· I -- I don't recall
10·   ·January 20th afterwards was the Trump               10·   ·that, but I expect that that was possible that
11·   ·Administration?                                     11·   ·was -- that's correct, but I don't know with
12·   · · · A.· · ·Correct.                                12·   ·certainty.
13·   · · · Q.· · ·So in your mind, it's not clear to      13·   · · · · · · ·It was -- the report was addressed to
14·   ·you whether the memorandum reference that -- that   14·   ·Wayne Johnson and it was asked that to send a
15·   ·had a January, 2017 date were in -- which           15·   ·response to Gamble and apparently what you're
16·   ·administration they were in?                        16·   ·talking about is a letter that he sent, is that
17·   · · · A.· · ·Yes.                                    17·   ·right.· I haven't seen that letter --
18·   · · · Q.· · ·Okay.                                   18·   · · · Q.· · ·All right.
19·   · · · A.· · ·Is it clear to you?                     19·   · · · A.· · ·--· at least not recently.
20·   · · · Q.· · ·I'm sorry?· Go ahead.                   20·   · · · Q.· · ·Right.· Did you -- did you work with
21·   · · · A.· · ·Is it clear to you?                     21·   ·Mr. Johnson on any such response?
22·   · · · Q.· · ·Well, I'm not -- you're not -- I'm      22·   · · · A.· · ·I -- I don't recall working with him
23·   ·not answering the questions here today.· I just     23·   ·on that letter.· I might have seen it in -- in
24·   ·want to know your knowledge.                        24·   ·drafts, but I don't recall that either.
25·   · · · · · · ·So, I mean, I'll -- I'll represent to   25·   · · · Q.· · ·I'll have you turn to Page 30 of this

                                               Page 251                                                   Page 253
·1·   · · · · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·you that they were -- none of these were adopted    ·2·   ·report or if you look at the top of Page 213 of
·3·   ·or, you know, drafted and put into effect during    ·3·   ·270 and the top of it says "Appendix C:· FSA
·4·   ·-- during the Trump Administration.· They're all    ·4·   ·Comments."
·5·   ·from the Obama Administration.                      ·5·   · · · A.· · ·213 of 270, I got it.· Yeah, okay so
·6·   · · · · · · ·Did the Trump Administration or the     ·6·   ·this is the document letter that you were talking
·7·   ·Department during your tenure ever retract any of   ·7·   ·about.
·8·   ·these -- the memos for these categories?            ·8·   · · · Q.· · ·Have you seen this before?
·9·   · · · A.· · ·I don't know.                           ·9·   · · · A.· · ·I -- I don't know.· I'll take a look
10·   · · · Q.· · ·Are you aware of any memoranda          10·   ·at it and see if I can refresh my memory.
11·   ·regarding borrower defense written during the       11·   · · · Q.· · ·All right, fair enough.· I don't want
12·   ·Trump Administration?                               12·   ·you to read it line by line, but if you could --
13·   · · · A.· · ·Any -- any mem -- memoranda on          13·   · · · A.· · ·I don't know whether I can say I saw
14·   ·borrower defense written during Trump               14·   ·it or did not.
15·   ·Administration?                                     15·   · · · Q.· · ·Yeah, there you go, Mr. Manning.· You
16·   · · · Q.· · ·Yes.                                    16·   ·know, I'm trying to -- we don't want this to be a
17·   · · · A.· · ·I can't specifically recall.· I would   17·   ·basketball game, you know, with the last fifteen
18·   ·expect there were things written.                   18·   ·seconds, you know --
19·   · · · Q.· · ·Are you aware of any eligibility        19·   · · · A.· · ·I have a ball if you want to play
20·   ·categories beyond the seven listed here that were   20·   ·though.
21·   ·created during the Trump Administration?            21·   · · · Q.· · ·I see it, but let's take a look at
22·   · · · A.· · ·I don't recall.                         22·   ·this and let me know if you've seen the Appendix C
23·   · · · Q.· · ·You don't know one way or the other     23·   ·document, FSA comments before.
24·   ·whether there were any additional categories        24·   · · · · · · ·Have you had a good enough glance,
25·   ·created?                                            25·   ·Mr. Manning, to let us know whether you've seen


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·this before?                                         ·2·   · · · whether it's vague or ambiguous has nothing
·3·   · · · A.· · ·And the entire letter is just this       ·3·   · · · to do with whether it would be relevant to
·4·   ·one page, right.                                     ·4·   · · · the topics the court ordered discovery on.
·5·   · · · Q.· · ·Well, no.· It's, it's --· I think        ·5·   · · · · · · ·MR. JARAMILLO:· I think we need to,
·6·   ·Appendix C goes on for several pages and I can --    ·6·   · · · to -- to explore this topic.
·7·   · · · A.· · ·The Wayne Johnson letter is it -- was    ·7·   · · · · · · ·Are you going to instruct him not to
·8·   ·all --                                               ·8·   · · · answer or let him answer it.
·9·   · · · Q.· · ·Oh, are you -- you're not looking at     ·9·   · · · · · · ·MR. MERRITT:· I'll just note, it's a
10·   ·Page 30 of the report.· You're now back to the       10·   · · · year before the delay began -- or, sorry, a
11·   ·beginning of the report with the cover letter; is    11·   · · · few months before the delay began.· I'm not
12·   ·that what you're doing, Mr. Manning?                 12·   · · · going to instruct him not to answer yet, but
13·   · · · A.· · ·I'm looking at Page 30 --                13·   · · · I wanted to lay down a mark on this line of
14·   · · · Q.· · ·Yes.                                     14·   · · · questioning.
15·   · · · A.· · ·-- of the report.· It's the November     15·   · · · · · · ·MR. JARAMILLO:· So he can answer the
16·   ·29, 2017 memo from Wayne Johnson to Christopher      16·   · · · question.
17·   ·Gamble, SIG.                                         17·   · · · · · · ·MR. MERRITT:· He can answer the
18·   · · · Q.· · ·There you go.· So have you seen this     18·   · · · question.
19·   ·document before or does it look familiar?            19·   · · · Q.· · ·Mr. Manning, this footnote refers to
20·   · · · A.· · ·I don't recall seeing it before, but     20·   ·a claim approval memo.· Are you aware of any such
21·   ·I very well could have.                              21·   ·document?
22·   · · · Q.· · ·Okay.· Thank you.                        22·   · · · A.· · ·I don't recall.
23·   · · · · · · ·I want to have you look at Page 31       23·   · · · Q.· · ·Are you aware of any approval from
24·   ·and there's a Footnote 17.                           24·   ·OUS?
25·   · · · A.· · ·Yes.                                     25·   · · · A.· · ·Regarding what --

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·All right.· I'm just going to read it    ·2·   · · · Q.· · ·Regarding borrower -- borrower
·3·   ·and ask you about it --                              ·3·   ·defense decisions during your tenure.
·4·   · · · A.· · ·Go ahead.                                ·4·   · · · A.· · ·So that question has nothing to do
·5·   · · · Q.· · ·-- to see if you know about it.          ·5·   ·with the 17th Footnote, is that correct?· I'm
·6·   ·Footnote 17 says, "The Report suggests OIG           ·6·   ·confused.
·7·   ·misunderstood the legal memoranda approval process   ·7·   · · · Q.· · ·Yeah, well, no.· I mean, listen, you
·8·   ·to require that OUS find any legal memorandum that   ·8·   ·-- you don't know about the 17th Footnote so let's
·9·   ·provided the legal framework to approve a            ·9·   ·put that in the past and I'm just asking you if
10·   ·particular type of claim.· That was not the          10·   ·you're aware of any memo that OUS would issue
11·   ·process.· OUS's approval is found on the claim       11·   ·during your tenure at the Department that concerns
12·   ·'Approval Memos' not on the legal memoranda."        12·   ·approval for a decision that had anything to do
13·   · · · · · · ·Are you aware of -- of any such claim    13·   ·with borrowers defense?
14·   ·approval memos in which the Office of the            14·   · · · A.· · ·I do not.
15·   ·Undersecretary registered its approval?              15·   · · · Q.· · ·Okay.· If you could, turn to Page 33.
16·   · · · · · · ·MR. MERRITT:· Objection.· This is        16·   ·There's the heading that -- are you there, Mr.
17·   · · · beyond the scope of the court-ordered           17·   ·Manning?
18·   · · · discovery.                                      18·   · · · A.· · ·I am.· Thank you.· Thantingview of
19·   · · · · · · ·MR. JARAMILLO:· Are you instructing      19·   ·Claims" in the middle of that paragraph, I'm just
20·   · · · him not to answer the question because this     20·   ·going to read it.· "However, BDU's proposed
21·   · · · is a pretty vague and ambiguous description     21·   ·protocols for addressing claims that are unique or
22·   · · · here and I would think he could give us some    22·   ·unsupported by existing legal memos were included
23·   · · · clarity and it may, in fact, relate to why      23·   ·in the February 2017 'Borrower Defense Unit Claims
24·   · · · there was a delay.                              24·   ·Review Protocol' document presented to the landing
25·   · · · · · · ·MR. MERRITT:· I would say that           25·   ·team."


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·Does that refresh your recollection      ·2·   · · · Q.· · ·Well, sir, I'm going to -- because
·3·   ·about whether you, in your capacity on the landing   ·3·   ·this report was in December, 2017 I'm -- let's
·4·   ·team, saw a Borrower Defense Unit Claims Review      ·4·   ·assume -- let's just assume for purposes of the
·5·   ·Protocol?                                            ·5·   ·question that this is talking about August, 2017.
·6·   · · · A.· · ·Well, they were included in the          ·6·   · · · A.· · ·Okay.· I don't recall.
·7·   ·February, 2017 Borrower Defense Unit Claims Review   ·7·   · · · Q.· · ·All right, you don't recall -- okay,
·8·   ·Protocol.                                            ·8·   ·and you were act -- and just to be clear:· In
·9·   · · · Q.· · ·I really just want to know if you saw    ·9·   ·August of 2017 you were the acting Undersecretary,
10·   ·any such Borrower Defense Unit Claims --             10·   ·correct?
11·   · · · A.· · ·I don't recall, but I'm telling you      11·   · · · A.· · ·That's correct.
12·   ·I'm also confused about what we're talking about     12·   · · · Q.· · ·And would there be anyone else at OUS
13·   ·February, 2017, a document presented to the          13·   ·that would agree with OGC and FSA on a procedure
14·   ·landing team.· There was no landing team February,   14·   ·to deny claims at that time?
15·   ·'17.                                                 15·   · · · A.· · ·I don't think there would be anyone
16·   · · · Q.· · ·Okay.· When did the landing team stop    16·   ·else in the Office of the Undersecretary that
17·   ·its --                                               17·   ·would have had that authority, no.
18·   · · · A.· · ·Well, I, I -- who was the landing        18·   · · · Q.· · ·All right.· Only you would have had
19·   ·team then?· Some of us were already -- we sat in     19·   ·that authority, correct?
20·   ·on the first and were -- I don't recall.             20·   · · · A.· · ·In OUS, correct.
21·   · · · · · · ·I'm,· I'm, I'm -- I'm reading this       21·   · · · Q.· · ·All right.· Well, let me back up --
22·   ·and it confused me and I -- presented to the         22·   ·well, let me get through this document.
23·   ·landing team --                                      23·   · · · A.· · ·I don't know if -- above it talks
24·   · · · Q.· · ·I understand, Mr. Manning.· It sounds    24·   ·about the -- I was just -- I guess I'm not
25·   ·like, to your recollection, by that time in          25·   ·supposed to ask questions though, right?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·February, 2017 the landing team had stopped its      ·2·   · · · Q.· · ·Well, is there something you want to
·3·   ·work and the new administration was in full swing?   ·3·   ·say, Mr. Manning?
·4·   · · · A.· · ·Well, yes.· Yes, that's my instinct,     ·4·   · · · A.· · ·Well, I'm just trying to be clear on
·5·   ·but could it formally exist still with members       ·5·   ·when things were done and the -- well, in the
·6·   ·that were on the landing team that were -- I -- I    ·6·   ·paragraph above it -- it talks about the review
·7·   ·don't know, but in -- in principle there could       ·7·   ·panel to make recommendations to the Secretary on
·8·   ·have been; but when we say it was presented to the   ·8·   ·how to address defense claims.
·9·   ·landing team, that doesn't tell me to who it was     ·9·   · · · Q.· · ·Okay, Mr. Manning, let's move on.· If
10·   ·presented and --                                     10·   ·we could go to Page 34 and just to kind of keep it
11·   · · · Q.· · ·Okay, and if you look under Item 3,      11·   ·pointed, I'm just going to read to you the second
12·   ·"Processing of Claims Flagged for Denial" --         12·   ·to the last sentence in the first paragraph of
13·   · · · A.· · ·Yes.                                     13·   ·that Page 34; and I'll just represent to you that
14·   · · · Q.· · ·-- I'm just going to read it for you.    14·   ·this is talking about that -- the review panel
15·   ·"The Report also cites as a weakness that 'BDU did   15·   ·that looked at borrower defense.
16·   ·not have a process for closing out and issuing       16·   · · · A.· · ·Okay.
17·   ·decisions on borrower defense claims it flagged      17·   · · · Q.· · ·I'm just going to read it.· It says,
18·   ·for denial.'· As described above with respect to     18·   ·"The panel's work also laid the foundation to
19·   ·the review of unique claims, no procedures had       19·   ·approve new claims."
20·   ·been submitted to the previous administration for    20·   · · · · · · ·Are you aware of the Borrower Review
21·   ·approval and these claims were not being             21·   ·Defense Panel laying a foundation to approve new
22·   ·processed.· In August OUS, OGC, and FSA agreed on    22·   ·claims?
23·   ·a procedure to deny claims."                         23·   · · · A.· · ·I don't have any specific
24·   · · · · · · ·Do you recall --                         24·   ·recollection, but that was kind of what we hoped
25·   · · · A.· · ·August when, what year in August?        25·   ·they would do and I don't -- I don't have any


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·specific recollection.                               ·2·   · · · A.· · ·I don't recall.
·3·   · · · Q.· · ·Who would know from the Borrower         ·3·   · · · Q.· · ·Do you recall anything about interim
·4·   ·Review Defense Panel about this issue of laying      ·4·   ·procedures to review claims?
·5·   ·the foundation to approving claims?                  ·5·   · · · A.· · ·I, I -- I don't recall, no.
·6·   · · · A.· · ·Well, Joe Connolly was the convenor      ·6·   · · · Q.· · ·Okay.· If we the look at
·7·   ·of that panel.· He was then Acting Deputy            ·7·   ·"Recommendation 2" on Page 34, I'm going to read
·8·   ·Secretary.· He might recall.· Phil Rosenfelt might   ·8·   ·it.
·9·   ·recall.· I'm not sure if Joe Schmoke -- Joe          ·9·   · · · · · · ·"Request approval from the Acting
10·   ·Schmoke is still at the Department.                  10·   ·Undersecretary to resume consideration and
11·   · · · Q.· · ·Okay.· If you could look in the same     11·   ·determination of whether additional categories of
12·   ·page underneath "Recommendation 1," I'm just going   12·   ·claims with common facts qualifies for discharge.
13·   ·to read it.                                          13·   ·We agree with this recommendation.· And with
14·   · · · · · · ·"Request approval from the Acting        14·   ·respect to our response to Recommendation 1, we
15·   ·Undersecretary to resume the review, approval, and   15·   ·will work with the CFOICU to strengthen BDU's
16·   ·discharge processes for claims qualifying under      16·   ·processes and protocols so the work on these
17·   ·the seven established categories, including claims   17·   ·claims can proceed."
18·   ·that have been flagged for approval.                 18·   · · · · · · ·Do you recall receiving a request for
19·   · · · · · · ·We agree with this recommendation.       19·   ·approval to resume consideration and determination
20·   ·Pursuant to OUS' May 4th, 2017 memorandum to the     20·   ·of whether additional categories of claims with
21·   ·Secretary, OUS, and the Chief Financial Officer's    21·   ·common facts qualify for discharge?
22·   ·Internal Control's Unit, CFOICU are working with     22·   · · · A.· · ·I -- I don't recall.
23·   ·FSA to 'develop interim procedures' to review        23·   · · · Q.· · ·Okay, and so you do recall that this
24·   ·claims."                                             24·   ·document we're looking at is from A. Wayne
25·   · · · · · · ·Do you recall, as Acting                 25·   ·Johnson, correct?· The particular response to

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·Undersecretary, working with FSA to develop          ·2·   ·Christopher Gamble from A. Wayne Johnson; is that
·3·   ·interim procedures to review claims?                 ·3·   ·correct?
·4·   · · · A.· · ·Well, I would say this is to -- to       ·4·   · · · A.· · ·The -- the response, the letter is
·5·   ·work on the establishment of the methodology.        ·5·   ·from Wayne Johnson.
·6·   · · · Q.· · ·So you think the interim procedures      ·6·   · · · Q.· · ·And that -- that's what we're looking
·7·   ·just to review claims actually meant the             ·7·   ·at here.· Page 34, do you understand that this was
·8·   ·development of a relief methodology?                 ·8·   ·part of Mr. Johnson's response?
·9·   · · · · · · ·MR. MERRITT:· Objection, asked and       ·9·   · · · A.· · ·No, I'm -- no.
10·   · · · answered including when we discussed this       10·   · · · Q.· · ·You don't understand that, Mr.
11·   · · · memorandum before.                              11·   ·Manning?· ·What do you think -- as it says, Mr.
12·   · · · Q.· · ·You can answer the question.             12·   ·Manning, there is a recommendation in bold and
13·   · · · A.· · ·Well, let me take another look at it.    13·   ·then there's a response.· Who do you think drafted
14·   ·I'm getting a little tired and I have -- you know    14·   ·the response?
15·   ·-- to be careful reading.                            15·   · · · A.· · ·I don't know -- confused myself.· It
16·   · · · Q.· · ·Understood.                              16·   ·is from Wayne Johnson, you're right.
17·   · · · A.· · ·Well, I can't say this was intended      17·   · · · Q.· · ·Okay, and Wayne Johnson agreed with
18·   ·to say what I -- what we're saying.                  18·   ·this recommendation, correct, approval should be
19·   · · · · · · ·I will -- I will say that the -- that    19·   ·requested from you; is that right?
20·   ·some of the same -- some of the same people were     20·   · · · A.· · ·On which question?
21·   ·working on the -- the methodology, but this is       21·   · · · Q.· · ·"Recommendation 2:· Request approval
22·   ·something outside of that so, no.                    22·   ·from the acting Undersecretary to resume
23·   · · · Q.· · ·Was -- was this the development of       23·   ·consideration and determination of whether
24·   ·interim procedures to review claims pending the      24·   ·additional categories of claims with common facts
25·   ·development of a new methodology?                    25·   ·qualify for discharge."


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · · · · ·The response listed here says "We        ·2·   · · · Q.· · ·And is it your understanding that
·3·   ·agree with this recommendation?"                     ·3·   ·borrower defense is a matter of policy?
·4·   · · · · · · ·Doesn't that signal to you, Mr.          ·4·   · · · A.· · ·Borrower de -- borrower defense is a
·5·   ·Manning, that Mr. Johnson is acting -- as COO of     ·5·   ·matter of policy?
·6·   ·FSA is agreeing to request approval from you to      ·6·   · · · Q.· · ·Is that your understanding?
·7·   ·"resume consideration and determination of whether   ·7·   · · · A.· · ·I -- I'm not sure that I -- I
·8·   ·additional categories of claims with common facts    ·8·   ·understand what you mean when you say that.
·9·   ·qualify for discharge"?                              ·9·   · · · Q.· · ·Was the Department's policy during
10·   · · · A.· · ·I don't recall receiving anything        10·   ·your tenure at Department of Education to
11·   ·from Wayne specific to this.                         11·   ·implement a -- to have a program for borrowers to
12·   · · · Q.· · ·Okay.· Do you recall receiving           12·   ·discharge their federal student loans based on
13·   ·anything from anybody specific to this?              13·   ·borrower defense to repayment policies?
14·   · · · A.· · ·No, I don't recall.                      14·   · · · A.· · ·Yes.
15·   · · · Q.· · ·If can look at Footnote Number 21 at     15·   · · · Q.· · ·And -- and how was that a matter of
16·   ·the bottom of this Page 34.· I'm just going to       16·   ·policy?
17·   ·read it.· "We want to clarify statement in the       17·   · · · A.· · ·I -- I don't understand where you're
18·   ·Report regarding the pause in submitting claims      18·   ·coming from on that.
19·   ·for approval and in developing additional            19·   · · · Q.· · ·That's okay.· Earlier we did have a
20·   ·memoranda for new categories of claims that          20·   ·discussion, if you'll recall, that the Office of
21·   ·qualify for discharge.· Although the Report          21·   ·the Undersecretary was involved in the policy end
22·   ·suggests that the Deputy Chief Enforcement Officer   22·   ·in -- in creating policy and FSA was involved in
23·   ·made a decision to stay this work, we wanted to      23·   ·standard operating procedures and implementing
24·   ·clarify that the Deputy Chief Enforcement Officer    24·   ·policy; is that correct?
25·   ·actually just communicated to the Director of BDU    25·   · · · A.· · ·Generally, and -- but they -- the

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·the guidance and direction provided by OUS and the   ·2·   ·Office of the Undersecretary during my tenure --
·3·   ·Review Panel."                                       ·3·   ·I'm trying to remember how many staff people were
·4·   · · · · · · ·So does that refresh your                ·4·   ·there; two or three, the Secretary, young intern.
·5·   ·recollection about whether or not OUS provided       ·5·   ·The policy work that it would move forward through
·6·   ·guidance and direction to the BDU to pause           ·6·   ·involving, you know, other members, including the
·7·   ·submitting claims for approval?                      ·7·   ·Office of Postsecondary Education, FSA, the other
·8·   · · · A.· · ·The direction provided by OUS to the     ·8·   ·-- those higher education organizations within
·9·   ·Review Panel.                                        ·9·   ·FSA.
10·   · · · Q.· · ·And does that refresh your               10·   · · · Q.· · ·And, and -- and who was in charge of
11·   ·recollection about providing the guidance and        11·   ·the borrower defense policy at the Department?
12·   ·direction?                                           12·   · · · A.· · ·I think it was shared responsibility.
13·   · · · A.· · ·No, it doesn't.                          13·   · · · Q.· · ·Okay.· Who -- who shared the
14·   · · · Q.· · ·Okay.· What about providing direction    14·   ·responsibility?
15·   ·for the development of additional memorandum for     15·   · · · A.· · ·All the people that were part of the
16·   ·new categories of claims that qualify for            16·   ·borrower defense review team.
17·   ·discharge, does that refresh your recollection       17·   · · · Q.· · ·Anybody else?
18·   ·that the pause --                                    18·   · · · A.· · ·Well, the head of -- the Acting
19·   · · · A.· · ·I don't recall that either.· Sorry.      19·   ·Deputy Secretary.· Generally those people.
20·   · · · Q.· · ·Borrower defense was part of your        20·   · · · Q.· · ·Well, the borrower defense review
21·   ·portfolio in your tenure at the Department as        21·   ·team, wouldn't they be part of FSA in -- involved
22·   ·Acting Undersecretary, right?                        22·   ·in implementing policy rather than establishing
23·   · · · A.· · ·It was housed at FSA, but OUS oversaw    23·   ·and creating policy?
24·   ·all of higher education so, yes, borrower defense    24·   · · · · · · ·MR. MERRITT:· Objection, misstatement
25·   ·is under it.                                         25·   · · · of prior testimony.


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·1·   · · · · · · · · ·- JAMES MANNING -                         ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Would the Borrower Defense Unit be in         ·2·   · · · ask you a few more questions and then we'll
·3·   ·charge of creating borrower defense policy or             ·3·   · · · take the break and then we'll get a time
·4·   ·would that come from somewhere else in the                ·4·   · · · check and wrap up.
·5·   ·Department?                                               ·5·   · · · · · · ·THE VIDEOGRAPHER:· The time --
·6·   · · · A.· · ·The Borrower Defense Unit at FSA?             ·6·   · · · · · · ·THE WITNESS:· You know what, if we're
·7·   · · · Q.· · ·Yes.                                          ·7·   · · · going to do it that way, let me go ahead and
·8·   · · · A.· · ·Would they be in charge of developing         ·8·   · · · just take a -- a break now and let's get back
·9·   ·policy?                                                   ·9·   · · · and finish it up.
10·   · · · Q.· · ·Correct.                                      10·   · · · · · · ·MR. JARAMILLO:· Okay, fine.· Off the
11·   · · · A.· · ·Without oversight?                            11·   · · · record.
12·   · · · Q.· · ·Sure, let's start there.· I mean, I'm         12·   · · · · · · ·THE WITNESS:· Thank you.
13·   ·-- I think I have an idea what the answer is, but         13·   · · · · · · ·THE VIDEOGRAPHER:· And the time is
14·   ·I want to hear it from you.                               14·   · · · 23:09 UTC.
15·   · · · A.· · ·No, they didn't develop their own             15·   · · · · · · ·(Whereupon, there was a brief recess
16·   ·policy.                                                   16·   · · · in the proceedings.)
17·   · · · Q.· · ·Okay.· Who developed their policy             17·   · · · · · · ·THE VIDEOGRAPHER:· We're now on the
18·   ·with regard to borrower defense?                          18·   · · · record.· The time is 23:17 UTC.
19·   · · · A.· · ·I don't recall all the participants           19·   · · · Q.· · ·So, Mr. Manning, we were talking
20·   ·who were involved.                                        20·   ·about pol -- policy decisions at the Department
21·   · · · Q.· · ·Okay.                                         21·   ·regarding borrower discharge and I would like to
22·   · · · · · · ·MR. MERRITT:· (Unintelligible                 22·   ·know:· If there was a policy to delay issuing
23·   · · · crosstalk)· the witness mentioned he was             23·   ·borrower defense decisions for an extended period
24·   · · · tired, so I mean· we can go off the record if        24·   ·of time, who is the person responsible in the
25·   · · · you want to, but I just want to ask for a            25·   ·Department for making such a decision or who would

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·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -                   ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   ·   ·   ·   time check and maybe a break.                  ·2·   ·be, to your experience?· Who?
·3·   ·   ·   ·   · · · ·MR. JARAMILLO:· Let's -- let's -- I     ·3·   · · · A.· · ·I'm thinking.· I just -- you know --
·4·   ·   ·   ·   mean, if you don't mind, just a couple more    ·4·   ·who would be the person responsible for
·5·   ·   ·   ·   questions on this topic and then we can do     ·5·   ·recommending a decision like that?
·6·   ·   ·   ·   that.· If that -- unless -- Mr. Manning, are   ·6·   · · · Q.· · ·And for making a decision like that.
·7·   ·   ·   ·   you requesting a break right now or can you    ·7·   · · · A.· · ·Well, responsible or have the
·8·   ·   ·   ·   bear with a couple more annoying questions?    ·8·   ·authority or -- I mean --
·9·   ·   ·   ·   · · · ·MR. MERRITT:· Okay.                     ·9·   · · · Q.· · ·Okay, let's -- who would have the
10·   ·   ·   ·   · · · ·THE WITNESS:· You're just doing your    10·   ·authority to make a decision like that?
11·   ·   ·   ·   job.· How -- how much longer are we going to   11·   · · · A.· · ·Well, it depends on what the policy
12·   ·   ·   ·   go?                                            12·   ·is you're talking about.
13·   ·   ·   ·   · · · ·MR. JARAMILLO:· Well, I have a few      13·   · · · · · · ·Are you talking about real policy or
14·   ·   ·   ·   more questions on this topic and then we       14·   ·policy changes, then that was the purpose of us
15·   ·   ·   ·   might not have that much time left, but with   15·   ·reopening the negotiated rulemaking in November,
16·   ·   ·   ·   the time left I do have some other things I    16·   ·2017.
17·   ·   ·   ·   wanted to cover relatively quickly.            17·   · · · Q.· · ·Okay, let's -- I don't want to talk
18·   ·   ·   ·   · · · ·THE WITNESS:· Go ahead.· What were      18·   ·about the administrative policy that required, you
19·   ·   ·   ·   you saying?                                    19·   ·know, publication and notice.
20·   ·   ·   ·   · · · ·MR. JARAMILLO:· So can I ask you a      20·   · · · · · · ·I want to talk about an internal
21·   ·   ·   ·   few more questions or do you want to take a    21·   ·Department policy about how to handle borrower
22·   ·   ·   ·   break now?                                     22·   ·discharge claims and specifically a policy or
23·   ·   ·   ·   · · · ·THE WITNESS:· Well, let's power         23·   ·decision that would call for not reviewing -- I
24·   ·   ·   ·   through it because I --                        24·   ·mean, strike that -- not issuing decisions on
25·   ·   ·   ·   · · · ·MR. JARAMILLO:· All right.· Let me      25·   ·borrower defense claims.


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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   · · · · · · · · ·- JAMES MANNING -
·2·   · · · A.· · ·I don't -- I don't know that there's     ·2·   ·COO, the Deputy Secretary.· I mean, the -- the
·3·   ·an individual that is responsible for that.          ·3·   ·Assistant Secretary of Postsecondary Education.
·4·   · · · · · · ·Certainly the -- and -- and I don't      ·4·   ·It's just making this up.· I -- I don't know.
·5·   ·recall discussions around that particular issue      ·5·   · · · · · · ·I -- I suppose the, you know, the
·6·   ·or --                                                ·6·   ·borrower defense panel, the -- the review team put
·7·   · · · Q.· · ·And if there's not one individual,       ·7·   ·together.· My anticipation was that a group would
·8·   ·would it be a group of individuals at the            ·8·   ·come up with ideas in terms of how to move
·9·   ·Department responsible for making a decision on      ·9·   ·forward.
10·   ·pausing the issuance of borrower defense decisions   10·   · · · Q.· · ·Right, and somebody had to approve
11·   ·for a certain time period?                           11·   ·these ideas in order to move forward, correct?
12·   · · · A.· · ·There was no group that was              12·   · · · · · · ·MR. MERRITT:· Can we get a time
13·   ·responsible for that.· I don't know --               13·   · · · check?
14·   · · · Q.· · ·Was there a group responsible for        14·   · · · Q.· · ·You can answer the question, Mr.
15·   ·making such policy decisions about borrower          15·   ·Manning, and then we'll do the time check.
16·   ·defense?                                             16·   · · · A.· · ·I mean, I don't have to approve some
17·   · · · A.· · ·You're talking about decisions on        17·   ·recommendations that could have gone to the
18·   ·delays and I don't recall.                           18·   ·Undersecretary's approval.
19·   · · · Q.· · ·You don't recall -- you're saying you    19·   · · · Q.· · ·Didn't -- didn't that group make --
20·   ·don't recall delays, but if there were and -- and    20·   · · · · · · ·MR. MERRITT:· That's -- that's it.
21·   ·if there was a decision to delay issuance of         21·   · · · Let me -- let's check the time.
22·   ·approvals and denials of these claims, where would   22·   · · · · · · ·THE VIDEOGRAPHER:· We just hit seven
23·   ·that authority lie within the Department to make     23·   · · · hours after that.
24·   ·such a decision?                                     24·   · · · · · · ·MR. MERRITT:· You said we just hit
25·   · · · · · · ·MR. MERRITT:· Objection.                 25·   · · · seven hours?

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·1·   · · · · · · · · ·- JAMES MANNING -                    ·1·   ·   ·   ·   · · · · · ·- JAMES MANNING -
·2·   · · · Q.· · ·Do you know, Mr. Manning, or you just    ·2·   ·   ·   ·   · · · ·THE VIDEOGRAPHER:· Yes.
·3·   ·don't know?                                          ·3·   ·   ·   ·   · · · ·MR. JARAMILLO:· Okay.· Mr. Merritt,
·4·   · · · A.· · ·Oh, oh.· Well, yeah, I'm -- I -- I'm     ·4·   ·   ·   ·   with your indulgence I just want to have one
·5·   ·not sure.                                            ·5·   ·   ·   ·   -- have him just look at one document and
·6·   · · · Q.· · ·Let's say, for example, that there       ·6·   ·   ·   ·   then authenticate it, if possible.
·7·   ·was a decision-maker at the Department that said     ·7·   ·   ·   ·   · · · ·MR. MERRITT:· We're at seven hours.
·8·   ·we -- we ought to hold off on issuing borrower       ·8·   ·   ·   ·   I'm not gonna -- I think it's over.
·9·   ·defense decisions until we work out how we're        ·9·   ·   ·   ·   · · · ·MR. JARAMILLO:· Okay.· Do you have
10·   ·going to measure relief.· Who would make such a      10·   ·   ·   ·   any questions for the witness?
11·   ·decision, to your knowledge, at the Department?      11·   ·   ·   ·   · · · ·MR. MERRITT:· I do not.
12·   · · · A.· · ·Hold off on decisions until we           12·   ·   ·   ·   · · · ·MR. JARAMILLO:· Okay.· Mr. Manning, I
13·   ·have -- I -- I don't know if there's an individual   13·   ·   ·   ·   want to thank you for your time today. I
14·   ·that is responsible for --                           14·   ·   ·   ·   know you voluntarily appeared here and we
15·   · · · Q.· · ·Okay.· Who -- is there a group of        15·   ·   ·   ·   appreciate that.
16·   ·individuals responsible?                             16·   ·   ·   ·   · · · ·And you want the witness to read and
17·   · · · A.· · ·I -- I don't recall who was involved     17·   ·   ·   ·   sign, Mr. Merritt?
18·   ·in conversations around that issue.· Again, I        18·   ·   ·   ·   · · · ·MR. MERRITT:· Yes, thank you. I
19·   ·don't recall any conversation about that issue.      19·   ·   ·   ·   would like that.
20·   · · · Q.· · ·That's not my question.· I'm asking      20·   ·   ·   ·   · · · ·MR. JARAMILLO:· I think we're done.
21·   ·if you're aware of any group of individuals at the   21·   ·   ·   ·   · · · ·THE VIDEOGRAPHER:· We are off the
22·   ·Department that would be involved in making such a   22·   ·   ·   ·   record and this concludes today's testimony
23·   ·decision if it were to be made, to your knowledge?   23·   ·   ·   ·   given by Jim Manning at 23:25 UTC.
24·   · · · A.· · ·Well, I mean there are any number of     24·   ·   ·   ·   · · · ·(Whereupon, the deposition concluded
25·   ·folks.· It would be Undersecretary, the -- the       25·   ·   ·   ·   at 6:25 p.m.)


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                                                                    · ·   ·INSTRUCTED NOT TO ANSWER· · · · · · · · · · PAGE
·8· · · · I, JAMES MANNING, hereby certify that I have              ·8
·9· ·read the transcript of my testimony taken under                · ·   ·And what specifically did he recommend
                                                                    ·9·   ·with respect to the -- with the relief
10· ·oath in my deposition of December 17, 2020; that               · ·   ·methodology?· · · · · · · · · · · · · · · · · 52
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11· ·the transcript is a true, complete and correct                 11·   ·And did you ever consult in connection
                                                                    · ·   ·with the Penn Hill Group after leaving
12· ·record of my testimony, and that the answers on
                                                                    12·   ·the Department of Education?· · · · · · · · ·147
13· ·the record as given by me are true and correct.                13·   ·Have you done any work after leaving the
                                                                    · ·   ·administration related to the discharge
14                                                                  14·   ·of student loans?· · · · · · · · · · · · · · 148
                                                                    15·   ·Have you done any the work on behalf of
15· · · · · · · · _____________________________
                                                                    · ·   ·institutions of higher education as in
16· · · · · · · · JAMES MANNING                                     16·   ·your -- in your consulting work after
                                                                    · ·   ·leaving the Trump Administration?· · · · · · 148
17                                                                  17
                                                                    · ·   ·Does your work at President Forum,
18· ·Subscribed and sworn
                                                                    18·   ·Mr. Manning, involve any discharge
19· ·to before me on this the                                       · ·   ·of federal student loans?· · · · · · · · · · 150
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20· ·_______ day of _____________, 2020.                            20
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·7· · · · I, HOPE LYNN MENAKER, a Notary Public within              ·5

·8· ·and for the State of New York, do hereby certify:              · · ·Exhibit 35· ·Tab 5· · · · · · · · · · · · · 206
                                                                    ·6
·9· · · · That JAMES MANNING, the witness whose
                                                                    ·7
10· ·deposition is hereinbefore set forth, was duly
                                                                    ·8
11· ·sworn by me and that such deposition is a true
                                                                    ·9
12· ·record of the testimony given by the witness.                  10
13· · · · I further certify that I am not related to                11

14· ·any of the parties to this action by blood or                  12

15· ·marriage, and that I am in no way interested in                13
                                                                    14
16· ·the outcome of this matter.
                                                                    15
17· · · · · · · · IN WITNESS WHEREOF, I have hereunto
                                                                    16
18· ·set my hand this 22nd day of December, 2020.
                                                                    17
19                                                                  18
20· · · · · · · · · ____________________________                    19

21· · · · · · · · · HOPE LYNN MENAKER                               20
                                                                    21
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·3· · · · · · · ·DATE OF DECEMBER 17, 2020
· · · · · · · · · · · ·JAMES MANNING
·4
· · ·PAGE/LINE(S)/· · CHANGE· · · · · ·REASON
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January 29, 2021

Lindsey Withem
WilmerHale Legal Services Center of Harvard Law School
122 Boylston Street
Jamaica Plain, MA 02130

Re:    Deposition of James Manning Transcript
       12/17/2020
       Theresa Sweet v. Elisabeth Devos

Dear Attorney Withem:

The witness did not waive the right to read and sign his/her deposition in the above
referenced matter. Enclosed are the completed and signed errata sheet, and the signed
original signature page. These should be attached to the original transcript in your
possession. Should you have any questions, please don't hesitate to call.

Sincerely,


Rose Heath
U.S. Legal Support

No. 335262
Enclosures

cc: Robert C. Merritt, Esquire
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·5· ·THERESA SWEET, et al., on· · ·:

·6· ·behalf of themselves and all· :· Case No.:

·7· ·others similarly situated,· · :· 19-cv-03674-WHA

·8· · · · · · · · ·Plaintiffs,· · ·:

·9· ·vs.· · · · · · · · · · · · · ·:

10· ·ELISABETH DEVOS, in her· · · ·:

11· ·official capacity as· · · · · :

12· ·Secretary of the United· · · ·:

13· ·States Department of· · · · · :

14· ·Education, et al.,· · · · · · :

15· · · · · · · · ·Defendants.· · ·:

16· ·- - - - - - - - - - - - - - - X

17

18· ·Remote Videotaped Deposition of COLLEEN M. NEVIN

19· · · · · · · Wednesday, December 9, 2020

20· · · · · · · · · · 9:11 a.m. (EST)

21

22

23· ·Job No. 332242

24· ·Pages:· 1 - 268

25· ·Reported by:· Dana C. Ryan, RPR, CRR


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·1                                                                ·1· · · ·A P P E A R A N C E S· C O N T I N U E D

·2                                                                ·2

·3· · · · · · · · · · · · · · · · · ·December 9, 2020             ·3· · · · · · ·JOSEPH JARAMILLO, ESQ.

·4· · · · · · · · · · · · · · · · · ·9:11 a.m. (EST)              ·4· · · · · · ·CLAIRE TORCHIANA, ESQ.

·5                                                                ·5· · · · · · ·Housing & Economic Rights Advocates

·6                                                                ·6· · · · · · ·3950 Broadway, Suite 200

·7                                                                ·7· · · · · · ·Oakland, California 94611

·8· · · · · Remote Videotaped Deposition of COLLEEN M.            ·8· · · · · · ·Telephone:· (510) 271-8443

·9· ·NEVIN, held via Zoom video teleconference, before            ·9· · · · · · ·Email: jjaramillo@heraca.org

10· ·Dana C. Ryan, Registered Professional Reporter,              10· · · · · · ·Email: ctorchiana@heraca.org

11· ·Certified Realtime Reporter and Notary Public in             11

12· ·and for the State of Alabama.                                12· · · · ON BEHALF OF THE DEFENDANTS:

13                                                                13· · · · · · ·R. CHARLIE MERRITT, ESQ.

14                                                                14· · · · · · ·KEVIN P. HANCOCK, ESQ.

15                                                                15· · · · · · ·KATHRYN C. DAVIS, ESQ.

16                                                                16· · · · · · ·MARCIA BERMAN, ESQ.

17                                                                17· · · · · · ·U.S. Department of Justice

18                                                                18· · · · · · ·Civil Division, Federal Programs Branch

19                                                                19· · · · · · ·1100 L Street, Northwest

20                                                                20· · · · · · ·Washington, D.C. 20530

21                                                                21· · · · · · ·Telephone:· (202) 307-0342

22                                                                22· · · · · · ·Email: robert.c.merritt@usdoj.gov

23                                                                23· · · · · · ·Email: kathryn.c.davis@usdoj.gov

24                                                                24· · · · · · ·Email: kevin.p.hancock@usdoj.gov

25                                                                25· · · · · · ·Email: marcia.berman@usdoj.gov



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·1· · · · · · · · ·A P P E A R A N C E S                          ·1· · · ·A P P E A R A N C E S· C O N T I N U E D

·2                                                                ·2

·3· · · · ON BEHALF OF THE PLAINTIFFS:                            ·3· · · · Also present:

·4· · · · · · ·REBECCA ELLIS, ESQ.                                ·4· · · · · · ·Joe Raguso, Video Technician

·5· · · · · · ·MARGARET O'GRADY, ESQ.                             ·5

·6· · · · · · ·EILEEN CONNOR, ESQ.                                ·6

·7· · · · · · ·TOBY R. MERRILL, ESQ.                              ·7

·8· · · · · · ·Legal Services Center of                           ·8

·9· · · · · · · · ·Harvard Law School                             ·9

10· · · · · · ·122 Boylston Street                                10

11· · · · · · ·Jamaica Plain, Massachusetts 02130                 11

12· · · · · · ·Telephone:· (617) 390-3003                         12

13· · · · · · ·Email: mogrady@law.harvard.edu                     13

14· · · · · · ·Email: econnor@law.harvard.edu                     14

15· · · · · · ·Email: rellis@law.harvard.edu                      15

16· · · · · · ·Email: tmerrill@law.harvard.edu                    16

17                                                                17

18· · · · · · · · · · · · - and -                                 18

19                                                                19

20                                                                20

21                                                                21

22                                                                22

23                                                                23

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25                                                                25




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·1· · · · · · · · · · C O N T E N T S                              ·1·   · · · · · · · ·P R O C E E D I N G S
·2· ·EXAMINATION OF COLLEEN M. NEVIN:· · · · · · ·PAGE:            ·2·   · · · · · · THE VIDEOGRAPHER:· We are now on the
·3· ·By Ms. Ellis· · · · · · · · · · · · · · · · · ·10             ·3·   ·record.· Participants should be aware that this
·4· ·By Mr. Merritt· · · · · · · · · · · · · · · · 262             ·4·   ·proceeding is being recorded and as such all
·5                                                                 ·5·   ·conversations held will be recorded unless there
·6                                                                 ·6·   ·is a request and agreement to go off the record.
·7                                                                 ·7·   · · · · · · Private conversations and
·8                                                                 ·8·   ·attorney-client interactions should be held
·9· · · · · · · · · · E X H I B I T S                              ·9·   ·outside the presence of the remote interface.
10· · · · · · ·(Attached to the Transcript)                        10·   ·This is the remote video recorded deposition of
11· ·DEPOSITION· · · · · · · · · · · · · · · · · ·PAGE:            11·   ·Colleen Nevin being taken by counsel.
12· ·Exhibit 21· ·Declaration Of· · · · · · · · · · 17             12·   · · · · · · Today is Wednesday, December 9th, 2020.
13· · · · · · · · Colleen M. Nevin                                 13·   ·The time now is 14:11 in the UTC time code.· We're
14· ·Exhibit 22· ·Defendants' Responses And· · · · ·29             14·   ·here in the matter of Theresa Sweet versus
15· · · · · · · · Objections To Plaintiffs'                        15·   ·Elisabeth DeVos.
16· · · · · · · · First Set Of Interrogatories                     16·   · · · · · · My name is Joe Raguso, the remote video
17· ·Exhibit 23· ·Exhibit 18 To The Declaration· · 184             17·   ·technician, on behalf of U.S. Legal Support
18· · · · · · · · Of Colleen M. Nevin Titled                       18·   ·located at 90 Broad Street, New York, New York.
19· · · · · · · · Standard Protocol                                19·   ·I'm not related to any party in this action, nor
20                                                                 20·   ·am I financially interested in the outcome.
21                                                                 21·   · · · · · · At this time will the reporter, Dana
22                                                                 22·   ·Ryan, on behalf of U.S. Legal Support, please
23                                                                 23·   ·enter the statement for remote proceedings into
24                                                                 24·   ·the record.
25                                                                 25·   · · · · · · THE COURT REPORTER:· The attorneys

                                                          Page 7                                                     Page 9
·1· · · · · · · PREVIOUSLY MARKED EXHIBITS                         ·1·   ·participating in this deposition acknowledge that
·2· ·DEPOSITION· · · · · · · · · · · · · · · · · ·PAGE:            ·2·   ·I am not physically present in the room and that I
·3· ·Exhibit 5· · October 24, 2016 Email· · · · · ·237             ·3·   ·will be reporting this deposition remotely.
·4· ·Exhibit 7· · May 4, 2017 Email· · · · · · · · 129             ·4·   · · · · · · They further acknowledge that, in lieu
·5· ·Exhibit 12· ·April 21, 2019 PowerPoint· · · · 157             ·5·   ·of an oath administered in person, the witness
·6· · · · · · · · Titled Borrower Defense To                       ·6·   ·will be sworn in remotely and will verbally
·7· · · · · · · · Repayment                                        ·7·   ·declare her testimony in this matter is under
·8· ·Exhibit 13· ·Defendants' Response To· · · · · ·80             ·8·   ·penalty of perjury.
·9· · · · · · · · August 31, 2020 Order                            ·9·   · · · · · · The parties and their counsel consent
10· ·Exhibit 15· ·Declaration Of Eileen Connor· · · 92             10·   ·to this arrangement and waive any objections to
11· ·Exhibit 19· ·Defendants' Response Regarding· ·173             11·   ·this manner of reporting.
12· · · · · · · · The Court's Request At The                       12·   · · · · · · Now, if I could ask all parties to
13· · · · · · · · October 1, 2020 Class Hearing                    13·   ·please state their agreement to the stipulation on
14                                                                 14·   ·the record.
15                                                                 15·   · · · · · · MS. ELLIS:· We agree.
16                                                                 16·   · · · · · · MR. MERRITT:· I agree.
17                                                                 17·   · · · · · · THE COURT REPORTER:· All right.· Now,
18                                                                 18·   ·Ms. Nevin, if I could have you please hold up your
19                                                                 19·   ·driver's license for me.
20                                                                 20·   · · · · · · THE WITNESS:· This is going to be part
21                                                                 21·   ·of the record, part of the videotape, you know,
22                                                                 22·   ·the personal information?
23                                                                 23·   · · · · · · THE COURT REPORTER:· I guess we could
24                                                                 24·   ·actually get him to cut that off while I look at
25                                                                 25·   ·it.


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·1·   · · · · · · MR. MERRITT:· Yeah, I think last time     ·1·   ·counsel instructs you not to answer.
·2·   ·we did this part off the record, and we can do       ·2·   · · · · · · There's nothing that's preventing you
·3·   ·that off the record.                                 ·3·   ·from answering truthfully today?
·4·   · · · · · · THE COURT REPORTER:· Okay.                ·4·   · · · A· · ·That's correct, yes.
·5·   · · · · · · THE VIDEOGRAPHER:· So would you like me   ·5·   · · · Q· · ·And what did you do to prepare for this
·6·   ·to go off the record real quick?                     ·6·   ·deposition?
·7·   · · · · · · THE COURT REPORTER:· Please, Joe.         ·7·   · · · A· · ·I met with DOJ and our Office of
·8·   · · · · · · THE VIDEOGRAPHER:· We are now off the     ·8·   ·General Counsel a few times, and they asked me to
·9·   ·record.· Time is 14:13 UTC.                          ·9·   ·review some records.
10·   · · · · · · (Witness presents government-issued       10·   · · · Q· · ·Okay.· You reviewed those records to
11·   ·photo ID to the camera and identity is verified.)    11·   ·refresh your recollection?
12·   · · · · · · THE VIDEOGRAPHER:· We are now on the      12·   · · · A· · ·Yes.
13·   ·record.· Time is 14:13 UTC.                          13·   · · · Q· · ·What records did you review?
14·   · · · · · · ·************************                 14·   · · · A· · ·My declaration, the declarations of
15·   · · · · · · · · ·COLLEEN M. NEVIN,                    15·   ·Diane Jones and I think two declarations of Mark
16·   · ·having been duly sworn, testified as follows:      16·   ·Brown, the attachments.· I think the
17·   · · · · · · ·************************                 17·   ·administrative record generally, I believe, and
18·   · · ·EXAMINATION BY COUNSEL FOR THE PLAINTIFFS        18·   ·the attachments to those declarations.
19·   · · · BY MS. ELLIS:                                   19·   · · · Q· · ·Okay.· About how long did you spend
20·   · · · Q· · ·Okay.· And will the witness please        20·   ·meeting with the government attorneys to prepare
21·   ·state your name for the record?                      21·   ·for this deposition?
22·   · · · A· · ·Colleen Nevin.                            22·   · · · A· · ·Total over the course of a few days, I
23·   · · · Q· · ·And since we're in remote deposition,     23·   ·would say -- I'm tallying it up.· Twelve hours,
24·   ·can I please ask you to confirm that there's         24·   ·somewhere in that neighborhood.
25·   ·nobody else in the room with you right now?          25·   · · · Q· · ·Okay.· And did you discuss this

                                                 Page 11                                                     Page 13
·1·   · · · A· · ·There is nobody else in the room with     ·1·   ·deposition with anyone else?
·2·   ·me.                                                  ·2·   · · · A· · ·My team is aware that I'm being
·3·   · · · Q· · ·And can you please confirm that you       ·3·   ·deposed, and they were assisting me with pulling
·4·   ·won't communicate with anyone during the             ·4·   ·documents for the discovery responses and things
·5·   ·deposition while we're on the record by email,       ·5·   ·along those lines.· My boss was aware of me being
·6·   ·chat or text, other electronic means?                ·6·   ·deposed, probably some other folks in the office
·7·   · · · A· · ·I agree.                                  ·7·   ·that I'm not thinking of right now; Mark Brown is
·8·   · · · Q· · ·Sorry.                                    ·8·   ·aware that I'm being deposed, and I would imagine
·9·   · · · · · · Do you have a smartphone in the room      ·9·   ·that there's some people I'm not remembering
10·   ·with you right now?                                  10·   ·within FSA with just awareness that I'm being
11·   · · · A· · ·No, I put it in the other room.           11·   ·deposed.· I think that's it.
12·   · · · Q· · ·Okay.· Great.· Thank you.                 12·   · · · Q· · ·When you referred to your boss, who is
13·   · · · · · · So as we talked about before we got       13·   ·that?
14·   ·started, we can take breaks whenever you need, not   14·   · · · A· · ·Robin Minor.
15·   ·when a question is pending, but we'll take short     15·   · · · Q· · ·I'm sorry.· The audio was a little
16·   ·breaks throughout the day.                           16·   ·funny.· Can you say that again?
17·   · · · · · · We do have a video recording of this      17·   · · · A· · ·Sure.· Robin Minor, M-I-N-O-R.
18·   ·deposition, but please answer questions yes or no    18·   · · · Q· · ·Okay.
19·   ·out loud so that we have a record for the written    19·   · · · A· · ·She's the acting chief enforcement
20·   ·transcript.· I know you're an attorney, so you're    20·   ·officer.
21·   ·probably familiar with all this initial matter,      21·   · · · Q· · ·Okay.· Great.· Thank you.
22·   ·but I'm going to go through it anyway.               22·   · · · · · · Have you been deposed before?
23·   · · · · · · Government counsel might object to some   23·   · · · A· · ·I have not.
24·   ·questions today on bases other than privilege, but   24·   · · · Q· · ·Okay.· Fun.
25·   ·you can still answer those questions unless          25·   · · · · · · So we're just going to start with some


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·1·   ·background first.· When did you graduate from        ·1·   ·of the goals and priorities for the unit?
·2·   ·college?                                             ·2·   · · · A· · ·That's a broad question.· I mean, as
·3·   · · · A· · ·1993.                                     ·3·   ·a -- the main goal was to adjudicate the borrower
·4·   · · · Q· · ·And law school?                           ·4·   ·defense claims that were coming in, and in order
·5·   · · · A· · ·'97.                                      ·5·   ·to do that, extend a process and systems that
·6·   · · · Q· · ·And after you graduated from law          ·6·   ·would allow us to do that.
·7·   ·school, what was your first job?                     ·7·   · · · Q· · ·And is that still your understanding of
·8·   · · · A· · ·I was in private practice.· I worked at   ·8·   ·the goals and priorities?
·9·   ·a firm in Chicago named Clausen Miller, and I was    ·9·   · · · A· · ·As a general proposition, yes, yes.
10·   ·there for a few years, and then I went to another    10·   · · · Q· · ·What about specifically?
11·   ·firm named Vedder Price.                             11·   · · · A· · ·Can you reframe, rephrase?
12·   · · · · · · Do you want me to go through -- I         12·   · · · Q· · ·Well, you said, as a general matter,
13·   ·changed jobs a few times.· I was at the AA -- the    13·   ·you have the same understanding of the goals and
14·   ·Illinois -- excuse me, Illinois State's Attorney's   14·   ·priorities, so I was asking, rather than
15·   ·Office.· Then I moved to Massachusetts and joined    15·   ·generally, in the specific is there -- are there
16·   ·Adler Pollock & Sheehan, was there for several       16·   ·things that -- where your understanding about
17·   ·years, and, then, just prior to coming to the        17·   ·goals and priorities have changed?
18·   ·Department of Education, I was an assistant          18·   · · · A· · ·That's the overarching goal.· There are
19·   ·attorney general in Massachusetts for a few years.   19·   ·a lot of components to that, so I was just
20·   · · · Q· · ·When you were at the Illinois State's     20·   ·intending to state that, obviously, there are a
21·   ·Attorney's Office, did you work at all on student    21·   ·lot of pieces to that, but that's the overarching
22·   ·loan issues?                                         22·   ·goal.
23·   · · · A· · ·No, I was handling criminal appeals.      23·   · · · Q· · ·Okay.· Understood.· And we'll get into
24·   · · · Q· · ·And at the Mass AG's office, did you      24·   ·some of the specifics.
25·   ·work on student loans issues?                        25·   · · · · · · So I'd like to look at tab 22 in your

                                                 Page 15                                                     Page 17
·1·   · · · A· · ·I did.· Yes, I was in the consumer        ·1·   ·materials and on the Dropbox.· That's the document
·2·   ·protection division, so that was some of our work.   ·2·   ·with the bracketed number 22, ECF56-4 Declaration
·3·   · · · Q· · ·Okay.· Could you describe some of the     ·3·   ·of Colleen M. Nevin.
·4·   ·work you did at Mass consumer protection with        ·4·   · · · · · · MS. ELLIS:· And I would like to mark
·5·   ·respect to student loans?                            ·5·   ·this as an exhibit.· The judge's standing order
·6·   · · · A· · ·Primarily, I was the lead on the          ·6·   ·asks us to do consecutive numbering, so I'd like
·7·   ·investigation of the lawsuit relating to a           ·7·   ·to pick up where we left off.· The last deposition
·8·   ·proprietary school called American Career            ·8·   ·in the -- the last exhibit in the Jones deposition
·9·   ·Institute.· I also did some work related to          ·9·   ·was 20, so I'd like to mark the Declaration of
10·   ·servicers and probably was tangentially involved     10·   ·Colleen Nevin as Exhibit 21.
11·   ·with some other kind of unrelated issues, but        11·   · · · · · · (Deposition Exhibit 21 was marked for
12·   ·those were the main focuses.                         12·   ·identification and attached to the transcript.)
13·   · · · Q· · ·And when did you start in your current    13·   · · · BY MS. ELLIS:
14·   ·position?                                            14·   · · · Q· · ·So do you recognize this document?
15·   · · · A· · ·October of 2016.                          15·   · · · A· · ·I do.
16·   · · · Q· · ·At -- sorry.                              16·   · · · Q· · ·And on the last page, page 17, that's
17·   · · · A· · ·I'm sorry.· That was my fault.            17·   ·your signature?
18·   · · · · · · October of 2016 is when I started.        18·   · · · A· · ·(Witness reviews document.)· Yes.
19·   · · · Q· · ·And that position is as the director of   19·   · · · Q· · ·Did you write the document?
20·   ·the borrower defense unit?                           20·   · · · A· · ·Yes.
21·   · · · A· · ·That's correct.                           21·   · · · Q· · ·Did anyone help you write it?
22·   · · · Q· · ·That's still your position today?         22·   · · · A· · ·I believe I worked with our Office of
23·   · · · A· · ·It is.                                    23·   ·General Counsel and the Department of Justice
24·   · · · Q· · ·When you started as the director of the   24·   ·attorneys on some of it, but it's my work.
25·   ·borrower defense unit, what was your understanding   25·   · · · Q· · ·Okay.· So if you'll turn to


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·1·   ·paragraph 2, please.· You write here, I'm the        ·1·   ·a political appointee?
·2·   ·director of the borrower defense unit of the         ·2·   · · · A· · ·No.
·3·   ·Enforcement Office within the Office of Federal      ·3·   · · · Q· · ·How often do you meet with the chief
·4·   ·Student Aid for the United States Department of      ·4·   ·enforcement officer?
·5·   ·Education.                                           ·5·   · · · A· · ·It's very ad hoc.· I mean, at a
·6·   · · · · · · So is that still an accurate              ·6·   ·minimum, I have a weekly meeting, but borrower
·7·   ·description of your job title?                       ·7·   ·defense has a lot of things going on, so I would
·8·   · · · A· · ·Technically, we've had a restructuring    ·8·   ·say at least maybe -- formal meetings, probably
·9·   ·within Federal Student Aid since this was filed,     ·9·   ·not more than once or twice a week, but I speak
10·   ·so the borrower defense unit is now referred to as   10·   ·with Robin Minor regularly.
11·   ·the borrower defense group.· Additionally, the       11·   · · · Q· · ·And how often do you meet with the
12·   ·Enforcement Office is now known as the Partner       12·   ·chief operating officer of FSA?
13·   ·Enforcement and Consumer Protection Directorate.     13·   · · · A· · ·Over what period of time?
14·   · · · · · · So the naming conventions have changed,   14·   · · · Q· · ·Well, I know 2020 is unusual, but, yes,
15·   ·but the scope of my work has not.                    15·   ·let's start with 2020 and work backwards.
16·   · · · Q· · ·Okay.· Is it all right if we refer to     16·   · · · A· · ·Specific to borrower defense, twice a
17·   ·it as the borrower defense unit today --             17·   ·week.· I think it was three times a week for some
18·   · · · A· · ·Sure.                                     18·   ·period of 2020, but I provide very regular updates
19·   · · · Q· · ·-- since that's how it's called in the    19·   ·to him regarding our progress on adjudicating the
20·   ·documents generally?                                 20·   ·cases.
21·   · · · A· · ·That's fine.                              21·   · · · · · · In addition to the, you know, regular
22·   · · · Q· · ·So who do you report to?                  22·   ·meetings to report on the status of BD, we also
23·   · · · A· · ·Robin Minor, M-I-N-O-R.· She's the        23·   ·have fairly regular meetings in anticipation of
24·   ·acting director -- acting chief enforcement          24·   ·his meetings.· He has weekly meetings with the
25·   ·officer and also the deputy chief operating          25·   ·under secretary, Diane Jones, and so I generally

                                                 Page 19                                                     Page 21
·1·   ·officer at FSA.                                      ·1·   ·participate in meetings with him to address any
·2·   · · · Q· · ·Okay.· And throughout your time at the    ·2·   ·open questions that either he has for me or to
·3·   ·department, has the person who you report to         ·3·   ·find out what the open issues are that we have for
·4·   ·changed?                                             ·4·   ·the -- for OUS for the under secretary.
·5·   · · · A· · ·Yes.                                      ·5·   · · · · · · In addition to that, I think, you know,
·6·   · · · Q· · ·Okay.· So starting -- starting from now   ·6·   ·broader things in terms of FSA that other managers
·7·   ·and working backwards, can you tell me who are the   ·7·   ·and supervisors may participate in, so they're not
·8·   ·different people you've reported to and what their   ·8·   ·specific to borrower defense, that's probably
·9·   ·roles are?                                           ·9·   ·weekly or more.
10·   · · · A· · ·Well, I've always reported to the         10·   · · · Q· · ·Okay.· In terms of the organizational
11·   ·person in the role of chief enforcement officer.     11·   ·structure, how does the chief enforcement officer
12·   ·That has changed.· So for the past just about a      12·   ·relate to the chief operating officer?
13·   ·year, Robin Minor has been in that position in an    13·   · · · A· · ·The chief enforcement officer reports
14·   ·acting capacity.· Prior to that, it was Jeffrey      14·   ·to the deputy COO, deputy chief operating officer,
15·   ·Appel, A-P-P-E-L.· Prior to Mr. Appel, it was        15·   ·and that's Robin Minor since she's in an acting
16·   ·Julian Schmoke, S-C-H-M-O-K-E.                       16·   ·chief enforcement officer capacity.· She's wearing
17·   · · · · · · And prior to Julian Schmoke, Laura Kim,   17·   ·two hats in that role right now, and, then, she
18·   ·I believe, who was originally the deputy chief       18·   ·reports directly to Mark Brown, who's the chief
19·   ·enforcement officer, was in an acting role for a     19·   ·operating officer.· That's been the structure
20·   ·period of time, so I believe she was the acting      20·   ·since the reorganization.
21·   ·chief enforcement officer for some period of 2017.   21·   · · · · · · I believe at some point it changed to
22·   ·And prior to that -- and this was when I was         22·   ·the chief enforcement officer reporting to the
23·   ·hired -- the chief enforcement officer was Robert    23·   ·deputy COO.· That was probably 2019, but I'm not
24·   ·Kaye, K-A-Y-E.                                       24·   ·sure exactly what the timing was.· Prior to that,
25·   · · · Q· · ·Okay.· Is the chief enforcement officer   25·   ·I believe the chief enforcement officer reported


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·1·   ·directly to the chief operating officer.             ·1·   ·did we, you know, post the job and start, you
·2·   · · · Q· · ·And how often do you meet with Under      ·2·   ·know, interviewing candidates or when did they
·3·   ·Secretary Diane Auer Jones?                          ·3·   ·start?
·4·   · · · A· · ·Not often.· Maybe a -- it's not           ·4·   · · · Q· · ·Let's start with when did you post the
·5·   ·scheduled.· It's very ad hoc, and I think that       ·5·   ·jobs.
·6·   ·there's probably been a total of somewhere in five   ·6·   · · · A· · ·I believe that was the summer of
·7·   ·to ten meetings together since we were both at the   ·7·   ·2019 -- was when we first started posting to --
·8·   ·department.                                          ·8·   ·actually, that was for what we call backfills, so
·9·   · · · Q· · ·Have you reviewed the transcript of       ·9·   ·we had attrition in the borrower defense unit
10·   ·Ms. Jones' deposition?                               10·   ·between 2016 and 2019 and had not been able to
11·   · · · A· · ·No.                                       11·   ·replace the attorneys that had left.· So we were
12·   · · · Q· · ·And how often have you met with           12·   ·able to post to -- to fill those positions, and
13·   ·Secretary DeVos?                                     13·   ·then also bring on -- we got the authority to hire
14·   · · · A· · ·I've never met her.· Actually, I take     14·   ·up to 60 term-appointed attorneys.
15·   ·that back.· The day she started, she did a walk      15·   · · · · · · They were at varying levels.· As I
16·   ·around, and I think I saw her then, so I don't       16·   ·mentioned, some of the folks that we brought on
17·   ·know if that counts as meeting, but . . .            17·   ·are in more senior roles and have supervisory
18·   · · · Q· · ·Okay.· So then who reports to you?        18·   ·positions.· The vast majority are recent law
19·   · · · A· · ·I have a team of attorneys that report    19·   ·grads, junior attorneys.· And they started
20·   ·to me.· That number has varied pretty dramatically   20·   ·onboarding, which is the term we used for starting
21·   ·from 2016 to the present, but they're all            21·   ·in -- the first group of junior attorneys started
22·   ·attorneys that report to me.                         22·   ·in September of 2019.
23·   · · · · · · Since we staffed up starting last fall,   23·   · · · Q· · ·Okay.· When you say "term-appointed,"
24·   ·some of my original team moved into supervisory      24·   ·what is the term?
25·   ·roles, and, then, we also hired some additional      25·   · · · A· · ·In the federal government -- two years.

                                                 Page 23                                                     Page 25
·1·   ·more senior attorneys to -- acting in supervisory    ·1·   ·It's -- but there's a potential for kind of
·2·   ·roles because I was bringing on several dozen        ·2·   ·reupping it or extending their period of service,
·3·   ·junior attorneys.                                    ·3·   ·but the initial term that they were hired for is
·4·   · · · Q· · ·So when you say your "original team,"     ·4·   ·two years.
·5·   ·are those people who have been in the borrower       ·5·   · · · Q· · ·Why had you been unable to replace the
·6·   ·defense unit since you started in 2016?              ·6·   ·attorneys who you lost due to attrition since
·7·   · · · A· · ·Yes, that's correct.                      ·7·   ·2017?
·8·   · · · Q· · ·Okay.· How many of those people are       ·8·   · · · A· · ·Well, in early 2017, there was a hiring
·9·   ·there?                                               ·9·   ·freeze put in place, and that lasted for a fairly
10·   · · · A· · ·Five full-time and one part-time.         10·   ·extended period of time across all of -- I think
11·   · · · Q· · ·And can you tell me their names,          11·   ·all of the departments, certainly all of FSA.
12·   ·please?                                              12·   · · · · · · And, then, you know, beyond that, there
13·   · · · A· · ·Brian Bayne, B-A-Y-N-E; Mike Garry,       13·   ·was a process for getting approval to hire
14·   ·G-A-R-R-Y; Mike Page, P-A-G-E; John Stephenson,      14·   ·additional staff that went through leadership at
15·   ·S-T-E-P-H-E-N-S-O-N; Andrew Bronstein                15·   ·FSA and then over to senior leadership at -- at --
16·   ·B-R-O-N-S-T-E-I-N; and the part-time attorney is     16·   ·when I say LBJ, I'm referring to senior leadership
17·   ·Erin (phonetic) Joyce, J-O-Y-C-E.                    17·   ·in the department, as opposed to within FSA.· But
18·   · · · Q· · ·Thank you.                                18·   ·the folks over at LBJ were making the calls on who
19·   · · · · · · And, so, those original attorneys are     19·   ·we could hire back then.
20·   ·in supervisory roles within the unit now?            20·   · · · · · · So we didn't get the authority to hire
21·   · · · A· · ·Not all of them.· Four of them are.       21·   ·anybody in borrower defense until May of 2019 --
22·   · · · Q· · ·Okay.· And you referred to staffing up    22·   ·or summer of 2019.
23·   ·in the fall.· When did you start hiring additional   23·   · · · Q· · ·Had you requested to hire additional
24·   ·attorneys for the borrower defense unit in 2019?     24·   ·attorneys before May 2019?
25·   · · · A· · ·When you say "hiring," do you mean when   25·   · · · A· · ·Yes.


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·1·   · · · Q· · ·When did you make that request?           ·1·   · · · Q· · ·It sounds like you meet with the COO
·2·   · · · A· · ·Several times.                            ·2·   ·frequently to discuss borrower defense issues?
·3·   · · · Q· · ·When was the first time that you recall   ·3·   · · · A· · ·That's correct.
·4·   ·requesting to hire additional attorneys?             ·4·   · · · Q· · ·Is the COO responsible for setting
·5·   · · · A· · ·Well, we were considering bringing on     ·5·   ·policy for borrower defense?
·6·   ·additional staff at the time of the transition       ·6·   · · · A· · ·No.· Federal Student Aid does not make
·7·   ·from one administration to the next, And then did    ·7·   ·the policy at all.
·8·   ·not end up doing that.· And, obviously, during the   ·8·   · · · Q· · ·Uh-huh.
·9·   ·hiring freeze, nobody was allowed to hire anybody,   ·9·   · · · A· · ·The department makes policy, and then
10·   ·so I don't think that -- you know, I had raised      10·   ·Federal Student Aid implements it.
11·   ·concerns about staffing throughout that period of    11·   · · · Q· · ·When you say "the department," are
12·   ·time, but there was kind of a department-wide        12·   ·there specific individuals you're referring to?
13·   ·freeze.                                              13·   · · · A· · ·Not for the -- for the general
14·   · · · · · · Once there was a change in the process    14·   ·proposition I just stated, I -- it could be. I
15·   ·in terms of hiring, Julian Schmoke was the chief     15·   ·have no idea how many different people would be
16·   ·enforcement officer at the time, and I would, you    16·   ·involved, so, no.
17·   ·know, in my weekly meetings with him reiterate       17·   · · · Q· · ·Okay.· When -- when you draw the
18·   ·that we needed to increase our staffing.· So that    18·   ·distinction between -- you say FSA doesn't make
19·   ·happened on a very regular basis, and he would       19·   ·policy; the department makes policy, could you
20·   ·submit the requests up, and we wouldn't get          20·   ·explain what you mean?
21·   ·authority to do that.                                21·   · · · A· · ·Yeah.· You know, FSA is not -- it's a
22·   · · · · · · I don't know how regularly he submitted   22·   ·performance-based apolitical organization, so the
23·   ·them, but I know it was kind of a recurring issue.   23·   ·top of the Federal Student Aid organization is the
24·   · · · Q· · ·Do you know why the hiring freeze was     24·   ·chief operating officer who -- I don't know how
25·   ·put in place?                                        25·   ·else to explain it.· It's a performance-based

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·1·   · · · A· · ·I don't.                                  ·1·   ·organization that's apolitical.
·2·   · · · Q· · ·And was there a specific time when the    ·2·   · · · · · · We apply the policies that are made by
·3·   ·department-wide hiring freeze ended?                 ·3·   ·the political appointees within the Department of
·4·   · · · A· · ·I'm sure there was.· I don't recall       ·4·   ·Education, so everybody from the secretary down
·5·   ·what it was.                                         ·5·   ·through whatever her structure is for -- for the
·6·   · · · Q· · ·Do you know who ultimately was            ·6·   ·different parts that inform policy for
·7·   ·responsible for the decision whether or not to       ·7·   ·student-loan-related issues.
·8·   ·approve a hiring request?· Once Julian Schmoke       ·8·   · · · Q· · ·Okay.· I'd like to turn for a second to
·9·   ·submitted that request, do you know who ultimately   ·9·   ·the defendants' responses to -- responses and
10·   ·was the decision maker?                              10·   ·objections to plaintiffs' first set of
11·   · · · A· · ·My understanding from discussions with    11·   ·interrogatories.· I believe you have -- you said
12·   ·him is that it was the -- that the request went to   12·   ·you have a copy of that?
13·   ·the secretary's chief of staff.· I don't know if     13·   · · · A· · ·I do.· I do not have a second screen,
14·   ·he made the decisions or if they went to the         14·   ·so I'm going to put it up.· I'm not going to be
15·   ·secretary or some other process, but, you know, he   15·   ·able to see you or anyone else.· I just wanted
16·   ·would communicate to me that he had heard back       16·   ·everybody to be aware of that.
17·   ·from the chief of staff that we weren't getting      17·   · · · Q· · ·Okay.· No problem.
18·   ·approved.                                            18·   · · · · · · And in the Dropbox, this is -- the
19·   · · · Q· · ·Okay.· So let's talk a minute about the   19·   ·document, it does not have a bracketed number
20·   ·COO.· That's currently Mark Brown?                   20·   ·before it.· The file name is Sweet Defendants'
21·   · · · A· · ·That's correct.                           21·   ·Interrogatory Responses 12/7/20, and I'd like to
22·   · · · Q· · ·And what -- how overall would you         22·   ·mark this as Exhibit 22.
23·   ·describe the COO's role with respect to borrower     23·   · · · · · · (Deposition Exhibit 22 was marked for
24·   ·defense?                                             24·   ·identification and attached to the transcript.)
25·   · · · A· · ·Fairly active.                            25·   · · · BY MS. ELLIS:


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·1·   · · · Q· · ·So if you could please turn to page 3,    ·1·   ·knowledge of the policy in order to oversee
·2·   ·and at the top of page 3 is interrogatory number     ·2·   ·implementation of it.
·3·   ·2.                                                   ·3·   · · · Q· · ·And where were they getting their
·4·   · · · · · · Could you read that, please?              ·4·   ·knowledge or instructions regarding the policies
·5·   · · · A· · ·(Witness reviews document.)               ·5·   ·from?
·6·   · · · · · · Sorry.· Just want to make sure --         ·6·   · · · A· · ·Who specifically are you asking about?
·7·   · · · · · · Okay.· Identify every person who has      ·7·   · · · Q· · ·Okay.· Jim Manning, you said, wore
·8·   ·knowledge of the facts and circumstances alleged     ·8·   ·multiple hats, so that's a little more
·9·   ·in the complaint and in this -- in this action,      ·9·   ·complicated.· But for Robin Minor and Julian
10·   ·and for each person identified describe with         10·   ·Schmoke, who was instructing them on department
11·   ·specificity each person's knowledge.                 11·   ·policy?
12·   · · · Q· · ·Okay.· And then you can see at the        12·   · · · A· · ·I think it depends on what period of
13·   ·bottom of page 3 begins the response, and that       13·   ·time.
14·   ·continues onto page 4.· You'll see at the top of     14·   · · · Q· · ·Okay.
15·   ·page 4 is your name, and it describes your           15·   · · · A· · ·Can you be more specific?
16·   ·knowledge as borrower defense processes and          16·   · · · Q· · ·Yes, let's take them one at a time.· So
17·   ·decisions.                                           17·   ·Julian Schmoke, you said, he at one time was the
18·   · · · · · · Would you say that's accurate?            18·   ·chief enforcement officer at FSA?
19·   · · · A· · ·Yes, I think so.                          19·   · · · A· · ·Correct.
20·   · · · Q· · ·Okay.· And then right beneath your name   20·   · · · Q· · ·And do you know the dates he held that
21·   ·is Jim Manning, and it describes his knowledge as    21·   ·role?
22·   ·borrower defense policy and processes.               22·   · · · A· · ·Oh, gosh.· He started in 2018.· I -- I
23·   · · · · · · Do you see that?                          23·   ·don't remember exactly.· Yeah, I wouldn't want to
24·   · · · A· · ·I do.                                     24·   ·guess.
25·   · · · Q· · ·And a little further down the list is     25·   · · · Q· · ·Okay.· During the time that Julian

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·1·   ·Robin Minor, also describing her knowledge as        ·1·   ·Schmoke was chief enforcement officer, who was
·2·   ·borrower defense policies and processes?             ·2·   ·instructing him on borrower defense policy?
·3·   · · · A· · ·Right.                                    ·3·   · · · A· · ·Well, the chief operating officer
·4·   · · · Q· · ·And a couple of lines down from that,     ·4·   ·position has also changed.· There have been five
·5·   ·Julian Schmoke, borrower defense policies and        ·5·   ·since I started in 2016.· So the first chief
·6·   ·processes?                                           ·6·   ·operating officer when I was there was James
·7·   · · · A· · ·Right.                                    ·7·   ·Runcie.· He left early in 2017, I believe, and the
·8·   · · · Q· · ·So is it accurate to say that all three   ·8·   ·acting chief officer was Matthew Sessa.
·9·   ·of those people were within FSA?                     ·9·   · · · · · · I believe both of them precede Julian
10·   · · · · · · MR. MERRITT:· Object to the form.         10·   ·Schmoke because he was hired by the third person
11·   · · · BY MS. ELLIS:                                   11·   ·on that list, Wayne Johnson, who was the chief
12·   · · · Q· · ·Robin Minor and Julian Schmoke?           12·   ·operating officer -- I don't know if he started
13·   · · · A· · ·Jim Manning wore multiple hats, but       13·   ·maybe in late 2017, early 2018 -- maybe a little
14·   ·Robin Minor and Julian Schmoke have always just      14·   ·bit later than that, but -- so Julian first
15·   ·been within FSA.                                     15·   ·reported to Wayne Johnson.
16·   · · · · · · Jim Manning was the acting under          16·   · · · · · · Johnson was subsequently moved to a
17·   ·secretary in 2017.· And I'm not sure about what      17·   ·different position, and I believe that's when
18·   ·the dates were, but he wore two hats in that he      18·   ·James Manning took over as the acting chief
19·   ·also was the chief operating officer of FSA.· So     19·   ·operating officer, and then Julian reported to him
20·   ·he's been involved in multiple roles.                20·   ·for some period of time.
21·   · · · Q· · ·Uh-huh.                                   21·   · · · · · · And when Manning was the chief
22·   · · · · · · And they -- they would have knowledge     22·   ·operating officer, he, I believe, brought over
23·   ·of borrower defense policy even though FSA, you      23·   ·from LBJ a deputy chief operating officer named
24·   ·say, was not the policymaker?                        24·   ·Kathleen Smith, and I think Julian met regularly
25·   · · · A· · ·That's right.· Yeah, they would have      25·   ·with her as well.


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·1·   · · · · · · I think those were all the people that    ·1·   ·to the secretary's office, but I think the under
·2·   ·he reported to.                                      ·2·   ·secretary's office may have had input on that.
·3·   · · · Q· · ·Okay.· Did instructions on borrower       ·3·   · · · · · · Policy in terms of applications with
·4·   ·defense policy come from the Office of the Under     ·4·   ·the schools, how we advise schools of the claim
·5·   ·Secretary during the period when James Manning was   ·5·   ·against them, the, you know, evidence-exchange
·6·   ·the acting under secretary?                          ·6·   ·process, things along those lines, and the
·7·   · · · A· · ·Yes.                                      ·7·   ·development of any kind of written communications
·8·   · · · Q· · ·And what about the current period when    ·8·   ·are all areas that -- that the Office of the Under
·9·   ·Diane Jones has been the under secretary?            ·9·   ·Secretary would provide input on.
10·   · · · A· · ·Well, the chain of communication has      10·   · · · Q· · ·Did anyone summarize Diane Auer Jones'
11·   ·changed a little bit, so when Mark Brown became      11·   ·deposition testimony for you?
12·   ·the chief operating officer, he put a number of      12·   · · · A· · ·No.
13·   ·processes, kind of chains of communication or        13·   · · · Q· · ·Okay.· If we could turn back to your
14·   ·paths of communication in place.                     14·   ·declaration, which we've marked as Exhibit 21.
15·   · · · · · · So, generally speaking, I think most of   15·   ·You know, before -- before we do that, I just want
16·   ·the instruction from the Office of the Under         16·   ·to follow up on one thing you just said that OUS
17·   ·Secretary during Mark Brown's tenure has been        17·   ·sets or contributes to policy on written
18·   ·through him.                                         18·   ·communications.
19·   · · · Q· · ·Okay.· But it's your understanding that   19·   · · · · · · Written communications with who?
20·   ·the Office of the Under Secretary sets borrower      20·   · · · A· · ·With schools, with borrowers.
21·   ·defense policy and those policy instructions then    21·   · · · · · · Those would be the two main ones.
22·   ·come to FSA through Mark Brown?                      22·   · · · Q· · ·Okay.· Thank you.
23·   · · · A· · ·I don't know that the Office of the       23·   · · · · · · So next I wanted to turn to paragraph 4
24·   ·Under Secretary sets all policy.· I know that OUS    24·   ·of your declaration -- that's on page 2 -- to just
25·   ·sets some policy.· I believe Robert Eitel, who is    25·   ·walk through some of your responsibilities as the

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·1·   ·the fifth person on the list, and Nathan Bailey,     ·1·   ·director of BDU?
·2·   ·who is the secretary's chief of staff, I believe,    ·2·   · · · · · · MR. MERRITT:· I'm sorry.· Rebecca, can
·3·   ·have both been involved as well.· So I'm not         ·3·   ·you state again what that document -- how it's
·4·   ·exactly sure what the structure is over there, but   ·4·   ·labeled?· I have to --
·5·   ·it -- whatever the LBJ policy is -- would            ·5·   · · · · · · MS. ELLIS:· Sorry, yes that's the --
·6·   ·typically come to Mark Brown.                        ·6·   · · · · · · MR. MERRITT:· -- click in separately
·7·   · · · Q· · ·But the Office of the Under Secretary     ·7·   ·each document.
·8·   ·is one source of borrower defense policy at least?   ·8·   · · · · · · MS. ELLIS:· The Declaration of Colleen
·9·   · · · A· · ·Yes.                                      ·9·   ·Nevin in the Dropbox, that is tab 22.· We've
10·   · · · Q· · ·And is that true with respect to policy   10·   ·marked it as Exhibit 21.
11·   ·on the adjudication of borrower defense              11·   · · · · · · MR. MERRITT:· Thank you.
12·   ·applications?                                        12·   · · · BY MS. ELLIS:
13·   · · · A· · ·That some of the policy comes from the    13·   · · · Q· · ·Okay.· So you have here a list of your
14·   ·Office of the Under Secretary?                       14·   ·responsibilities as director of BDU.· The first
15·   · · · Q· · ·Yes.                                      15·   ·one says, Conducting legal research and analyses
16·   · · · A· · ·Yes.                                      16·   ·of borrower defense claims.
17·   · · · Q· · ·Specifically, can you identify any        17·   · · · · · · So can you describe what sort of legal
18·   ·policy directives on the adjudication of borrower    18·   ·research and analyses you do or that you oversee?
19·   ·defense applications that comes from the Office of   19·   · · · A· · ·Sure.· Well, so one of the three
20·   ·the Under Secretary?                                 20·   ·regulations that apply to borrower defense claims
21·   · · · A· · ·Well, that's communicated from the        21·   ·is the 1995 regulation which is based on an
22·   ·Office of the Under Secretary to FSA?                22·   ·application in state law, and that means that the
23·   · · · Q· · ·Yes.                                      23·   ·borrower's application has to be adjudicated to
24·   · · · A· · ·Sure.· So I don't know if staffing is a   24·   ·determine whether the borrower states an act or
25·   ·policy issue that went through the under secretary   25·   ·omission that would provide a cause of action


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·1·   ·under state law.                                     ·1·   ·would need to meet.· That goes into the written
·2·   · · · · · · So that requires legal analysis and       ·2·   ·protocol.
·3·   ·research in connection with those individual state   ·3·   · · · · · · The reviews are primarily done by the
·4·   ·laws.· There are other related issues in terms of,   ·4·   ·junior attorneys; although, my senior team does as
·5·   ·you know, state licensing requirements, different    ·5·   ·well.· But for the most part, the heavy lifting is
·6·   ·things related to accreditation, but the kind of     ·6·   ·done by the junior attorneys.· They're following
·7·   ·legal research is related to those '95 claims.       ·7·   ·very specific protocols for what they need to look
·8·   · · · Q· · ·Okay.· Does your department -- does the   ·8·   ·for in each of the applications to see whether the
·9·   ·borrower defense unit create memoranda describing    ·9·   ·borrower's case should be approved.
10·   ·the research and analysis of state law for           10·   · · · · · · So that's kind of how the process
11·   ·purposes of the 1995 regs?                           11·   ·breaks down.
12·   · · · A· · ·Yes.                                      12·   · · · Q· · ·Okay.· How many of those protocols that
13·   · · · Q· · ·Are those memoranda communicated to the   13·   ·you just described currently exist?
14·   ·attorneys who are reviewing borrower defense         14·   · · · A· · ·How many -- well, we have probably 500
15·   ·applications?                                        15·   ·schools or more that we've done a preliminary
16·   · · · A· · ·Can you rephrase that?· Can you repeat    16·   ·assessment of the evidence to determine the scope
17·   ·it?                                                  17·   ·of what we're reviewing.· Because we didn't have
18·   · · · Q· · ·So -- so memoranda are created            18·   ·staffing for such a long period of time, there's
19·   ·describing the research and analysis of state law;   19·   ·still a lot of work to be done on any -- well, on
20·   ·correct?                                             20·   ·most of the schools that have a lot of common
21·   · · · A· · ·Yes.                                      21·   ·evidence.
22·   · · · Q· · ·Okay.· So do -- do the individuals who    22·   · · · · · · So in order to move forward with
23·   ·are actually reviewing individual borrower defense   23·   ·adjudicating, you know, whatever cases that we
24·   ·applications have access to those memoranda in       24·   ·can, we try to determine upfront what it -- what
25·   ·order to apply state law to an individual claim?     25·   ·we're continuing to look at and what we need more

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·1·   · · · A· · ·Oh, I see.· Okay.· They have access to    ·1·   ·time to develop and what we don't have evidence
·2·   ·them, but our process is -- there's kind of a --     ·2·   ·relating to and, therefore, would have to look to
·3·   ·an order to it.· We start with determining what      ·3·   ·what the borrowers provide.
·4·   ·the evidence -- if there's common evidence related   ·4·   · · · · · · So we have about, I'd say, 500 or so
·5·   ·to the school.· We start with an analysis of the     ·5·   ·schools where at least some of the cases can be
·6·   ·evidence.                                            ·6·   ·adjudicated, and so there's a memo describing what
·7·   · · · · · · Then based on what the -- our             ·7·   ·it is that we've done to reach the conclusion as
·8·   ·determinations are with respect to the facts, then   ·8·   ·to who can be what we call cleared for
·9·   ·there's a legal memo that discusses how the law is   ·9·   ·adjudication and move into an adjudication
10·   ·applied to those specific sets of facts.             10·   ·process.· And those protocols, because there's not
11·   · · · · · · Then once we've reached a legal           11·   ·common evidence to support the applications at
12·   ·conclusion that, you know, we have evidence to       12·   ·issue, are going to be dependent on what the
13·   ·support claims under, you know, X state law          13·   ·borrower provides.
14·   ·because these elements are met, or we don't have     14·   · · · · · · In addition to that, we have -- I don't
15·   ·sufficient evidence on a certain element for         15·   ·know how many total protocols relate to the --
16·   ·another state law, then that identifies what the     16·   ·we've got job-placement-rate claims for
17·   ·borrower would have to provide evidence to support   17·   ·Corinthian, the employment-prospects claims for
18·   ·in order to have an approved case.                   18·   ·Corinthian, transfer ability of credit for
19·   · · · · · · That document then, in terms of the       19·   ·Corinthian, and then ITT California
20·   ·legal analysis, turns into a written protocol, so    20·   ·employment-prospects protocol, and we just
21·   ·generally speaking, for any school where there's     21·   ·finished the protocols for all employment --
22·   ·common evidence, there will be kind of the           22·   ·employment prospects for ITT.
23·   ·precursor documents to the protocol in terms of      23·   · · · · · · So to the extent that those are --
24·   ·the facts and the law, and then from those facts     24·   ·those will be in addition to the 500 that I was
25·   ·and law, we determine what elements the borrower     25·   ·referencing.


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·1·   · · · Q· · ·Okay.· Let me try to walk through that    ·1·   ·schools that you referred to as having preliminary
·2·   ·more specifically.· So the Corinthian                ·2·   ·evidence.· Can you explain a little more what
·3·   ·job-placement-rates protocol, that was already in    ·3·   ·preliminary evidence means?
·4·   ·place when you joined the borrower defense unit;     ·4·   · · · A· · ·I don't think I said preliminary
·5·   ·is that correct?                                     ·5·   ·evidence.· I think I said preliminary assessment
·6·   · · · A· · ·We've made improvements to it, I think,   ·6·   ·or preliminary review or something.
·7·   ·over time, so it's not going to be in the exact      ·7·   · · · · · · But if we have common evidence -- and
·8·   ·same form, but, yes, the criteria for all intents    ·8·   ·that can come in many forms.· But if we have
·9·   ·and purposes go back to 2016.                        ·9·   ·common evidence, we first look at it to see -- you
10·   · · · Q· · ·Okay.· And then the Corinthian            10·   ·know, before we have time to do a comprehensive
11·   ·employment-prospects protocol, that was -- or at     11·   ·review of it, we look at what the scope is.
12·   ·least in its initial form developed -- that was in   12·   · · · · · · So, for example, if we got a package of
13·   ·place as of January 2017; correct?                   13·   ·materials from an attorney general's office and it
14·   · · · A· · ·That's correct.                           14·   ·related to an investigation they did regarding
15·   · · · Q· · ·And the Corinthian transfer of credit     15·   ·the, you know, employment prospects at a school
16·   ·claim protocol in place as of January 2017?          16·   ·between 2010 and 2012, we would try to get a sense
17·   · · · A· · ·Correct.                                  17·   ·of whether the evidence really is limited to the
18·   · · · Q· · ·The ITT California employment-prospects   18·   ·2010 to 2012 period of time, whether it's specific
19·   ·protocol, also January 2017?                         19·   ·to a certain program or group of programs, whether
20·   · · · A· · ·By January 20th, yeah, it was probably    20·   ·it's related to certain campuses, whether it's
21·   ·the second week in January, somewhere in there.      21·   ·more broadly applicable to places outside of that
22·   · · · Q· · ·Okay.· And you just said you have         22·   ·state because AGs generally are focused on
23·   ·recently completed a protocol for all ITT            23·   ·their -- you know, the claims of their own
24·   ·employment prospects claims?                         24·   ·constituents.
25·   · · · A· · ·Right.· The initial one was related       25·   · · · · · · And then we write up a summary of, you

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·1·   ·only to California.                                  ·1·   ·know, what our understanding is of the evidence,
·2·   · · · Q· · ·Uh-huh.                                   ·2·   ·and then we make an assessment of what it doesn't
·3·   · · · A· · ·And, so, we now have one that applies     ·3·   ·apply to.
·4·   ·to all ITT employment-prospects claims.              ·4·   · · · · · · So, for example, if that package is
·5·   · · · Q· · ·When was that completed?                  ·5·   ·specific to the criminal justice program for a
·6·   · · · A· · ·Well, there are two -- one protocol,      ·6·   ·certain school, you know, we review to make sure
·7·   ·there are multiple documents because we had the      ·7·   ·that it doesn't, you know, go into anything beyond
·8·   ·2016 legal analysis and also the '95 legal           ·8·   ·that and we determine at that point now there's
·9·   ·analysis.· So the protocol was updated when we       ·9·   ·nothing related to the nursing program or medical
10·   ·completed the -- we completed 2016 first.· That      10·   ·assistant or things like that, and then those get
11·   ·was probably a few weeks ago.· I don't remember      11·   ·cleared for adjudication.
12·   ·exactly what the timing was.· And, you know, so we   12·   · · · · · · And then continue to work on the
13·   ·made updates to it when we were able to move         13·   ·criminal justice piece, and ultimately that will
14·   ·forward on the '95 ones, and that was really just    14·   ·end up with a summary of what we conclude that
15·   ·in the last several days.                            15·   ·that evidence supports in terms of findings or
16·   · · · Q· · ·Okay.· Have those protocols been          16·   ·facts that may satisfy an element or multiple
17·   ·provided to the DOJ attorneys for production in      17·   ·elements of a borrower's claim whether it's under
18·   ·this case?                                           18·   ·the 2016 reg or the '95 reg.
19·   · · · A· · ·We're still pulling records together,     19·   · · · · · · So the cases that have been adjudicated
20·   ·but we're going to be producing a lot of the         20·   ·so far in terms of schools where we have common
21·   ·protocols to our Office of General Counsel.          21·   ·evidence are the ones that we don't think the
22·   · · · Q· · ·Okay.· Well, we would specifically        22·   ·common evidence is going to help the borrower get
23·   ·request that these new ITT protocols be included     23·   ·to an approval essentially because of their
24·   ·in the production.                                   24·   ·circumstances because they are not in the program
25·   · · · · · · So, now, I want to back up to the 500     25·   ·that's at issue or they attended ten years before


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·1·   ·the evidence is relevant or they're in a state       ·1·   · · · Q· · ·Okay.· And, so, for each of those 500
·2·   ·outside of, you know, the one that we have           ·2·   ·schools, are there instructions that are given to
·3·   ·evidence for that doesn't seem more broadly          ·3·   ·reviewers of how to assess whether an individual
·4·   ·applicable.                                          ·4·   ·claim fits within that common evidence?
·5·   · · · Q· · ·So when you say "cleared for              ·5·   · · · A· · ·Whether -- whether the claim fits
·6·   ·adjudication," what does that mean procedurally?     ·6·   ·within the common evidence?
·7·   · · · A· · ·That means we write up a protocol, and    ·7·   · · · Q· · ·Yeah.
·8·   ·the protocol says -- you know, just kind of going    ·8·   · · · A· · ·I think it's the opposite of what
·9·   ·back to my example of if it's for a certain          ·9·   ·you're describing.· So it -- it tells them what
10·   ·program for a certain state, open the application.   10·   ·they should not move forward on because there may
11·   ·You know, there's a bunch of things that they do     11·   ·be common evidence that's relevant.
12·   ·upfront.                                             12·   · · · Q· · ·Okay.· So the -- let's try to take a --
13·   · · · · · · And then one of the first things,         13·   ·try to make it a little more concrete.· So say --
14·   ·though, is -- you know, is the borrower in state     14·   ·say you receive a package of evidence from a state
15·   ·X, and if so, did the borrower attend a criminal     15·   ·attorney general about school X and it's about
16·   ·justice program.· If so, set that case aside.· And   16·   ·school X making employment-prospect
17·   ·then it gets moved into kind of a holding status     17·   ·misrepresentations in 2010 to 2012.
18·   ·until we can continue to review and complete the     18·   · · · · · · And does BDU provide instructions to
19·   ·assessment of the evidence that would be related.    19·   ·the reviewers essentially saying if you come
20·   · · · · · · If the borrower is not in the             20·   ·across an application from school X criminal
21·   ·categories that are relevant to the common           21·   ·justice 2010 to 2012, then you set that aside?
22·   ·evidence, then they would complete the               22·   · · · A· · ·Yes.
23·   ·adjudication just like they would for what we call   23·   · · · Q· · ·Okay.· Are those instructions written
24·   ·our one-off claims where you have, you know, an      24·   ·up?· Are there --
25·   ·individual borrower who brings a claim.· And, so,    25·   · · · A· · ·That's part --

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·1·   ·it will depend on, you know, what evidence the       ·1·   · · · Q· · ·-- instructions that the reviewers
·2·   ·borrower support -- provides to support the claim.   ·2·   ·receive?
·3·   · · · Q· · ·Okay.· So for -- for about 500 -- I       ·3·   · · · A· · ·Yes, that's part of the written
·4·   ·just want to make sure I'm understanding this.       ·4·   ·protocol.
·5·   · · · · · · For about 500 schools, there's been an    ·5·   · · · Q· · ·Okay.· And those are among the
·6·   ·assessment of common evidence that would allow       ·6·   ·documents that you've been gathering to be
·7·   ·reviewers to direct certain claims that fit the      ·7·   ·produced in this action?
·8·   ·common evidence into this bucket of cleared for      ·8·   · · · A· · ·That is correct.
·9·   ·adjudication where those claims are on hold          ·9·   · · · Q· · ·Okay.· So then for each of those
10·   ·waiting for a final protocol?                        10·   ·buckets of applications that are set aside as
11·   · · · A· · ·I'm not sure about that exactly.· Can     11·   ·potentially fitting within the common evidence
12·   ·you say that one more time?                          12·   ·that you have, for how many schools has BDU
13·   · · · Q· · ·So I'm just trying to understand -- so    13·   ·proceeded to the next step to actually having a
14·   ·there are 500 schools for which the department has   14·   ·system for granting those applications?
15·   ·what it considers to be common evidence.             15·   · · · A· · ·We're working on -- how many? -- but a
16·   · · · · · · Is that correct at the first step?        16·   ·lot of schools along those lines.· But we haven't
17·   · · · A· · ·I'm approximating, so I probably          17·   ·created that for any other than ITT at this point,
18·   ·shouldn't have given an exact number.· I didn't      18·   ·and that's just limited to the employment
19·   ·intend to give an exact number.· I think it's        19·   ·prospects.
20·   ·somewhere in the ballpark of 500.· And that          20·   · · · Q· · ·Which other schools are you working on?
21·   ·would -- you know, there are school groups, so       21·   · · · A· · ·Beckwood (phonetic), the EDMC schools,
22·   ·that could be individual schools within school       22·   ·the American ALO (phonetic), the Court Reporting
23·   ·groups as well, but, yeah, there are somewhere in    23·   ·institutes -- I mean, there are dozens, but those
24·   ·the neighborhood of about 500 schools where we've    24·   ·are the ones that come to mind right now.
25·   ·reached that preliminary step.                       25·   · · · · · · We also have a whole lot of open


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·1·   ·schools where we have claims, but there are some     ·1·   · · · Q· · ·Do you know about what percentage of
·2·   ·additional processes that need to happen on those,   ·2·   ·pending applications fall under the '95 regs?
·3·   ·so the ones we've made the most headway on are       ·3·   · · · A· · ·I really don't.· A good number, but
·4·   ·primarily the closed schools.                        ·4·   ·I -- I don't know percentage-wise what the
·5·   · · · Q· · ·Since you started your position at BDU,   ·5·   ·breakdown is between '95 and 2016, and it's not as
·6·   ·the only claims that have been granted, the only     ·6·   ·simple as you'd think probably because it -- it
·7·   ·borrower defense claims that have been granted are   ·7·   ·involves whether or not they have FFEL loans that
·8·   ·from Corinthian and ITT?                             ·8·   ·would result in the case being consolidated, so
·9·   · · · A· · ·With the exception with the American      ·9·   ·there's just a variety of factors that go into it.
10·   ·Career Institute cases in January --                 10·   · · · · · · There also are a lot of borrowers who
11·   · · · Q· · ·Right.                                    11·   ·are covered by both because it's dependent on the
12·   · · · A· · ·-- of 2017.· Right.                       12·   ·date of the loan, so they may have loans that --
13·   · · · Q· · ·ACI was a group application; is that      13·   ·some of them are subject to the '95 reg and others
14·   ·correct?                                             14·   ·are 2016.
15·   · · · A· · ·That's right.                             15·   · · · Q· · ·Okay.· For claims that are subject to
16·   · · · Q· · ·Has BDU developed any group discharge     16·   ·the '95 reg, who decides ultimately what state law
17·   ·process?                                             17·   ·should apply?
18·   · · · A· · ·We wouldn't develop the process, and my   18·   · · · A· · ·Well, currently?· Is that what --
19·   ·understanding is that the department has not         19·   · · · Q· · ·Currently.
20·   ·developed a process.                                 20·   · · · A· · ·-- what time period?
21·   · · · Q· · ·Who in the department would be            21·   · · · · · · Currently, we have -- basically, we
22·   ·responsible for developing a group discharge         22·   ·have concluded with respect to ITT in particular
23·   ·process?                                             23·   ·for the employment prospects that we would apply
24·   · · · A· · ·I can't answer that hypothetically. I     24·   ·the state where the borrower resided at the time
25·   ·really don't know if they would -- I don't know if   25·   ·of separation from the school as a rebuttable

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·1·   ·they decided to do it.· But, yeah, I don't have an   ·1·   ·presumption.· And that's because we're dealing
·2·   ·answer to that.                                      ·2·   ·with hundreds of thousands of applications overall
·3·   · · · Q· · ·Well, aside from an individual, do you    ·3·   ·and something like 30-something thousand ITT
·4·   ·have an understanding of what unit or what           ·4·   ·cases.
·5·   ·division of the department would be responsible or   ·5·   · · · · · · And you can't really do an individual
·6·   ·would have the authority to create a group           ·6·   ·choice of law assessment on each individual case.
·7·   ·discharge process?                                   ·7·   ·I mean, as you know, those can get litigated for
·8·   · · · A· · ·Well, obviously, the secretary would.     ·8·   ·months on one single case in a lawsuit.· So for
·9·   ·I don't know who she -- OUS is involved in higher    ·9·   ·the purpose of doing it in a way that's
10·   ·Ed, so that's a possibility, but I really can't      10·   ·administratively possible, we have a default to
11·   ·answer.· Like I said, it's a hypothetical because    11·   ·the -- I believe it's the state where the borrower
12·   ·my understanding is that there is no such process.   12·   ·lived at the time of separation from the school,
13·   · · · Q· · ·Okay.                                     13·   ·and we have different data points that we use to
14·   · · · A· · ·There's no such -- yeah, there's no       14·   ·try to determine that.
15·   ·such process.                                        15·   · · · · · · But if the borrower thinks that a
16·   · · · Q· · ·Okay.· For these protocols for other      16·   ·different law -- thinks that we got it wrong on
17·   ·schools that are -- that have some common evidence   17·   ·determining that based on the data or thinks that
18·   ·and are in development, those -- do those analyses   18·   ·a different law should have been applied, then
19·   ·involve a determination of what state law will       19·   ·that's something that they can seek
20·   ·apply to those claims?                               20·   ·reconsideration on, and we would certainly look to
21·   · · · A· · ·For the '95 applications, before we can   21·   ·that unless the borrower had specifically asked
22·   ·adjudicate any application, we would need to --      22·   ·that a certain law be applied.· That would be the
23·   ·yeah, we would need to determine what the -- what    23·   ·exception.· It's very rare, but there are
24·   ·state law will be that will be used to determine     24·   ·borrowers that say my case should be adjudicated
25·   ·the case.                                            25·   ·under X law because that's where my campus was


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·1·   ·located or something along those lines.              ·1·   ·director of BDU?
·2·   · · · Q· · ·Who made the decision that that was the   ·2·   · · · A· · ·Well, I did, but I -- it has been a
·3·   ·standard that will be applied to the ITT claims?     ·3·   ·discussion.· There was a -- there were discussions
·4·   · · · A· · ·We worked with general counsel in it.     ·4·   ·about whether it's a policy-related issue and
·5·   ·You know, there are some challenges with the data    ·5·   ·whether LBJ could determine what the appropriate
·6·   ·in terms of, you know, borrowers around where they   ·6·   ·choice of law was.· I pushed back and submitted
·7·   ·live at the time they applied is often different     ·7·   ·what I thought was the appropriate framework, and
·8·   ·than where they lived when they went to school or    ·8·   ·as, I said, we worked closely with OGC on it, and
·9·   ·where they would have lived when they were, you      ·9·   ·they reviewed it and concluded that it was
10·   ·know, on the receiving end of the alleged            10·   ·appropriate.
11·   ·misrepresentation.                                   11·   · · · Q· · ·Who did you -- who did you have
12·   · · · · · · There are a lot of different factors      12·   ·discussions with about this question of whether
13·   ·and our, you know, data limitations that we have     13·   ·OUS could decide the choice of law standard?
14·   ·on that mean that we have to, you know, basically    14·   · · · A· · ·I didn't directly have discussions, but
15·   ·piece it together.                                   15·   ·I know that there were some communications in
16·   · · · · · · So that -- that, we thought, was the      16·   ·LBJ -- in LBJ with their Office of General
17·   ·most administratively possible and also supported    17·   ·Counsel, I believe.
18·   ·by choice of law principles, so, you know, we        18·   · · · Q· · ·LBJ's Office of General Counsel which
19·   ·looked at the various choice of law principles in,   19·   ·is separate from FSA's Office of General Counsel?
20·   ·you know, all the different states to try to get a   20·   · · · A· · ·FSA doesn't have an Office of General
21·   ·sense of where they would land generally, and that   21·   ·Counsel.· When I refer to Office of General
22·   ·seemed to be the most consistent.                    22·   ·Counsel, that's actually the Department of
23·   · · · Q· · ·Did you make the final decision that      23·   ·Education's Office of General Counsel.
24·   ·that would be the policy you follow or that that     24·   · · · Q· · ·Okay.· I'm just trying to understand
25·   ·would be the choice of law analysis you follow?      25·   ·the --

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·1·   · · · A· · ·Yeah, I wouldn't consider that a policy   ·1·   · · · A· · ·Sorry.· We have alphabet --
·2·   ·decision.· Yeah, that was a recommendation from my   ·2·   · · · Q· · ·-- relationships.
·3·   ·senior team and -- or some of the members of my      ·3·   · · · A· · ·-- soup.· I apologize for that.
·4·   ·senior team, and I reviewed their -- their           ·4·   · · · · · · Yeah.· No, the Department of Education,
·5·   ·analysis and agreed with it.                         ·5·   ·which OUS is, you know, obviously directly under
·6·   · · · Q· · ·So, ultimately, for these other schools   ·6·   ·the secretary, has an Office of General Counsel,
·7·   ·that have protocols under process, you also would    ·7·   ·and they provide legal advice throughout the
·8·   ·be the final decision maker on what state law        ·8·   ·entirety of the department including Federal
·9·   ·applies to them under the '95 regs?                  ·9·   ·Student Aid.· So to the extent that there are
10·   · · · A· · ·Well, I wouldn't state it as such a       10·   ·legal issues, they would go through the Office of
11·   ·general proposition because if it were related       11·   ·General Counsel over the department.
12·   ·to -- for example, if an AG submitted something      12·   · · · Q· · ·Okay.· So you didn't directly
13·   ·and, you know, had indicated that the attorney       13·   ·participate in, but you were aware of a question
14·   ·general of a particular state had made findings      14·   ·whether OUS would weigh in on what's the
15·   ·related to state law that would be applicable,       15·   ·appropriate state law standard to use?
16·   ·there may be circumstances where we would, you       16·   · · · A· · ·For ITT in particular.
17·   ·know, rely on something along those lines.           17·   · · · Q· · ·For ITT?
18·   · · · · · · So I wouldn't say that there's an         18·   · · · A· · ·Yeah.
19·   ·absolute rule there, but that -- we thought that     19·   · · · Q· · ·And you don't -- do you know who was
20·   ·that was a good framework generally for -- for       20·   ·involved in those discussions on the side of OUS?
21·   ·schools where we have to make that determination.    21·   · · · A· · ·Diane Jones.· And he's not in OUS, but
22·   · · · Q· · ·I guess what I'm asking is does the       22·   ·I think Robert Eitel might have been involved as
23·   ·chief enforcement officer or anyone else have to     23·   ·well.
24·   ·approve these decisions of what state law applies,   24·   · · · Q· · ·Okay.
25·   ·or is that a decision that you can make as the       25·   · · · · · · MS. ELLIS:· We've been going for about


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·1·   ·an hour.· Why don't we take just a quick             ·1·   ·something.· Anything that's available, you know,
·2·   ·two-minute break here.                               ·2·   ·to the public online, so we look at whether there
·3·   · · · · · · THE WITNESS:· That sounds great.· Thank   ·3·   ·are things we're not aware of.· We do Internet
·4·   ·you.                                                 ·4·   ·searches to see if there's something we might not
·5·   · · · · · · THE VIDEOGRAPHER:· All parties agree to   ·5·   ·be aware of.
·6·   ·go off the record?                                   ·6·   · · · · · · So lot of different ways that we get
·7·   · · · · · · MS. ELLIS:· Yes.                          ·7·   ·materials.
·8·   · · · · · · MR. MERRITT:· Yes.                        ·8·   · · · Q· · ·So if you have a group of borrowers who
·9·   · · · · · · THE VIDEOGRAPHER:· We are now off the     ·9·   ·are all submitting applications about the same
10·   ·record.· The time is 15:19 UTC.                      10·   ·school and submitting the same kinds of evidence,
11·   · · · · · · (Recess -- 10:19 a.m.)                    11·   ·that would be sort of collated into common
12·   · · · · · · (After recess -- 10:25 a.m.)              12·   ·evidence?
13·   · · · · · · THE VIDEOGRAPHER:· We are now on the      13·   · · · A· · ·We -- that's not as common as you would
14·   ·record.· The time is 15:25 UTC.                      14·   ·think, so -- but as we assess the common evidence,
15·   · · · BY MS. ELLIS:                                   15·   ·we look to see if there are any borrowers who have
16·   · · · Q· · ·Okay.· So I want to turn back to -- we    16·   ·anything that would be more broadly applicable.
17·   ·had been talking about schools for which the         17·   ·You know, sometimes a borrower will have something
18·   ·department has identified what we've been calling    18·   ·very specific.· It could be like an email from an
19·   ·common evidence.· So I wanted to ask more            19·   ·admissions rep that is just related to something
20·   ·specifically what is considered common evidence?     20·   ·that particular borrower encountered.
21·   ·What rises to the level of common evidence?          21·   · · · · · · But, you know, I remember at least one
22·   · · · A· · ·Well, it can come in a lot of different   22·   ·school where we didn't think that we had anything
23·   ·forms.· The department, in its oversight -- FSA,     23·   ·at all, and in kind of doing a sampling of the
24·   ·in its oversight function, often will look into      24·   ·cases -- that's one of the things that we do
25·   ·various issues and may have records relating to      25·   ·before we adjudicate anything is do some sampling

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·1·   ·the school so, you know, that would be our --        ·1·   ·and, you know, go through some of the applications
·2·   ·formerly known as program compliance team or the     ·2·   ·to see what kind of materials are being
·3·   ·administrative actions and appeals group.            ·3·   ·provided -- and found a judgment that one of the
·4·   · · · · · · Particularly, if there was a fine         ·4·   ·borrowers had obtained that would potentially be
·5·   ·against the school or if there was some action       ·5·   ·more broadly applicable to not just that borrower.
·6·   ·taken to either exclude a program or a campus from   ·6·   · · · · · · So -- so that's a possibility, too, but
·7·   ·continuing participation in Title IV funding, all    ·7·   ·generally speaking, there are -- you know, the
·8·   ·those things -- there may be related documents       ·8·   ·vast majority of the borrowers do not have much by
·9·   ·with respect to the school.                          ·9·   ·way of evidence to support their claims
10·   · · · · · · We also have evidence from a number of    10·   ·individually, so it's more often the case that we
11·   ·different law enforcement agencies, so CFPB, FTC,    11·   ·would have to rely on, typically, like I said, our
12·   ·the attorneys general.· There are a whole bunch of   12·   ·oversight documentation and materials that
13·   ·different schools that have been investigated and    13·   ·provided by AGs or legal aid or somebody else.
14·   ·been involved in law enforcement actions, and some   14·   · · · Q· · ·Could you describe that sampling
15·   ·of those documents have been provided to the         15·   ·process you that just mentioned?· How does that
16·   ·department.                                          16·   ·work?
17·   · · · · · · You know, we could get -- we have         17·   · · · A· · ·Well, you know, depending on how many
18·   ·applications where borrowers or groups of            18·   ·applications there are from a school because if
19·   ·borrowers submitted a fair amount of evidence        19·   ·there are only, you know, 50 to a 100 and -- you
20·   ·themselves.· Your -- or Harvard's program has        20·   ·know, it would probably be a somewhat smaller
21·   ·actually submitted evidence with respect to at       21·   ·size.· I think on ITT, we did a sampling on
22·   ·least one of the schools I can think of.             22·   ·probably a 100.· I'm guessing, actually. I
23·   · · · · · · So it comes from a variety of different   23·   ·shouldn't give an exact number.
24·   ·sources, and, yeah, those -- those are the ones      24·   · · · · · · We did a sampling -- a fairly good size
25·   ·that come to mind.· I might even be forgetting       25·   ·sample of BD applicants relating to


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·1·   ·employment-prospects claims to see what, if any,     ·1·   · · · A· · ·At what period of time are you talking
·2·   ·materials they attached to their applications and    ·2·   ·about?
·3·   ·what their -- what their allegations looked like     ·3·   · · · Q· · ·Currently.
·4·   ·and whether there were any specifics to them         ·4·   · · · A· · ·So for current applications, you know,
·5·   ·because that can be a pretty broad range of what's   ·5·   ·the -- the reviewing attorney would --
·6·   ·in the allegations themselves.                       ·6·   ·particularly assigned cases, the attorney would
·7·   · · · Q· · ·So if you have a school with a smaller    ·7·   ·open up the case, look at the -- by the way, case
·8·   ·number of applicants, you mentioned, say, 50 to      ·8·   ·is the same thing as an application.· It's just a
·9·   ·100, would you look at all of those applications     ·9·   ·naming convention from the Salesforce platform, so
10·   ·rather than doing a sample to look for               10·   ·those are terms that we use interchangeably, but a
11·   ·commonalities?                                       11·   ·case is an application.
12·   · · · A· · ·I don't remember what our number is for   12·   · · · · · · But they would open up the Salesforce
13·   ·that range.· But we wouldn't look at all of them,    13·   ·case that contains the actual document that's
14·   ·but we would look at a good distribution of them.    14·   ·submitted by the borrower, and then there are a
15·   · · · · · · And we also allow for the possibility     15·   ·series of steps.· I think, actually, there are a
16·   ·that if we -- in that scenario, if you had 50 or     16·   ·couple of protocols in the record, but, you know,
17·   ·100, you know, those would all be -- if they were    17·   ·they open it up first to see if it's complete,
18·   ·all cleared for adjudication based on, you know,     18·   ·and, you know, there are certain things that --
19·   ·not having common evidence or not having             19·   ·sometimes we get applications in that are
20·   ·identified anything in the sampling, if in the       20·   ·incomplete, and, then, they get sent back to our
21·   ·course of reviewing the applications, we find        21·   ·in-state team to follow up with the borrower to
22·   ·that, you know, the last application we looked at    22·   ·get, you know, whatever information was missing
23·   ·has a judgment that we weren't aware of, then we     23·   ·from the document.
24·   ·would probably pull those back before they got       24·   · · · · · · But assuming that it's not something
25·   ·processed so that they would be set aside for --     25·   ·that needs to be sent back to intake, you know,

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·1·   ·for further analysis.                                ·1·   ·they would basically follow the protocols, and the
·2·   · · · · · · And, so, the junior attorney would, you   ·2·   ·steps in the protocol will depend on what the
·3·   ·know, flag that issue for one of my senior team,     ·3·   ·nature of the claim is.
·4·   ·and then there would probably be a hold on those     ·4·   · · · · · · So I don't know that I can give you
·5·   ·until we assess, you know, whether any results       ·5·   ·exact steps because it would depend.
·6·   ·would be different.                                  ·6·   · · · Q· · ·Okay.· You mentioned judgments --
·7·   · · · · · · But that would be a decision that         ·7·   ·judgments from private lawsuits as one kind of
·8·   ·wouldn't be made on the first pass.                  ·8·   ·evidence that's considered.
·9·   · · · Q· · ·When you say we would do sampling or      ·9·   · · · A· · ·Right.
10·   ·a -- you know, who -- who is "we" in that scenario   10·   · · · Q· · ·What about if a lawsuit has been
11·   ·who is reviewing the samples?                        11·   ·filed -- if you receive evidence that a lawsuit
12·   · · · A· · ·Memos are generally done by a             12·   ·has been filed but has not yet come to final
13·   ·combination of somebody on the senior team,          13·   ·judgment?
14·   ·sometimes multiple people on the senior team         14·   · · · A· · ·We would try to get the evidence
15·   ·working with junior attorneys to -- it really        15·   ·related to the lawsuit.
16·   ·depends on how much common evidence there is, but    16·   · · · Q· · ·You would request it from who?
17·   ·usually there would be a member of the senior team   17·   · · · A· · ·Well, it depends.· The instance that I
18·   ·either leading the effort or maybe even just         18·   ·was referring to is an individual borrower.· We
19·   ·handling it him or herself.· It sort of depends on   19·   ·have a separate investigations unit, so we have a
20·   ·the scope and availability of resources we have.     20·   ·process where if something like that were to
21·   · · · Q· · ·Maybe it would be useful to sort of       21·   ·surface the investigations unit would reach out to
22·   ·walk through the process for how an application is   22·   ·the borrower.
23·   ·adjudicated, so, you know, from -- from the time     23·   · · · · · · If the borrower has an attorney, which
24·   ·that somebody opens up an application, what          24·   ·is often the case if they have a lawsuit and
25·   ·happens to it?                                       25·   ·judgment or would be the case, I guess, then we


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·1·   ·would ask permission from the borrower to speak to   ·1·   ·anything that came out of those investigations
·2·   ·his or her attorney, and then -- when I say "we"     ·2·   ·that was referred to BD.
·3·   ·really I meant investigations.                       ·3·   · · · Q· · ·Do you know if anyone in the
·4·   · · · · · · And then they might ask the borrower's    ·4·   ·investigations unit has asked for more staffing?
·5·   ·attorney if they have any additional supporting      ·5·   · · · A· · ·Yes.
·6·   ·materials because maybe, you know, there might be    ·6·   · · · Q· · ·And do you know what happened to those
·7·   ·some discovery that they had that they didn't        ·7·   ·requests?
·8·   ·provide or maybe they didn't realize that that       ·8·   · · · · · · MR. MERRITT:· Objection to the scope of
·9·   ·would be useful or helpful to them.                  ·9·   ·these questions.
10·   · · · · · · You know, it depends on whether the       10·   · · · BY MS. ELLIS:
11·   ·judgment is for the borrower, him or herself, or     11·   · · · Q· · ·You can answer.
12·   ·whether they're attaching a copy of a judgment       12·   · · · A· · ·I think similar to borrower defense,
13·   ·that somebody else brought.· But that's just one     13·   ·they've had attrition early on in 2017 going into
14·   ·scenario.                                            14·   ·2018.· And, you know, they would have been subject
15·   · · · Q· · ·What are some other situations where      15·   ·to the same hiring freeze that everybody else was.
16·   ·you might refer a case to the investigations unit    16·   · · · · · · I was acting director of investigations
17·   ·to find out more information about the               17·   ·for a period of time and Julian Schmoke was the
18·   ·allegations?                                         18·   ·chief enforcement officer, and I had raised that
19·   · · · A· · ·Well, investigations has had major        19·   ·we needed to step up investigations during our
20·   ·attrition and doesn't have much by way of            20·   ·meetings during that period of time, but it was
21·   ·staffing.· So there's not too much that we've been   21·   ·kind of the same scenario as borrower defense.
22·   ·able to work with them on so far in terms of         22·   · · · Q· · ·During what period were you the acting
23·   ·enlisting their assistance.                          23·   ·director of investigations?
24·   · · · · · · But on those particular kinds of issues   24·   · · · A· · ·I knew you were going to ask me that,
25·   ·where we think that borrowers maybe just weren't     25·   ·and now I don't remember.· I believe it was around

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·1·   ·aware that, you know, something that they            ·1·   ·spring of 2018 to towards the end of 2018, but I'm
·2·   ·referenced is -- would be potentially helpful to     ·2·   ·not -- I'm not sure about the dates, but somewhere
·3·   ·their case, those are some of the scenarios where    ·3·   ·in that general vicinity.
·4·   ·we've asked investigations to reach out.             ·4·   · · · Q· · ·Going back to common evidence, what
·5·   · · · · · · But I can't think of anything else that   ·5·   ·about settlements of lawsuits?
·6·   ·they're working on with us right now.                ·6·   · · · A· · ·What about them?
·7·   · · · Q· · ·Was there a time during your tenure       ·7·   · · · Q· · ·Would -- would they -- would that be
·8·   ·when the investigations unit had more staffing       ·8·   ·considered common evidence?
·9·   ·than it does now?                                    ·9·   · · · A· · ·The settlement would not.· The fact of
10·   · · · A· · ·Yes.                                      10·   ·the lawsuit would be something that we'd want to
11·   · · · Q· · ·When was that?                            11·   ·explore.· So if there was a lawsuit and whoever
12·   · · · A· · ·Well, I think in 2016, 2017, they had     12·   ·brought the lawsuit had evidence, then that would
13·   ·about -- they had a lot more people then.· They've   13·   ·be evidence that we would like to consider.
14·   ·had some pretty major attrition.                     14·   · · · Q· · ·So, for instance, if a state attorney
15·   · · · Q· · ·During 2016 to 2017, did the borrower     15·   ·general settled a lawsuit with a school, you might
16·   ·defense unit work more often or on more issues       16·   ·ask the attorney general to share the evidence
17·   ·with the investigations unit when they were better   17·   ·that they had in the course of their investigation
18·   ·staffed?                                             18·   ·that led to the lawsuit?
19·   · · · A· · ·At that point, we were building both      19·   · · · A· · ·At what period of time are you talking
20·   ·units.· They were both new in 2016.· They had a      20·   ·about.
21·   ·number of investigations that, I think, it was       21·   · · · Q· · ·Any period of time.
22·   ·anticipated that potentially would lead to           22·   · · · A· · ·So that's been the case probably --
23·   ·documents that would be relevant to borrower         23·   ·yeah.· Well, this year, that's the case.· Probably
24·   ·defense, but due to attrition and, I think, policy   24·   ·for about a year or so.· We have had
25·   ·decisions, I don't think that there was much of      25·   ·communications with AGs where we know that they


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·1·   ·participated in and brought -- maybe even not just   ·1·   · · · A· · ·I don't know that I would opine on what
·2·   ·a lawsuit.· Sometimes we're aware that there was     ·2·   ·a proper staffing is for them because it's not my
·3·   ·an investigation that didn't result in a filing of   ·3·   ·unit, but I think it would allow for maybe some
·4·   ·a complaint.                                         ·4·   ·further exploration on their part.· I'm just
·5·   · · · · · · We would reach out to them to ask them,   ·5·   ·working with what we have at this point, so, you
·6·   ·you know, what the scope of their investigation      ·6·   ·know, to the extent that we're already taking up a
·7·   ·was, and if, you know, some of them are in the       ·7·   ·fair amount of their time in terms of the things
·8·   ·process of submitting materials, so we would want    ·8·   ·that I had already mentioned.
·9·   ·to know before we adjudicate the cases if they are   ·9·   · · · · · · Given their very limited resources, we
10·   ·in the process of putting any materials together     10·   ·haven't had conversations about expanding that.
11·   ·to send to us if that's their intention.             11·   · · · Q· · ·Again, in terms of what's considered
12·   · · · · · · So we try to do that upfront before we    12·   ·among the common evidence, does BDU consider
13·   ·adjudicate anything.                                 13·   ·evidence that's provided by the schools
14·   · · · Q· · ·What about before this year?              14·   ·themselves?
15·   · · · A· · ·We really didn't have communications      15·   · · · A· · ·Yes.
16·   ·with the AGs until probably last fall, I'd say.      16·   · · · Q· · ·Under what circumstances does BDU
17·   · · · Q· · ·Does BDU ever initiate or request         17·   ·communicate with a school to get evidence
18·   ·another group in the department to initiate a        18·   ·regarding borrower defense?
19·   ·further investigation of a school based on common    19·   · · · A· · ·Well, currently there are some open
20·   ·evidence that you have?                              20·   ·policy issues or discussions relating to that, but
21·   · · · · · · So, for instance, if you have -- if you   21·   ·in the spring we -- I'm sorry.· Can you restate
22·   ·have information that a school was misrepresenting   22·   ·your question?
23·   ·its job placement rates for criminal justice in      23·   · · · Q· · ·Under -- under what circumstances does
24·   ·2010 to 2012, would you ever investigate or ask      24·   ·BDU reach out to a school to ask for evidence
25·   ·someone to investigate whether they also were        25·   ·regarding a borrower defense issue?

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·1·   ·making similar misrepresentations for other          ·1·   · · · A· · ·Yeah.· Well, obviously, if the school
·2·   ·programs during that period of time or for that      ·2·   ·is closed and no longer doing business, there's
·3·   ·same program during other periods of time?           ·3·   ·nothing we can do about that.
·4·   · · · A· · ·Investigations isn't -- investigations    ·4·   · · · · · · If the school is still open, then
·5·   ·isn't really staffed to handle that much right       ·5·   ·starting this past spring, there were four school
·6·   ·now, but we, I think, have been -- they're focused   ·6·   ·groups that we had reached out to for two reasons.
·7·   ·generally, we know, for the last few years for       ·7·   ·One is to let them know that they were about to
·8·   ·something that is currently ongoing and, you know,   ·8·   ·receive individual applications as part of the
·9·   ·therefore, potentially going forward.                ·9·   ·notification process under the 2016 regulations,
10·   · · · · · · So what we're keeping an eye open for     10·   ·so really more of just a heads up that their email
11·   ·by way of referring to them is if we see something   11·   ·box was about to get flooded with a whole lot of
12·   ·that has happened recently at an open school, you    12·   ·applications.· But also to request documents that
13·   ·know, whether that's something that they would       13·   ·we thought would be helpful in our assessment of
14·   ·look at and I think that that would kind of fall     14·   ·the -- the borrower applications.
15·   ·within their -- their purview right now.             15·   · · · · · · So we had done kind of a preliminary
16·   · · · · · · In terms of if we know of, like, the      16·   ·review of what the nature of the claims were with
17·   ·criminal justice program and whether we would        17·   ·respect to those schools and had come up with a
18·   ·refer it for something -- you know, for a school     18·   ·list of documents that we thought would be
19·   ·that's been closed or, you know, for something       19·   ·relevant to that -- that fact-finding process.
20·   ·that happened a long time ago, we probably would     20·   · · · Q· · ·And what were those four school groups
21·   ·not.                                                 21·   ·that you reached out to in the spring?
22·   · · · Q· · ·If investigations were properly           22·   · · · A· · ·DeVry, Phoenix, Ashford, I guess,
23·   ·staffed, is -- would you be able to make those       23·   ·depends on how you define "school group."
24·   ·kind of requests for investigations into conduct     24·   ·Technically speaking, DeVry is a school group and
25·   ·that happened in the past?                           25·   ·a school.· Phoenix, I think, really is just a


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·1·   ·school.· Within a school group, Charlotte School     ·1·   ·did BDU ever contact schools to ask for relevant
·2·   ·of Law, and Ashford which is part of Bridgepoint,    ·2·   ·evidence?
·3·   ·I believe.                                           ·3·   · · · A· · ·Before the regs went into effect --
·4·   · · · Q· · ·So from each of those schools, you        ·4·   ·that was late 2018 -- we were just treading water
·5·   ·requested a list of documents that you thought       ·5·   ·trying to keep up with Corinthian applications, so
·6·   ·would be helpful to your assessment?                 ·6·   ·we really weren't even at that point.
·7·   · · · A· · ·We wrote them a letter, and that letter   ·7·   · · · Q· · ·Have -- have any of the four schools
·8·   ·included a number of requests, yes.                  ·8·   ·who you reached out to in spring 2020 provided the
·9·   · · · Q· · ·Did you also invite them to submit any    ·9·   ·documents that you asked for?
10·   ·other evidence that they wanted you to see?          10·   · · · A· · ·All have responded, and some have sent
11·   · · · A· · ·The -- that's related to what I was       11·   ·most or all of what we requested, and I think one
12·   ·saying in terms of flooding their in-box.· So when   12·   ·of them may have said that they were sending
13·   ·they receive an individual borrower's application,   13·   ·something, but I don't know if we ever got it.
14·   ·they can respond to that application individually    14·   · · · Q· · ·And how is that information used by
15·   ·with evidence, or they could submit something to     15·   ·BDU?
16·   ·us more globally in terms of responses to the        16·   · · · A· · ·The documents that they provide?
17·   ·overall applications.                                17·   · · · Q· · ·Uh-huh.· Yes.
18·   · · · Q· · ·Okay.· You referred to an ongoing         18·   · · · A· · ·We review the evidence regardless of
19·   ·policy debate.· Could you describe what you mean     19·   ·the source.· You know, we might request from them
20·   ·by that?                                             20·   ·a program manual that we might otherwise have
21·   · · · A· · ·I don't know if I would call it a         21·   ·gotten in the course of our oversight at FSA or
22·   ·debate, but there's an open question on what that    22·   ·that might have been provided from an AG's office.
23·   ·process will look like going forward in terms of     23·   · · · · · · So I would look at the nature of the
24·   ·what the communications to the school will look      24·   ·evidence based -- I don't think it's used
25·   ·like.                                                25·   ·differently in that sense.· It's -- you know, it's

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·1·   · · · Q· · ·And who's involved in those               ·1·   ·what the document purports to be.· Obviously, the
·2·   ·discussions?                                         ·2·   ·source is important to know for the purpose of
·3·   · · · A· · ·OUS and with the assistance of the        ·3·   ·kind of veracity of the document, but beyond that
·4·   ·Office of General Counsel.                           ·4·   ·we don't necessarily treat a program manual or,
·5·   · · · Q· · ·Does OGC make policy decisions            ·5·   ·you know, different kind of advertising material
·6·   ·regarding borrower defense?                          ·6·   ·differently depending on the source.
·7·   · · · A· · ·I think you'd have to ask them. I         ·7·   · · · Q· · ·So the information you received from
·8·   ·don't really understand exactly what the             ·8·   ·schools is incorporated into the general pool of
·9·   ·relationship is, or it has some folks that kind of   ·9·   ·evidence that you're considering regarding that
10·   ·have moved in and out of lane.· So I don't know,     10·   ·school?
11·   ·as a general proposition, what the answer to that    11·   · · · A· · ·Yes.
12·   ·would be.                                            12·   · · · Q· · ·In -- you said that the school has the
13·   · · · Q· · ·Okay.· Whose idea was it or whose         13·   ·option to respond to an application individually.
14·   ·decision was it to reach out to these four schools   14·   ·Is there a mechanism for the borrower to see the
15·   ·in spring 2020?                                      15·   ·evidence that the school submits in response to
16·   · · · A· · ·I don't think it was an idea.· I think    16·   ·their application?
17·   ·it -- my and my senior team's reading of the 2016    17·   · · · A· · ·Not under the 2016 regulations.· There
18·   ·regulations is that it requires a fact-finding       18·   ·will be for the 2020 regulation.
19·   ·process, and in order to do that fact-finding        19·   · · · Q· · ·Okay.· What about the -- does the 2019
20·   ·process for, you know, the circumstances in these    20·   ·regulation have any rule there?
21·   ·schools, we felt like we needed records from the     21·   · · · A· · ·Sorry.· So when I say 2020, the 2019
22·   ·school.                                              22·   ·regulation went into effect July 1, 2020.
23·   · · · · · · So -- so I made the decision to -- to     23·   · · · Q· · ·Oh, I see.
24·   ·have my team draft those letters and send them.      24·   · · · A· · ·I refer to that as the 2020 regulation.
25·   · · · Q· · ·Before the 2016 regs went into effect,    25·   ·So that's the new one.


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·1·   · · · · · · And just to clarify, the '95 regulation   ·1·   ·Order.
·2·   ·is the old regulation.· 2016, we refer to as the     ·2·   · · · · · · And that was marked as Exhibit 13 in
·3·   ·2016 regulation because that's when it was           ·3·   ·the Jones deposition.
·4·   ·published, but it actually went into effect by       ·4·   · · · · · · (Exhibit 13 referred to.)
·5·   ·court order in 2018.· We still refer to it as the    ·5·   · · · · · · THE WITNESS:· Just to make sure I have
·6·   ·2016 regulation.                                     ·6·   ·the right document, it's Defendants' Response to
·7·   · · · Q· · ·Okay.· Understood.                        ·7·   ·August 31, 2020 Order.
·8·   · · · · · · Let's switch back for a second to the     ·8·   · · · BY MS. ELLIS:
·9·   ·law applicable to -- to claims under the '95 regs.   ·9·   · · · Q· · ·Yes, that's correct.
10·   ·So you said that you've just recently developed      10·   · · · A· · ·Okay.
11·   ·protocols for ITT claims, non-California             11·   · · · Q· · ·So this document, I'll represent to
12·   ·employment-prospect-ITT claims under both the '95    12·   ·you, is a filing in this case where -- where the
13·   ·and 2016 regs; is that correct?                      13·   ·government attached the four types of form denial
14·   · · · A· · ·That's correct.                           14·   ·letters, which we've been referring to as forms A,
15·   · · · Q· · ·Okay.· So how would a borrower know       15·   ·B, C and D according to their attachment letters
16·   ·what law applies to their claim?                     16·   ·here in this document.
17·   · · · A· · ·I'm not sure.· Are you asking about the   17·   · · · · · · So if you flip to the bottom of page 2
18·   ·letters?· I'm not sure I understand.                 18·   ·of the motion which is page 3 of the document,
19·   · · · Q· · ·Yes, in communications to the borrower.   19·   ·there's a heading near the bottom of the page,
20·   · · · · · · Do communications to the borrower state   20·   ·Form of denial letters utilized by the department
21·   ·what law has been applied to their claim?            21·   ·since December 2019.
22·   · · · A· · ·I think the CCI ones reference            22·   · · · · · · Do you see that?
23·   ·California law.· I don't think the non-CCI ones      23·   · · · A· · ·Yes.
24·   ·state an applicable state law.· With respect to      24·   · · · Q· · ·Okay.· And then at the bottom of the
25·   ·those applications, though, because either the       25·   ·page going onto the next page, it lists -- it

                                                 Page 79                                                     Page 81
·1·   ·borrower failed to make an allegation that's         ·1·   ·describes the purposes of the four different
·2·   ·potentially the kind that could be approved or the   ·2·   ·letters that are attached as exhibits A, B, C and
·3·   ·evidence to support it, so regardless of what law    ·3·   ·D to the motion.
·4·   ·you would apply, it's our position that the          ·4·   · · · · · · So for applications from ITT that have
·5·   ·application would be denied.                         ·5·   ·been so far denied, which of these four form
·6·   · · · · · · So those aren't being denied based on,    ·6·   ·denial letters would they have received?
·7·   ·you know, not being able to fulfill a specific       ·7·   · · · A· · ·I think it's D.· Yes, I think D is the
·8·   ·element of a particular state law or a specific      ·8·   ·one that's non-Corinthian but where there is
·9·   ·element of the 2016 regulation.· They're either      ·9·   ·common evidence related to the school.
10·   ·just kind of something that wouldn't get through a   10·   · · · Q· · ·Okay.· So let's flip to form D.· That's
11·   ·12(b)(6) analysis or they're just lacking in         11·   ·the page 22 of the PDF for those looking at it
12·   ·evidence.                                            12·   ·electronically.· And then the actual text of it
13·   · · · Q· · ·Are you talking specifically about ITT    13·   ·starts on page 23 of the PDF.· It's document 116-4
14·   ·claims?                                              14·   ·on the ECF stamps at the top of the page.
15·   · · · A· · ·No.· I thought you were referring to      15·   · · · A· · ·Thank you.
16·   ·the letters, so the ones that have gone out so       16·   · · · Q· · ·So this is an example of form D, and
17·   ·far, we haven't issued any denials that were based   17·   ·then you can see at the bottom of this first page
18·   ·on kind of an application of specific elements of,   18·   ·it shows where someone would fill in blanks for
19·   ·you know, state law where there could be a           19·   ·allegation type, primary school and review
20·   ·different answer in California versus Nebraska.      20·   ·recommendation reason.
21·   · · · Q· · ·Okay.· Let's look at the denial           21·   · · · A· · ·Correct.
22·   ·letters.· That is tab -- give me a second.· That's   22·   · · · Q· · ·Okay.· Is it the case that review
23·   ·tab 13 in the hard copies.· On the Dropbox, that's   23·   ·recommendation reason is sometimes filled in with
24·   ·the bracket number 13 ECF 116, Defendants'           24·   ·the phrase failure to state a claim?
25·   ·Response to 8/31.· I think that should say 2020      25·   · · · A· · ·It's a -- it's a drop-down in our


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·1·   ·platform, but it's filled in by my team, and then    ·1·   ·failure to state a claim and another might be
·2·   ·that's used to populate these letters by our         ·2·   ·denied for insufficient evidence.· It depends on
·3·   ·contractor.                                          ·3·   ·the nature of the claim and what the borrower
·4·   · · · Q· · ·Uh-huh.                                   ·4·   ·states for that particular claim.
·5·   · · · · · · And one of the options in the drop-down   ·5·   · · · Q· · ·So you're saying that you -- you can't
·6·   ·is failure to state a claim?                         ·6·   ·estimate the number of applications that have been
·7·   · · · A· · ·Correct.                                  ·7·   ·denied -- that have received a form denial letter
·8·   · · · Q· · ·So what -- what does that mean?           ·8·   ·solely because they failed to state any sort of
·9·   · · · A· · ·It's like a 12(b)(6) analysis, does the   ·9·   ·claim?
10·   ·borrower make an allegation that could potentially   10·   · · · A· · ·I -- I don't know the number off the
11·   ·lead to, you know, an illegal case filed in court.   11·   ·top of my head, no.
12·   ·Is it something that a court would not dismiss on    12·   · · · Q· · ·Are there department records that would
13·   ·a 12(b)(6) motion kind of thing.· So an example      13·   ·show how many applicants who received form D
14·   ·will be does the borrower allege that the school     14·   ·denial letters -- it was based solely on failure
15·   ·made a misrepresentation to the borrower on which    15·   ·to state a claim?
16·   ·they relied to, you know, enroll in the school or    16·   · · · A· · ·It's data in our system, so I'm sure
17·   ·whatever, based -- something along those lines.      17·   ·there's some way to pull that.· Yeah, I'm sure
18·   · · · Q· · ·How is it determined that an              18·   ·there's some way to pull it out of our system, but
19·   ·application fails to state a claim if it hasn't      19·   ·I don't know that there's a record existing
20·   ·yet been determined what law applies?                20·   ·somewhere.· I think somebody would have to do some
21·   · · · A· · ·It's -- the bar is just -- you know, is   21·   ·kind of a data pull.
22·   ·an alleged misrepresentation, generally, would be    22·   · · · Q· · ·So if -- if an allegation was this
23·   ·the most common.· So, you know, we get               23·   ·school made job-placement-rate-misrepresentation
24·   ·applications on folks who say my loans were too      24·   ·claims, that would not be rejected for failure to
25·   ·expensive; my school is terrible; my teacher was     25·   ·state a claim?

                                                 Page 83                                                     Page 85
·1·   ·abusive; things that are not borrower                ·1·   · · · A· · ·It should not be.· I can't say that we
·2·   ·defense-related issues; sexual harassment by a       ·2·   ·have never made a mistake, but the protocol would
·3·   ·staff member; didn't get the classes I wanted.       ·3·   ·be that that would then go to, you know, whether
·4·   · · · · · · You know, just a whole variety of         ·4·   ·there's evidence.· So that would not -- the -- the
·5·   ·different things that borrowers may include in       ·5·   ·claim itself, if it were rejected or if the -- if
·6·   ·their application, but are not something that are    ·6·   ·that particular claim was denied, would not be
·7·   ·of the type that would, you know, provide            ·7·   ·denied based on that.
·8·   ·eligibility for borrower defense relief              ·8·   · · · Q· · ·If someone alleged that the school made
·9·   ·potentially.                                         ·9·   ·a job-placement-rate-misrepresentation claim, but
10·   · · · Q· · ·Do you know how many form D notices       10·   ·the applicant did not specifically state that they
11·   ·have been mailed out since this form was --          11·   ·relied on that misrepresentation, would that be
12·   ·started being used?                                  12·   ·denied for failure to state a claim?
13·   · · · A· · ·I don't.                                  13·   · · · A· · ·I believe so.· I'm trying to remember
14·   · · · Q· · ·Do you have a sense of what percentage    14·   ·the drop-downs and what the available drop-down --
15·   ·of claims denied under form D fit the description    15·   ·what the protocol calls for.· The -- I believe the
16·   ·you're giving of someone who doesn't provide any     16·   ·protocol references lack of reliance, so it
17·   ·allegation that could potentially state a borrower   17·   ·actually -- that might be an option -- I don't
18·   ·defense claim?                                       18·   ·recall, though.· I'd have to look at the protocols
19·   · · · A· · ·As to one of the allegations?· So, in     19·   ·to see what -- what the particular entry would be
20·   ·other words, if you see in this letter, there        20·   ·that would show up there.
21·   ·are -- I don't know how many are here -- there's     21·   · · · Q· · ·Other than a new protocol that's been
22·   ·two on this example, but there could be five         22·   ·developed for ITT non-California
23·   ·different allegations in one claim or one            23·   ·employment-prospects claims, has BDU also
24·   ·application, so those would be five separate         24·   ·developed a new form of denial letter to go with
25·   ·claims, and one of the claims might be denied for    25·   ·that protocol, or would claims denied under that


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·1·   ·protocol continue to receive form D letters?         ·1·   ·they finalized the relief methodology or were
·2·   · · · A· · ·Well, your question assumes that BDU      ·2·   ·close to finalizing the relief methodology for the
·3·   ·develops the letters, and we -- these are not our    ·3·   ·approvals.
·4·   ·letters.                                             ·4·   · · · Q· · ·And who did you -- who did you consult
·5·   · · · Q· · ·Okay.· Let me -- let me back up, then,    ·5·   ·with about this information that BDU was able to
·6·   ·to ask more generally about the -- about the         ·6·   ·provide for the denial letters?
·7·   ·denial letters.                                      ·7·   · · · A· · ·Like who asked for input on them?
·8·   · · · · · · So who did develop forms A through D      ·8·   · · · Q· · ·Yeah.
·9·   ·denial letters?                                      ·9·   · · · A· · ·The head of the communications team
10·   · · · A· · ·I think there were a lot of folks         10·   ·that was working on this was a woman named Nicki
11·   ·involved in it.· At the time, the crew at Mark       11·   ·Meoli.· M-E-O-L-I.· And we worked closely with
12·   ·Brown had wanted my team, the borrower defense       12·   ·Chad Schrecengost.· I'm going to get the spelling
13·   ·unit, to focus on adjudications.· So there was an    13·   ·wrong on this, I think.· S-C-H-R-E-C-E-N-G-O-S-T.
14·   ·FSA communications team and our borrower defense     14·   ·I'm pretty sure that's wrong, but that's close.
15·   ·program management team, which was a new -- new      15·   · · · Q· · ·Good effort.
16·   ·group, that were kind of tasked with sharing the     16·   · · · A· · ·And I think those were the two folks at
17·   ·process for having the letters done.                 17·   ·FSA who would have asked me or my team for, you
18·   · · · · · · And that was approval letters and         18·   ·know, what is this field; how do you we -- what do
19·   ·denial letters because that -- there were several    19·   ·we have to fill out, that kind of thing.
20·   ·approval letters, I believe, that were originally    20·   · · · · · · And then I -- I was also on some calls
21·   ·developed.· So it's all kind of done at the same     21·   ·to that effect with GC.
22·   ·time.                                                22·   · · · Q· · ·With who?
23·   · · · · · · And then they worked with our senior      23·   · · · A· · ·Our Office of General Counsel.· I'm
24·   ·leadership at the department and the Office of       24·   ·sorry.
25·   ·General Counsel on the letters.                      25·   · · · Q· · ·Okay.

                                                 Page 87                                                     Page 89
·1·   · · · Q· · ·Who ultimately was responsible for        ·1·   · · · · · · MR. MERRITT:· I'll note for the record
·2·   ·approving the form denial letters?                   ·2·   ·that Chad Schrecengost is listed in defendants'
·3·   · · · A· · ·I can't answer that.· I don't know that   ·3·   ·response, interrogatory number 2, for spelling and
·4·   ·there was one person, but I think Mark Brown would   ·4·   ·whatever else.
·5·   ·probably be a better person to ask because he        ·5·   · · · BY MS. ELLIS:
·6·   ·would have interacted with the folks at LBJ on       ·6·   · · · Q· · ·Okay.· But then beyond Meoli,
·7·   ·whether they were given the green light to           ·7·   ·Schrecengost and some people from OGC, you don't
·8·   ·proceed.                                             ·8·   ·know who was actually involved in the drafting or
·9·   · · · Q· · ·How did you find out about the form       ·9·   ·approval of these letters?
10·   ·denial letters?                                      10·   · · · A· · ·You broke up a little bit there.· I'm
11·   · · · A· · ·About their existence?                    11·   ·sorry, Rebecca.· Could you repeat that again?
12·   · · · Q· · ·Yes.                                      12·   · · · Q· · ·No problem.
13·   · · · A· · ·I was always kind of kept in the loop     13·   · · · · · · So besides Meoli, Schrecengost and
14·   ·because my team -- the data that shows up -- so      14·   ·certain people from OGC, you don't know who else
15·   ·all of these kind of highlighted areas -- it's       15·   ·was involved in drafting or approving the letters?
16·   ·gray on mine, but I think the original versions      16·   · · · A· · ·Well, I think those are two different
17·   ·are yellow highlights.· Those are fields that are    17·   ·things, the drafting and the approving.· And I
18·   ·in our platform.· So, you know, we were kind of in   18·   ·don't know all of the people who had a hand in
19·   ·a consulting role for what available fields could    19·   ·drafting the letter.· I know it was a weeks' long
20·   ·be pulled into the letter.                           20·   ·process, so I'm sure there were a lot of people
21·   · · · · · · So I was -- I was on a number of the      21·   ·who worked on them.
22·   ·calls and emails and things along those lines to     22·   · · · · · · And then I was not involved in, you
23·   ·get the letters finalized, so I don't know when I    23·   ·know, kind of the final sign-off on it, so as I
24·   ·first became aware -- I mean, I became aware that    24·   ·said, I think Mark Brown would probably be the
25·   ·they were drafting them around the time of when      25·   ·best person to ask that.


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·1·   · · · Q· · ·Do you think he would know who was        ·1·   ·that that wasn't necessary because it was argued
·2·   ·involved in the final sign-off process?              ·2·   ·that regardless of what state law might have
·3·   · · · A· · ·I would think so.· That would be the      ·3·   ·applied that the application would be denied.
·4·   ·typical process, yeah.                               ·4·   · · · Q· · ·So I'd like to look at an example of a
·5·   · · · Q· · ·Okay.· You said you believe it took a     ·5·   ·completed form D denial letter.
·6·   ·matter of weeks to develop these form letters.       ·6·   · · · · · · MS. ELLIS:· So this will be behind tab
·7·   · · · A· · ·That's my recollection, yes.              ·7·   ·15 in your hard copies.· On the Dropbox, the
·8·   · · · Q· · ·Do you know what -- what made it          ·8·   ·bracket 15 ECF 129-1, Connor declaration.· This
·9·   ·complicated or time-consuming to put these           ·9·   ·was marked as Exhibit 15 in the deposition of
10·   ·together?                                            10·   ·Diane Jones.
11·   · · · A· · ·I don't know.                             11·   · · · · · · (Exhibit 15 referred to.)
12·   · · · Q· · ·Is there anywhere in -- in this form D    12·   · · · BY MS. ELLIS:
13·   ·letter where the applicable law would be filled      13·   · · · Q· · ·And there's a number of attachments
14·   ·in?                                                  14·   ·here.· I'm looking at the affidavit of Theresa
15·   · · · A· · ·I mean, there's an applicable law         15·   ·Sweet that begins at page 24 of the PDF, page 24
16·   ·section.· It doesn't -- I think this letter is for   16·   ·of the ECF filing.
17·   ·both.· I'm sorry.· I'm just reading.· It's been a    17·   · · · A· · ·Okay.
18·   ·while.                                               18·   · · · Q· · ·And then attached to -- further
19·   · · · Q· · ·Go ahead.                                 19·   ·attached to the affidavit of Theresa Sweet all the
20·   · · · A· · ·(Witness reviews document.)               20·   ·way down at page 51 of the document is a -- an
21·   · · · · · · Yeah, it looks like this is for both      21·   ·example of form D.· This is the form D that
22·   ·regulations.· The applicable state law is not in     22·   ·Theresa Sweet, the named plaintiff in this case,
23·   ·here for the 2016 regulation.· Obviously, it's a     23·   ·received.
24·   ·federal standard, so there wouldn't be anything      24·   · · · A· · ·That's exhibit B to her affidavit?
25·   ·along this line.                                     25·   · · · Q· · ·Exhibit B to her declaration.

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·1·   · · · Q· · ·Were you ever involved in any             ·1·   · · · A· · ·Yeah.· Got it.
·2·   ·discussions about whether the applicable state law   ·2·   · · · Q· · ·Okay.· So if you -- if you go down to
·3·   ·under the '95 regs would be listed in a denial       ·3·   ·the second page of this attachment, there's that
·4·   ·letter?                                              ·4·   ·section as we were just looking at in the form
·5·   · · · A· · ·There was a conversation about that,      ·5·   ·denial where it lists the allegations and then the
·6·   ·and the -- that was not necessarily populated in     ·6·   ·reasons for denial.
·7·   ·all of the cases for the reason I mentioned          ·7·   · · · · · · Allegation 1:· Employment Prospects.
·8·   ·before, which is that the cases that were going      ·8·   ·You allege that Brooks Institute engaged in
·9·   ·out with this letter -- this letter was drafted      ·9·   ·misconduct related to employment prospects.· This
10·   ·after a bunch of cases were already adjudicated      10·   ·allegation fails for the following reason(s):
11·   ·and not the other way around.                        11·   ·Failure to state a legal claim.
12·   · · · · · · And, so, the intent was to send out --    12·   · · · · · · Is there any way that we could tell
13·   ·actually, I don't know if it was this letter or C    13·   ·from reading this letter what was wrong with
14·   ·because they're pretty similar.· I think it might    14·   ·Theresa Sweet's employment-prospects allegations?
15·   ·have been C actually that I'm thinking of.           15·   · · · A· · ·Well, clearly, all we can tell from
16·   · · · · · · But I -- my recollection is that there    16·   ·this is my team concluded that their -- the
17·   ·was discussion of whether or not to include state    17·   ·specific claim with respect to the employment
18·   ·law as a field but that would have required more     18·   ·prospects did not state a legal claim.· That's
19·   ·time for my team to go back and, you know, fill in   19·   ·what's in here.
20·   ·any data that needed to -- with respect to state     20·   · · · Q· · ·And is that also the case with regard
21·   ·law where it really wasn't being denied because of   21·   ·to allegations 2 and 3?
22·   ·state law; it was being denied for the reasons       22·   · · · A· · ·That is the -- the reason that's
23·   ·that I mentioned before.                             23·   ·included, right.
24·   · · · Q· · ·Uh-huh.                                   24·   · · · Q· · ·We discussed earlier that it should be
25·   · · · A· · ·And, so, I think the conclusion was       25·   ·unlikely that an allegation of employment


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·1·   ·prospects would be denied for failure to state a     ·1·   · · · A· · ·That's always been a policy in borrower
·2·   ·legal claim.                                         ·2·   ·defense going back to 2016; that one borrower's
·3·   · · · · · · Is there any way to tell from this        ·3·   ·statement without corroboration would not be
·4·   ·letter why --                                        ·4·   ·sufficient to -- to approve an application.
·5·   · · · A· · ·Sorry.· I --                              ·5·   · · · Q· · ·What sort of documentation does BDU
·6·   · · · Q· · ·Wait.                                     ·6·   ·expect borrowers to provide in order to rise to
·7·   · · · A· · ·You broke up again.· And I don't know     ·7·   ·the level of sufficient evidence?
·8·   ·if it's a problem on my end or if it's other folks   ·8·   · · · A· · ·I would take issue with the way you
·9·   ·or -- I missed the first half of the question,       ·9·   ·framed that.· We don't have any particular
10·   ·though.· Would you please repeat it?                 10·   ·expectation one way or another.· We're just
11·   · · · Q· · ·Okay.· We talked earlier that an          11·   ·adjudicating based on the evidence in front of us,
12·   ·allegation of misrepresentation of employment        12·   ·so, you know, whether that comes from the borrower
13·   ·prospects should probably be unlikely to be denied   13·   ·or from some other source, we make an assessment
14·   ·for the reason of failure to state a legal claim.    14·   ·of the evidence.· But I don't have a particular
15·   · · · · · · Is there any way to tell from this        15·   ·expectation one way or the other.
16·   ·letter why her particular allegations were           16·   · · · Q· · ·Does the borrower defense application
17·   ·insufficient?                                        17·   ·state that the applicant must submit corroborating
18·   · · · · · · MR. MERRITT:· Objection to the            18·   ·materials in order for their claim to be
19·   ·characterization of the prior testimony.             19·   ·considered?
20·   · · · BY MS. ELLIS:                                   20·   · · · A· · ·Which application are you referring to?
21·   · · · Q· · ·You can answer.                           21·   · · · Q· · ·I'm referring to the standard form
22·   · · · A· · ·I'm not sure I can.· Can you rephrase?    22·   ·application that's available on the department's
23·   · · · Q· · ·It's all right.· I'll move on.            23·   ·Web site.
24·   · · · · · · Let's move down to allegations 4 and 5.   24·   · · · A· · ·I don't recall exactly what the wording
25·   ·The letter states that these allegations were        25·   ·is.· I know it requires the borrower to provide

                                                 Page 95                                                     Page 97
·1·   ·rejected for insufficient evidence; is that          ·1·   ·detailed information, encourages the borrower to
·2·   ·correct?                                             ·2·   ·provide supporting evidence, but I don't remember
·3·   · · · A· · ·That's what it says, yes.                 ·3·   ·exactly what the language is.
·4·   · · · Q· · ·Is there any way to tell from this        ·4·   · · · Q· · ·Do you know who originally set the
·5·   ·letter what about Theresa Sweet's evidence was       ·5·   ·policy that the borrower's statement alone would
·6·   ·insufficient?                                        ·6·   ·be insufficient to make out a borrower defense
·7·   · · · A· · ·Well, your -- I think you're assuming     ·7·   ·claim?
·8·   ·that there was evidence, which I don't know from     ·8·   · · · A· · ·I don't, but that was the policy when I
·9·   ·this, necessarily, but, you know, it could be that   ·9·   ·joined in October of 2016.
10·   ·there was no evidence, but the drop-down -- the      10·   · · · Q· · ·Is that a written policy?
11·   ·available drop-down is insufficient evidence.· So    11·   · · · A· · ·It's in -- I remember seeing documents
12·   ·the conclusion was that whatever it was that was     12·   ·somewhere along the way back at that point, so I
13·   ·included was insufficient to support the claim.      13·   ·guess it depends on what you mean by a written
14·   · · · Q· · ·Are borrowers' own statements on their    14·   ·policy, but it's -- it's recorded in -- I can
15·   ·applications considered evidence?                    15·   ·remember PowerPoints or something.· I'm sure
16·   · · · A· · ·They're -- they're evidence.· The         16·   ·there's other documentation going back that far.
17·   ·statement in and of itself without any               17·   · · · Q· · ·Do you know if that PowerPoint has been
18·   ·corroborating evidence would not be sufficient to    18·   ·provided for production in this case?
19·   ·approve an application, though.                      19·   · · · A· · ·I don't know.
20·   · · · Q· · ·The statements on -- of our defense       20·   · · · Q· · ·Would that be considered a policy
21·   ·application are made under the penalties of          21·   ·decision?
22·   ·perjury; is that correct?                            22·   · · · A· · ·Yes.
23·   · · · A· · ·Yes.                                      23·   · · · Q· · ·So that's a decision that would not be
24·   · · · Q· · ·So why wouldn't the borrower's sworn      24·   ·made by someone at FSA?
25·   ·statement be considered sufficient evidence?         25·   · · · A· · ·That's correct.


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·1·   · · · Q· · ·Looking back at tab 15, Exhibit 15, the   ·1·   · · · Q· · ·So the review and analysis of evidence
·2·   ·first page of Theresa Sweet's denial letter states   ·2·   ·relating to Brooks Institute is now complete?
·3·   ·that she was enrolled at Brooks Institute; is that   ·3·   · · · A· · ·No, but we've done the preliminary
·4·   ·correct?                                             ·4·   ·analysis that I referred to earlier more generally
·5·   · · · A· · ·I'm sorry.· You're on her affidavit       ·5·   ·in terms of the scope of the evidence.· So we must
·6·   ·now?                                                 ·6·   ·have included that whatever time period that she
·7·   · · · Q· · ·Yeah.· I'm sorry.· It's the first page    ·7·   ·attended or her program or whatever it is that we
·8·   ·of the denial letter which is page 51 of the ECF     ·8·   ·concluded the scope of Brooks is, that she falls
·9·   ·filing.                                              ·9·   ·outside that scope.
10·   · · · A· · ·Yes, it says she was enrolled at Brooks   10·   · · · Q· · ·Whose decision was it to take an
11·   ·Institute.                                           11·   ·approach to borrower defense adjudication where
12·   · · · Q· · ·Yes.                                      12·   ·applications would be ruled out by common evidence
13·   · · · · · · Is Brooks Institute a school for which    13·   ·rather than ruled in by common evidence?
14·   ·BDU has common evidence?                             14·   · · · A· · ·Well, in 2019, we were directed to move
15·   · · · A· · ·If memory serves, Brooks Institute is     15·   ·forward at a very accelerated pace, and so, you
16·   ·part of the CEC school group, if I am remembering    16·   ·know, there were a lot of discussions about how to
17·   ·correctly.· I could be wrong on that, but I think    17·   ·do that and how to get through the backlog in
18·   ·it is.· And we do have common evidence relating to   18·   ·2020.· They wanted all of the cases adjudicated in
19·   ·CEC.· Whether or not it specifically relates to      19·   ·2020.
20·   ·Brooks, I don't recall.                              20·   · · · · · · And the only way to hit the metrics
21·   · · · Q· · ·Let's look back at your declaration,      21·   ·that were required of us were to focus on cases
22·   ·tab 21, marked as Exhibit 21.· And I'm looking at    22·   ·that had established protocols, so the same ones
23·   ·paragraph 68 which is on page 16.                    23·   ·that we were talking about earlier, and cases
24·   · · · A· · ·Okay.                                     24·   ·where either there was no common evidence, which
25·   · · · Q· · ·Could you read the second sentence of     25·   ·we did those first, or where we could assess what

                                                 Page 99                                                   Page 101
·1·   ·that paragraph, please?                              ·1·   ·the scope of the common evidence was and then move
·2·   · · · A· · ·Sure.· The second sentence?               ·2·   ·forward on adjudicating other cases.
·3·   · · · Q· · ·Of paragraph 68, beginning with,          ·3·   · · · · · · So it was kind of a sequencing issue so
·4·   ·Additionally?                                        ·4·   ·that we could continue to meet the -- the weekly
·5·   · · · A· · ·Additionally, BDU has initiated its       ·5·   ·numbers that we needed to meet in order to
·6·   ·review and analysis of the evidence relating to      ·6·   ·adjudicate the cases.
·7·   ·ITT (including campuses outside of California),      ·7·   · · · · · · In a perfect world, we would review all
·8·   ·DeVry University and Brooks Institute but has not    ·8·   ·of the evidence relating to the school before
·9·   ·had available staff to complete that work and        ·9·   ·adjudicating a single case, but if that were the
10·   ·proceed to adjudicate applications from borrowers    10·   ·case, then we probably would not be issuing
11·   ·who attended those schools.                          11·   ·decisions for most of 2020 because, you know, to
12·   · · · Q· · ·So does that refresh your recollection    12·   ·the extent that, you know, most of the cases that
13·   ·on whether there's common evidence on Brooks         13·   ·are left right now, at least potentially, are
14·   ·Institute?                                           14·   ·related to some common evidence or the borrower
15·   · · · A· · ·Yes.                                      15·   ·provided substantial evidence of their own or at
16·   · · · Q· · ·If the review and analysis of common      16·   ·least some evidence that could potentially support
17·   ·evidence for Brooks Institute was not yet            17·   ·the claim.
18·   ·complete, how could Theresa Sweet's application be   18·   · · · · · · So it's a -- it was just a sequencing
19·   ·denied for insufficient evidence?                    19·   ·issue that been ordered to the numbers.· That's
20·   · · · A· · ·Well, your question, I think, is          20·   ·the way we moved forward.
21·   ·premised on a timing -- you know, if it's not        21·   · · · Q· · ·Who set the target numbers?
22·   ·true, it's not true.· This was in November of        22·   · · · A· · ·The secretary set the elimination of
23·   ·2019, and I don't know what the date of her letter   23·   ·the backlog, and my understanding is that, based
24·   ·is.· July of 2020.· So we were in a different        24·   ·on the numbers that were pending at the time, that
25·   ·stage when we issued her letter.                     25·   ·Mark Brown just did the math essentially and set a


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·1·   ·target of us for 5,000 adjudications per week.       ·1·   ·documents in there that would support other claims
·2·   · · · Q· · ·But it was the secretary who said this    ·2·   ·that we just didn't know what they were or where
·3·   ·number of cases in the backlog must be eliminated    ·3·   ·they were.
·4·   ·in 2020?                                             ·4·   · · · · · · So I pushed back on that and there were
·5·   · · · A· · ·I don't know that she said anything       ·5·   ·a lot of conversations about what else could be
·6·   ·about the number.· I think she just said -- it was   ·6·   ·done, and, you know, one of the things that could
·7·   ·actually eliminate the backlog and adjudicate any    ·7·   ·be done was first the cases that didn't have
·8·   ·new case that comes in within 90 days.               ·8·   ·common evidence and then the cases where the
·9·   · · · Q· · ·And when did that directive come down?    ·9·   ·common evidence didn't seem to be related to those
10·   · · · A· · ·That specific directive, I believe, was   10·   ·cases, so that's kind of how it evolved.
11·   ·the fall of 2019, but there were already             11·   · · · Q· · ·For the cases that didn't have common
12·   ·conversations to that effect earlier in 2019.        12·   ·evidence, what would a borrower need to provide in
13·   · · · Q· · ·I'm sorry.· It glitched a little.         13·   ·order to be eligible for relief?
14·   · · · · · · What was earlier in 2019?                 14·   · · · A· · ·I can't answer that hypothetically.· It
15·   · · · A· · ·There were already conversations about    15·   ·really depends on the claim.
16·   ·elimination of the backlog in early 2019.· The       16·   · · · Q· · ·Are -- are the people who are reviewing
17·   ·specific directive of elimination of the backlog     17·   ·individual applications given any instructions on
18·   ·and adjudicating cases within 90 days of receipt,    18·   ·how to assess whether a borrower has provided
19·   ·I believe, was in the fall of 2019.                  19·   ·enough to support their claim?
20·   · · · Q· · ·And who are the conversations among       20·   · · · A· · ·They're not really making an assessment
21·   ·that were earlier in 2019 about elimination of the   21·   ·of -- they're not weighing evidence.· They're, you
22·   ·backlog?                                             22·   ·know, issue spotting and flagging cases that have
23·   · · · A· · ·Well, I don't know who over in LBJ,       23·   ·something that could potentially warrant approval.
24·   ·but, certainly, Mark Brown made all of us within     24·   ·So it's a very low bar at that review stage.
25·   ·FSA that are related to BD aware, so that included   25·   · · · · · · And, so, the junior attorney, if they

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·1·   ·Robin Minor, the then chief enforcement officer      ·1·   ·think there's anything that could lead at all to a
·2·   ·Jeffrey Appel, the -- I'm trying to think.· There    ·2·   ·possibility of approval, they're supposed to
·3·   ·were other policy folks that were involved because   ·3·   ·escalate it to one of the senior attorneys.
·4·   ·they were working on the relief methodology, so,     ·4·   · · · · · · So those cases are all supposed to be
·5·   ·particularly, it was communicated to FSA to just     ·5·   ·set aside.
·6·   ·get it done, essentially.                            ·6·   · · · Q· · ·Are they given written instructions on
·7·   · · · Q· · ·So once that directive came down, whose   ·7·   ·what to look for in order to set aside an
·8·   ·decision was it about how to approach the            ·8·   ·application?
·9·   ·sequencing of which claims would get adjudicated     ·9·   · · · A· · ·They're trained on that.· The protocols
10·   ·first?                                               10·   ·to some extent include that, but there's also --
11·   · · · A· · ·Well, it wasn't really a point in time.   11·   ·you know, when new attorneys come on, we do a full
12·   ·I know initially there was a lot of interest in --   12·   ·week of training, and then they go through kind of
13·   ·there's always been a lot of interest in getting     13·   ·a probationary period where every case that they
14·   ·through the Corinthian cases, so that was one of     14·   ·adjudicate gets adjudicated by somebody more
15·   ·the big priorities.                                  15·   ·senior who, you know, walks them through what is
16·   · · · · · · But, then, I know some of the folks       16·   ·or isn't something that states a claim or what is
17·   ·over in LBJ wanted us to do ITT next, and I -- at    17·   ·or isn't something that would potentially support
18·   ·the time, we had five full-time and one part-time    18·   ·approval that they should be setting aside.
19·   ·attorney, so we just didn't have the bandwidth to    19·   · · · · · · So they get fairly extensive training
20·   ·hit any kind of numbers and review the volume of     20·   ·on that.
21·   ·evidence that we had on ITT because I think we       21·   · · · · · · MS. ELLIS:· Okay.· Let's take a
22·   ·have not quite a million pages of records, but       22·   ·five-minute break.
23·   ·there was a lot of documents that we had, that we    23·   · · · · · · THE VIDEOGRAPHER:· All parties agree to
24·   ·weren't in a position to adjudicate the cases        24·   ·go off the record?
25·   ·because we were pretty confident that there were     25·   · · · · · · MR. MERRITT:· Agree.


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·1·   · · · · · · THE VIDEOGRAPHER:· We're going off the    ·1·   ·makes no predecision at all as to whether or not
·2·   ·record.· The time is 16:35 UTC.                      ·2·   ·the borrower, him or herself, provides sufficient
·3·   · · · · · · (Recess -- 11:35 a.m.)                    ·3·   ·information to state a claim or whether or not
·4·   · · · · · · (After recess -- 11:45 a.m.)              ·4·   ·they provide evidence.· It could go either way.
·5·   · · · · · · THE VIDEOGRAPHER:· We are now on the      ·5·   · · · · · · But, you know, in our experience, there
·6·   ·record.· The time is 16:45 UTC.                      ·6·   ·are just a whole lot of applications that don't
·7·   · · · BY MS. ELLIS:                                   ·7·   ·have a lot of supporting evidence and often no
·8·   · · · Q· · ·Okay.· I wanted to just briefly circle    ·8·   ·supporting evidence.· So, you know, a lot of those
·9·   ·back to a phrase you used earlier which is           ·9·   ·do end up getting denied, but they're cleared for
10·   ·"cleared for adjudication."                          10·   ·adjudication in the sense they can be reviewed one
11·   · · · · · · Could you specify what you mean when      11·   ·way or the other.
12·   ·you say that an application has been cleared for     12·   · · · Q· · ·So cleared for adjudication means a
13·   ·adjudication?                                        13·   ·determination that this application will be judged
14·   · · · A· · ·Yeah.· It's just a shorthand term that    14·   ·either under the standard protocol or under some
15·   ·we use within BDU that we have concluded that        15·   ·other school-specific protocol?
16·   ·we've done what we needed to do to develop a         16·   · · · A· · ·Correct.
17·   ·protocol for review, essentially.· So that's the     17·   · · · Q· · ·Okay.· Have any -- any claims cleared
18·   ·first prerequisite, essentially.· There has to be    18·   ·for adjudication, other than for CCI or ITT, ever
19·   ·a protocol that would allow you to review that       19·   ·been granted?
20·   ·specific application, and sometimes that's a         20·   · · · A· · ·We don't have the protocols -- we don't
21·   ·school-specific protocol because of the things       21·   ·have the approval categories in the protocols yet
22·   ·that we've talked about before in terms of setting   22·   ·because we're still reviewing the common evidence
23·   ·aside cases related to common evidence.              23·   ·for the schools that have potential protocols.
24·   · · · · · · So cleared for adjudication means that    24·   · · · · · · So, no, because we're not looking for
25·   ·there's an available protocol.                       25·   ·whether or not they meet (audio distortion) for

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·1·   · · · Q· · ·Does that include both the                ·1·   ·specific elements under state law or under the
·2·   ·school-specific protocols and a general protocol     ·2·   ·2016 regs.· We haven't got to that point yet.
·3·   ·such as here's what you do for a claim with no       ·3·   · · · · · · So as I said, the cases that are being
·4·   ·common evidence, or are you talking about just the   ·4·   ·reviewed, it's to look at the borrower's
·5·   ·school-specific protocols?                           ·5·   ·allegations because there's been a determination
·6·   · · · A· · ·Well, we have, you know, kind of like a   ·6·   ·that there's not common evidence, and if the
·7·   ·one-off claim.· There's a standard protocol.· So     ·7·   ·borrower has, his or her cases aren't adjudicated
·8·   ·there's a default protocol that is used when, you    ·8·   ·either because they're set aside for review by a
·9·   ·know, there isn't common evidence kind of thing.     ·9·   ·senior team member.
10·   ·And, so, all of the cases, it just walks through     10·   · · · Q· · ·Okay.· So Corinthian and ITT have been
11·   ·what you look for in terms of the borrower's         11·   ·the only schools with claims granted so far?
12·   ·allegations and the evidence that the borrower       12·   · · · A· · ·That's right, and they're the two
13·   ·provides.· But we do specific protocols if there     13·   ·biggest schools by far, and they account
14·   ·are things that we know need to be set aside so      14·   ·collectively for, I think, over half the
15·   ·that cases don't get adjudicated before we've been   15·   ·applications.
16·   ·able to complete the review of the evidence.         16·   · · · Q· · ·Before the form denial notices A
17·   · · · Q· · ·Okay.· I guess what I'm trying to         17·   ·through D that we talked about earlier started
18·   ·understand is, does cleared for adjudication mean    18·   ·being used, did BDU have a different format for
19·   ·this is a case that could potentially be granted?    19·   ·denial letters?
20·   · · · A· · ·No.· It's just cleared to be reviewed.    20·   · · · A· · ·You broke up again there a little bit.
21·   · · · Q· · ·So it's a complete, a complete            21·   ·Did you just ask me if we had a different denial
22·   ·application?                                         22·   ·letter before forms A through D?
23·   · · · A· · ·No, that's actually a different           23·   · · · Q· · ·Yes.
24·   ·question.· It's just that we've determined what      24·   · · · A· · ·There was a denial letter that was
25·   ·the review protocol for that case would be.· It      25·   ·conceptually similar to letter A, I believe.


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·1·   ·Letter A is the letter that was used for people      ·1·   ·in 2017 to 2018, no denials went out.
·2·   ·who only alleged a job-placement-rate claim.         ·2·   · · · Q· · ·All right.· Thank you.
·3·   ·There were job-placement-rate claims that were       ·3·   · · · · · · I'm going to back up in time a little
·4·   ·adjudicated late 2017 to 2018, and there was a       ·4·   ·bit back to 2017.· When the new administration
·5·   ·letter that met that same criteria, essentially,     ·5·   ·came in in January '17, did you have any
·6·   ·in terms of who it would go out to that was a        ·6·   ·discussions with the transition team about
·7·   ·different letter.                                    ·7·   ·borrower defense?
·8·   · · · Q· · ·Who drafted that letter, that form        ·8·   · · · · · · MR. MERRITT:· Objection as beyond the
·9·   ·letter?                                              ·9·   ·scope.
10·   · · · A· · ·I believe we did.· I think it was         10·   · · · · · · MS. ELLIS:· Are you instructing the
11·   ·edited by OGC, but I know my team did the initial    11·   ·witness not to answer?
12·   ·draft, I believe.                                    12·   · · · · · · MR. MERRITT:· You can answer that
13·   · · · Q· · ·And it contained basically the same       13·   ·question.· I just do want to note that that is not
14·   ·information that's now in form denial A?             14·   ·related to one of the topics the court has
15·   · · · A· · ·I don't remember to be honest with you.   15·   ·authorized discovery on, so . . .
16·   ·I mean, it was intended to address the same          16·   · · · · · · MS. ELLIS:· Well, I disagree, and if
17·   ·claims, but I don't remember exactly what the        17·   ·you'd like to move to strike after today, you can
18·   ·contents were in that one versus this one.           18·   ·feel free to.
19·   · · · Q· · ·Before form denials B, C and D started    19·   · · · · · · MR. MERRITT:· Okay.· You can answer
20·   ·being used, had any claims other than Corinthian     20·   ·that question, but . . .
21·   ·job-placement claims been denied?                    21·   · · · · · · THE WITNESS:· Yes.
22·   · · · A· · ·In terms of denied, meaning just not      22·   · · · BY MS. ELLIS:
23·   ·sent out?                                            23·   · · · Q· · ·So did you have any discussions about
24·   · · · Q· · ·Meaning had any borrowers been notified   24·   ·borrower defense with the Trump transition team in
25·   ·of the denial of their claims other than CCI JPR     25·   ·January, February of 2017?

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·1·   ·applicants?                                          ·1·   · · · A· · ·Yes.
·2·   · · · A· · ·There were two denials issued in 2017,    ·2·   · · · Q· · ·Who did you discuss that with?
·3·   ·summer of 2017, I think.                             ·3·   · · · A· · ·Oh.· Well, there was the -- a beachhead
·4·   · · · Q· · ·Two denials total, not two schools?       ·4·   ·team and a landing team.· I can't remember which
·5·   · · · A· · ·Two -- two individuals, yeah.             ·5·   ·was which.· But there was, you know, the team that
·6·   · · · Q· · ·Did they receive individual denial        ·6·   ·came in prior to the inauguration, and we had
·7·   ·letters, or was there a form in place?               ·7·   ·meetings with them, and then there was a team that
·8·   · · · A· · ·They were individual letters.             ·8·   ·came in after that, and we had meetings with them.
·9·   · · · Q· · ·Okay.                                     ·9·   · · · Q· · ·So what did you talk about with members
10·   · · · A· · ·You froze again there for half a          10·   ·either of the beachhead team or the landing team
11·   ·second.· Did you ask me if it was a form?            11·   ·with regard to borrower defense?
12·   · · · Q· · ·Yeah.· You -- you froze as well.          12·   · · · · · · MR. MERRITT:· Objection: beyond the
13·   · · · · · · Did you say that they got individual      13·   ·scope.· I'm going to instruct not to answer to
14·   ·denial letters?                                      14·   ·enforce the limitation order by the court.
15·   · · · A· · ·They received individual denial           15·   · · · · · · MS. ELLIS:· I don't believe that's
16·   ·letters, yes.                                        16·   ·consistent with the judge's standing order on
17·   · · · Q· · ·Okay.· And other than those two           17·   ·depositions.
18·   ·individuals, no other borrowers were notified of     18·   · · · · · · MR. MERRITT:· It's consistent with
19·   ·the denial of their claims until forms B, C and D    19·   ·Federal Rule of Civil Procedure 30(c)(2).
20·   ·started going out?                                   20·   · · · · · · MS. ELLIS:· Can we talk about this off
21·   · · · A· · ·Other than --                             21·   ·the record?
22·   · · · Q· · ·Other than Corinthian JPR?                22·   · · · · · · MR. MERRITT:· Okay.
23·   · · · A· · ·Yes, making sure I understand your        23·   · · · · · · THE VIDEOGRAPHER:· We are now off the
24·   ·question.· Other than two individual denials in      24·   ·record.· The time is 16:56 UTC.
25·   ·summer of 2017 and the job-placement-rate denials    25·   · · · · · · (Recess -- 11:57 a.m.)


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·1·   · · · · · · (After recess -- 12:13 p.m.)              ·1·   · · · Q· · ·So you responded to requests for data
·2·   · · · · · · THE VIDEOGRAPHER:· We are now on the      ·2·   ·and documents from the review panel?
·3·   ·record.· The time is 17:13 UTC.                      ·3·   · · · A· · ·Yes.
·4·   · · · BY MS. ELLIS:                                   ·4·   · · · Q· · ·Did you ever provide any other
·5·   · · · Q· · ·In January and February of 2017, did      ·5·   ·information to them?
·6·   ·you have any conversations with members of the       ·6·   · · · A· · ·Well, the "them" included Justin
·7·   ·transition team about the process of BDU's           ·7·   ·Riemer, and I don't really, in my mind, delineate
·8·   ·adjudication of borrower defense applications?       ·8·   ·between what is requested by him for the review
·9·   · · · A· · ·Yes, yes.                                 ·9·   ·panel as opposed to just in the ordinary course of
10·   · · · Q· · ·Who did you have those conversations      10·   ·his responsibilities getting up to speed, so I'm
11·   ·with?                                                11·   ·sure there was some overlap there.
12·   · · · A· · ·I'm trying to remember who was on the     12·   · · · Q· · ·Understood.
13·   ·transition team.· The main point person was Justin   13·   · · · · · · Did you ever meet with the review
14·   ·Riemer, R-I-E-M-E-R, but there were several          14·   ·panel?
15·   ·members of the transition team, and I can't          15·   · · · A· · ·Yeah.
16·   ·remember who all of them were.                       16·   · · · Q· · ·Were you consulted on the decision to
17·   · · · Q· · ·Okay.· And what did you discuss with      17·   ·request an OIG review of the borrower defense
18·   ·respect to borrower defense adjudications?           18·   ·process?
19·   · · · A· · ·It wasn't one conversation.· It was a     19·   · · · A· · ·No.
20·   ·continuing conversation over weeks, and, you know,   20·   · · · Q· · ·Did you provide information to OIG
21·   ·as with all transitions, as I understand it, when    21·   ·during the course of their work?
22·   ·they come in, they ask for data and documents and    22·   · · · A· · ·Yeah, over a (audio distortion), that
23·   ·things like that, so a lot of it was just getting    23·   ·was a very labor-intensive process.
24·   ·them information to get up to speed.                 24·   · · · Q· · ·Did you have an understanding of why
25·   · · · Q· · ·Okay.· I want to turn back to your        25·   ·the IG review was recommended?

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·1·   ·declaration.· That's tab 21, Exhibit 21, starting    ·1·   · · · · · · MR. MERRITT:· Objection: beyond the
·2·   ·at paragraph 55 which is at the bottom of page 13.   ·2·   ·scope.
·3·   · · · A· · ·Okay.                                     ·3·   · · · BY MS. ELLIS:
·4·   · · · Q· · ·Could you read paragraph 55, please?      ·4·   · · · Q· · ·Okay.· I'll move on.
·5·   · · · A· · ·The whole paragraph or just the first     ·5·   · · · · · · Did you ever receive any written
·6·   ·sentence?                                            ·6·   ·decisions or directives or any other written
·7·   · · · Q· · ·The whole paragraph.· I think it's only   ·7·   ·materials from the borrower defense review panel?
·8·   ·two sentences, so the whole paragraph.               ·8·   · · · A· · ·I don't know if it was immediately at
·9·   · · · A· · ·Okay.· In March 2017, the department      ·9·   ·the time, but you said "did you ever."· At some
10·   ·leadership convened a borrower defense review        10·   ·point I received the memo recommending to the
11·   ·panel (the review panel) to make recommendations     11·   ·secretary that she ask the IG to do a review, and
12·   ·on a borrower defense process.· It is my             12·   ·I think that there were other things in the memo
13·   ·understanding that the review panel recommended      13·   ·about -- I don't know if there were conclusions
14·   ·and the secretary subsequently requested a           14·   ·that they reached, but that was the only document
15·   ·comprehensive review of the borrower defense work    15·   ·to my knowledge.
16·   ·and processes by the department's Office of the      16·   · · · Q· · ·Okay.· Do you know whether that
17·   ·Inspector General.                                   17·   ·document has been provided for production in this
18·   · · · Q· · ·In March 2017, what was your knowledge    18·   ·case?
19·   ·about the review panel?                              19·   · · · A· · ·I don't know.
20·   · · · A· · ·Not much other than that it was being     20·   · · · · · · MR. MERRITT:· I'll just note generally
21·   ·created, and I think I became aware of a few of      21·   ·that discovery is ongoing as are the document
22·   ·the people who were on it, but that's probably the   22·   ·productions, so it's an ongoing process.
23·   ·extent of my knowledge at that point except for to   23·   · · · BY MS. ELLIS:
24·   ·the extent that we were getting requests for data    24·   · · · Q· · ·Let's look at the next paragraph of
25·   ·and documents and things along those lines.          25·   ·your declaration, paragraph 56.· Could you read


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·1·   ·that for the record, please?                         ·1·   ·then handling the loans, which is work that's
·2·   · · · A· · ·Enforcement was advised in the spring     ·2·   ·handled by somebody either within FSA or a
·3·   ·of 2017 that the department might make significant   ·3·   ·contractor.
·4·   ·changes to the BDU processes and that no             ·4·   · · · · · · Previously, it was our business
·5·   ·additional approvals would be processed until the    ·5·   ·operations unit -- working with the servicers
·6·   ·completion of the work of the review panel and,      ·6·   ·to -- to handle the loans.· So processing for an
·7·   ·subsequently, by the IG.                             ·7·   ·approval would require a discharge of or whatever
·8·   · · · Q· · ·Who advised enforcement that no           ·8·   ·the amount of the -- or the percentage of the
·9·   ·approvals would be processed?                        ·9·   ·discharge depending on the circumstances, and then
10·   · · · A· · ·I don't know that it was just one         10·   ·putting loans back in repayment and taking the
11·   ·time -- well, I guess when we first were advised I   11·   ·borrower out of forbearance, typically.· Although
12·   ·think it was communicated to me by the then deputy   12·   ·in the current climate because of COVID, I think
13·   ·chief enforcement officer Laura Kim, but I don't     13·   ·all loans are remaining in forbearance, but our
14·   ·know who exactly communicated that to her.           14·   ·usual process, that would be it.
15·   · · · Q· · ·So do you know who, ultimately, was       15·   · · · Q· · ·Okay.· When deputy CEO Kim told you no
16·   ·responsible for making the decision that no          16·   ·additional approvals would be processed, did she
17·   ·approvals would be processed?                        17·   ·say anything to you about the reason or the
18·   · · · A· · ·No, I don't know.                         18·   ·purpose for this policy going into effect?
19·   · · · Q· · ·But you -- you were told that no          19·   · · · · · · MR. MERRITT:· Objection: scope; and
20·   ·approvals would be processed by deputy chief         20·   ·potentially calling for privileged information --
21·   ·enforcement officer Kim?                             21·   ·deliberative information.
22·   · · · A· · ·Yes.· She wasn't making that decision.    22·   · · · · · · MS. ELLIS:· It's not a predecisional
23·   ·She was communicating that decision, and I just      23·   ·question.· The decision had been made.
24·   ·don't know who at LBJ she had those conversations    24·   · · · · · · MR. MERRITT:· What was the question?
25·   ·with or even if she had those directly herself.      25·   ·Sorry.

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·1·   · · · Q· · ·Was that -- was that fact that no         ·1·   · · · · · · MS. ELLIS:· The question was whether
·2·   ·approvals would be processed ever memorialized in    ·2·   ·deputy CEO Kim communicated a reason behind the
·3·   ·writing to your knowledge?                           ·3·   ·decision to stop processing approvals.
·4·   · · · A· · ·Well, we don't process approvals, so      ·4·   · · · · · · MR. MERRITT:· Okay.· I'll note the
·5·   ·there very well may have been something in writing   ·5·   ·objection to scope, but the witness can answer.
·6·   ·that, at the time, the issuance of decisions and     ·6·   · · · · · · THE WITNESS:· What she communicated to
·7·   ·the handling of the loans was managed by our         ·7·   ·me was that -- well, two things, really.· One,
·8·   ·business operations team.· I don't remember          ·8·   ·that the department was taking a close look at the
·9·   ·whether there was a document sent to me that I was   ·9·   ·borrower defense adjudication processes, and, two,
10·   ·copied on or something advising them to -- to not    10·   ·that -- that we probably should cut back on
11·   ·send decisions out, but it would have gone to        11·   ·staffing at that point because any work that we
12·   ·them, not to me.                                     12·   ·had been doing may have to be redone.
13·   · · · Q· · ·What does it mean -- in this context,     13·   · · · · · · So, you know, in the interest of budget
14·   ·what does it mean to process an approval?            14·   ·constraints and whatnot, those were the parts of
15·   · · · A· · ·Once the decision is made, whether it's   15·   ·the equation that FSA has responsibility in terms
16·   ·an approval or a denial, that's just the first       16·   ·of addressing budget issues and that kind of
17·   ·step.· Then that has to be translated into a         17·   ·thing, so those were the two things that I
18·   ·communication to the borrower, a communication to    18·   ·remember her communicating to me.
19·   ·the servicer, and all of the loans need to be        19·   · · · BY MS. ELLIS:
20·   ·handled in accordance with the decision.             20·   · · · Q· · ·Okay.· You stated in your declaration
21·   · · · · · · So we call it post adjudication           21·   ·that no additional approvals would be processed
22·   ·processing in some, you know, of our kind of         22·   ·until the completion of the work of the review
23·   ·parlance, but it's -- those are the two main         23·   ·panel.
24·   ·pieces, essentially -- is the decision is part of    24·   · · · · · · Did you have any understanding at the
25·   ·the processing, the decision to the borrower, and    25·   ·time of how long the work of the review panel


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·1·   ·might take?                                          ·1·   ·me -- that's too strong a statement.· I think we
·2·   · · · A· · ·No idea.                                  ·2·   ·were asked some questions about relief
·3·   · · · Q· · ·Flipping back to paragraph 54 of your     ·3·   ·determinations that had previously been made with
·4·   ·declaration -- that's on the previous page --        ·4·   ·respect to the protocols, but I don't recall a
·5·   ·could you read that for the record, please?          ·5·   ·discussion about a new relief approach at that
·6·   · · · A· · ·On January 20, 2017 through March 2017,   ·6·   ·time.
·7·   ·the BDU continued to adjudicate CCI transfer of      ·7·   · · · BY MS. ELLIS:
·8·   ·credits and guaranteed employment borrower defense   ·8·   · · · Q· · ·Would you agree that in the disposition
·9·   ·claims and from January 20, 2017 through May 4,      ·9·   ·of borrower defense applications there is a
10·   ·2017, BDU continued to adjudicate CCI JPR claims.    10·   ·question of whether the borrower is entitled to
11·   · · · Q· · ·Why did you stop adjudicating CCI JPR     11·   ·borrower defense relief and a separate question of
12·   ·claims on May 4th, 2017?                             12·   ·how much relief they are entitled to?
13·   · · · A· · ·Yeah, I had forgotten about that piece.   13·   · · · A· · ·If any, yes, I think that's -- that's
14·   ·I believe when Laura Kim advised me that, you        14·   ·two parts.· So whether or not the application
15·   ·know, things were on hold, the -- the JPR review     15·   ·should be approved or denied, and if it's
16·   ·process is very different and has a specific         16·   ·approved, so there's only a second part if it's
17·   ·application form, and we also had contractors that   17·   ·approved, but if it's approved, what, if any,
18·   ·were specifically trained on that, and that it       18·   ·relief is to be given to the borrower, yes.
19·   ·seemed like they were taking less of an interest     19·   · · · Q· · ·Okay.· So in the spring of 2017, was
20·   ·in making changes to that, at least at that early    20·   ·there a discussion that department policy around
21·   ·stage.                                               21·   ·that step one, whether the borrower is entitled to
22·   · · · · · · So I think -- I'm trying to remember      22·   ·relief, was there discussion that policy around
23·   ·the timing now.· I believe we continued to work on   23·   ·that was going to change?
24·   ·those for a little bit longer and ask whether we     24·   · · · A· · ·Yeah, that's the piece -- that's what
25·   ·should hold off, and it may have taken some time     25·   ·my team does.· So what I was referring to before

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·1·   ·to -- to get that decision, so I think that --       ·1·   ·is there, you know, may have been -- it didn't
·2·   ·that accounts for the time difference, and then,     ·2·   ·turn out that there were a lot of them, but there
·3·   ·ultimately, we did stop working on those as well.    ·3·   ·may have been imminent policy changes that would
·4·   · · · Q· · ·At the time you were told that            ·4·   ·in some minor or major fashion affect how we
·5·   ·approvals would no longer be processed, were you     ·5·   ·adjudicated the cases.
·6·   ·also told to stop adjudicating applications?         ·6·   · · · Q· · ·And, then, did you have any knowledge
·7·   · · · A· · ·Yes.                                      ·7·   ·or discussions around step 2, the level of relief?
·8·   · · · Q· · ·Were you given reason why you should      ·8·   · · · A· · ·In -- in the spring of 2017?
·9·   ·stop adjudicating applications?                      ·9·   · · · Q· · ·(Indicated affirmative.)
10·   · · · A· · ·Well, again, it was that the department   10·   · · · A· · ·No, I don't believe.
11·   ·was making an assessment of whether they wanted to   11·   · · · Q· · ·Okay.· When -- as of the spring of
12·   ·make some -- you know, the way it was put to me,     12·   ·2017, when BDU adjudicated that a claim should be
13·   ·it was they were taking a hard look at what we       13·   ·granted, did someone have to sign off on that
14·   ·were doing and what changes they want to make to     14·   ·decision?
15·   ·it, and, secondarily, that any work that we were     15·   · · · A· · ·Well, I guess there's always someone
16·   ·doing was probably going to have to be reworked      16·   ·who has to sign off.· You mean someone above me?
17·   ·because it wasn't going to comply with whatever      17·   · · · Q· · ·Yes.
18·   ·new processes or policies they might come up with.   18·   · · · A· · ·During that time period and before,
19·   · · · Q· · ·Was there discussion at that time that    19·   ·there was a process that had been set up in 2016
20·   ·the legal basis for relief under the 1995 regs       20·   ·that an approval package or a denial package would
21·   ·would change?                                        21·   ·be sent out to OUS.· In 2016, early 2017, it
22·   · · · · · · MR. MERRITT:· Objection to the extent     22·   ·actually went through the chief enforcement
23·   ·it calls for privileged information.                 23·   ·officer to -- to the Office of the Under Secretary
24·   · · · · · · THE WITNESS:· I don't think there was     24·   ·and copied to the Office of General Counsel.
25·   ·any discussion about relief at that time.· Let       25·   · · · Q· · ·Did there come a point when that


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·1·   ·process changed?                                     ·1·   · · · Q· · ·I see.· And who actually inputs those
·2·   · · · A· · ·Yes, it was a pretty similar process in   ·2·   ·relief numbers?
·3·   ·2017 when we resumed issuing approvals into 2018,    ·3·   · · · A· · ·We're working to implement an update to
·4·   ·but then following the -- the power decision when    ·4·   ·the platform so that it actually doesn't even go
·5·   ·the 2016 reg went into effect in 2018, there was a   ·5·   ·through my team at all because, like I said, we're
·6·   ·process in the 2016 regulation that laid out what    ·6·   ·just kind of doing data entry on that.· So what it
·7·   ·should be done to adjudicate cases.                  ·7·   ·will look like will be that the data will be fed
·8·   · · · · · · So from that point forward, we haven't    ·8·   ·into the system and then, you know, when it's
·9·   ·gone that route of submitting things up through      ·9·   ·adjudicated, you just press a button and it will
10·   ·FSA to the Office of the Under Secretary or to the   10·   ·get populated.
11·   ·Office of General Counsel.                           11·   · · · · · · Right now for the most part, we -- the
12·   · · · Q· · ·What was the new process that was laid    12·   ·policy team comes up with a chart, so they crunch
13·   ·out in the 2016 regs?                                13·   ·the numbers that relate to the specific school and
14·   · · · A· · ·It calls for a department official to     14·   ·apply the methodology and convert that into
15·   ·adjudicate the cases, do the fact-finding process    15·   ·percentages.· And then they put it on a chart that
16·   ·and adjudicate the cases, and that's -- the          16·   ·they put on -- to hand off to my team, and, then,
17·   ·consensus is that's me and my team.                  17·   ·you know, if we approve a case for, like I said,
18·   · · · Q· · ·So after Bauer, since the 2016            18·   ·medical assisting certificate program for CCI,
19·   ·regulation went into effect, you have the final      19·   ·then here's the percentage.
20·   ·sign-off on approvals.                               20·   · · · Q· · ·How many schools have these charts
21·   · · · A· · ·Yes.· That's the way it currently is.     21·   ·prepared for them right now?
22·   ·Now, it could change with the new administration     22·   · · · A· · ·Under the 2019 methodology?
23·   ·coming in, but that's the current way.               23·   · · · Q· · ·Yes.
24·   · · · Q· · ·All right.· And are we talking about      24·   · · · A· · ·I don't know.· I mean, I know there's
25·   ·approval just of step 1, the entitlement to          25·   ·Corinthian and ITT, and I know that we have kept

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·1·   ·relief, or also approval of step 2, the amount of    ·1·   ·in touch with the policy team in terms of schools
·2·   ·relief?                                              ·2·   ·that we think will have at least some approvals,
·3·   · · · A· · ·Item used to -- as an approval.· It's     ·3·   ·but I don't know where they are in the process on
·4·   ·basically -- the department's position is that       ·4·   ·that, and I think that there are some ongoing
·5·   ·relief is a policy decision, so the Office of the    ·5·   ·policy discussions on how they're applied to
·6·   ·Under Secretary twice has issued policy directives   ·6·   ·particular schools, but we're not really
·7·   ·that were then implemented by FSA on what the        ·7·   ·participants in those conversations.
·8·   ·appropriate relief is for -- for the claims that     ·8·   · · · Q· · ·In 2016 when you joined BDU, was it
·9·   ·are subject to those particular methodologies.       ·9·   ·also the case then that relief was considered to
10·   · · · · · · And our policy implementation team        10·   ·be a policy decision?
11·   ·worked in both instances with the Office of the      11·   · · · A· · ·I don't know.· I don't know.· It was a
12·   ·Under Secretary -- I believe more so on the second   12·   ·recommendation from my team to the chief
13·   ·one in 2019 -- and, eventually, that turns into      13·   ·enforcement officer, and then it was recommended
14·   ·percentages that were handed to us, essentially.     14·   ·to the -- yeah, I guess it would be a policy
15·   · · · · · · So our role with respect to relief        15·   ·decision based on a recommendation.
16·   ·under both the 2017 and 2019 methodologies (audio    16·   · · · Q· · ·A recommendation from who?
17·   ·distortion) administerial, essentially.              17·   · · · A· · ·From us, from -- from the enforcement
18·   · · · Q· · ·So you have, essentially, a formula       18·   ·office by way of, you know, borrower defense
19·   ·that -- once an application is approved, you have    19·   ·providing a recommendation to enforcement and then
20·   ·a formula that you plug in that determines the       20·   ·enforcement conveying it to the under secretary.
21·   ·amount of relief?                                    21·   · · · Q· · ·I'd like to look for a minute at
22·   · · · A· · ·It's even less involved than that.· We    22·   ·Exhibit -- tab 7, which is also Exhibit 7 from the
23·   ·get a chart, and it says, Medical assisting          23·   ·Jones deposition, on the Dropbox that's bracket 7
24·   ·certificate, 25 percent.· And it's just a data       24·   ·Manning memo 5/4/2017.
25·   ·entry.                                               25·   · · · · · · (Exhibit 7 referred to.)


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·1·   · · · BY MS. ELLIS:                                   ·1·   · · · · · · So if a case were denied in total, then
·2·   · · · Q· · ·Is this a document that you've seen       ·2·   ·the servicers have to have instructions for how to
·3·   ·before?                                              ·3·   ·take the borrower out of forbearance.· There were
·4·   · · · A· · ·Yes.                                      ·4·   ·discussions going on -- I don't know if it was
·5·   · · · Q· · ·And this is a memorandum recommending     ·5·   ·this early, but in 2017 about, you know, whether
·6·   ·the -- the discharge of approximately 16,000 loans   ·6·   ·there would be some kind of an interest credit
·7·   ·that have been adjudicated before January 20th,      ·7·   ·because some of these borrowers' claims had been
·8·   ·2017; is that correct?                               ·8·   ·pending for a while, so there was some
·9·   · · · A· · ·That's correct.                           ·9·   ·conversation about that.
10·   · · · Q· · ·If you look at the last page, please,     10·   · · · · · · So long story short, we weren't -- we
11·   ·this document is signed by Secretary DeVos and       11·   ·weren't holding off on issuing a whole lot of
12·   ·under the other/comment section she wrote, With      12·   ·denials in early 2017 because there weren't that
13·   ·extreme displeasure.                                 13·   ·many that we had ready to send out at that point.
14·   · · · · · · Is that accurate?                         14·   · · · Q· · ·At that time, were you told to stop
15·   · · · A· · ·That's what she wrote.                    15·   ·developing memoranda or protocols for additional
16·   · · · Q· · ·When did you first see this document?     16·   ·categories of claims other than the Corinthian and
17·   · · · A· · ·It was later.· It was quite a bit         17·   ·ITT protocols that were already in place?
18·   ·later.· I don't remember exactly.· It might have     18·   · · · A· · ·We were told to stop seeking approval
19·   ·been in even 2018 or later.                          19·   ·for such things, but we weren't told to stop
20·   · · · Q· · ·What did you take the Secretary's         20·   ·reviewing evidence, that kind of thing.
21·   ·comment to mean?                                     21·   · · · · · · So that work continued, but we weren't
22·   · · · A· · ·That she was not happy to be signing      22·   ·staffed at the level that would have allowed us to
23·   ·off on discharges for the previously                 23·   ·develop a whole lot of new review protocols at
24·   ·(indiscernible) cases or the loans related to the    24·   ·that point anyway.
25·   ·previously (indiscernible) cases.                    25·   · · · Q· · ·So you weren't -- you weren't

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·1·   · · · Q· · ·Were you aware of the secretary           ·1·   ·developing protocols during that period, but you
·2·   ·expressing displeasure about BDU's adjudication of   ·2·   ·were reviewing evidence?
·3·   ·borrower defense applications, otherwise?            ·3·   · · · A· · ·Yes.
·4·   · · · · · · MR. MERRITT:· Objection: beyond the       ·4·   · · · Q· · ·And what -- what was the result of --
·5·   ·scope.                                               ·5·   ·of that review?· Was it -- was it memorialized in
·6·   · · · · · · MS. ELLIS:· Can the witness answer?       ·6·   ·any way other than in a application-review
·7·   · · · · · · MR. MERRITT:· Can you explain how it's    ·7·   ·protocol?
·8·   ·relevant for one of the topics?                      ·8·   · · · A· · ·We didn't even get to the review
·9·   · · · · · · MS. ELLIS:· It's relevant to the          ·9·   ·protocols at that point.· A lot of 2017 we spent,
10·   ·reasons for the delay.                               10·   ·you know, a fair amount of time working on both
11·   · · · · · · MR. MERRITT:· That's not one of the       11·   ·the IG review, the development of a system because
12·   ·topics.                                              12·   ·we've been working off of, you know, I don't know
13·   · · · · · · MS. ELLIS:· I'll move on.                 13·   ·how many -- I think over a thousand Excel
14·   · · · BY MS. ELLIS:                                   14·   ·spreadsheets.· There was no system.
15·   · · · Q· · ·In the spring of 2017 when -- when you    15·   · · · · · · So that was my biggest priority when I
16·   ·were told that no more approvals would be            16·   ·came in, in terms of operations, was to -- to
17·   ·processed, was it also your understanding that no    17·   ·develop some kind of a system that we could use so
18·   ·denials would be processed?                          18·   ·that we could track the cases and pull data and do
19·   · · · A· · ·Yes, but we weren't really positioned     19·   ·reports and things like that.
20·   ·to issue denials at that point.· As I mentioned,     20·   · · · · · · So there was a lot of work going on
21·   ·there's kind of a -- it's not just sending out a     21·   ·with that in 2017, and there were just a number of
22·   ·notice which, you know, it's not just drafting a     22·   ·different kind of moving parts operationally that
23·   ·letter.· We also have to have requirements with      23·   ·we were working on so that we were better
24·   ·the servicers set up so that they know how to        24·   ·positioned to move out once we got the green light
25·   ·handle it.                                           25·   ·to move forward, whatever that looked like.


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·1·   · · · Q· · ·Okay.· So could you estimate about how    ·1·   ·weeds on making sure that it clearly spelled out,
·2·   ·much time you and your staff spent in 2017           ·2·   ·you know, what happens to a Michigan claim as
·3·   ·reviewing evidence regarding potential school        ·3·   ·opposed to a California claim and that kind of
·4·   ·misconduct?                                          ·4·   ·thing.
·5·   · · · A· · ·I don't know.· I -- I don't think I       ·5·   · · · Q· · ·Did you have to get approval from
·6·   ·could give an accurate estimate at this point, but   ·6·   ·anyone above you in the chain of command to
·7·   ·it wasn't -- it wasn't a high percentage because     ·7·   ·proceed with adjudicating applications under these
·8·   ·we were very short staffed, and we basically were,   ·8·   ·new protocols?
·9·   ·like I said, working on the IG review, the systems   ·9·   · · · A· · ·No.
10·   ·and a whole bunch of various issues that pulled a    10·   · · · · · · MS. ELLIS:· Okay.· It's 12:45 now. I
11·   ·lot of our attention at that point.                  11·   ·think this is a fine time to break for lunch, so
12·   · · · Q· · ·You said you were told to stop seeking    12·   ·let's plan to get back on the record at 1:15.
13·   ·approval for any kind of new protocol.               13·   ·Does that work?
14·   · · · · · · Who was in charge of approving a new      14·   · · · · · · MR. MERRITT:· Yeah, that works.
15·   ·protocol?                                            15·   · · · · · · Work for you, Colleen?· Just making
16·   · · · A· · ·We didn't have any to send up at that     16·   ·sure that works for you, Colleen?
17·   ·point, so presumably it would have gone up through   17·   · · · · · · THE WITNESS:· Yep, that's fine.· Thank
18·   ·Laura Kim to the Office of the Under Secretary       18·   ·you.
19·   ·like we had done before, not the protocols, but      19·   · · · · · · THE VIDEOGRAPHER:· We are now off the
20·   ·the underlying documents like the legal              20·   ·record.· Time is 17:47 UTC.
21·   ·memorandum.                                          21·   · · · · · · (Recess -- 12:48 p.m.)
22·   · · · Q· · ·If you had developed any legal            22·   · · · · · · (After recess -- 1:18 p.m.)
23·   ·memoranda, then you would have sent it to Laura      23·   · · · · · · THE VIDEOGRAPHER:· We are now on the
24·   ·Kim?                                                 24·   ·record.· The time is 18:18 UTC.
25·   · · · A· · ·Yes.                                      25·   · · · BY MS. ELLIS:

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·1·   · · · Q· · ·Would she be the one who would approve    ·1·   · · · Q· · ·I'd like to turn to page -- page 14,
·2·   ·you to move forward with that if -- if the --        ·2·   ·paragraph 59 of your declaration.· That's tab and
·3·   · · · A· · ·No, that would -- go ahead.               ·3·   ·Exhibit 21.
·4·   · · · Q· · ·-- if it had occurred, right?             ·4·   · · · · · · So paragraph 59 states, BDU received
·5·   · · · A· · ·Sorry.                                    ·5·   ·permission to resume adjudication of CCI JPR
·6·   · · · Q· · ·I understand.                             ·6·   ·claims (only) on or about October 30th, 2017.
·7·   · · · A· · ·Yeah, I mean, hypothetically, it would    ·7·   · · · · · · Is that accurate?
·8·   ·have gone through her to the Office of the Under     ·8·   · · · A· · ·I'm sure it is if I included that date.
·9·   ·Secretary just like we had done for the previous     ·9·   ·I don't remember off the top of my head what the
10·   ·memos.                                               10·   ·date was, but I'm sure I checked records to do
11·   · · · Q· · ·For the ITT protocols that you            11·   ·that.
12·   ·developed this year, the non-California              12·   · · · Q· · ·Okay.· Who gave the permission to
13·   ·employment-prospects claims, who approved those?     13·   ·resume adjudication?
14·   · · · A· · ·The protocols?                            14·   · · · A· · ·My recollection is that it was Jim
15·   · · · Q· · ·Yes, yes, sorry.                          15·   ·Manning.· I think it was Jim Manning.
16·   · · · · · · Who approved the protocols -- the new     16·   · · · Q· · ·And do you know why the -- he made the
17·   ·protocols?                                           17·   ·decision to resume adjudication of CCI JPR claims
18·   · · · A· · ·Yeah, I did.· I -- you know, I relied     18·   ·at this time?
19·   ·heavily on my supervisors.· I reviewed very          19·   · · · A· · ·I -- I don't know.
20·   ·closely the -- the facts and the legal memoranda,    20·   · · · Q· · ·Do you know why he made the decision
21·   ·so the 2016 and the '95 memos.· And those            21·   ·that only CCI JPR claims would resume at this
22·   ·basically delineate what's going into the            22·   ·time?
23·   ·protocol.· And then I also looked at the protocol,   23·   · · · A· · ·That might have been the "ask" at that
24·   ·but, you know, a couple of my supervisors that       24·   ·time.· I believe Julian Schmoke had spoken with
25·   ·were working on it, you know, were very in the       25·   ·him about the fact that we -- you know, the review


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·1·   ·panel had completed their work.· The IG              ·1·   · · · Q· · ·I see.
·2·   ·investigation was wrapping up.· There wasn't a       ·2·   · · · · · · Was there a point where BDU began
·3·   ·report yet.· I don't know if there was preliminary   ·3·   ·adjudicating other claims again in addition to CCI
·4·   ·information given, but they weren't going to make    ·4·   ·JPR?
·5·   ·any changes to JPR.                                  ·5·   · · · A· · ·Yes.
·6·   · · · · · · So I don't know exactly what it was,      ·6·   · · · Q· · ·And when was that?
·7·   ·but I think that the ask might have been specific    ·7·   · · · A· · ·Well, the results of the IG
·8·   ·to JPR claims.                                       ·8·   ·investigation were that they didn't recommend any
·9·   · · · Q· · ·When you say that was an ask, that was    ·9·   ·changes to our review protocols, and, similarly,
10·   ·a request you believe Julian Schmoke made to Jim     10·   ·nothing came out of the BDU review panel in
11·   ·Manning?                                             11·   ·connection with that.
12·   · · · A· · ·I believe so, yes.                        12·   · · · · · · So once the IG report was done, which I
13·   · · · Q· · ·Okay.· And in this time in October,       13·   ·believe was around the end of November, beginning
14·   ·November 2017, was BDU making progress towards       14·   ·of December, basically there was nothing else to,
15·   ·adjudication of any other claims besides CCI JPR?    15·   ·you know, hold us back at that point, I think.
16·   · · · A· · ·We were focused on JPR at that point.     16·   · · · · · · So we had already started moving
17·   ·I don't know what the numbers were at that point,    17·   ·forward to J- -- on JPR claims at that point, and
18·   ·but it was probably in the range of 100,000          18·   ·I'm sure it was probably soon after that Julian
19·   ·Corinthian cases or more.· It might have been a      19·   ·would have had a conversation with Manning about,
20·   ·lot more than that, actually.                        20·   ·you know, we should get started on these other
21·   · · · · · · And the priority -- which was true        21·   ·ones again, too, but I don't remember the exact
22·   ·under the previous administration as well, but was   22·   ·timing.
23·   ·true under this one, is they wanted us to work       23·   · · · Q· · ·And, so, sometime in 2018, you got
24·   ·through the Corinthian claims that the department    24·   ·authority to increase your contractor staff to
25·   ·had represented would be handled in an expedited     25·   ·work on this resumed process of adjudication?

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·1·   ·fashion, so that was what our focus was for when     ·1·   · · · A· · ·Correct.
·2·   ·we were -- you know, as soon as we were allowed to   ·2·   · · · Q· · ·Who gave the authority to increase the
·3·   ·proceed, yeah, in that period of time.               ·3·   ·contractor staff?
·4·   · · · Q· · ·Okay.· Flipping back to paragraph 23 of   ·4·   · · · A· · ·Well, it was conveyed to me by Julian
·5·   ·your declaration, which is on page 7.· In the        ·5·   ·Schmoke, but, you know, there are budget
·6·   ·second sentence, you write, Starting in 2018 after   ·6·   ·implications to that, so it would have gone up
·7·   ·processing of adjudications were resumed, we were    ·7·   ·through FSA, and at that point, I think, Jim
·8·   ·given authority to increase our contractor staff.    ·8·   ·Manning was both acting chief operating officer
·9·   · · · · · · Do you see that?                          ·9·   ·and also the acting under secretary.· So I don't
10·   · · · A· · ·I do.                                     10·   ·know in which capacity he approved it, but I'm
11·   · · · Q· · ·So, excuse me, when in 2018 did the       11·   ·pretty sure he's the one who signed off on the
12·   ·processing resume?                                   12·   ·additional money needed to hire the contractors.
13·   · · · A· · ·Again, we don't do the processing, so I   13·   · · · Q· · ·And then after the IG report came out,
14·   ·don't know exactly when that piece started, but      14·   ·did the development of new protocols for other
15·   ·the approval that happened prior to processing, so   15·   ·schools also resume?
16·   ·when we would send the package to OUS and they       16·   · · · A· · ·We were just trying to catch up.
17·   ·would sign off, started, I believe, in 2017.· It     17·   ·The -- the cases that were coming in for
18·   ·coincided with the relief methodology -- when that   18·   ·Corinthian were exceeding what we were able to
19·   ·relief methodology was finalized.                    19·   ·adjudicate, so the week over week because of the
20·   · · · · · · And we started submitting -- they         20·   ·limited staff we had up to and including when we
21·   ·wanted us then to move quickly on submitting         21·   ·had these additional contractors, I think, we
22·   ·approval packages.· So I think it was actually       22·   ·weren't even keeping pace.· So we were just trying
23·   ·2017 when we started sending them up.· It may be     23·   ·to keep up with the Corinthian cases at that
24·   ·that they didn't actually get processed until        24·   ·point.· There really was no time to work on other
25·   ·early 2018.                                          25·   ·protocols.


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·1·   · · · Q· · ·And you had requested additional staff    ·1·   ·divided people up into teams and kind of different
·2·   ·by this point?                                       ·2·   ·work flows so that we're moving forward on a whole
·3·   · · · A· · ·I'm sure multiple times, yes.             ·3·   ·bunch of schools at the same time while also
·4·   · · · Q· · ·The contractors who you hired in 2018,    ·4·   ·trying to meet the metrics that are required of us
·5·   ·what was their role?                                 ·5·   ·in terms of hitting our adjudication numbers.
·6·   · · · A· · ·2018.· We've had three different          ·6·   · · · · · · So, you know, it takes a while to get
·7·   ·contracting companies, so I'm just thinking which    ·7·   ·people up to speed, though, once they join BDU,
·8·   ·one.· But -- I mean, first and foremost the          ·8·   ·and there's a pretty robust training period and
·9·   ·contractors were to focus on job-placement-rate      ·9·   ·learning curve, so it's a few months at least
10·   ·claim because there is zero discretion,              10·   ·before people are making, you know, pretty
11·   ·essentially, on those.· It's a matter of what        11·   ·significant contributions, so it wasn't really
12·   ·program was the person in, what campus did they      12·   ·until this spring, I think, when we were in a
13·   ·attend, what time period did they attend and then    13·   ·position to -- to make really appreciable progress
14·   ·how does that line up with the findings.             14·   ·on -- on other schools.
15·   · · · · · · So those we typically pushed to -- to     15·   · · · · · · So there are a bunch of things that are
16·   ·the contracting staff.                               16·   ·kind of moving along at a parallel track right
17·   · · · · · · In 2018, we also were starting to look    17·   ·now, so it could be that -- it's not going to be
18·   ·at the one-off claims and how those could be         18·   ·that we'll hit one school and then not another one
19·   ·handled, and there was a lot of trial and error      19·   ·for a long time.· I think there will be several of
20·   ·about that and fits and starts or however you want   20·   ·them that will kind of reach of point of having a
21·   ·to put it.· We did some kind of pilot testing to     21·   ·review protocol pretty close in time.
22·   ·see how the contractors did in terms of kind of      22·   · · · Q· · ·So it was about three years, from
23·   ·summarizing the borrower claim or, you know,         23·   ·spring 2017 to spring 2020, that, in your opinion,
24·   ·looking at if we had a school that had fewer than    24·   ·BDU was not really in a position to make any
25·   ·ten claims but, you know, at least seven or eight    25·   ·significant progress on protocols for

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·1·   ·kind of summarizing what the claims were to see if   ·1·   ·non-Corinthian schools?
·2·   ·there was any, you know, common theme or anything    ·2·   · · · A· · ·Yes.
·3·   ·that included evidence that would support it.        ·3·   · · · Q· · ·I think I might have asked this before,
·4·   · · · · · · So that was all kind of going on in       ·4·   ·but just to be clear, do you have any
·5·   ·2018 with the contractors, but a lot of it was not   ·5·   ·understanding of the reasons why your requests for
·6·   ·very successful, unfortunately, so most of it        ·6·   ·additional staff were denied after the
·7·   ·didn't end up advancing the ball too much.           ·7·   ·department-wide hiring freeze ended?
·8·   · · · Q· · ·What was the point at which or was        ·8·   · · · A· · ·That's above my pay grade.· I don't
·9·   ·there a point at which BDU had sufficient staff to   ·9·   ·know.
10·   ·resume working on creating new protocols for other   10·   · · · Q· · ·Okay.· So I'm going to flip over to
11·   ·schools other than Corinthian?                       11·   ·paragraph 64 of your declaration.· That's on
12·   · · · A· · ·Well, we've been working towards that     12·   ·page 15.· That paragraph says, Additionally,
13·   ·since we started staffing up a year ago.· One of     13·   ·between December 2017 and May 2018, OUS authorized
14·   ·the things that I did that I think has helped is     14·   ·the denial of over 10,000 applications.
15·   ·we phased out of using contractors and brought on    15·   · · · · · · Is that right?
16·   ·term-appointed attorneys that are actually           16·   · · · A· · ·That's what it says, yes.
17·   ·full-time attorneys, and I had control over who we   17·   · · · Q· · ·Do you remember what the basis was for
18·   ·hired and we got really good people, and I think     18·   ·the denial of these applications?
19·   ·it was just a much higher caliber of people that     19·   · · · A· · ·I believe the ones that were done at
20·   ·were working on the claims at that point than some   20·   ·that time were Corinthian denials where the
21·   ·of our contractor staff, unfortunately.              21·   ·borrowers had only asserted a job-placement-rate
22·   · · · · · · So that definitely helped us both in      22·   ·claim.
23·   ·terms of numbers and capabilities.                   23·   · · · Q· · ·And they didn't fit into the
24·   · · · · · · And, so, really since we started          24·   ·job-placement-rate evidence, and so they had no
25·   ·staffing up towards the end of last year, I've       25·   ·other basis for relief?


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·1·   · · · A· · ·Correct.                                  ·1·   ·not issue any denials until approvals started
·2·   · · · Q· · ·So this was during the period when OUS    ·2·   ·issuing?
·3·   ·had to authorize the denial of borrower defense      ·3·   · · · A· · ·I don't.
·4·   ·applications?                                        ·4·   · · · Q· · ·Who did you find out about these
·5·   · · · A· · ·That was the system that was set up at    ·5·   ·decisions from?
·6·   ·the time.· Yeah, we just followed the same thing     ·6·   · · · A· · ·I believe it was Justin Riemer who
·7·   ·that we were doing for the approvals at that         ·7·   ·communicated that to me.
·8·   ·point, so similar thing.· It was a package with a    ·8·   · · · Q· · ·So Justin Riemer might know who the
·9·   ·cover memo, a letter and a list of applications      ·9·   ·ultimate decision maker was?
10·   ·that are -- claims that would be getting that        10·   · · · A· · ·Presumably, yeah.
11·   ·letter, so it was similar for both approvals and     11·   · · · Q· · ·So have you seen the injunction order
12·   ·denials.                                             12·   ·in the Calvillo Manriquez case?
13·   · · · Q· · ·And, so, at this time today, since the    13·   · · · A· · ·A while ago.· But, yeah, I read it,
14·   ·2016 regulations went into effect after the Bauer    14·   ·yeah.
15·   ·decision, does OUS have to sign off on denials       15·   · · · Q· · ·Do you have an understanding of who is
16·   ·before they become final?                            16·   ·in the class in that case?
17·   · · · A· · ·No.                                       17·   · · · A· · ·Yes.
18·   · · · Q· · ·Are you the final decision maker on       18·   · · · Q· · ·What's your understanding of that?
19·   ·denials?                                             19·   · · · A· · ·Borrowers with approved
20·   · · · A· · ·Myself and the supervisors on my team,    20·   ·job-placement-rate claims that attended Corinthian
21·   ·yes.                                                 21·   ·colleges.
22·   · · · Q· · ·So then in the next paragraph,            22·   · · · Q· · ·And is it your understanding that the
23·   ·paragraph 65 of your declaration, it states that,    23·   ·injunction prevents the department from using the
24·   ·No additional decisions have been issued to          24·   ·December 2017 partial relief methodology for that
25·   ·borrowers since in or about June 2018.               25·   ·class of borrowers?

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·1·   · · · · · · And this declaration, you signed it in    ·1·   · · · A· · ·Yes.
·2·   ·November 2019; correct?                              ·2·   · · · Q· · ·So is it your understanding that FSA
·3·   · · · A· · ·Yes, correct.                             ·3·   ·could have, consistent with the Calvillo
·4·   · · · Q· · ·So between June 2018 and November 2019,   ·4·   ·injunction, issued approvals of borrower defense
·5·   ·no decisions -- no borrower defense decisions had    ·5·   ·claims for 100 percent relief?
·6·   ·been issued to borrowers?                            ·6·   · · · A· · ·I don't believe the injunction
·7·   · · · A· · ·That's my understanding, yes.             ·7·   ·precludes that.· I think it specifically says that
·8·   · · · Q· · ·Why -- why did BDU stop issuing           ·8·   ·the department could, if I'm remembering
·9·   ·decisions at that time in June 2018?                 ·9·   ·correctly.
10·   · · · A· · ·BDU doesn't issue decisions, period,      10·   · · · Q· · ·Was there a policy in place so the
11·   ·but FSA stopped issuing decisions.                   11·   ·department would not grant 100 percent relief to
12·   · · · Q· · ·Why did FSA stop issuing decisions in     12·   ·Calvillo class members?
13·   ·June 2018?                                           13·   · · · A· · ·Policy was the relief methodology. I
14·   · · · A· · ·Well, my understanding is that            14·   ·believe the 2017 methodology did actually have as
15·   ·following the Manriquez injunction, there was a      15·   ·one of the potential outcomes 100 percent relief.
16·   ·hold put on approvals and the department made the    16·   ·It was fairly narrow, I believe, but that's my
17·   ·decision to not issue denials until they could       17·   ·recollection is that there was some percentage
18·   ·send out approvals as well, and so that coincided    18·   ·that -- or some -- some subset depending on the
19·   ·with the June 2018 -- I think that's -- that's       19·   ·program that they attended that they could have
20·   ·when they put the brakes on, essentially.            20·   ·gotten 100 percent.· And then under the
21·   · · · Q· · ·Do you know who made the decision to      21·   ·methodology, all of the other borrowers would get
22·   ·not issue anymore approvals at that time?            22·   ·a different percentage.
23·   · · · A· · ·I don't.                                  23·   · · · Q· · ·Do you know whether any grants of
24·   · · · Q· · ·Do you know who -- excuse me.             24·   ·100 percent relief were actually issued following
25·   · · · · · · Do you know who made the decision to      25·   ·the Calvillo Manriquez injunction?


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·1·   · · · A· · ·Not that I recall, but it's possible.     ·1·   ·a sort of step 1 and step 2 of the disposition of
·2·   · · · Q· · ·So consistent with the Calvillo           ·2·   ·borrower defense applications where step 1 is
·3·   ·Manriquez injunction, FSA could have processed       ·3·   ·entitlement to relief and step 2 was the amount of
·4·   ·borrower defense application grants for people who   ·4·   ·relief.
·5·   ·were not making Corinthian JPR claims; is that       ·5·   · · · · · · So BDU was continuing with step 1 at
·6·   ·correct?                                             ·6·   ·this time between June 2018 and November 2019?
·7·   · · · A· · ·The -- are you asking whether it          ·7·   · · · A· · ·That's correct.
·8·   ·applied to -- it didn't apply to people who had      ·8·   · · · Q· · ·Were you -- did you at any time become
·9·   ·other -- if their approval was based on something    ·9·   ·aware of a decision that the partial relief
10·   ·other than job placement rates, the injunction did   10·   ·methodology originally developed for the CCI JPR
11·   ·not apply, yes.                                      11·   ·claims would be applied to other types of claims?
12·   · · · Q· · ·Here in paragraph 65 of your              12·   · · · A· · ·Yes.· It involved getting data from
13·   ·declaration, which we were looking at a minute       13·   ·Social Security, and the department had worked
14·   ·ago, you write in the middle of the paragraph        14·   ·with Social Security to get the data for ITT.
15·   ·that, Approximately 1,000 applications from CCI      15·   · · · · · · I don't know if there were any other
16·   ·and ITT borrowers have been adjudicated as           16·   ·schools.· That's the only one that I can recall.
17·   ·approvals and are not subject to the Manriquez       17·   · · · Q· · ·Do you know who made the decision to
18·   ·injunction.                                          18·   ·expand that methodology to ITT?
19·   · · · · · · Was that correct?                         19·   · · · A· · ·I don't know.· No, I don't know.· I'm
20·   · · · A· · ·I'm sure it is.· I'm sure I looked at     20·   ·sorry.
21·   ·the data at the time.                                21·   · · · Q· · ·Do you remember when you became aware
22·   · · · Q· · ·So do you know why those approvals were   22·   ·that the department had gathered this Social
23·   ·not processed?                                       23·   ·Security information for the purpose of using it
24·   · · · A· · ·I don't know what the rationale for the   24·   ·for ITT relief?
25·   ·policy was, but my understanding that was -- there   25·   · · · A· · ·Well, I was aware pretty early on

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·1·   ·was a policy that we were not issuing any            ·1·   ·because to get the data from Social Security they
·2·   ·decisions on borrower defense at that point.         ·2·   ·needed data from the platform that my team uses to
·3·   · · · Q· · ·Do you know why -- well, let me back      ·3·   ·come up with a list of borrowers that were being
·4·   ·up.                                                  ·4·   ·submitted, so we were kind of a subject-matter
·5·   · · · · · · Do you know who made the decision that    ·5·   ·expert on how you would do that, I think.
·6·   ·no decisions would issue on borrower defense even    ·6·   · · · · · · And we had a fairly new system that had
·7·   ·for borrowers who are not part of the Calvillo       ·7·   ·sort of -- we had actually really two new systems.
·8·   ·Manriquez class?                                     ·8·   ·We had an Access platform that became live in late
·9·   · · · A· · ·I don't know.                             ·9·   ·2017, and then around that time would have been
10·   · · · Q· · ·Did you discuss that decision with        10·   ·when we were migrating the data to our new
11·   ·anyone?                                              11·   ·Salesforce platform.
12·   · · · A· · ·I'm sure I did.· I would have told        12·   · · · · · · So I'm sure I knew very early on. I
13·   ·my -- I don't have a specific recollection of it,    13·   ·don't remember exactly what the timing was.
14·   ·but I would have told my team.· And I'm sure I       14·   · · · Q· · ·Would that have been in 2017?
15·   ·became aware somehow, but I don't remember who       15·   · · · A· · ·I think it was probably early 2018, or
16·   ·told me.                                             16·   ·more like spring of 2018, maybe.
17·   · · · · · · Again, we don't process the decision,     17·   · · · Q· · ·So it would have been after the partial
18·   ·so it was just kind of an FYI sort of thing for me   18·   ·relief methodology was announced but before the
19·   ·and my team, but impact what -- you know, whether    19·   ·Calvillo Manriquez injunction?
20·   ·or not we would move forward on the adjudications.   20·   · · · A· · ·Yes, we received the data from Social
21·   · · · Q· · ·During this period when no approvals or   21·   ·Security just prior to the injunction, I believe.
22·   ·denials were issuing, was BDU continuing to          22·   ·So I don't remember how long it took for Social
23·   ·adjudicate applications?                             23·   ·Security to do that, but whatever that time frame
24·   · · · A· · ·Yes.                                      24·   ·is.
25·   · · · Q· · ·And we talked earlier about there being   25·   · · · Q· · ·Okay.· So was it your understanding


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·1·   ·that the delay -- or that the policy of not          ·1·   · · · Q· · ·Do you know who in the department made
·2·   ·issuing any grants following the Calvillo            ·2·   ·the determination that the amount of relief was a
·3·   ·injunction was related to a desire by the            ·3·   ·policy question that was not necessarily governed
·4·   ·department to formulate a new partial relief         ·4·   ·by state law?
·5·   ·methodology?                                         ·5·   · · · A· · ·I might need counsel's advice on
·6·   · · · A· · ·At what point in time?                    ·6·   ·whether I can answer that question because it
·7·   · · · Q· · ·I guess this would be beginning in the    ·7·   ·was -- the information was given to me by the
·8·   ·summer of 2018 and if it -- if it changed at any     ·8·   ·Office of General Counsel.
·9·   ·point along the way?                                 ·9·   · · · · · · MR. MERRITT:· Yeah, I mean, to the
10·   · · · A· · ·I don't think there was any discussion    10·   ·extent that question is calling for privileged
11·   ·of a new relief methodology that early.· The         11·   ·information, we would object to it.· And it's
12·   ·injunction was issued in May.· I -- I don't          12·   ·questionable whether that's within the scope of
13·   ·remember any conversation about a new relief         13·   ·the discovery the court ordered.
14·   ·methodology until at least 2019, and I don't         14·   · · · · · · MS. ELLIS:· Okay.· Well, I accept that
15·   ·remember exactly when that was.· Probably not even   15·   ·the witness is not answering on the basis of
16·   ·very early in 2019.                                  16·   ·privilege.
17·   · · · Q· · ·Okay.· Do you know if work continued on   17·   · · · BY MS. ELLIS:
18·   ·the -- on the old methodology with the ITT data      18·   · · · Q· · ·Do you believe there's anything in
19·   ·after the Calvillo injunction?                       19·   ·the -- I believe it's California state law that
20·   · · · A· · ·It did not, so two things I remember      20·   ·applies to the CCI JPR claims; is that correct?
21·   ·happening right after the injunction.· I told my     21·   · · · A· · ·That's what -- yes, that's what we've
22·   ·team to stop entering any of those percentages       22·   ·plied to the JPR claims.
23·   ·into our platform right after I saw the order, and   23·   · · · Q· · ·Is it your understanding there's
24·   ·then, you know, pending discussions with OGC, but    24·   ·anything in California law that would preclude
25·   ·that didn't change.· And separately, I believe --    25·   ·100 percent relief?

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·1·   ·I don't know who made the call on it, but somebody   ·1·   · · · · · · MR. MERRITT:· Objection.· It goes
·2·   ·made the call that the folks who worked on kind of   ·2·   ·beyond the scope.
·3·   ·converting the Social Security data into a relief    ·3·   · · · · · · MS. ELLIS:· Can the witness answer?
·4·   ·percentage were told to stand down.                  ·4·   · · · · · · THE WITNESS:· You want me to answer?
·5·   · · · · · · That's my recollection.                   ·5·   · · · · · · I'm not aware of anything that would
·6·   · · · Q· · ·For the -- for the CCI JPR claims         ·6·   ·preclude 100 percent.
·7·   ·that -- at the time of the Calvillo injunction,      ·7·   · · · · · · MS. ELLIS:· I'd like to look for a
·8·   ·they had been approved as eligible for relief, but   ·8·   ·minute at Exhibit 12.· That's tab 12 in the hard
·9·   ·not processed, in your -- in your declaration you    ·9·   ·copies.· On the Dropbox, it's bracketed number
10·   ·say there were about 31,000 of those in -- in the    10·   ·12ED PowerPoint 8/21/2019.· This was marked as
11·   ·Manriquez class that were approved, but not          11·   ·Exhibit 12 in the Jones deposition.
12·   ·processed.                                           12·   · · · · · · (Exhibit 12 referred to.)
13·   · · · · · · Was it your understanding that -- that    13·   · · · BY MS. ELLIS:
14·   ·there was any rationale under state law for          14·   · · · Q· · ·Does this document look familiar to
15·   ·awarding 100 percent relief to those borrowers?      15·   ·you?
16·   · · · A· · ·I don't think the department saw it as    16·   · · · A· · ·Vaguely.· I'm sure I probably worked on
17·   ·solely a question of state law, but certainly --     17·   ·it myself, but it's been a while.
18·   ·you know, for that, I believe that's why they came   18·   · · · Q· · ·Do you remember what purpose this was
19·   ·up with the relief methodology.· They saw it as a    19·   ·prepared for?
20·   ·policy decision, but I think when the special        20·   · · · A· · ·One minute.
21·   ·master, which predates the existence of the          21·   · · · · · · (Witness reviews document.)
22·   ·borrower defense unit, first recommended approval    22·   · · · · · · I think -- I believe this was to
23·   ·of job placement rates, they were relying on         23·   ·prepare somebody new to the department in
24·   ·California law when they concluded that              24·   ·leadership.· It might have been -- or somebody who
25·   ·100 percent relief would be appropriate.             25·   ·was newly working on BD in leadership.· I don't


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·1·   ·remember who, though.· We've done similar decks      ·1·   ·team.· They don't make policy.· They -- they
·2·   ·for each time we had a new chief operating           ·2·   ·implement the policy that we get from LBJ.
·3·   ·officer, which doesn't match up with this            ·3·   · · · Q· · ·Who's -- who makes up the policy
·4·   ·timeline.· So it might have been the deputy          ·4·   ·implementation team?
·5·   ·secretary or someone else, but I think it was a      ·5·   · · · A· · ·Currently, the acting director of
·6·   ·briefing to prepare somebody or to kind of give a    ·6·   ·policy implementation is Ian Foss, and he was also
·7·   ·general status to someone new in leadership or       ·7·   ·one of the leads with respect to -- and is with
·8·   ·someone newly involved in BD.                        ·8·   ·respect to FSA applying the 2019 methodology to
·9·   · · · Q· · ·Okay.· On page 5 of the document.· It's   ·9·   ·school-specific data.· He's got people on his team
10·   ·numbered as slide 5, and, also, it has a Bates at    10·   ·that work on that.
11·   ·the bottom AR-A-0227.· So this slide appears to be   11·   · · · Q· · ·When was the policy implementation team
12·   ·giving an update on applications adjudicated, but    12·   ·created?
13·   ·not processed, as of August 2019.· It states,        13·   · · · A· · ·Oh, that's a long-standing -- I mean,
14·   ·there are over 1,400 schools with denied             14·   ·that -- the name, I think, also changed during the
15·   ·applications that are pending processing.            15·   ·restructuring last fall, but they're not related
16·   · · · · · · That's the second major bullet down.      16·   ·in particular to BD.· That's part of FSA.
17·   · · · · · · And it specifically mentions denied       17·   · · · · · · Any time there's a new regulation or,
18·   ·applications for Wright Career College and           18·   ·you know, kind of global policy on anything, in
19·   ·Marinello School of Beauty.                          19·   ·fact -- that affects student loans, they work very
20·   · · · · · · Do you see that?                          20·   ·closely.· They're also involved in, like,
21·   · · · A· · ·I do.                                     21·   ·negotiated-rulemaking process and all that.
22·   · · · Q· · ·Do you recall the reasons why those two   22·   · · · Q· · ·Okay.· Thank you.
23·   ·schools had a significant number of claims denied?   23·   · · · · · · Was there ever any discussion of giving
24·   · · · A· · ·I don't.· We have thousands of schools,   24·   ·100 percent relief to any claims as of
25·   ·so I apologize.· I don't remember the specifics on   25·   ·approximately August 2019?

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·1·   ·these.                                               ·1·   · · · A· · ·The -- not in FSA.· The kind of
·2·   · · · Q· · ·Okay.· On the next slide, the slide is    ·2·   ·direction that we've been given and, I mean the
·3·   ·titled Why Are BD Applications on Hold.              ·3·   ·royal "we," but that the policy team had been
·4·   · · · · · · The first topic listed is approvals,      ·4·   ·given was focused on developing a new methodology
·5·   ·and on the second bullet it says, No relief          ·5·   ·since Manriquez was still pending.
·6·   ·methodology developed for non-CCI claims.            ·6·   · · · Q· · ·Who did that direction come from?
·7·   · · · · · · Can you explain what that meant as of     ·7·   · · · A· · ·The Office of the Under Secretary,
·8·   ·August 2019 when this slide was written?             ·8·   ·Diane Jones.
·9·   · · · A· · ·I don't know.· As I'm looking at this     ·9·   · · · Q· · ·Moving down to the next section of this
10·   ·deck, this is not exactly what I was thinking it     10·   ·slide under Denials, the first bullet says, Policy
11·   ·was because the first -- slide 2 is something that   11·   ·decisions (spring 2018) to not issue denials until
12·   ·I'm very familiar with.· Slide 3 is one that I've    12·   ·approvals also could be issued.
13·   ·worked on, but these other slides, I'm not sure      13·   · · · · · · And I think we may have mentioned this
14·   ·who put them together.                               14·   ·earlier, but do you know who made that policy
15·   · · · · · · As with the second bullet, that's true.   15·   ·decision?
16·   ·And maybe it was in reference to ITT.· That's all    16·   · · · A· · ·I do not, not -- no.
17·   ·I can think of.                                      17·   · · · Q· · ·Do you know why that policy decision
18·   · · · Q· · ·For -- for non-CCI claims, was there --   18·   ·was put into place?
19·   ·were you involved in any discussions about           19·   · · · A· · ·I don't.
20·   ·development of a new relief methodology?             20·   · · · Q· · ·Then looking down at the third bullet
21·   · · · A· · ·Yes.· Mostly as a subject-matter expert   21·   ·up here in the section Denials, it says, Issuance
22·   ·for our policy team who was involved in              22·   ·of denial decisions scheduled to resume by
23·   ·conversations with LBJ on it.                        23·   ·mid-September.
24·   · · · Q· · ·Who was --                                24·   · · · · · · Do you recall that expectation in
25·   · · · A· · ·I should say policy implementation        25·   ·August 2019?


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·1·   · · · A· · ·Yes.· The -- that didn't happen,          ·1·   ·as the chief operating officer, he was very
·2·   ·obviously.· I believe the -- that was to coincide    ·2·   ·focused on the backlog, the issues that were kind
·3·   ·with -- no, I'm sorry.· I'm trying to remember the   ·3·   ·of keeping us from getting through the backlog,
·4·   ·timeline here.· It was a decision to hold off, and   ·4·   ·and how do we -- how do we eliminate the backlog.
·5·   ·I don't know if it was this particular time,         ·5·   ·So almost from the get-go I would say --
·6·   ·but -- I'm not sure.· I'm sorry.                     ·6·   · · · · · · THE COURT REPORTER:· I'm sorry.· I'm
·7·   · · · Q· · ·As of August 2019, had the form A         ·7·   ·sorry.· You cut out.
·8·   ·through D denial letters been finalized?             ·8·   · · · · · · THE WITNESS:· I think --
·9·   · · · A· · ·No, they had not.· In fact, I don't --    ·9·   · · · · · · THE COURT REPORTER:· Excuse me.· You
10·   ·I don't know if they even started.                   10·   ·cut out on me.· Right after you said, Really, as
11·   · · · Q· · ·Was the -- was the ongoing development    11·   ·soon as Mark Brown started as the chief operating
12·   ·of those letters one of the reasons why denial       12·   ·officer, he was very focused on the backlog, the
13·   ·decisions did not resume by mid-September?           13·   ·issues that were kind of keeping us from getting
14·   · · · A· · ·No, they were held until we had the       14·   ·through the backlog, and how do we -- how do we
15·   ·approval -- the (audio distortion) approvals which   15·   ·eliminate the backlog, and then you distorted on
16·   ·was tied to the relief methodology.                  16·   ·me.· Sorry.
17·   · · · Q· · ·So does it follow then that issuance of   17·   · · · · · · THE WITNESS:· Okay.· I don't think I
18·   ·approvals were scheduled to resume by                18·   ·said anything helpful after that so -- and I don't
19·   ·mid-September 2019?                                  19·   ·remember exactly what I said.
20·   · · · A· · ·Well, like I said, I didn't draft this    20·   · · · · · · But, yeah, that was his focus so I
21·   ·and I don't know who did, but it may have been in    21·   ·guess it was -- you know, when he started at that
22·   ·connection with whether or not to hold them.· I'm    22·   ·period of time in February, March 2019, that he
23·   ·guessing, so I really -- I don't know.               23·   ·started asking about it, and probably very soon
24·   · · · Q· · ·Okay.· So going -- going back to your     24·   ·thereafter, you know, started pushing us to hit
25·   ·declaration, looking at paragraph 66, could you      25·   ·numbers and, you know, have to report on it very

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·1·   ·read the first sentence of paragraph --              ·1·   ·regularly.
·2·   · · · A· · ·Sorry.· Sixty-six?                        ·2·   · · · · · · I'd say no later than the fall of 2019,
·3·   · · · Q· · ·Yes, 66 at the top of page 16.            ·3·   ·but it might have been a little earlier than that,
·4·   · · · · · · Could you read the first sentence,        ·4·   ·too.
·5·   ·please?                                              ·5·   · · · BY MS. ELLIS:
·6·   · · · A· · ·Because BDU has been instructed to        ·6·   · · · Q· · ·Did the -- did the number of --
·7·   ·maximize the number of applications adjudicated      ·7·   · · · A· · ·(Inaudible.)
·8·   ·per week, the streamlined JPR claims have been       ·8·   · · · Q· · ·I'm sorry.· What?
·9·   ·prioritized.· For the same reason, BDU also has      ·9·   · · · A· · ·Sorry.· Everybody just froze on me
10·   ·focused on application from borrowers who did not    10·   ·there, so -- I don't know if it's my connection
11·   ·provide any evidence and who attended schools for    11·   ·or --
12·   ·which BDU is not aware of evidence that would        12·   · · · · · · MR. MERRITT:· It might be yours, I
13·   ·support the approval of the applications.            13·   ·think, from my perspective at least you're --
14·   · · · Q· · ·Okay.· So this is circling back to        14·   · · · · · · THE WITNESS:· Can you hear me?
15·   ·something we talked about early on, but who made     15·   · · · · · · MR. MERRITT:· Now, yes.
16·   ·the decision to maximize the number of               16·   · · · BY MS. ELLIS:
17·   ·applications adjudicated per week?                   17·   · · · Q· · ·Okay.· Can you hear me?
18·   · · · A· · ·That was the direction that we were       18·   · · · A· · ·I can hear you, yep.
19·   ·given from the department leadership, and it was     19·   · · · Q· · ·Okay.· We'll keep going and see what
20·   ·carried out by the chief operating officer and his   20·   ·happens.
21·   ·very clear mandate to me.                            21·   · · · A· · ·Yep.
22·   · · · Q· · ·When did you receive this instruction     22·   · · · Q· · ·So did -- did the number of
23·   ·to maximize the number of applications adjudicated   23·   ·applications adjudicated become part of FSA's
24·   ·per week?                                            24·   ·annual performance metrics this year?
25·   · · · A· · ·Really, as soon as Mark Brown started     25·   · · · A· · ·I believe so, but, yes.


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·1·   · · · Q· · ·Had the number of applications            ·1·   · · · · · · MS. ELLIS:· And I'll just say for the
·2·   ·adjudicated been a performance metric before 2020?   ·2·   ·record that we fixed or tried to fix our technical
·3·   · · · A· · ·I'm so sorry.· I'm having trouble.· Can   ·3·   ·issues here by having Ms. Nevin connect via her
·4·   ·you say that one more time?                          ·4·   ·phone audio, and for that purpose, we have no
·5·   · · · Q· · ·It's okay.· I understand.                 ·5·   ·issue with her phone being in the room even though
·6·   · · · · · · Had the number of borrower defense        ·6·   ·we had talked earlier about putting it aside, so I
·7·   ·applications adjudicated been part of FSA's annual   ·7·   ·just wanted to make sure that was clear for the
·8·   ·performance goals before 2020?                       ·8·   ·record.
·9·   · · · A· · ·Not -- not formally.· I think in 2019     ·9·   · · · · · · THE WITNESS:· Thank you.
10·   ·we were reporting on them very regularly, but, you   10·   · · · BY MS. ELLIS:
11·   ·know, FSA has very defined -- a strategic plan       11·   · · · Q· · ·So, let's see, I think let's pick back
12·   ·with very defined goals, and borrower defense is     12·   ·up in November of 2019.· Around that time, did you
13·   ·now part of those goals, but I don't think it was    13·   ·become aware of a memorandum describing a new
14·   ·in 2019 part of the formal goals for the --          14·   ·partial relief methodology for borrower defense
15·   · · · Q· · ·What about --                             15·   ·claims?
16·   · · · A· · ·-- organization generally.                16·   · · · A· · ·Yes.
17·   · · · Q· · ·What about in 2018?                       17·   · · · Q· · ·Do you know who wrote that memorandum?
18·   · · · A· · ·Like I said, I don't think it was         18·   · · · A· · ·I believe it was Jeffrey Appel and Ian
19·   ·anything formal.· It was a new unit, so it           19·   ·Foss in consultation with Diane Jones and
20·   ·sometimes takes a while for all of the -- for        20·   ·potentially other folks on her end.
21·   ·everything to catch up with new -- new parts of      21·   · · · Q· · ·Okay.· Do you know whether that
22·   ·the organization, so I think it was really 2020      22·   ·memorandum has been provided for production in
23·   ·before it became a formal part of the goals.         23·   ·this case?
24·   · · · Q· · ·Does meeting that goal affect your        24·   · · · A· · ·I don't know.
25·   ·compensation?                                        25·   · · · Q· · ·Okay.· Do you have a copy of it in your

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·1·   · · · A· · ·Not per se, but it, I suppose, is part    ·1·   ·possession in your computer files?
·2·   ·of my job, so if we, you know, completely fall       ·2·   · · · A· · ·I'm sure I do.
·3·   ·down on the job, I would imagine my reviews          ·3·   · · · Q· · ·Okay.· What was your involvement in
·4·   ·wouldn't be very good, but there's not a             ·4·   ·developing the 2019 partial relief methodology?
·5·   ·specific -- I don't have a quota or anything along   ·5·   · · · A· · ·In -- sometime in the fall of 2019, I
·6·   ·those lines in -- in my performance plan, if         ·6·   ·remember Mark Brown instructing Jeff -- Jeffrey
·7·   ·that's what you're asking.                           ·7·   ·Appel and Ian Foss to follow up with OUS on what
·8·   · · · Q· · ·Who -- who reviews the data showing       ·8·   ·she was looking for or what they were looking for
·9·   ·progress toward the goal of maximizing               ·9·   ·as senior leadership at LBJ.
10·   ·adjudications per week?                              10·   · · · · · · And I was, kind of same thing as
11·   · · · A· · ·I'm really struggling here with the       11·   ·before, in a consulting role on what data points
12·   ·phrasing.· Should I maybe log out and log back in.   12·   ·we had available in terms of borrower applications
13·   ·And the tech folks can tell me what I can do to      13·   ·and -- and it's OUS data and things that would be
14·   ·make it better.                                      14·   ·in our system that could potentially be relevant.
15·   · · · · · · MR. MERRITT:· I suggest we take a         15·   · · · · · · And, then, Jeff and Ian came up with
16·   ·break -- a short break and try and troubleshoot      16·   ·options -- a series of options, I guess, and, you
17·   ·it.                                                  17·   ·know, to the extent they needed input on data,
18·   · · · · · · MS. ELLIS:· Yeah, let's take a            18·   ·that was -- that was my role there.
19·   ·five-minute break off the record.                    19·   · · · · · · And then there was a meeting that I
20·   · · · · · · THE VIDEOGRAPHER:· We're now going off    20·   ·participated in or attended with -- with the under
21·   ·the record.· The time is 19:08 UTC.                  21·   ·secretary, with Diane Jones, and Jeff and Ian, and
22·   · · · · · · (Recess -- 2:08 p.m.)                     22·   ·some other folks where the options were discussed.
23·   · · · · · · (After recess -- 2:14 p.m.)               23·   · · · Q· · ·Was it your understanding in the fall
24·   · · · · · · THE VIDEOGRAPHER:· We're now on the       24·   ·of 2019 that no borrower defense decisions were
25·   ·record.· The time is 19:14 UTC.                      25·   ·being processed because this relief methodology


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·1·   ·had not been finalized yet?                          ·1·   ·currently working on developing protocols for
·2·   · · · A· · ·I don't know that it was ever framed      ·2·   ·non-Corinthian schools?
·3·   ·that way, but they weren't being issued until we     ·3·   · · · A· · ·Well, again the protocols follows the
·4·   ·could issue approvals, and we couldn't issue         ·4·   ·development of the summary of the facts, and then
·5·   ·approvals until there was a release methodology,     ·5·   ·a legal analysis on 2016, and then a legal
·6·   ·so that's how it was framed.                         ·6·   ·analysis on 50 different states, if it's a school
·7·   · · · Q· · ·What's your understanding of what the     ·7·   ·that's that expansive, and if it's not, then
·8·   ·2019 partial relief methodology prescribes?          ·8·   ·whatever states are relevant to that analysis.· So
·9·   · · · A· · ·I won't even begin to try to opine on     ·9·   ·if they're was only one state, then you would only
10·   ·standard deviations, so, you know, lawyers and       10·   ·need the legal memo for '95 on that particular
11·   ·math, I'm definitely one of those folks.             11·   ·state.
12·   · · · · · · It's, I believe, an effort to compare     12·   · · · · · · But, I guess, your question assumes
13·   ·ascribed average earning, something along those      13·   ·that they're only working on one thing.· I have a
14·   ·lines, to other data sets.                           14·   ·lot of people who are kind of working on multiple
15·   · · · Q· · ·But it's based on -- it is not based on   15·   ·work streams, so I would say probably half are
16·   ·in any way on the borrower's actual earnings; is     16·   ·working at least part of their time on reviewing
17·   ·that correct?                                        17·   ·the evidence, summarizing the evidence, developing
18·   · · · · · · MR. MERRITT:· Objection.· What is         18·   ·the facts, developing the legal memoranda and
19·   ·the -- this is not in the scope of the court's       19·   ·then, ultimately, the protocol to adjudicate
20·   ·order, the actual merits of the methodology.         20·   ·cases.
21·   · · · BY MS. ELLIS:                                   21·   · · · Q· · ·And while all of that research and
22·   · · · Q· · ·So was -- was it after the 2019 partial   22·   ·analysis is underway, are applicants from the
23·   ·relief methodology was announced that the pace of    23·   ·schools under review held up, or are they in the
24·   ·adjudications of borrower defense applications       24·   ·work stream for adjudication.
25·   ·increased?                                           25·   · · · A· · ·I'm not sure I understand the question.

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·1·   · · · A· · ·Well, that affected the pace of issuing   ·1·   ·Can you say that again?
·2·   ·decisions.· The pace of adjudications was more       ·2·   · · · Q· · ·Okay.· So if the school is in this
·3·   ·closely related to the hiring of additional staff.   ·3·   ·process of having evidence reviewed, having the
·4·   · · · Q· · ·Was the hiring of additional staff in     ·4·   ·law analyzed, are actual borrower defense
·5·   ·the fall of 2019 made in anticipation of a new       ·5·   ·applications related to that school -- are they
·6·   ·relief methodology being announced?                  ·6·   ·put aside waiting for the completion of the
·7·   · · · A· · ·Not directly.· It was related to the      ·7·   ·protocol or are they put into a general pool for
·8·   ·desire to -- to complete review of all the cases     ·8·   ·adjudication?
·9·   ·in the backlog, so I don't think it was              ·9·   · · · A· · ·No, they would be -- they're not --
10·   ·specifically intended to be tied to the release      10·   ·they're not adjudicated right now.· They would
11·   ·methodology.                                         11·   ·be -- remain pending.· Our platform is set up so
12·   · · · Q· · ·As of right now, how many full-time,      12·   ·that we have sort of different statuses and ways
13·   ·nonterm attorneys are working in BDU?                13·   ·to track where people are in the process.· They
14·   · · · A· · ·Oh, there are a couple I'm trying to      14·   ·would not end up in a pool for adjudication unless
15·   ·remember whether they're term or permanent, but I    15·   ·somebody makes a mistake, but, generally speaking,
16·   ·believe it's 11 plus myself.                         16·   ·the -- the people who have applications related to
17·   · · · Q· · ·And you -- you mentioned hiring a         17·   ·the common evidence remain pending.
18·   ·number of term attorneys as well.· About how many    18·   · · · Q· · ·Okay.· I'd like to look at tab 19 of
19·   ·of those are there?                                  19·   ·the materials on the Dropbox.· This is bracket 19
20·   · · · A· · ·I want to say it's 40 -- it's either 47   20·   ·ECF 145 Defendants' Response re frog list.· This
21·   ·or 52.· It might be 52.· Actually, we just had one   21·   ·was introduced as -- as Exhibit 19 at Diane Jones'
22·   ·person leave for another position.· It might be      22·   ·deposition.
23·   ·51.· Somewhere in that range, though.                23·   · · · · · · (Exhibit 19 referred to.)
24·   · · · Q· · ·Okay.· And of the full-time and term      24·   · · · BY MS. ELLIS:
25·   ·attorneys working at BDU, how many of them are       25·   · · · Q· · ·So this is a filing in this case.· The


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·1·   ·title of the filing is Defendants' Response          ·1·   ·CEC, New York AG's office, Pennsylvania AG's
·2·   ·Regarding the Court's Request at the October 1st,    ·2·   ·office, and accessing the scope of these materials
·3·   ·2020 Class Hearing.                                  ·3·   ·that were provided, they summarized that in a memo
·4·   · · · · · · Do you see that?                          ·4·   ·and then determined what kinds of cases
·5·   · · · A· · ·I do.                                     ·5·   ·potentially may have supporting evidence in -- in
·6·   · · · Q· · ·Okay.· And appended to this document --   ·6·   ·here, and then from there what cases could be
·7·   ·appended to the main filing is the declaration of    ·7·   ·cleared for adjudication because we didn't have
·8·   ·Mark Brown, and then appended to the declaration     ·8·   ·common evidence.
·9·   ·of Mark Brown, a document called Attachment 1 is a   ·9·   · · · · · · So that's where you get to column 2.
10·   ·chart.                                               10·   ·Column 2 is basically a summary of what got
11·   · · · · · · Do you see -- it starts -- the 13th       11·   ·cleared for adjudication, I believe, if I'm
12·   ·page of the PDF, the 13th page of the document.      12·   ·remembering correctly.
13·   · · · A· · ·Yes.                                      13·   · · · Q· · ·Okay.· So an application that fits a
14·   · · · Q· · ·Have you seen this document before?       14·   ·description in column 2, the borrower could
15·   · · · A· · ·Yes.· My team put this together at my     15·   ·theoretically provide sufficient evidence
16·   ·direction.                                           16·   ·themselves to have their application granted, but
17·   · · · Q· · ·Sorry.· I didn't catch that.· Who put     17·   ·they're not going to be within -- considered to be
18·   ·it together at your direction?                       18·   ·within the scope of common evidence.
19·   · · · A· · ·I'm sorry.· My team.                      19·   · · · · · · Is that accurate?
20·   · · · Q· · ·Which is --                               20·   · · · A· · ·Well, this is worded that it's
21·   · · · A· · ·Some of the senior members of my team,    21·   ·applications that do not fit the criteria below,
22·   ·yeah.                                                22·   ·so I think there was some variation on how it
23·   · · · Q· · ·Okay.· And did you ask them to do so      23·   ·was -- you know, for different schools, how it was
24·   ·for the purposes of this filing, or was it a         24·   ·framed.
25·   ·document that existed before?                        25·   · · · · · · But for this one, it looks like for

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·1·   · · · A· · ·It was created for this filing.           ·1·   ·CEC, this is identifying having categories of
·2·   · · · Q· · ·Okay.· So in column 3, if I'm reading     ·2·   ·applications determined not to be within the scope
·3·   ·this correctly, column 3 describes the common --     ·3·   ·of common evidence.
·4·   ·the sources of common evidence for each school       ·4·   · · · · · · So it's kind of a double negative,
·5·   ·that's listed in column 1.                           ·5·   ·which makes it confusing, so I'm going to read
·6·   · · · A· · ·That's correct.                           ·6·   ·this again.
·7·   · · · Q· · ·Okay.· If we could look at page 3 of      ·7·   · · · · · · (Witness reviews document.)
·8·   ·this chart, the school ownership group listed in     ·8·   · · · Q· · ·So -- so does this will say that for
·9·   ·column 1 is Career Education Corp.?                  ·9·   ·CEC, the way it's phrased, does this mean that
10·   · · · A· · ·Yes, I see that.                          10·   ·the -- the bullets here in column 2 for CEC are
11·   · · · Q· · ·And this includes Brooks Institute,       11·   ·the types of claims that do fit the common
12·   ·which we were discussing earlier?                    12·   ·evidence?
13·   · · · A· · ·Right.                                    13·   · · · A· · ·That may, may.
14·   · · · Q· · ·So, I guess, could you explain a little   14·   · · · Q· · ·May --
15·   ·bit how -- how you get from the common evidence      15·   · · · A· · ·You know, there are not going to be any
16·   ·listed in column 3 to the exclusions listed in       16·   ·kind of final conclusions at this point because
17·   ·common 2 -- in column 2?                             17·   ·there's still more work to be done on this, but
18·   · · · A· · ·The exclusions listed in -- so common     18·   ·these are the categories of applications that
19·   ·evidence is in 3.                                    19·   ·would be satisfied under the protocol or not
20·   · · · Q· · ·Yes.                                      20·   ·assigned at all.· To the extent from the data that
21·   · · · A· · ·That -- that's the documents and, you     21·   ·we can determine that someone attended during this
22·   ·know, the evidence that my team is aware of and is   22·   ·period of time, they wouldn't even get assigned.
23·   ·in the course of reviewing to develop or to hold     23·   · · · · · · But if they did get through to a
24·   ·for potential approvals.· And in assessing the       24·   ·reviewer, the reviewer would see that, for
25·   ·scope of these various -- so for -- you know, for    25·   ·example, if the borrower enrolled between May 1st,


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·1·   ·'99 and May 22nd, 2004, at Western School of,        ·1·   ·if it's, you know, specific, it certainly could be
·2·   ·whatever, Health and Business, that claim would be   ·2·   ·corroborating evidence.
·3·   ·set aside.                                           ·3·   · · · Q· · ·Are you aware of that kind of
·4·   · · · Q· · ·I see.                                    ·4·   ·corroborating evidence for any school other than
·5·   · · · · · · Do the claims set aside pending further   ·5·   ·ITT?
·6·   ·analysis of common evidence count in any way         ·6·   · · · A· · ·Well, that's the only one that we've
·7·   ·toward the goal of clearing the backlog?             ·7·   ·completed recently, so I know there are others. I
·8·   · · · A· · ·No, they're just still pending.           ·8·   ·couldn't tell you what their names are.· You know,
·9·   · · · Q· · ·So if more claims were set aside, it      ·9·   ·some of them are smaller schools that wouldn't
10·   ·would affect BDU's ability to meet the               10·   ·necessarily be, you know, the kind of schools that
11·   ·adjudication targets?                                11·   ·you would know off the top of your head, but there
12·   · · · A· · ·If more claims were set aside, it just    12·   ·certainly are others.
13·   ·would mean that we'd probably would be               13·   · · · Q· · ·So looking again at CEC, so for -- just
14·   ·prioritizing other claims.· We've got a lot of       14·   ·to make sure I understand, so someone who enrolled
15·   ·cases to get through, so -- so, yeah, I mean,        15·   ·at Western School of Health and Business between
16·   ·we're not setting aside claims just to meet our      16·   ·May 1st, '99 and May 22nd, '04, they would
17·   ·metrics.· I get yelled at.· It's okay.· I move on.   17·   ·potentially meet the common evidence and be set
18·   ·But, you know, we're trying to get through them as   18·   ·aside?
19·   ·efficiently as possible under the mandate, but       19·   · · · A· · ·They would be set aside.· The common
20·   ·we're not, you know, shortchanging reviews in        20·   ·evidence may provide support for some -- one or
21·   ·order to do that.                                    21·   ·more elements of their application, so, you know,
22·   · · · Q· · ·So the column 3 evidence listed here      22·   ·if somebody alleges a misrepresentation claim,
23·   ·for CEC, it doesn't appear to include evidence       23·   ·there's the -- was the representation-made piece
24·   ·that is culled from -- from borrower defense         24·   ·and then the is-it-false piece or misleading or
25·   ·applications themselves; is that correct?            25·   ·deceptive or whatever the standard is.

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·1·   · · · A· · ·Well, if there is such evidence that's    ·1·   · · · · · · The common evidence may support part of
·2·   ·broadly applicable and it shows up in the            ·2·   ·that and not the other part, so it's very specific
·3·   ·sampling, then it potentially would be described     ·3·   ·to the regulation and the lot at the end of the
·4·   ·here, but I'm not aware of us having seen anything   ·4·   ·day.· But these cases are set aside because there
·5·   ·from CEC borrowers that was kind of -- of the        ·5·   ·may be some common evidence that will get them
·6·   ·scope that would be that broadly applicable.· I'd    ·6·   ·over the hurdle on one or more of the elements
·7·   ·have to check with my team to see if they're aware   ·7·   ·potentially depending on what the law is that
·8·   ·of anything, but I'm not.                            ·8·   ·applied to their case.
·9·   · · · Q· · ·What about if many borrowers describe     ·9·   · · · Q· · ·Okay.· So if someone applied -- if
10·   ·the same type of misconduct?· Is there any sort of   10·   ·someone enrolled at Western School of Health and
11·   ·critical mass that -- that warrants those            11·   ·Business other than during that date range, they
12·   ·allegations being treated as evidence or at least    12·   ·would still have the opportunity to make out their
13·   ·further looked into?                                 13·   ·claim by evidence they submit themselves; they
14·   · · · A· · ·It's -- it's not necessarily a critical   14·   ·just wouldn't be assisted by the common evidence?
15·   ·mass, but, certainly, if there are a lot of          15·   · · · A· · ·That's right.
16·   ·borrowers who are making the same specific           16·   · · · Q· · ·Would that be treated under what you've
17·   ·allegations, then that would be something that --    17·   ·called the one-off claim protocol?
18·   ·that we would consider.                              18·   · · · A· · ·Well, yes, because basically it will
19·   · · · · · · And, I believe, that's actually           19·   ·tell the reviewer to set that case aside for
20·   ·reflected in the ITT facts; that it's                20·   ·further review by a senior attorney who will then
21·   ·corroborating evidence, essentially.· It's not the   21·   ·look at whether or not there's sufficient evidence
22·   ·only evidence.· We have other evidence, too.· But    22·   ·on all of these different issues.
23·   ·that borrowers are making the same kinds of claims   23·   · · · · · · So if -- if the borrower is not during
24·   ·or referring to the same documents that they think   24·   ·that time period, so we're looking at what their
25·   ·was misrepresenting something to them.· If it's --   25·   ·own evidence is to satisfy each of the elements.


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·1·   ·If the reviewer sees any borrower evidence to        ·1·   · · · A· · ·That's probably fair.
·2·   ·support even some of it, then that's it.· They       ·2·   · · · Q· · ·I'd like to look at tab 25 in the
·3·   ·stop and it gets set aside, you know, escalated,     ·3·   ·printed materials on the -- on the Dropbox.· This
·4·   ·essentially, for consideration by one of the         ·4·   ·is bracket 25 Nevin Declaration Exhibit 18
·5·   ·senior team.                                         ·5·   ·standard protocol.
·6·   · · · Q· · ·So if an applicant provides any           ·6·   · · · · · · MS. ELLIS:· And this has not previously
·7·   ·documentation to support their claim, it gets set    ·7·   ·been marked.· I'd like to -- I'd like to mark
·8·   ·aside?                                               ·8·   ·this -- I believe we're on Exhibit 23 now.
·9·   · · · A· · ·Not any documentation because a lot of    ·9·   · · · · · · (Deposition Exhibit 23 was marked for
10·   ·what we get is -- you know, we have borrowers who    10·   ·identification and attached to the transcript.)
11·   ·allege, you know, an employment prospect, kind of    11·   · · · BY MS. ELLIS:
12·   ·they guaranteed me a job type of thing.· And then    12·   · · · Q· · ·Do you recognize this document?
13·   ·the evidence that they attached may be relevant to   13·   · · · A· · ·Yes.
14·   ·something but not to that, so like a transcript or   14·   · · · Q· · ·Can you describe what this document is?
15·   ·a program manual that doesn't have any               15·   · · · A· · ·It's a standard protocol, so this is
16·   ·representations regarding employment prospects,      16·   ·what would be used for -- like we were referring
17·   ·things like that.· There would have to be evidence   17·   ·to before, the cases that, you know, are a one-off
18·   ·relevant to the claim that would potentially         18·   ·kind of scenario or, you know, where there's not
19·   ·support the claim.                                   19·   ·common evidence that would result in a separate
20·   · · · · · · If they make multiple claims and the      20·   ·protocol being developed for that particular
21·   ·evidence is relevant to any of that, then it would   21·   ·school.
22·   ·be set aside.                                        22·   · · · Q· · ·And when -- when you say "one-off,"
23·   · · · Q· · ·Does the department make available any    23·   ·that doesn't necessarily mean that there was only
24·   ·guidance to borrowers about the types of documents   24·   ·one claim from that school; right?
25·   ·they should submit to support their claims?          25·   · · · A· · ·That's right, because one turns into

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·1·   · · · A· · ·We -- the new application form, we        ·1·   ·two as soon as somebody else files one.· So, yeah,
·2·   ·tried to build that into it to, you know, give       ·2·   ·we use that loosely to mean generally, you know,
·3·   ·borrowers an indication of the kinds of things       ·3·   ·very small number of claims.· I think, typically,
·4·   ·that would be helpful.· So to some extent, I think   ·4·   ·we've viewed the threshold that, you know, under
·5·   ·that's in the newer application.· I'm not aware of   ·5·   ·ten historically, but there are cases where we
·6·   ·anything that was out there, though, previously.     ·6·   ·have probably somewhere in the 10 to 20 range that
·7·   · · · Q· · ·Did the department make publicly          ·7·   ·might still get this.
·8·   ·available any sort of list or other reference        ·8·   · · · Q· · ·Would this be a protocol that's applied
·9·   ·of -- of schools, programs, time periods for which   ·9·   ·to claims where there might actually be many from
10·   ·common evidence exists?                              10·   ·a particular school, but they've been determined
11·   · · · A· · ·Well, I think this is public now, so --   11·   ·to fall outside the common evidence?
12·   · · · Q· · ·Right.                                    12·   · · · A· · ·What do you mean by "many"?
13·   · · · A· · ·-- I guess, yes.                          13·   · · · Q· · ·Well, for instance, let's say Art
14·   · · · Q· · ·But before -- let's say before            14·   ·Institutes, potentially thousands of claims.
15·   ·October 14th, 2020, when this was filed, was any     15·   · · · A· · ·No, this would never be for anything
16·   ·sort of list like that publicly available?           16·   ·like that.
17·   · · · A· · ·No.                                       17·   · · · · · · If you look at the 2A -- 2A, you move
18·   · · · Q· · ·So a borrower, at the time they apply,    18·   ·on to part II.· 2B, 6 to 20, there's a memo
19·   ·wouldn't have a way of knowing whether their claim   19·   ·template that's completed as soon as the school
20·   ·could potentially fit into existing common           20·   ·hits six claims to determine whether the
21·   ·evidence?                                            21·   ·department, you know, has got any records
22·   · · · A· · ·That's correct.                           22·   ·regarding the school.
23·   · · · Q· · ·And they wouldn't necessarily know what   23·   · · · · · · We do that for -- for part A, that's
24·   ·kind of documentation they would have to submit in   24·   ·kind of done on the back end in the clearance
25·   ·order to have their claim considered?                25·   ·process, but, you know, the schools that are in --


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·1·   ·that fall into that 2A are typically, you know,      ·1·   ·borrower enrolled between 2010 and 2012, advise
·2·   ·state school, you know, kind of -- could be          ·2·   ·your supervisor, move on, or move the case to
·3·   ·anything.· We've got Ivy league schools that fit     ·3·   ·status X and move on.
·4·   ·into that category.                                  ·4·   · · · · · · If it doesn't do that, then next look
·5·   · · · · · · But 2B, as soon as you hit that           ·5·   ·for this because maybe we have common evidence
·6·   ·threshold, there's an Internet search.· We look to   ·6·   ·related to a specific campus somewhere during a
·7·   ·see if there's, you know, AG actions, things like    ·7·   ·different period of time.· If so, advise your
·8·   ·that.· So there's kind of a short memo where we      ·8·   ·supervisor and move on, or move it to status,
·9·   ·summarize whether there's anything out there that    ·9·   ·whatever, and move on.
10·   ·we know about.· And, then, once it hits 20, then     10·   · · · · · · If you jump through those hurdles and
11·   ·it gets kind of a longer memo with sampling.         11·   ·it's not matching up with anything that's in that
12·   · · · Q· · ·So what -- what would be the protocol     12·   ·chart, then you kind of get to what mirrors the
13·   ·applicable to a school that has more than a          13·   ·standard protocol, and, then, it's based on what
14·   ·hundred cases?                                       14·   ·the borrower has, him or herself.
15·   · · · A· · ·So we'll be producing those, but they     15·   · · · Q· · ·Okay.· So once -- once you've
16·   ·would each have their own individual protocol, so    16·   ·determined that it should not be set aside based
17·   ·it wouldn't be the standard protocol that would be   17·   ·on the common evidence protocol, you would go to
18·   ·used, and it will define the categories that would   18·   ·something that looks like what's called part II
19·   ·match up with that spreadsheet that we -- or the     19·   ·here in the standard protocol?
20·   ·chart that we were just looking at.· So, you know,   20·   · · · A· · ·Correct.
21·   ·depending on what the parameters are of the          21·   · · · Q· · ·Okay.· So here for these schools where
22·   ·evidence -- the scope of the evidence generally,     22·   ·there's less than 100 cases, there might be this
23·   ·then we would determine what's going to get set      23·   ·small-batch or medium-batch memo created depending
24·   ·aside, essentially.                                  24·   ·on the number of claims.
25·   · · · · · · So it may be that it's all campuses,      25·   · · · · · · And, then, what happens to those memos

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·1·   ·all, you know, programs for some period of time,     ·1·   ·once they're created?
·2·   ·and then anything that's inside that window gets     ·2·   · · · A· · ·What do you mean what happens to them?
·3·   ·set aside.· It might be that it's limited to a       ·3·   · · · Q· · ·The instruction number -- part I,
·4·   ·certain program like, you know, the criminal         ·4·   ·instruction 3 here says, Once you complete the
·5·   ·justice one that I was referring to before, so a     ·5·   ·appropriate memo, email the appropriate borrower
·6·   ·nursing program, we would go ahead and adjudicate    ·6·   ·defense attorney to tell them you've completed the
·7·   ·it.                                                  ·7·   ·memo, then what does the borrower defense attorney
·8·   · · · · · · And in that instance, it will probably    ·8·   ·do with the memo?
·9·   ·mirror the standard protocol to a large extent for   ·9·   · · · A· · ·So, then, it's in somebody else's
10·   ·things that fall outside, but it has very specific   10·   ·court, so if your question is what would happen
11·   ·instructions on things that are related to or        11·   ·with respect to the reviewer, it tells them to go
12·   ·potentially related to the common evidence.          12·   ·on to the cases where -- you know, that's not the
13·   · · · Q· · ·So for one of those schools that has      13·   ·case.
14·   ·its own school specific protocol, the reviewer       14·   · · · · · · But the memo itself then would be
15·   ·first would compare the application to the scope     15·   ·reviewed and edited and probably follow-up
16·   ·of the common evidence as it's been determined so    16·   ·questions and discussions and maybe further work
17·   ·far; is that correct?                                17·   ·with respect to the memo before it's finalized.
18·   · · · A· · ·Not the reviewer.· The reviewer opens     18·   ·So that kind of gets handed off to one of the more
19·   ·the application, looks at the school.· There's a     19·   ·senior team members at that point.
20·   ·spreadsheet that identifies what the appropriate     20·   · · · Q· · ·What's the usual turnaround time for
21·   ·protocol is for that school.· They pull up the       21·   ·the senior team member reviewing the memo and
22·   ·protocol.· That protocol has already kind of         22·   ·getting back to the person who wrote it you?
23·   ·delineated what's related to the common evidence     23·   · · · A· · ·I don't know, but I'm sure it varies
24·   ·and what's not by telling them what cannot           24·   ·pretty considerably based on workloads.· Nearly
25·   ·adjudicate, so, you know, if you find that your      25·   ·all of my senior attorneys and a good number of


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·1·   ·junior attorneys work on multiple things, so it      ·1·   ·looks like in the original it hyperlinked to a
·2·   ·probably varies quite a bit.                         ·2·   ·document called Types of Claims 10/23/2018.
·3·   · · · Q· · ·Do you know how many small- and           ·3·   · · · · · · Can you describe what that document is?
·4·   ·medium-batched memos have been written?              ·4·   · · · A· · ·Yeah, so it -- it kind of breaks down
·5·   · · · A· · ·I don't know what the breakdown is.       ·5·   ·examples of, you know, what states a claim and
·6·   ·Like I said, we have about 500 memos altogether, I   ·6·   ·what doesn't state a claim just to make it kind of
·7·   ·think, somewhere in that neighborhood.· So it's      ·7·   ·more concrete for training purposes and to refresh
·8·   ·some subset of that, but I couldn't give you         ·8·   ·people's memories when they're doing these if they
·9·   ·ballpark on that.                                    ·9·   ·haven't done that particular claim for a while.
10·   · · · Q· · ·These are included -- when you say,       10·   · · · · · · So an example would be -- I think one
11·   ·generally, you have about 500 school-specific        11·   ·of the things in there would say something -- it
12·   ·memos, that includes these ones for the smaller      12·   ·says something like, doesn't state a claim would
13·   ·schools?                                             13·   ·be my credits didn't transfer, but the borrower
14·   · · · A· · ·Yes.                                      14·   ·doesn't make any allegation that the school ever
15·   · · · Q· · ·Okay.· This document is watermarked as    15·   ·told them that their credits would transfer.
16·   ·a draft.· Is it actually a draft?                    16·   · · · · · · And then the corollary of what does
17·   · · · A· · ·I don't -- I'd have to do kind of a       17·   ·state a claim is the school told me that my
18·   ·line-by-line comparison.· It may be just that --     18·   ·credits would transfer, but they didn't.
19·   ·when was this produced?· Last November?              19·   · · · · · · So it kind of gives different kinds of
20·   · · · Q· · ·Yes, this was attached to your book       20·   ·examples.
21·   ·number 2019 declaration.                             21·   · · · · · · Similarly, I couldn't get a job would
22·   · · · A· · ·Yeah, I can't say for sure, but if it     22·   ·be, you know, not something that includes the
23·   ·was -- what was it attached to?                      23·   ·representation or some kind of conduct on the part
24·   · · · Q· · ·It was exhibit 18 to your declaration     24·   ·of the school, but the school promised me that I
25·   ·from November 2019.                                  25·   ·would get a job when I graduated, that --

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·1·   · · · A· · ·Oh, we might have just enclosed the       ·1·   ·that's -- so it's things like that, and it's based
·2·   ·wrong document, then.                                ·2·   ·on kind of the type of common allegations that we
·3·   · · · · · · We certainly had a final version of       ·3·   ·have.
·4·   ·this, and this looks, if not exactly like that --    ·4·   · · · Q· · ·Do you know if that document has been
·5·   ·or it very well may be the final version and just    ·5·   ·updated since 10/23/2018?
·6·   ·the watermark wasn't removed.                        ·6·   · · · A· · ·I don't think so because that kind of
·7·   · · · · · · Or, you know, we've had so many           ·7·   ·thing doesn't change.· I would have to check, but
·8·   ·platform updates, so if you see in here in a         ·8·   ·I believe it's still actually the same document in
·9·   ·couple of places it has, like, status numbers and    ·9·   ·our current protocols and that would be produced
10·   ·things like that, so we've tweaked the protocol      10·   ·to you with our other protocols.
11·   ·any time there's a change in the platform that       11·   · · · Q· · ·Okay.· What if there's an allegation
12·   ·requires something to be adjusted to make sure       12·   ·that doesn't sort of comfortably fit within the
13·   ·that the data is appropriately corrected.· I'm       13·   ·types of claims that are described in that
14·   ·wondering if it was in connection with something     14·   ·document?· What would a reviewer do with that?
15·   ·along those lines that maybe there was an update     15·   · · · A· · ·Yeah, we have an "other" bucket on the
16·   ·and they added a draft stamp and we just didn't      16·   ·application, so, you know, they're kind of our
17·   ·take it off.                                         17·   ·common kinds of allegations, and then there's an
18·   · · · Q· · ·But this is at least very close to the    18·   ·"other" at the end.· So we do typically get that
19·   ·final form of this document that reviewers           19·   ·phrase, but if they see anything that's not
20·   ·actually use?                                        20·   ·clearly covered by something that they have a
21·   · · · A· · ·Yeah, it definitely looks to be, if not   21·   ·protocol for, that they should contact their
22·   ·the document, to be very close to it.                22·   ·supervisor and get further instruction.· So that
23·   · · · Q· · ·Great.                                    23·   ·would be set aside until they had clear
24·   · · · · · · Moving down to part II, entitled Case     24·   ·parameters.
25·   ·Review, part II instruction 2, refers to -- and it   25·   · · · · · · If it was something novel, that could


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·1·   ·potentially end up in all the cases for that         ·1·   ·say, you know, let's see if other students also
·2·   ·school being put on hold until we figure out         ·2·   ·were alleging guaranteed employment,
·3·   ·whether there's any common evidence related to it,   ·3·   ·misrepresentations around that time?
·4·   ·be, but it doesn't happen that often believe it or   ·4·   · · · A· · ·Well, a couple of different things
·5·   ·not.· We tend to see a lot of the same kinds of      ·5·   ·could happen there.· You know, once you have the
·6·   ·things over and over again.                          ·6·   ·name of a specific -- you know, if it was an email
·7·   · · · Q· · ·Okay.· On instruction 4, If the           ·7·   ·from a recruiter, and now we know that the
·8·   ·borrower attaches any evidence that supports that    ·8·   ·recruiter is John Smith, we can search our -- you
·9·   ·borrower's particular allegation, but does not       ·9·   ·know, our claims.· We have the ability to search
10·   ·indicate any larger action against the school,       10·   ·somewhat in our system to see if John Smith shows
11·   ·email your assigned QC attorney, et cetera, and      11·   ·up in other borrower applications, so we would
12·   ·stop work on the case.                               12·   ·probably do that to see if other borrowers has had
13·   · · · · · · So that's the situation we were talking   13·   ·an allegation regarding him.
14·   ·about earlier, right, where, if the reviewer         14·   · · · · · · Any time that we discovered new
15·   ·thinks that there's sufficient evidence to support   15·   ·evidence, we also would potentially consider
16·   ·the claim, they're to elevate it?                    16·   ·reopening other cases.· So it could be that
17·   · · · A· · ·Not even sufficient.· Any evidence that   17·   ·something like that would give rise to
18·   ·supports the claim.                                  18·   ·(indiscernible) what we have, and if it's an open
19·   · · · Q· · ·How -- how do you draw the distinction    19·   ·school, maybe requesting documents from the
20·   ·between evidence that supports a borrower's claim,   20·   ·school.
21·   ·but not a more general claim -- or not a larger      21·   · · · · · · But we haven't had that happen very
22·   ·action against the school as it's put here?          22·   ·often to be honest with you.· So I think that
23·   · · · A· · ·You know, the latter -- the sort of       23·   ·there's a pretty small number where the borrowers
24·   ·borrower-specific scenario.· It could be an email    24·   ·have that level of information, usually
25·   ·that a recruiter sent to an individual borrower,     25·   ·(inaudible) --

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·1·   ·so, you know, making a promise in that email,        ·1·   · · · · · · THE COURT REPORTER:· Guys, I'm not
·2·   ·that's not something that was publicly               ·2·   ·hearing her at all.
·3·   ·disseminated to a whole bunch of other people        ·3·   · · · · · · MR. MERRITT:· Yeah, she just cut out.
·4·   ·unless there's evidence that that recruiter, you     ·4·   · · · · · · MS. ELLIS:· Colleen, your audio just
·5·   ·know, was making similar allegations to other        ·5·   ·went out.
·6·   ·people and, you know, this would suggest that        ·6·   · · · · · · MR. MERRITT:· Now, it says you're on
·7·   ·we're not aware of any common evidence to that       ·7·   ·mute, Colleen, for whatever that's worth,
·8·   ·effect.· Then that would be borrower specific, so    ·8·   ·but . . .
·9·   ·it wouldn't give enough to get somebody else over    ·9·   · · · · · · THE WITNESS:· Can you hear me?
10·   ·that hurdle.                                         10·   · · · · · · MS. ELLIS:· Now, we can.
11·   · · · · · · So that would be a borrower-specific      11·   · · · · · · MR. MERRITT:· Yes.
12·   ·scenario.                                            12·   · · · · · · THE WITNESS:· I'm going to dial back
13·   · · · · · · More often, though, if we see common      13·   ·in.· My call just dropped for whatever reason.
14·   ·evidence, if in doubt, it kind of gets thrown into   14·   ·I'm so sorry.
15·   ·the pool of common evidence and is considered        15·   · · · · · · THE VIDEOGRAPHER:· Okay.
16·   ·broadly if it's not clearly borrower specific.       16·   · · · · · · THE WITNESS:· I've go to go through
17·   · · · Q· · ·So in -- in that sort of scenario, if a   17·   ·this process again.· Joe, can you walk me through
18·   ·borrower attached an email from a recruiter where    18·   ·this again?· It doesn't look like I'm getting the
19·   ·the recruiter, you know, clearly was                 19·   ·same options.
20·   ·misrepresenting guaranteed employment or something   20·   · · · · · · THE VIDEOGRAPHER:· Yes.
21·   ·like that, and the reviewer then elevated that       21·   · · · · · · Would you like to go off the record,
22·   ·application and said, you know, here's this email    22·   ·Counsel?
23·   ·that I think supports the claim, would that          23·   · · · · · · MS. ELLIS:· Yes, could we go off the
24·   ·trigger any sort of investigation or claim           24·   ·record a minute to fix this?
25·   ·sampling from other students at that school to       25·   · · · · · · THE VIDEOGRAPHER:· Sure.


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·1·   · · · · · · MR. MERRITT:· Yes.                        ·1·   ·would not support the employment-prospect claim.
·2·   · · · · · · THE VIDEOGRAPHER:· We are now off the     ·2·   · · · · · · But if the borrower alleged a
·3·   ·record.· The time is 19:58 -- excuse me,             ·3·   ·programmatic accreditation misrepresentation and
·4·   ·19:59 UTC.                                           ·4·   ·attached a manual that had any reference at all to
·5·   · · · · · · (Recess -- 2:59 p.m.)                     ·5·   ·accreditation, that would be set aside.
·6·   · · · · · · (After recess -- 3:00 p.m.)               ·6·   · · · · · · So I don't know that it -- it may
·7·   · · · · · · THE VIDEOGRAPHER:· We are now on the      ·7·   ·actually be covered (indiscernible) done on type
·8·   ·record.· The time is 20:00 UTC.                      ·8·   ·of claim documents -- well, I can't remember.· But
·9·   · · · · · · MS. ELLIS:· Could the reporter please     ·9·   ·that's the kind of thing we go over in the
10·   ·read the last couple lines that you were able to     10·   ·training.
11·   ·get before the audio cut out?· Dana, can you hear    11·   · · · Q· · ·Is that written down in training
12·   ·me?                                                  12·   ·materials, PowerPoints or handouts, anything like
13·   · · · · · · THE COURT REPORTER:· I'm sorry.· Were     13·   ·that?
14·   ·you not hearing me?· I'm sorry.                      14·   · · · A· · ·I don't recall.
15·   · · · · · · MS. ELLIS:· Yeah, I think you were on     15·   · · · Q· · ·Do you know if anyone has searched for
16·   ·mute.                                                16·   ·materials like that for discovery in this case?
17·   · · · · · · THE COURT REPORTER:· Okay.                17·   · · · A· · ·If we had searched for it?
18·   · · · · · · MS. ELLIS:· Would you mind --             18·   · · · Q· · ·Yes.
19·   · · · · · · THE COURT REPORTER:· Sure.                19·   · · · A· · ·I think -- I think we're pulling the
20·   · · · · · · MS. ELLIS:· -- just back those last few   20·   ·training materials in connection with one of the
21·   ·lines?· Thank you.                                   21·   ·requests.· I can't remember which one.
22·   · · · · · · THE COURT REPORTER:· Sure.                22·   · · · Q· · ·Okay.· So I just want to understand.
23·   · · · · · · (The Record was read as requested.)       23·   ·The applications that are elevated either because
24·   · · · · · · THE WITNESS:· Okay.                       24·   ·they might fit within common evidence or because
25·   · · · BY MS. ELLIS:                                   25·   ·they provide some of their own evidence, those are

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·1·   · · · Q· · ·Do you have anything you'd want to add    ·1·   ·elevated to the senior borrower defense attorneys;
·2·   ·to what you were saying?                             ·2·   ·is that correct?
·3·   · · · A· · ·No, I think that covers it.               ·3·   · · · A· · ·You said -- you say this a couple of
·4·   · · · Q· · ·Okay.· So are reviewers given             ·4·   ·times, "fit within the common evidence," and I
·5·   ·anything -- any guidance that's sort of similar to   ·5·   ·think I would say it's not that the application
·6·   ·that types of claims 10/23/18 document for           ·6·   ·fits within the common evidence.· It's that we've
·7·   ·evidence, something that would tell -- tell them,    ·7·   ·concluded that the common evidence potentially
·8·   ·here's the sort of evidence that supports a claim,   ·8·   ·supports some part of the element of the
·9·   ·and here's the sort of evidence that does not        ·9·   ·borrower's application.
10·   ·support a claim?                                     10·   · · · · · · And that said, in terms of elevated,
11·   · · · A· · ·I don't recall.· There may be something   11·   ·this is specific to kind of the scenarios of, you
12·   ·in the training materials, but, like I said, the     12·   ·know, one-offs and, you know, where it's outside
13·   ·threshold is very low.· If they see anything that    13·   ·of the common evidence is the conclusion already.
14·   ·could potentially support approval, they're          14·   · · · · · · So these are getting escalated to a
15·   ·supposed to escalate it.                             15·   ·senior attorney to have a more meaningful
16·   · · · Q· · ·I guess I'm just trying to understand     16·   ·discussion about what the specific allegations or
17·   ·how they would identify a thing that could           17·   ·evidence is, et cetera, and determine what the
18·   ·potentially support approval?                        18·   ·next steps are.
19·   · · · A· · ·I mean, I think we cover in the           19·   · · · · · · So kind of different tasks.
20·   ·training the kinds of things that we see in cases    20·   · · · Q· · ·Okay.· So I'll take them one at a time.
21·   ·and what borrowers typically include and whether     21·   · · · · · · If we're talking about the one-off or
22·   ·that does or doesn't support it, so going back to    22·   ·no common evidence types of claims that have some
23·   ·my example, the most often scenario is we get a      23·   ·supporting documentation on their own, those are
24·   ·borrower who alleges employment prospect kind of     24·   ·elevated, you just said, to a more senior attorney
25·   ·claim and then attaches a transcript, so that        25·   ·for a discussion of next steps.


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·1·   · · · · · · When -- how long does it generally take   ·1·   ·with priorities and trying to make sure that we
·2·   ·between when an application is elevated and when a   ·2·   ·can adjudicate as many cases as possible.· Those
·3·   ·final decision is reached?                           ·3·   ·are much more time-consuming.· We probably would
·4·   · · · A· · ·That assumes that that's getting worked   ·4·   ·want to document either way whether there was
·5·   ·on right away, and it's not.· So those are pretty    ·5·   ·sufficient evidence to approve it or that we
·6·   ·much set aside because they're more complex and      ·6·   ·determined that it wasn't sufficient evidence.· So
·7·   ·they're going to take more time to address.          ·7·   ·those are still on hold while we work on the cases
·8·   · · · · · · So it's not that, you know, the           ·8·   ·that have protocols.
·9·   ·reviewer identifies it this morning, and then in     ·9·   · · · Q· · ·Okay.· Is there -- is this generally a
10·   ·the afternoon they get feedback on it and the case   10·   ·written feedback process or a verbal one where the
11·   ·gets adjudicated.· If it's set aside, it's           11·   ·senior attorney would tell the reviewing attorney
12·   ·probably set aside for some period of time until     12·   ·this is not really enough evidence; go ahead and
13·   ·someone has the bandwidth to, you know, dive into    13·   ·deny the claim?
14·   ·the school a little more deeply and see if there     14·   · · · A· · ·I think it's often email or we use
15·   ·are additional steps that need to be taken.          15·   ·Teams Chat or I think at one point we used Skype.
16·   · · · Q· · ·Okay.· Any -- can you make a              16·   ·We also have very frequent training, so it could
17·   ·generalization about what that "some period of       17·   ·take different forms depending on whether it's the
18·   ·time" might be?                                      18·   ·kind of thing that would -- you know, that more
19·   · · · A· · ·No, there's no set time period.           19·   ·than one reviewer might see.· Then it might be
20·   · · · Q· · ·Okay.· So is it the case that many        20·   ·something that would be addressed in a
21·   ·applications that get elevated may be set aside      21·   ·supplemental training so that not just that
22·   ·for weeks?                                           22·   ·reviewer, but all of the reviewers, could get the
23·   · · · A· · ·Sure.                                     23·   ·benefit of that information.
24·   · · · Q· · ·Yeah.                                     24·   · · · Q· · ·So, then, as we continue looking down
25·   · · · A· · ·Yep.                                      25·   ·the standard protocol, number 5 says, If the

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·1·   · · · Q· · ·Then -- but some -- have -- have any      ·1·   ·allegation does not state a claim, does not state
·2·   ·applications that have been elevated under that      ·2·   ·a BD claim or does not have sufficient evidence to
·3·   ·kind of protocol been finally adjudicated?           ·3·   ·support a claim, set the allegation review
·4·   · · · A· · ·You know, if the reviewer is fairly new   ·4·   ·recommendation as denied.
·5·   ·and they're -- you know, they're following our       ·5·   · · · · · · So does this mean that -- that a
·6·   ·instructions, that the bar is very low, so if they   ·6·   ·first-level reviewing attorney can deny a claim
·7·   ·have any question at all, to kind of escalate it,    ·7·   ·based on their review of the evidence, but cannot
·8·   ·they may be escalating way too much and actually,    ·8·   ·approve a claim based on their review of the
·9·   ·you know, escalating things that aren't evidence     ·9·   ·evidence?
10·   ·that's actually related to the claim.                10·   · · · A· · ·Well, no, I would disagree with the
11·   · · · · · · So I'm sure there have been some where    11·   ·premise because they're not -- they're not denying
12·   ·the supervising attorney works with the junior       12·   ·it based on a review of the evidence.· They're
13·   ·attorney to explain why that actually wasn't         13·   ·denying it based on a lack of evidence, or they're
14·   ·evidence that was related to the claim and,          14·   ·basing it on failure to state a claim or failure
15·   ·therefore, it could be -- could move forward with    15·   ·to state a claim as actionable under BD.
16·   ·adjudication.                                        16·   · · · · · · But if your question is they deny it,
17·   · · · · · · But there haven't been cases              17·   ·yes, the protocol clearly sets out what they're
18·   ·adjudicated where there was a weighing of the        18·   ·allowed to do.
19·   ·evidence.· So if the supervising attorney agreed     19·   · · · Q· · ·When I said "review of the evidence,"
20·   ·that it was evidence that was relevant to the        20·   ·what I meant, essentially, was opening up the
21·   ·claim, then that would still be pending at this      21·   ·application, looking at the application itself and
22·   ·point.                                               22·   ·anything attached to it, and on the basis of
23·   · · · Q· · ·Why haven't any of those been             23·   ·looking at those documents, they can deny the
24·   ·adjudicated?                                         24·   ·claim.
25·   · · · A· · ·We're just -- it's a sequencing issue     25·   · · · · · · Is that accurate?


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·1·   · · · A· · ·That's accurate.                          ·1·   ·either by somebody on the quality control team or
·2·   · · · Q· · ·But they cannot approve the claim?        ·2·   ·their supervisor or potentially both.· And then,
·3·   · · · A· · ·Well, once there's a protocol, they       ·3·   ·you know, throughout their, you know, review
·4·   ·will be able to.· So for Corinthian job prospects,   ·4·   ·process, depending on whether they're off of the
·5·   ·for Corinthian transfer of the credits, for          ·5·   ·probationary period, then, you know, there's a
·6·   ·Corinthian JPR claims, all of those, ITT, they can   ·6·   ·certain percentage of claims that are reviewed as
·7·   ·approve the claim.· It's just that it has to be      ·7·   ·well.
·8·   ·reduced to a very clear protocol with very           ·8·   · · · · · · So it kind of depends on how long
·9·   ·specific parameters.                                 ·9·   ·they've been with us and where they are in the
10·   · · · Q· · ·Understood.                               10·   ·process, but we have a pretty robust training
11·   · · · · · · But a line reviewer can't approve a       11·   ·process.
12·   ·claim based on individual evidence submitted by      12·   · · · Q· · ·I'd like to look at the responses to
13·   ·the borrower?                                        13·   ·interrogatories.· This is Exhibit 22.· I'm looking
14·   · · · A· · ·That's right.· We don't have them do an   14·   ·at page 16 which if you flip back to page 15
15·   ·assessment of, you know, kind of a weighing of the   15·   ·you'll see this is the response to interrogatory
16·   ·evidence or determining the sufficiency.· It's too   16·   ·number 12 which asks about training for people who
17·   ·complicated at that level to try to just open a      17·   ·adjudicate borrower defense claims.
18·   ·claim.· You'd have to understand what the elements   18·   · · · · · · At the bottom of page 16, this
19·   ·of the claim are, and that's dependent on the        19·   ·interrogatory response refers to follow up
20·   ·regulation and the state law and, you know,          20·   ·trainings to improve the quality of draft denial
21·   ·whether there's common evidence that supports some   21·   ·letters around the end of 2018.
22·   ·element.                                             22·   · · · · · · I was -- I want to ask about what --
23·   · · · · · · So the only way to make sure that we're   23·   ·what form of denial letter was being used at the
24·   ·giving consistent and fair results is to give them   24·   ·end of 2018?
25·   ·very clear criteria.                                 25·   · · · A· · ·These were -- people were trained on

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·1·   · · · Q· · ·Why is it important to have consistent    ·1·   ·but they never went out.· These draft letters
·2·   ·and clear criteria for approvals, but not denials?   ·2·   ·were --
·3·   · · · A· · ·I disagree with your premise.· I think    ·3·   · · · · · · Let me read the paragraph for a second.
·4·   ·that they're both consistent.                        ·4·   · · · · · · (Witness reviews document.)
·5·   · · · Q· · ·Is there a protocol like the protocol     ·5·   · · · · · · Yeah.· So the earliest iteration of the
·6·   ·for approvals that lays things out consistently      ·6·   ·letters for one-off claims were not one of the
·7·   ·and clearly to determine whether a claim should be   ·7·   ·automated templates.· They were draft letters that
·8·   ·denied?                                              ·8·   ·I mentioned before (indiscernible) trying to
·9·   · · · A· · ·I think our protocols do lay that out     ·9·   ·figure out how to handle the one-off.
10·   ·consistently and allow for a consistent and fair     10·   · · · · · · And, so, we had contract attorneys take
11·   ·adjudication either way.                             11·   ·a crack at drafting the letters, and then they
12·   · · · Q· · ·Are you referring to this standard        12·   ·were reviewed -- each letter would be reviewed by,
13·   ·protocol as one example that allows a consistent     13·   ·you know, a permanent member of the BD team and
14·   ·and clear result either way?                         14·   ·work with the contract attorney to both review the
15·   · · · A· · ·I said consistent and fair.               15·   ·substance and the -- the form of the letter.
16·   · · · Q· · ·I'm -- I'm sorry.· Yes.                   16·   · · · · · · It was a very time-consuming and,
17·   · · · A· · ·Yes.                                      17·   ·ultimately, not very successful effort to use the
18·   · · · Q· · ·The borrower defense senior attorneys     18·   ·contract attorneys in that capacity, so none of
19·   ·perform quality control review of the line           19·   ·those cases actually resulted in the receipt of
20·   ·attorneys; is that correct?                          20·   ·these letters.· They, ultimately, became, I think,
21·   · · · A· · ·We have a quality control team, and       21·   ·some of the letters -- the letters that went out
22·   ·then we also -- we have sort of different stages.    22·   ·in 2019.
23·   ·When somebody new joins BD, they go through a full   23·   · · · Q· · ·In 2018 in -- around the end of 2018,
24·   ·week of training and probationary period, so all     24·   ·that was during the period when no decisions were
25·   ·of their claims are reviewed at that point by        25·   ·being processed; is that right?


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·1·   · · · A· · ·Yes.                                      ·1·   ·were looking at earlier that was tab 15,
·2·   · · · Q· · ·So this was a project you were working    ·2·   ·Exhibit 15 from the Jones deposition and the
·3·   ·on in anticipation of when processing began again?   ·3·   ·denial letter starts at page 51 of that document.
·4·   · · · A· · ·Yeah.· Yeah.                              ·4·   · · · A· · ·Sorry.· Is this the declaration of
·5·   · · · Q· · ·So for all of the borrowers who have      ·5·   ·Eileen Connor document?
·6·   ·received form C or D denial letters since the end    ·6·   · · · Q· · ·Yes, that's right.· And attached to the
·7·   ·of 2019, and those are the ones for non-Corinthian   ·7·   ·declaration of Eileen Connor is the affidavit of
·8·   ·claims, is it fair to say that none of -- none of    ·8·   ·Theresa Sweet and attached to that is the denial
·9·   ·those applications had any evidence weighed in       ·9·   ·letter near the end of the document.
10·   ·relation to their claim?                             10·   · · · A· · ·Got it.· Okay.
11·   · · · A· · ·Unless it was an ITT case for which we    11·   · · · Q· · ·Okay.· So looking down on the third
12·   ·had a protocol, so that would have been -- the       12·   ·page of the denial letter, which is page 53 of
13·   ·reviewer didn't do the weighing, but the weighing    13·   ·this document overall, there's a heading, What if
14·   ·was done before the approval protocol, but I think   14·   ·I do not agree with this decision.
15·   ·with that exception your statement is correct.       15·   · · · · · · Do you see that?
16·   · · · Q· · ·Okay.                                     16·   · · · A· · ·Yes.
17·   · · · A· · ·One thing I just wanted to clarify        17·   · · · Q· · ·And it continues on the next page, In
18·   ·because I'm not sure I was clear on before.· When    18·   ·your request for reconsideration, please provide
19·   ·we were talking about -- I think it was              19·   ·the following information, and there's a list of
20·   ·Ms. Sweet's letter, you were also asking about       20·   ·three things to include in the reconsideration
21·   ·reliance kind of in a related thread.· I just        21·   ·application.
22·   ·wanted to make clear that the letters C and D that   22·   · · · · · · Do you see that?
23·   ·have gone out were not -- those were not based on    23·   · · · A· · ·I do.
24·   ·a denial related to reliance.                        24·   · · · Q· · ·Okay.· Can you read item 2 on that
25·   · · · · · · Those were based on the reasons that we   25·   ·list, please?

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·1·   ·just talked about.· Either a failure to state a      ·1·   · · · A· · ·Item 2 is, Why you believe that ED
·2·   ·claim in the sense that they said, you know, I       ·2·   ·incorrectly decided your borrower defense
·3·   ·couldn't transfer my credits, but they didn't say    ·3·   ·repayment application.
·4·   ·that they -- you know, that there was a              ·4·   · · · Q· · ·Okay.· Based on reading this form D
·5·   ·misrepresentation.                                   ·5·   ·denial letter, what basis would a borrower have to
·6·   · · · · · · That kind of thing is the failure to      ·6·   ·assert that ED incorrectly decided her borrower
·7·   ·state a claim that would be reflected in what went   ·7·   ·defense application?
·8·   ·out for the C and D category.                        ·8·   · · · A· · ·Which claim, I guess, is she requesting
·9·   · · · · · · MS. ELLIS:· Okay.· I think we've been     ·9·   ·reconsideration on?
10·   ·going for a while with the exception for our tech    10·   · · · Q· · ·Well, let's start theoretically with
11·   ·breaks, so let's take a real five-minute break       11·   ·Allegation 1, Employment Prospects.
12·   ·here if that's all right.                            12·   · · · A· · ·So failure to state a legal claim.· I'm
13·   · · · · · · THE WITNESS:· Great.                      13·   ·sorry.· Can you repeat your question?
14·   · · · · · · MR. MERRITT:· Yes.                        14·   · · · Q· · ·I guess I'll -- I can rephrase.· How
15·   · · · · · · THE WITNESS:· Thank you.                  15·   ·would the borrower know what failure to state a
16·   · · · · · · MS. ELLIS:· All right.· Thank you.        16·   ·legal claim means in this context?
17·   · · · · · · THE VIDEOGRAPHER:· We are now off the     17·   · · · A· · ·I don't really have an answer to that.
18·   ·record.· The time is 20:21 UTC.                      18·   ·I don't know.
19·   · · · · · · (Recess -- 3:21 p.m.)                     19·   · · · Q· · ·Is there a standard reconsideration
20·   · · · · · · (After recess -- 3:37 p.m.)               20·   ·form that a borrower can fill out?
21·   · · · · · · THE VIDEOGRAPHER:· We're now on the       21·   · · · A· · ·Not currently.· There's a whole process
22·   ·record.· The time is 20:37 UTC.                      22·   ·that has to happen for forms that collect data
23·   · · · BY MS. ELLIS:                                   23·   ·from borrowers, so that was something that was
24·   · · · Q· · ·Okay.· So I'd like to go back to the      24·   ·discussed a while back.· We've actually expanded
25·   ·denial letter that Theresa Sweet received that we    25·   ·the reconsideration process beyond what the


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·1·   ·regulation requires because under the 2016           ·1·   ·had.· I don't know.
·2·   ·regulation, you can only -- well, you can seek       ·2·   · · · · · · But, you know, certainly, if they have
·3·   ·reconsideration if you have new evidence that        ·3·   ·evidence that they didn't provide that wasn't with
·4·   ·wasn't considered in connection with your            ·4·   ·their application, then that would be something
·5·   ·application.                                         ·5·   ·that would be helpful to do.· But it could just
·6·   · · · · · · I had already advocated for having a      ·6·   ·be, you know, identifying evidence that may be
·7·   ·reconsideration process, period, going back to the   ·7·   ·available elsewhere, too, because we may not know
·8·   ·beginning of time, but in particular I think with    ·8·   ·about it.
·9·   ·respect to the pace that we're working on these      ·9·   · · · Q· · ·Okay.· But if a -- if a borrower were
10·   ·adjudications now, we wanted to make sure that we    10·   ·to resubmit the same evidence they submitted the
11·   ·had a mechanism for correcting any mistakes that     11·   ·first time but with a more fulsome explanation,
12·   ·we made.                                             12·   ·that would receive review as a -- as a complete
13·   · · · · · · So -- so we've actually got a more        13·   ·reconsideration application?
14·   ·expansive reconsideration.· You know, it's more      14·   · · · A· · ·Under current policy, yes.
15·   ·expansive in terms of who can -- who can seek it.    15·   · · · Q· · ·Right above this section here above,
16·   · · · · · · You know, to the extent that these        16·   ·What if I do not agree with this decision, there's
17·   ·letters maybe aren't perfect and could provide       17·   ·another section that's titled, What evidence was
18·   ·better information, I don't know what the borrower   18·   ·considered in determining my application's
19·   ·would look to in particular, but, you know,          19·   ·ineligibility.
20·   ·certainly if they -- on that one if she, you know,   20·   · · · · · · Is there any way for the borrower to
21·   ·articulated her claim more fully -- sometimes we     21·   ·find out more about what was considered under this
22·   ·get very short statements in the allegations, and    22·   ·heading beyond the description provided here?
23·   ·if she gave more information that perhaps could      23·   · · · A· · ·Currently, no.
24·   ·lead to a different result.                          24·   · · · Q· · ·How many people have applied for
25·   · · · · · · We do have a lot of applications that     25·   ·reconsideration in 2020?

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·1·   ·came in before there was even an application, so     ·1·   · · · A· · ·I don't know if I've seen data on that
·2·   ·they were on emails, there was a template or an      ·2·   ·lately.· I believe it was at least a few thousand
·3·   ·entity called the Debt Collective.· I think          ·3·   ·as of a couple of months ago, but I can't be sure
·4·   ·there's still an entity called the Debt Collective   ·4·   ·of exact numbers.
·5·   ·that had their own form.· Sometimes it's just a      ·5·   · · · Q· · ·And what's the process for handling
·6·   ·factor of how it came in, and there could be a       ·6·   ·reconsideration applications when they come in?
·7·   ·scenario where a borrower could provide more         ·7·   · · · A· · ·Well, we're -- we're adding some
·8·   ·detail in the request for reconsideration that       ·8·   ·enhancements to our -- our platform to kind of
·9·   ·would result in a different result.                  ·9·   ·provide a -- a better mechanism to do it, but
10·   · · · Q· · ·Okay.· But there's nothing in the         10·   ·right now the -- the request comes in -- it can
11·   ·denial letter that explains that to the borrower;    11·   ·come in -- sometimes it's immediately in response
12·   ·is that correct?                                     12·   ·to the email, so these notifications go out to the
13·   · · · A· · ·I think that's fair.                      13·   ·borrower by email, and this tells them how to
14·   · · · Q· · ·And then looking at -- back at the list   14·   ·respond.· So sometimes shortly after they get
15·   ·of what to provide in the reconsideration            15·   ·their decision, they submit a request.· Other
16·   ·application, item 3 says, Identify and provide any   16·   ·times, they gather additional evidence and then
17·   ·evidence that demonstrates why ED should approve     17·   ·submit it later.
18·   ·your borrower defense to repayment under the         18·   · · · · · · But it goes through our intake process
19·   ·applicable law set forth above.                      19·   ·kind of -- sort of along the lines of the way the
20·   · · · · · · So do I understand from what you've       20·   ·application comes in, and then it's associated
21·   ·just said that this isn't meant to require new       21·   ·with their application on the review platform.
22·   ·evidence; it's any evidence?                         22·   · · · Q· · ·And then how long does it take between
23·   · · · A· · ·It could be new evidence.· It could be    23·   ·when the application gets entered into the review
24·   ·that the borrower referenced evidence and then       24·   ·platform and someone actually reviews it?
25·   ·didn't actually include it.· Maybe they thought we   25·   · · · A· · ·We haven't actually started the reviews


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·1·   ·for reconsideration yet.· We just started building   ·1·   ·figure that out before the CARES Act expires so
·2·   ·up the reconsideration process for the               ·2·   ·that we can address that.
·3·   ·job-placement-rate claims in particular because      ·3·   · · · Q· · ·Is there a standard that's applied for
·4·   ·those have been the ones that have probably been     ·4·   ·whether a reconsideration application will be
·5·   ·decided the longest, but we've been focusing on      ·5·   ·accepted?
·6·   ·trying to get through -- getting original            ·6·   · · · A· · ·There will be.· Like I said, we haven't
·7·   ·decisions to the entirety of the 340,000 people      ·7·   ·really filled out that process because we've been
·8·   ·that applied first and then reconsideration.· Once   ·8·   ·focusing on trying to get results to the folks who
·9·   ·I have a little bit more bandwidth, we'll start      ·9·   ·still have pending original claims.
10·   ·moving forward on getting responses to those.        10·   · · · Q· · ·But it sounds like the acceptance
11·   · · · Q· · ·Okay.· On -- I'm going down to the next   11·   ·process does involve some sort of preliminary
12·   ·page again with the items 1 through 3.· And          12·   ·review of the reconsideration application?
13·   ·looking at the paragraph following those numbers 1   13·   · · · A· · ·Potentially, but I think we're kind of
14·   ·through 3, the third sentence in that paragraph      14·   ·getting into a deliberative area right now in
15·   ·says, Additionally, your loans will not be placed    15·   ·terms of what way we go on it.
16·   ·into forbearance unless your request for             16·   · · · Q· · ·Okay.· So you mentioned the 2016
17·   ·reconsideration is accepted and your case is         17·   ·regulations having a reconsideration process in
18·   ·reopened.                                            18·   ·place.
19·   · · · · · · What does "accepted" mean in this         19·   · · · A· · ·It calls for a reconsideration process,
20·   ·context?                                             20·   ·yes.
21·   · · · A· · ·Well, we haven't really had to deal       21·   · · · Q· · ·Yes.
22·   ·with that yet because of the CARES Act and the       22·   · · · · · · Had -- had a reconsideration process
23·   ·fact that all loans are in forbearance currently,    23·   ·been set up under the 2016 regs before these form
24·   ·but that's something that we're trying to figure     24·   ·denial letters started going out?
25·   ·out between now and the end of the year; although,   25·   · · · A· · ·The -- the groundwork for it in the

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·1·   ·I understand the secretary now just extended the     ·1·   ·sense that we had the mechanisms to kind of
·2·   ·forbearance period into February because we want     ·2·   ·collect the requests and that kind of thing, but
·3·   ·to see if we can get that preliminary decision       ·3·   ·we don't have all the pieces in the platform that
·4·   ·issued before anybody's loans are affected.          ·4·   ·we'd like before we can kind of efficiently handle
·5·   · · · · · · But, essentially, you know, the way       ·5·   ·them.
·6·   ·that the regulation is set up, the borrower can      ·6·   · · · · · · So part of it, yes, enough for the
·7·   ·request reconsideration, and the department can      ·7·   ·borrower to make the request to be associated with
·8·   ·decide not to agree to essentially reconsider the    ·8·   ·a case and all that kind of thing, but not for an
·9·   ·case.                                                ·9·   ·efficient adjudication process yet.
10·   · · · · · · So that's the framework that exists,      10·   · · · Q· · ·Okay.· So are there -- did the
11·   ·and so under that framework, it's not until the      11·   ·department receive reconsideration applications in
12·   ·department agrees to accept the request for          12·   ·2019?
13·   ·reconsideration and kind of do a rereview or         13·   · · · A· · ·I don't think so.· I think the earliest
14·   ·whatever that process looks like that the            14·   ·ones came in in 2020.
15·   ·borrower's loans are put into forbearance.           15·   · · · Q· · ·And that is likely because decisions
16·   · · · · · · But one of the tricky things about that   16·   ·hadn't been issuing for most of 2018 and 2019;
17·   ·is that by the time you've made that decision,       17·   ·correct?
18·   ·then it might be a pretty short window between       18·   · · · A· · ·Yeah.
19·   ·when you open the case and then actually issue a     19·   · · · Q· · ·Okay.
20·   ·new decision, so the borrower may not be in          20·   · · · A· · ·Well, going back that to that time, I
21·   ·forbearance very long in connection with that.       21·   ·was thinking because we had -- the first decisions
22·   · · · · · · So we're trying to figure out how to      22·   ·that went out in 2019 were at the end of 2019, and
23·   ·address that process.· I think we'll have probably   23·   ·there wasn't a reconsideration process before that
24·   ·a better understanding of what that looks like in    24·   ·associated with the '95 reg.
25·   ·a month or so.· Like I said, we're trying to         25·   · · · Q· · ·Okay.· So if -- if someone whose


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·1·   ·borrower defense application was decided under the   ·1·   · · · Q· · ·Was the difficulty of reviewing
·2·   ·'95 reg had wanted to ask for reconsideration of a   ·2·   ·borrower defense applications a primary reason for
·3·   ·denial, would they have had the option to do that?   ·3·   ·the delay in issuing decisions?
·4·   · · · A· · ·At what point in time?                    ·4·   · · · A· · ·The difficulty affected the volume of
·5·   · · · Q· · ·Before the Bauer decision put the 2016    ·5·   ·the adjudication in the sense of -- you know, the
·6·   ·regs into effect.                                    ·6·   ·cases got a lot more complicated when the 2016
·7·   · · · A· · ·No, there was no reconsideration          ·7·   ·regulation went into effect in 2018 because now we
·8·   ·process before that.                                 ·8·   ·have a lot of cases that are subject to both, and
·9·   · · · Q· · ·So, as you know, this case primarily is   ·9·   ·that determination needs to be made.
10·   ·about why there was such a long delay in issuing     10·   · · · · · · So I think that the -- the pace of the
11·   ·borrower defense decisions.                          11·   ·adjudications was affected by various things that
12·   · · · · · · In your view, what are the main reasons   12·   ·made it difficult, but that didn't mean that they
13·   ·why so few borrower defense decisions were issued    13·   ·couldn't be issued.· That was related to a
14·   ·between January 2017 and January 2020?               14·   ·decision up the food chain.
15·   · · · · · · MR. MERRITT:· Objection on the scope of   15·   · · · Q· · ·Was the staffing level of BDU a factor
16·   ·that question and to the characterization of the     16·   ·in why there was a delay in issuing decisions?
17·   ·case.                                                17·   · · · A· · ·It was a factor in the number of
18·   · · · · · · MS. ELLIS:· Can the witness answer?       18·   ·decisions that were adjudicated.· So to the extent
19·   · · · · · · MR. MERRITT:· Yes.                        19·   ·that that was related, I guess it was a factor.
20·   · · · · · · THE WITNESS:· I don't know that there's   20·   ·But it wasn't -- it didn't prevent decisions from
21·   ·one answer for that entire time period.· Can you     21·   ·going out.
22·   ·maybe break it up for me?                            22·   · · · Q· · ·Was the difficulty of discerning or
23·   · · · BY MS. ELLIS:                                   23·   ·applying state law under the '95 regs a major
24·   · · · Q· · ·Sure.                                     24·   ·factor in why so few decisions were issued?
25·   · · · · · · Well, let's start in 2017.                25·   · · · A· · ·At what time?

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·1·   · · · A· · ·Well, there were no decisions issued      ·1·   · · · Q· · ·Did -- did -- is the answer different
·2·   ·for many months in 2017 associated with the          ·2·   ·at different times?
·3·   ·decision not to do anything with respect to what     ·3·   · · · A· · ·Yeah, because the Corinthian cases were
·4·   ·we had already adjudicated and not to have more      ·4·   ·adjudicated under California law, so that once we
·5·   ·claims pending the review panel and the AG review    ·5·   ·had fully explored California law with respect to,
·6·   ·and then the release methodology -- the              ·6·   ·you know, the first memo, that really wasn't a
·7·   ·development of the release methodology.· So that     ·7·   ·factor for Corinthian, which was our focus for a
·8·   ·was 2017.                                            ·8·   ·good percentage of the time period at issue.
·9·   · · · · · · We did issue decisions between end of     ·9·   · · · Q· · ·Of the claims that have been
10·   ·2017 and May of 2018 primarily on Corinthian         10·   ·adjudicated since December 2019, why have there
11·   ·cases.                                               11·   ·been so few approvals?
12·   · · · · · · And then in 2018 to November 2019, I      12·   · · · A· · ·Well, the premise of your question, I
13·   ·think it was tied to the relief methodology issue    13·   ·think, is that, you know, it's not that the cases
14·   ·and the policy to not issue decisions on denials     14·   ·are -- how do I frame that? -- we have a lot of
15·   ·while they couldn't issue decisions on approvals     15·   ·potential approvals, but they're not going out,
16·   ·or felt that they couldn't issue decisions on        16·   ·and we have a lot of decided approvals that are
17·   ·approvals.                                           17·   ·not going out.· So we have -- I don't know what
18·   · · · Q· · ·In your view, would it have been          18·   ·the number is on Corinthian job-placement-rate
19·   ·possible to issue decisions on approvals in          19·   ·claims now, but we've proved well over 30,000 of
20·   ·between May 2018 and November 2019?                  20·   ·those over that time period that can't be issued.
21·   · · · A· · ·Not Corinthian job-placement-rate         21·   ·So we've certainly done a lot of approvals on that
22·   ·decisions because of the relief methodology at       22·   ·end.
23·   ·least under that methodology.                        23·   · · · · · · We -- for sequencing purposes, like I
24·   · · · · · · On the others, like I said, I think it    24·   ·said, have focused on the cases that were the most
25·   ·was a policy decision.                               25·   ·quickly adjudicated which was the Corinthian


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·1·   ·cases, the ITT California cases -- which is a        ·1·   ·a -- as significant amount of time spent analyzing
·2·   ·fairly small pool -- and then the cases that         ·2·   ·the evidence that an individual borrower provided
·3·   ·didn't have common evidence or that didn't fall      ·3·   ·with their claim?
·4·   ·within the parameters of, you know, the scope of     ·4·   · · · A· · ·I expect that we would spend whatever
·5·   ·the evidence for schools where we do have common     ·5·   ·time is needed to be spent to look at the
·6·   ·evidence.                                            ·6·   ·borrower's evidence, but, you know, the time that
·7·   · · · · · · So those are just going to be more        ·7·   ·it takes to review an individual application
·8·   ·likely than not denials, but that doesn't mean       ·8·   ·varies a lot depending on what they attached.
·9·   ·that there aren't cases from those schools that      ·9·   · · · · · · If they've got a lot of materials,
10·   ·will be approved.· It's just that they're not done   10·   ·though, there's a pretty good chance that the
11·   ·yet.· So a lot of what we have left has a, you       11·   ·reviewer just figured there's got to be something
12·   ·know, much better shot at getting an approval than   12·   ·in there that potentially supports it and sets it
13·   ·the cases that we did before.                        13·   ·aside.
14·   · · · · · · So we've kind of had a -- a weird cycle   14·   · · · · · · So, you know, for the most part that's
15·   ·of -- at the beginning of BD, it was all             15·   ·why these were much quicker adjudications, because
16·   ·approvals.· Then there was a period of time where    16·   ·anything that looked like there's something there,
17·   ·it was primarily denials, not all because we were    17·   ·there -- there was, you know, a set aside for
18·   ·still doing all those Corinthian cases.· And now     18·   ·those.
19·   ·we're probably moving into an area where we'll       19·   · · · Q· · ·You had mentioned earlier that a
20·   ·have a lot more approvals again.                     20·   ·mandate came from the under secretary to clean out
21·   · · · · · · So it's largely a factor of sequencing.   21·   ·the backlog and also wanting BDU to adjudicate any
22·   · · · Q· · ·So your -- your assumption going into     22·   ·application within 90 days.
23·   ·this project in 2020 to clear the backlog, was       23·   · · · · · · When did you receive that mandate?
24·   ·that claims not falling within common evidence       24·   · · · A· · ·Fall of 2019, I believe.
25·   ·would likely be denied?                              25·   · · · Q· · ·Was that communicated to you verbally

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·1·   · · · A· · ·No, just that they would likely have to   ·1·   ·or in writing?
·2·   ·stand on their own merits, and so it would depend    ·2·   · · · A· · ·I know it was verbally, but I don't --
·3·   ·on what the borrower had -- had provided, him or     ·3·   ·I don't know -- I mean, when you say was the
·4·   ·herself.· I didn't make any -- I didn't have any     ·4·   ·mandate communicated, it's kind of very commonly
·5·   ·expectation one way or the other as to what the      ·5·   ·known, I think, probably for FSA.· Borrower
·6·   ·borrower would have, as I said.· But we knew that    ·6·   ·defense is a popular topic of the -- of the COO,
·7·   ·it wouldn't be supported by the common evidence to   ·7·   ·of the chief operating officer, that we're
·8·   ·satisfy the elements of the case, and so it would    ·8·   ·expected to hit the 5,000 per week, and we do
·9·   ·depend on what individual borrowers came up with.    ·9·   ·weekly briefings, and our weekly performance
10·   · · · Q· · ·And you expected that would be faster     10·   ·metrics are broadly circulated.
11·   ·to review than claims involving common evidence?     11·   · · · · · · So I don't know when I first knew about
12·   · · · A· · ·We knew it would be, yeah.                12·   ·it.· It probably was first told to me and then
13·   · · · Q· · ·How did you know?                         13·   ·maybe I saw something in writing.· But, certainly,
14·   · · · A· · ·Because all that time that you have to    14·   ·I was told verbally, so I guess that's all I can
15·   ·spend to summarize the common evidence and develop   15·   ·say for sure.
16·   ·the legal memos and develop the protocols that are   16·   · · · Q· · ·And who told you?
17·   ·specific to those memos, that all has to happen      17·   · · · A· · ·Robin Minor.
18·   ·first where there's common evidence.· And for        18·   · · · Q· · ·And then did you discuss with her the
19·   ·cases where that's not true, they can just move      19·   ·strategy for how BDU was going to accomplish that
20·   ·into adjudication.                                   20·   ·mandate?
21·   · · · · · · So like I said, very much an issue of     21·   · · · A· · ·Yeah.· After I said I need a whole lot
22·   ·just sequencing to adjudicate what didn't require    22·   ·more attorneys, probably.· I think we were already
23·   ·all that front-end work that's so incredibly         23·   ·having conversations about -- we were already
24·   ·time-consuming.                                      24·   ·hiring and -- interviewing and hiring people at
25·   · · · Q· · ·So you expected that there would not be   25·   ·that point when I was told that the backlog needed


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·1·   ·to be fully eliminated this year, but we'd already   ·1·   ·borrowers' statements being insufficient alone to
·2·   ·had conversations about how difficult that was       ·2·   ·make out a claim?
·3·   ·going to be and that we needed more staff to do      ·3·   · · · A· · ·You know, we probably will revisit a
·4·   ·it.                                                  ·4·   ·lot of things with the incoming administration. I
·5·   · · · Q· · ·What's the status of the backlog as of    ·5·   ·have had conversations with my team on a regular
·6·   ·now?                                                 ·6·   ·basis about what we can do to, you know,
·7·   · · · A· · ·Well, it depends on whether you're        ·7·   ·constantly improve our processes and what -- what,
·8·   ·talking about decisions issued or cases              ·8·   ·if anything, we have found that would cause us to
·9·   ·adjudicated.· The decisions issued, that's kind of   ·9·   ·want to revisit something.· But we haven't had any
10·   ·not my lane, so I'm not exactly sure what the data   10·   ·policy discussions on that.
11·   ·shows on that one.                                   11·   · · · Q· · ·Have borrower defense cases ever been
12·   · · · · · · But on the cases adjudicated, we've       12·   ·reopened based on later discovered evidence?
13·   ·probably got somewhere in the 50- to 55,000          13·   · · · A· · ·Not yet, but I'm pretty sure we will be
14·   ·neighborhood that still need most or all of the      14·   ·soon.· We had adjudicated some cases relating to a
15·   ·work for review because they're probably waiting     15·   ·school and then subsequently received some
16·   ·for these review protocols that we've been talking   16·   ·evidence from an attorney general that could
17·   ·about.· And then there are probably another 10- to   17·   ·change the outcome.· So I think that there were
18·   ·15,000 that are in various stages of review.         18·   ·potentially decisions that were issued that might
19·   · · · · · · So, you know, like we talked about one    19·   ·be covered.· I believe a lot of them are set aside
20·   ·application might have five claims, and there may    20·   ·for a different reason relating to an internal
21·   ·be a review protocol for two of them, and, you       21·   ·document, like a whatever oversight issue.
22·   ·know, not for the other three.· But if we can --     22·   · · · · · · But that's something that we certainly
23·   ·you know, if we had -- you know, this would mostly   23·   ·expect.· We're moving at a pretty fast pace, and
24·   ·be for Corinthian for or ITT.                        24·   ·we're very likely going to have to reopen cases if
25·   · · · · · · But if we have an ITT review protocol,    25·   ·evidence comes in after the fact.

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·1·   ·we can review that employment-prospects claim, and   ·1·   · · · Q· · ·You mentioned earlier that before this
·2·   ·if it's been proved, then the borrower can get       ·2·   ·year you hadn't been in active communication with
·3·   ·relief and we wouldn't have to wait for developing   ·3·   ·state AG's offices.
·4·   ·the review protocols on the other pieces.            ·4·   · · · · · · Why was that?
·5·   · · · · · · So sometimes we'll sequence it so that    ·5·   · · · A· · ·There was a department policy about
·6·   ·we can try to get those cases out.· So that's why    ·6·   ·external communications -- that they were to go
·7·   ·I said there are probably a lot of cases that are    ·7·   ·through -- I don't remember who.· I think the
·8·   ·in process of being reviewed but not completed       ·8·   ·office of policy and something or other over in
·9·   ·yet.                                                 ·9·   ·LBJ.
10·   · · · Q· · ·On average, how many borrower defense     10·   · · · · · · So we were not having any
11·   ·applications are you getting each week nowadays?     11·   ·communications with AGs or federal agencies for an
12·   · · · A· · ·Receiving?                                12·   ·extended period.
13·   · · · Q· · ·Yeah.                                     13·   · · · Q· · ·Do you remember when that policy went
14·   · · · A· · ·It's down a lot.· I think the last week   14·   ·into effect that you had to go through this office
15·   ·it was a very low number maybe related to the        15·   ·in the main department?
16·   ·holiday.· I think it was only in the hundreds --     16·   · · · A· · ·Early 2017.
17·   ·like 3- or 400, which is low.                        17·   · · · Q· · ·And has that policy since been
18·   · · · · · · Prior to that, it was in a 500 to a       18·   ·eliminated?
19·   ·1,000 range, but this year has sort of been weird.   19·   · · · A· · ·Well, I don't know exactly how the
20·   ·And it sort of depends also on, you know, whether    20·   ·policy was documented, but we revisited it a few
21·   ·there's an announcement on a settlement with         21·   ·times, and when I revisited it in 2019, my
22·   ·respect to a school with these sites and things      22·   ·understanding from Mark Brown and Robin Minor was
23·   ·like that.                                           23·   ·that we were given the green light to start
24·   · · · Q· · ·At any point since you joined BDU, have   24·   ·reaching out and having communications with --
25·   ·you revisited the -- the policy regarding            25·   ·particularly with attorneys general who had


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·1·   ·provided us with materials because for some of       ·1·   ·convention for the later version.· I don't know
·2·   ·them we got them, you know, the document in no       ·2·   ·about the former.
·3·   ·particular order and no index, and so we kind of     ·3·   · · · Q· · ·They generally have the school's name
·4·   ·needed a road map for what did you send us, what     ·4·   ·in the file name?
·5·   ·is this, what does it show, what do you think that   ·5·   · · · · · · MR. MERRITT:· Objection.· What is the
·6·   ·it establishes.                                      ·6·   ·relevance of this line of questioning?
·7·   · · · · · · So we started having those                ·7·   · · · · · · MS. ELLIS:· I'm trying to understand
·8·   ·communications in late 2019.                         ·8·   ·how we can easily identify these documents when we
·9·   · · · Q· · ·So during 2017 and 2018, if you -- if     ·9·   ·receive them.
10·   ·an attorney general's office, you know, mailed you   10·   · · · · · · MR. MERRITT:· Okay.· You can answer the
11·   ·a box of documents, it -- you wouldn't be able to    11·   ·question.
12·   ·reach out and talk to them about it without going    12·   · · · · · · THE WITNESS:· We can just produce them
13·   ·through this other policy office?                    13·   ·as a folder.· Probably not that --
14·   · · · A· · ·That's correct.                           14·   · · · BY MS. ELLIS:
15·   · · · Q· · ·Okay.· Are you aware of any political     15·   · · · Q· · ·That would be great.
16·   ·appointees in the department having recused them     16·   · · · A· · ·-- complicated.· I'd to defer to DOJ on
17·   ·self -- themselves from -- from consideration of     17·   ·how to produce it, obviously, but, yeah, I don't
18·   ·issues involving particular schools?                 18·   ·think you'll have any trouble recognizing them.
19·   · · · · · · MR. MERRITT:· Objection.· That's not      19·   · · · · · · MR. MERRITT:· As I said, you know, as
20·   ·within the scope of the discovery authorized.        20·   ·we mentioned, the document -- the responses to
21·   · · · · · · MS. ELLIS:· Can we take a quick break?    21·   ·written discovery are ongoing, and we are working
22·   · · · · · · MR. MERRITT:· Sure.· Yeah.                22·   ·on collecting documents and producing them to you,
23·   · · · · · · THE VIDEOGRAPHER:· We are now off the     23·   ·and we'll do that in the normal course.
24·   ·record.· The time is 21:12 UTC.                      24·   · · · BY MS. ELLIS:
25·   · · · · · · (Recess -- 4:12 p.m.)                     25·   · · · Q· · ·I want to look for a minute in tab 5 in

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·1·   · · · · · · (After recess -- 4:25 p.m.)               ·1·   ·the hard copy.· On the Dropbox, that's bracket 5
·2·   · · · · · · THE VIDEOGRAPHER:· We are now on the      ·2·   ·Everest/WyoTech POC Memo, and that was marked as
·3·   ·record.· The time is 21:25 UTC.                      ·3·   ·Exhibit 5 in the Jones deposition.
·4·   · · · BY MS. ELLIS:                                   ·4·   · · · · · · (Exhibit 5 referred to.)
·5·   · · · Q· · ·So we've talked a few times today about   ·5·   · · · · · · THE WITNESS:· Okay.
·6·   ·these 500 or so memos regarding common evidence.     ·6·   · · · BY MS. ELLIS:
·7·   ·Is there a single place on the BDU's computer        ·7·   · · · Q· · ·Do you recognize this document?
·8·   ·system where those are stored?                       ·8·   · · · A· · ·Yes.
·9·   · · · A· · ·Yeah, but I couldn't tell you off the     ·9·   · · · Q· · ·And what is it?
10·   ·top of my head where.                                10·   · · · A· · ·This is the memorandum that was drafted
11·   · · · Q· · ·Okay.· And what -- are they named with    11·   ·in 2016 by the borrower defense unit regarding the
12·   ·any sort of consistent naming convention?            12·   ·conclusions that we reached and the recommendation
13·   · · · A· · ·My hope is yes.· They -- I mean, they     13·   ·with respect to the transfer of credits claims for
14·   ·kind of evolved over time, so when we first          14·   ·borrowers who attended Everest or Wyotech.
15·   ·started doing these, we had a number of different    15·   · · · Q· · ·And this is dated right around the time
16·   ·attorneys working on them and they didn't look       16·   ·that you began working at BDU; correct?
17·   ·very uniform.· We started a project this summer to   17·   · · · A· · ·Yes.
18·   ·make them more uniform, so there are a number of     18·   · · · Q· · ·Were you involved at all in the
19·   ·them that actually have two versions, whatever the   19·   ·creation of this document?
20·   ·original version was that wasn't uniform, and then   20·   · · · A· · ·No, I don't believe so.· I'm pretty
21·   ·when you get them, you'll see.· I think it has a     21·   ·sure it was already over sitting on Ted Mitchell's
22·   ·date and then in parens an updated date to try to    22·   ·desk by the time I even became aware of the
23·   ·make them kind of fit, not a template, but kind      23·   ·document.
24·   ·of -- same format.                                   24·   · · · Q· · ·Were you involved in working on any of
25·   · · · · · · So I think they have a common naming      25·   ·the other Corinthian -- Corinthian protocols that


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·1·   ·were similar to this?                                ·1·   ·look at a specific campus, pull up all the
·2·   · · · A· · ·Yeah, I believe the employment            ·2·   ·employment-prospects allegations, and then, you
·3·   ·prospects followed this one, at least the approval   ·3·   ·know, that can be distilled to a spreadsheet, and
·4·   ·of it.· I think I worked on that one a little bit.   ·4·   ·kind of review each of the allegations and see
·5·   ·And then ITT employment prospects came last of       ·5·   ·where the themes are, see if there's any comments,
·6·   ·this batch, and I worked on that one with -- with    ·6·   ·reference to a document.
·7·   ·my team.                                             ·7·   · · · · · · You know, for one particular school I'm
·8·   · · · Q· · ·Okay.· If you flip to the second page     ·8·   ·thinking of, there was repeated reference by the
·9·   ·of this document, Roman numeral I says, Summary of   ·9·   ·borrowers to a specific document, and so we were
10·   ·evidence of representations of transferability.      10·   ·able to use the data to pick out individual
11·   ·And then under heading A, Student accounts of        11·   ·borrower statements that aligned with that and
12·   ·in-person oral representations of transferability.   12·   ·corroborated that evidence.
13·   · · · · · · And following that there's a series of    13·   · · · Q· · ·So let's say, for instance, you had a
14·   ·bullet points taken from -- the memos, those were    14·   ·few hundred applications from Art Institute
15·   ·taken from a sample of claims relating to a          15·   ·Chicago.· You might line up all the allegations.
16·   ·certain Everest campus.                              16·   ·You might see, okay, there's consistent testimony
17·   · · · · · · Do you see where that is?                 17·   ·about employment prospects.· Then what happens?
18·   · · · A· · ·Yes.                                      18·   · · · A· · ·Well, it's -- that would probably be
19·   · · · Q· · ·In its review of common evidence, is      19·   ·used, then, to support whatever the conclusions
20·   ·BDU currently undertaking any project similar to     20·   ·were related to the fact, so that would be
21·   ·this of collating student testimony regarding        21·   ·corroborating evidence.
22·   ·misrepresentations that were made by a certain       22·   · · · · · · Ideally, it would be supporting other
23·   ·school program or campus?                            23·   ·evidence, but, you know, it depends on the school
24·   · · · A· · ·Yes, that's part of the process for       24·   ·and what we have to work with and, you know, then
25·   ·drafting the fact summary.                           25·   ·we would make an assessment of the strength of the

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·1·   · · · Q· · ·And how many schools are currently part   ·1·   ·evidence.
·2·   ·of a process of collecting student testimony like    ·2·   · · · Q· · ·Would applications from -- let's call
·3·   ·this?                                                ·3·   ·it Art Institute Chicago -- that make
·4·   · · · A· · ·Well, it's not -- it's not like that's    ·4·   ·employment-prospects claims at that point be set
·5·   ·a separate project.· We look at all of the           ·5·   ·aside instead of being kept in the pool for
·6·   ·evidence.· So regardless of what it is or where it   ·6·   ·adjudication?
·7·   ·came from, just like a courtroom drafts a            ·7·   · · · A· · ·At what point?
·8·   ·findings-of-fact document regardless of whether      ·8·   · · · Q· · ·At the point where you've identified
·9·   ·the plaintiff or defendant submitted it, we          ·9·   ·that there's consistent evidence of
10·   ·summarize the evidence and cite to what the          10·   ·misrepresentations.
11·   ·specific document or evidence is.· Sometimes it's    11·   · · · A· · ·I'm not sure where you're thinking that
12·   ·recordings.· It could be anything.                   12·   ·fits in the process, but we -- you know, like I
13·   · · · · · · And part of that analysis would be if     13·   ·said, we'll do sampling for these larger schools
14·   ·there are consistent allegations that -- you know,   14·   ·to get a sense of what the kinds of things are, so
15·   ·in this particular instance, it was a specific       15·   ·that would be part of the whole fact-finding
16·   ·campus where we were seeing the same thing over      16·   ·process.
17·   ·and over again.· That's the kind of thing that we    17·   · · · · · · And then we view the evidence overall
18·   ·would expect to see in the facts.                    18·   ·to figure out what -- what things are supported by
19·   · · · Q· · ·How -- how are those patterns             19·   ·the evidence.· And then that -- that work related
20·   ·identified from the applications that BDU has        20·   ·to individual borrower's statement would be cited
21·   ·received?                                            21·   ·in our document that outlines the evidence.
22·   · · · A· · ·Well, the applications are in a           22·   · · · · · · So that doesn't mean that we'll catch
23·   ·database, Salesforce platform.· One of the things    23·   ·every single borrower who said something similar.
24·   ·that we typically would do is pull up all, you       24·   ·We're looking for whether there's corroborating
25·   ·know, of the cases for -- let's say we wanted to     25·   ·evidence in the applications, but it very well may


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·1·   ·be that we only get 10 percent of them and that's    ·1·   ·make similar allegations and make sure that they
·2·   ·enough, and then that's used to develop the legal    ·2·   ·don't get denied while you're in the process of
·3·   ·memos and the review protocols that ultimately       ·3·   ·writing the protocol?
·4·   ·would lead to that person probably getting           ·4·   · · · A· · ·Well, first of all, it's not just that
·5·   ·approved assuming there wasn't some other element    ·5·   ·they make the same kind of allegation either, so
·6·   ·that they failed to meet.                            ·6·   ·it would have to be specific as I said.· But,
·7·   · · · Q· · ·While you're in the process of            ·7·   ·also, it has to be within a time period that would
·8·   ·developing that protocol, are other applicants       ·8·   ·corroborate.
·9·   ·from Art Institute Chicago being adjudicated even    ·9·   · · · · · · So if somebody said something and their
10·   ·if they make employment-prospects claims that        10·   ·application was related to their enrollment in
11·   ·might be consistent with the evidence that you've    11·   ·1975, and we have applications in the '70s, and
12·   ·collected?                                           12·   ·people are enrolled in the '70s, that doesn't
13·   · · · A· · ·I'm not sure I understand your            13·   ·support somebody's application who attended school
14·   ·question.· Can you rephrase?                         14·   ·in 2020 or 2010.
15·   · · · Q· · ·Yes.                                      15·   · · · · · · So we look at whether it truly is
16·   · · · · · · So say that you've -- you've seen a       16·   ·corroborative, and if we find that in the course
17·   ·pattern.· You've taken a sample of students from     17·   ·of reviewing the applications, that a pattern
18·   ·this school, this campus, and you've seen, okay, a   18·   ·unfolds that wasn't clear when we originally
19·   ·lot of students are saying that there were           19·   ·cleared cases for adjudication, we would stop
20·   ·employment-prospects misrepresentations.· We're      20·   ·adjudicating those cases, figure out if there's
21·   ·going to include that in our analysis of this        21·   ·something else that we should be looking at.· If
22·   ·school and this campus.                              22·   ·it's an open school, figure out if we should be
23·   · · · · · · What's the point at which applications    23·   ·reaching out to the school in connection with
24·   ·from that school, that campus are pulled aside       24·   ·something.· And then there may be a reason to
25·   ·from the adjudication pool?                          25·   ·reopen the cases.

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·1·   · · · A· · ·I think your question assumes something   ·1·   · · · · · · But there are a lot of variables in
·2·   ·that's not accurate.· Just alleging an               ·2·   ·what I just described, so it sort of depends on,
·3·   ·employment-prospects-type of allegation is a very    ·3·   ·you know, if there are a lot of borrowers saying
·4·   ·broad statement, and there's a whole bunch of        ·4·   ·this or, you know, if it's just two.· You know,
·5·   ·different things that people could be including in   ·5·   ·there's a whole range of scenarios based on what
·6·   ·that claim.· Some of them might be related to the    ·6·   ·you just described.
·7·   ·percentage of job-placement rates; some of them      ·7·   · · · Q· · ·I can understand why a claim relating
·8·   ·might be talking about a specific document that      ·8·   ·to 1975 wouldn't relate to a claim in 2020, but
·9·   ·says everybody gets a job; another one might be      ·9·   ·what about a claim relating to 2012 and a claim
10·   ·referring to some kind of advertisement that says    10·   ·relating to 2013, same school, same campus.
11·   ·that they have connections with Fortune 100          11·   · · · · · · Would those be considered corroborative
12·   ·schools.                                             12·   ·of each other?
13·   · · · · · · Those wouldn't be corroborative of each   13·   · · · A· · ·Yeah, I mean, potentially.· If it
14·   ·other independently without something else that      14·   ·turned out that it was about two different career
15·   ·ties that together.· So we're looking for            15·   ·service officers and they were not both there at
16·   ·allegations, not just by the overall type, but       16·   ·the same time, then, no, but depending on what we
17·   ·what actually the borrower is alleging.              17·   ·can find out about what the statements are.· So in
18·   · · · · · · So, you know, it can vary.                18·   ·the example that you described, that's quite
19·   · · · Q· · ·Okay.· At what point are claims           19·   ·possibly corroborative evidence, yeah.
20·   ·similar -- strike that.                              20·   · · · Q· · ·Are applications ever removed from --
21·   · · · · · · I guess what I'm asking is if you have    21·   ·are applications ever set aside for later review
22·   ·a sample of -- if you have a sample of claims from   22·   ·and adjudication based on their similarities to
23·   ·one school, one campus that a certain kind of        23·   ·other corroborating allegations in other
24·   ·misrepresentation is consistently being made, how,   24·   ·applications?
25·   ·if at all, do you identify other applications that   25·   · · · A· · ·Well, once we have decided that there


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·1·   ·are corroborating allegations in our sampling,       ·1·   ·corroborating evidence would show up to the
·2·   ·then that could potentially be a reason to set       ·2·   ·reviewers because they're doing a large number of
·3·   ·them aside there so -- if I'm understanding your     ·3·   ·the Brooks cases at the same time and would be
·4·   ·question correctly.                                  ·4·   ·able to issue -- spot something like that.· And if
·5·   · · · Q· · ·I think what I'm getting at               ·5·   ·they saw that there were corroborating statements,
·6·   ·generally -- and maybe I should ask it               ·6·   ·then they would flag that for the supervisor.
·7·   ·generally -- is how do you make sure that claims     ·7·   · · · Q· · ·Well, I'm actually asking about an
·8·   ·are not wrongly denied while protocols are still     ·8·   ·earlier stuff about the development of the
·9·   ·in the process of being written?                     ·9·   ·protocols.
10·   · · · A· · ·I wouldn't say they're wrongly denied.    10·   · · · · · · So as you're developing a protocol for
11·   ·We adjudicate them based on the protocol as          11·   ·a school, maybe you have some attorney general
12·   ·written.· If there's a reason to revisit the         12·   ·evidence, maybe you have some evidence from FSA
13·   ·protocol because we discover new evidence in a       13·   ·oversight, are students' statements part of that
14·   ·later application, then we would potentially         14·   ·pool of common evidence that you used to create
15·   ·reopen the case.                                     15·   ·the protocol to begin with?
16·   · · · · · · But there's always going to be another    16·   · · · A· · ·Yes, the sampling.· That's part of that
17·   ·application, so if we decide today's the point in    17·   ·first process.
18·   ·time where we've reviewed all the evidence and       18·   · · · Q· · ·Right.· And that's what I'm asking.
19·   ·then tomorrow some new evidence comes in, that       19·   · · · · · · Is each school only sampled once, or is
20·   ·could change everything that we did based on what    20·   ·there periodic monitoring for patterns that appear
21·   ·we saw today.                                        21·   ·in applications from different schools?
22·   · · · · · · So we always have to allow for the        22·   · · · A· · ·Well, we're still working on all those
23·   ·possibility that we could get something new in       23·   ·cases, so your question kind of assumes that,
24·   ·that would change the result, so I disagree with     24·   ·like, we sampled them a year ago and we're done
25·   ·the way you phrase the question.                     25·   ·with that and now there's a whole bunch of other

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·1·   · · · · · · I don't think that those applications     ·1·   ·cases.· But we're still working on all of these
·2·   ·that were denied would be wrongly denied, but I      ·2·   ·apps, so I'm not sure I follow what you're asking.
·3·   ·think that if they were denied and we subsequently   ·3·   · · · Q· · ·So are you saying that the protocols
·4·   ·find out about new evidence, that we would reopen    ·4·   ·are still evolving?
·5·   ·the cases where the new evidence would change the    ·5·   · · · A· · ·The protocols will always be subject to
·6·   ·results or potentially change the results.           ·6·   ·change based on the discovery of new evidence.
·7·   · · · Q· · ·How often do you pull samples from        ·7·   · · · Q· · ·Okay.· And I'm asking how often you
·8·   ·these large volume schools to analyze the            ·8·   ·review borrower testimony to develop new evidence?
·9·   ·similarity of student's allegations?                 ·9·   · · · A· · ·We don't -- we -- we review
10·   · · · A· · ·Are you -- I don't understand your        10·   ·applications and, you know, again, if people are
11·   ·question.· How often?                                11·   ·spotting similarities, then they would flag it for
12·   · · · Q· · ·Yes.                                      12·   ·their supervisor, but we're not sampling every
13·   · · · · · · So if -- if you have -- have you, you     13·   ·day, if that's what you're asking.
14·   ·know, only ever pulled one sample from Brooks, or    14·   · · · Q· · ·I -- I don't think I would expect you
15·   ·do you pull a sample, you know, every six months     15·   ·to sample every day, but, you know, a sample that
16·   ·as new claims come in?                               16·   ·would create something like what we see in this
17·   · · · · · · How often do you sample them?             17·   ·Corinthian protocol, a collection of borrower
18·   · · · A· · ·Well, that, I think, assumes things       18·   ·testimony of -- that shows a pattern of
19·   ·that are not true as well.· Once we -- once we're    19·   ·misrepresentations.
20·   ·in a position to adjudicate the cases with the       20·   · · · A· · ·Well, we did it, and it led to an
21·   ·protocol, then we typically -- unless it's a huge    21·   ·approval process for those claims, so we wouldn't
22·   ·volume of cases like in ITT, which Brooks is not,    22·   ·need to do it again.
23·   ·we would get through most of the adjudication in a   23·   · · · Q· · ·Right, right, not for Corinthian,
24·   ·pretty short period of time.                         24·   ·though.· I'm saying a similar process for other
25·   · · · · · · So those -- you know, any kind of         25·   ·schools.


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·1·   · · · A· · ·Again, since we're still working on       ·1·   ·point in this process did BDU collect the -- a
·2·   ·them, I'm not sure I understand the question.        ·2·   ·sample or would BDU collect a sample of borrower
·3·   · · · Q· · ·I'm trying to think of -- if -- if        ·3·   ·testimony to see if there are common threads?
·4·   ·there's a way I can explain this more clearly.       ·4·   · · · A· · ·Shortly before we complete the protocol
·5·   · · · · · · So for -- for a number of schools now     ·5·   ·to proceed with deciding those cases.
·6·   ·at this point, you have a collection of common       ·6·   · · · Q· · ·Okay.· And is that ever updated?· Does
·7·   ·evidence, and that evidence has been analyzed and    ·7·   ·the department ever -- does BDU ever go back and
·8·   ·put into memos.                                      ·8·   ·take another sample on a more recent set of
·9·   · · · · · · That part is correct?                     ·9·   ·applications to see if there were any new and
10·   · · · A· · ·They're in process.                       10·   ·emerging commonalities?
11·   · · · Q· · ·Okay.                                     11·   · · · A· · ·Most of these are fairly recently
12·   · · · A· · ·They're generally not completed.          12·   ·completed, so, no, we haven't done that yet.
13·   · · · Q· · ·Okay.· So --                              13·   ·Maybe at some point we -- you know, once we get
14·   · · · A· · ·Let me -- let me -- let me reframe        14·   ·through all of the other schools, that might be
15·   ·that, I'm sorry, because I don't want to get         15·   ·something we would consider doing.· But these are
16·   ·confused the memos that you're going to get with     16·   ·not -- it's not something that was done three
17·   ·respect to the schools are the summary of the        17·   ·years ago and stuck on a shelf.· These are all
18·   ·preliminary review for the scope of the evidence.    18·   ·fairly recent.
19·   ·The facts are -- you know, it's a statement of       19·   · · · Q· · ·Got it.
20·   ·common facts, so that's different from the memos     20·   · · · · · · So for -- for applicants from a school
21·   ·to the extent that -- I'm not sure which one         21·   ·that has a protocol still in development, when, if
22·   ·you're asking about.                                 22·   ·ever, are those applications set aside to say
23·   · · · Q· · ·I'm sorry.· Can you -- can you explain    23·   ·these need to wait for the protocol?
24·   ·the difference between the statement of facts and    24·   · · · A· · ·I think we've talked about this a few
25·   ·the memos because maybe I don't --                   25·   ·times, so I'm not sure I'm following what your

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·1·   · · · A· · ·The --                                    ·1·   ·question is asking me.· Are you trying to
·2·   · · · Q· · ·-- have --                                ·2·   ·basically rereview what we talked about before?
·3·   · · · A· · ·-- memos --                               ·3·   · · · Q· · ·I'm just not sure that I understood the
·4·   · · · Q· · ·-- a clear understanding.                 ·4·   ·answer before.
·5·   · · · A· · ·The preliminary review assesses what --   ·5·   · · · · · · If you're, you know, in the process of
·6·   ·you know, it's kind of an overview of what we        ·6·   ·developing a protocol for Brooks, are any Brooks
·7·   ·have, what we know about department documents,       ·7·   ·applications set aside awaiting the protocol, or
·8·   ·things that we've received from outside agencies,    ·8·   ·might some Brooks applications stay in the queue,
·9·   ·things that we saw on the Internet, whatever it      ·9·   ·be denied even though it turns out they might have
10·   ·is, things we got from the school.· It's just an     10·   ·fallen within the protocol?
11·   ·overview.                                            11·   · · · A· · ·So I think we might be talking about
12·   · · · · · · It's not, like, specific facts that       12·   ·two different things, but the initial task is the
13·   ·we've identified as having been established by the   13·   ·evidence, the initial summary of what the scope of
14·   ·evidence.· That would be in a statement of common    14·   ·the common evidence is results in a protocol that
15·   ·facts that cites to the evidence that supports it,   15·   ·allows us to move forward with the cases that
16·   ·and that's where you would see things like what      16·   ·don't fall within the scope of what we think the
17·   ·we're seeing in those bullets.                       17·   ·common evidence potentially supports.
18·   · · · Q· · ·Okay.· So -- but there's some -- for at   18·   · · · · · · Those cases are adjudicated.· They
19·   ·least some of these schools, there are common        19·   ·don't get put in -- however you phrased it, but
20·   ·evidence protocols or outlines that instruct         20·   ·they're not on hold.
21·   ·reviewers on which applications to set aside and     21·   · · · · · · The cases that fall within the scope of
22·   ·which ones to proceed to adjudication; is that       22·   ·the protocol potentially or would potentially be
23·   ·correct?                                             23·   ·supported by something -- not protocol, excuse
24·   · · · A· · ·Correct.                                  24·   ·me -- it's cases that potentially fall within the
25·   · · · Q· · ·Okay.· So I guess at what -- at what      25·   ·scope of the evidence, the common evidence that we


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·1·   ·have are not adjudicated.· If we come across them    ·1·   · · · A· · ·Correct.
·2·   ·in the course of trying to adjudicate cases that     ·2·   · · · Q· · ·And it's too early yet to say
·3·   ·are outside the parameters, they get set aside.      ·3·   ·whether -- whether that sampling will be done
·4·   ·But otherwise, you know, they're usually not         ·4·   ·again to update the protocols?
·5·   ·assigned.                                            ·5·   · · · A· · ·I mean, if we're not getting in a whole
·6·   · · · · · · Once the facts are fully analyzed and     ·6·   ·lot more applications from the school, then
·7·   ·reduced to a statement of common facts where we      ·7·   ·probably not.· I think it will depend on the
·8·   ·have such evidence, and then there's a legal memo    ·8·   ·school, and chances are if there's a huge uptick
·9·   ·for 2016 if that's the regs that would apply to      ·9·   ·in cases from a school, it's probably related to
10·   ·the loans at issue, or for '95 where that's the      10·   ·something happening outside of BD.· That there was
11·   ·regs that apply to the loans at issue, then          11·   ·a law enforcement action; that there was some kind
12·   ·there's a new -- it's probably an update to the      12·   ·of fine by the department; something that might
13·   ·previous protocol that will change that so that      13·   ·cause us to revisit those cases anyway.
14·   ·instead of saying if you see a claim between 2012    14·   · · · · · · And then we would probably do an
15·   ·and 2014, move on to the next case -- set that one   15·   ·entirely new or updated version of what originally
16·   ·aside and go on to the next.                         16·   ·led to the, you know, clearing cases for
17·   · · · · · · Now, there's a framework for whether or   17·   ·adjudication, and figure out if there are cases
18·   ·not that case would be adjudicated as an approval.   18·   ·that we need to revisit.
19·   ·So it will replace that case once we have the        19·   · · · Q· · ·What size samples were you taking on a
20·   ·criteria that would allow for the yea or nay         20·   ·percentage?
21·   ·decision on somebody who's potentially covered by    21·   · · · A· · ·I don't remember to be honest with you.
22·   ·the common evidence.                                 22·   ·I know for -- for ITT, I remember seeing 500
23·   · · · · · · Does that answer your question?           23·   ·because that has a large volume of applications,
24·   · · · Q· · ·I think I understand that part of the     24·   ·and we were trying to get samples, you know, for
25·   ·process.                                             25·   ·as many as we could.

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·1·   · · · · · · During the period before the parameters   ·1·   · · · · · · Obviously, we can't review every
·2·   ·of the common evidence are fully known, what         ·2·   ·application before we develop a protocol because
·3·   ·happens to applications from those schools?          ·3·   ·then we'll be reviewing every application at least
·4·   · · · A· · ·They're not assigned.                     ·4·   ·twice if not more than that, and we'd just -- you
·5·   · · · Q· · ·They're just held until there's some      ·5·   ·know, we'd never get through any of the cases.
·6·   ·parameters of common evidence?                       ·6·   · · · · · · But I think if there's a range, though,
·7·   · · · A· · ·I mean, "held" suggests that they're      ·7·   ·we have specific requirements depending on the
·8·   ·picked up and put down or something.· We can         ·8·   ·number of applications that we have from the
·9·   ·assign based on schools.· We can assign based on     ·9·   ·school.· I just don't recall off the top of my
10·   ·different parameters with the Salesforce database.   10·   ·head what they are.
11·   ·So they're just not selected to be assigned to       11·   · · · Q· · ·Are there written records of how the
12·   ·adjudicators.                                        12·   ·sampling process was conducted?
13·   · · · Q· · ·Yes, yes, held in the database is --      13·   · · · A· · ·Well, the memo discusses, you know,
14·   · · · A· · ·Yes.· They --                             14·   ·generally what they saw that -- I guess it depends
15·   · · · Q· · ·Yes.                                      15·   ·on what you mean by "written records."
16·   · · · A· · ·They're just still there, yes.            16·   · · · Q· · ·What -- what about the sampling process
17·   · · · Q· · ·Yes.                                      17·   ·is memorialized in the memos?
18·   · · · · · · And then once the parameters of the       18·   · · · A· · ·How many cases were looked at, that
19·   ·common evidence are defined, those are released to   19·   ·kind of thing, if there were patterns.· Generally,
20·   ·the reviewers to determine whether they should be    20·   ·the sampling results in fairly generic responses,
21·   ·set aside or adjudicated right now?                  21·   ·but where we see, you know, John Smith told me X
22·   · · · A· · ·Correct.                                  22·   ·kind of thing or reference to a specific kind of
23·   · · · Q· · ·And as part of the process of defining    23·   ·document or anything that's of any more specific
24·   ·the parameters of the common evidence, that's when   24·   ·nature would -- would go into that discussion in
25·   ·BDU would review a sampling of borrower testimony?   25·   ·the sampling.


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·1·   · · · Q· · ·So if -- if a student said, someone in    ·1·   · · · A· · ·No, not -- I think there were -- there
·2·   ·admissions told me my credits would transfer and     ·2·   ·were some mistakes that we were aware of that
·3·   ·then they didn't, that, in your view, would be too   ·3·   ·relate -- there were different kinds of mistakes
·4·   ·generic?                                             ·4·   ·that can happen in terms of the adjudication or
·5·   · · · A· · ·I don't want to speak to hypotheticals.   ·5·   ·the processing of the letters, and so if we become
·6·   ·It depends on what else we've seen and what the      ·6·   ·aware of that, then, you know, it depends on
·7·   ·other, you know, evidence is.                        ·7·   ·whether the -- the mistake or the issue would
·8·   · · · Q· · ·If a couple of hundred students said,     ·8·   ·change the outcome of the decision and what it is,
·9·   ·someone in admissions told me that my credits        ·9·   ·but, you know, I think there are certainly will be
10·   ·would transfer and then they didn't, would that      10·   ·instances where we find that we -- either my team
11·   ·rise to the level of being considered for common     11·   ·got it wrong or the processing team got it wrong
12·   ·evidence?                                            12·   ·and that we would reopen the case.
13·   · · · A· · ·A couple hundred out of how many?         13·   · · · · · · I don't remember saying that, but I
14·   · · · Q· · ·How many were there for ITT?              14·   ·think that's probably true.
15·   · · · A· · ·Well, again, ITT was 50 states. I         15·   · · · Q· · ·Do you think the pace at which the team
16·   ·don't know how many campuses.· So there are a lot    16·   ·has been working over the past year is a factor in
17·   ·of variables that your question doesn't answer.      17·   ·the likelihood of mistakes?
18·   ·Is it a couple of hundred at the same campus at      18·   · · · A· · ·I think it's not ideal, but we've done
19·   ·roughly the same period of time.· Or is it a         19·   ·everything that we can to mitigate against that.
20·   ·couple hundred over 30 years across 50 states.       20·   ·Like I said, I -- we've put in place a really
21·   · · · · · · Those are going to be very different      21·   ·robust training program, probationary periods for
22·   ·scenarios; right?· So we would look at the           22·   ·the new attorneys.· We have a pretty strong QC
23·   ·specific circumstances of the borrowers and the      23·   ·process.· Twenty percent of every case is
24·   ·sample size and see if it matches up and             24·   ·rereviewed, essentially, and, you know, it's kind
25·   ·corroborates, not just as a general proposition.     25·   ·of a second-level review by the QC team.

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·1·   · · · · · · With exceptions, if it -- a couple        ·1·   · · · · · · But, you know, when you're talking
·2·   ·hundred across various campuses but it's related     ·2·   ·about hundreds of thousands of cases and there are
·3·   ·to something that was produced universally across    ·3·   ·humans that are doing it, and, you know, it can be
·4·   ·the enterprise, so job-placement rates,              ·4·   ·as simple as a click.
·5·   ·advertising, some kind of document that's handed     ·5·   · · · · · · So, for example, on the letter -- I
·6·   ·out in the admissions process, that would be         ·6·   ·think a couple of the things that we've identified
·7·   ·corroborating, but it's -- I can't give you an       ·7·   ·as mistakes were things like it said failure to
·8·   ·answer to the hypothetical because it's just         ·8·   ·state a claim instead of insufficient evidence
·9·   ·dependent on too many variables that are not built   ·9·   ·because those are right next to each other in the
10·   ·into the question.                                   10·   ·drop-down menu, and if somebody just accidentally
11·   · · · Q· · ·If you had a couple hundred people        11·   ·clicks on one as opposed to the other, then, you
12·   ·making that same allegation and it was around the    12·   ·know, that's a mistake.· That's an error.
13·   ·same period of time but spread out over campuses     13·   · · · · · · It wouldn't have changed the outcome of
14·   ·in ten states, would that warrant looking into it    14·   ·the borrower's application in the scenario that I
15·   ·further?                                             15·   ·just gave you, so we're still trying to figure out
16·   · · · A· · ·I don't know.· I'd have to see exactly    16·   ·what that looks like in terms of do we need to
17·   ·what the language is that the borrowers are          17·   ·issue a corrected decision just for the borrower's
18·   ·stating and how closely they mirror each other and   18·   ·record, but, you know, they still would not have
19·   ·if there's anything else that corroborates that.     19·   ·been an approved application in that scenario.
20·   · · · Q· · ·Earlier you said that you thought it's    20·   · · · · · · So there's different things that we
21·   ·possible some cases will have to be reopened in      21·   ·need to figure out how to address, but if we did
22·   ·the coming months because of -- because of           22·   ·it wrong, we want to -- we want to correct it and
23·   ·mistakes that were made in the adjudication          23·   ·get it right.· We certainly don't want borrowers
24·   ·process.                                             24·   ·getting the wrong decision.
25·   · · · · · · Do you remember saying that?              25·   · · · Q· · ·Okay.


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·1·   · · · · · · MS. ELLIS:· Those are all the questions   ·1· ·tell you?

·2·   ·that I have today.                                   ·2· · · · · · · MS. ELLIS:· Sure.

                                                            ·3· · · · · · · THE VIDEOGRAPHER:· We are now off the
·3·   · · · · · · Charlie, do you have any questions for
·4·   ·the witness.                                         ·4· ·record.· The time is 22:04 UTC, and this concludes

·5·   · · · · · · MR. MERRITT:· Yeah, just one or two       ·5· ·today's testimony given by Colleen Nevin.

                                                            ·6· · · · · · · Thank you.
·6·   ·follow-up questions really briefly.
·7·   · · ·EXAMINATION BY COUNSEL FOR THE DEFENDANTS        ·7

                                                            ·8
·8·   · · · BY MR. MERRITT:
·9·   · · · Q· · ·Colleen, earlier you mentioned about --   ·9

10·   ·I think you made reference to 30,000 claims that     10· · · · · · · (Signature having not been waived, the

                                                            11· ·Remote Videotaped Deposition of COLLEEN M. NEVIN
11·   ·have been approved but were currently being held
12·   ·with -- or the decisions were not issued on those    12· ·ended at 5:04 p.m.)

13·   ·30,000 claims.                                       13

                                                            14
14·   · · · · · · Do you remember mentioning that?
15·   · · · A· · ·Yes.                                      15

                                                            16
16·   · · · Q· · ·Can you explain a little bit about what
17·   ·those 30,000 approvals are?                          17

18·   · · · A· · ·Yeah.· It's well over 30.· They're --     18

                                                            19
19·   ·they're Corinthian claims that have been approved
20·   ·for job-placement rates, and under the Manriquez     20

21·   ·injunction, excuse me, the department can't apply    21

                                                            22
22·   ·the 2017 methodology to those.· I think that's
23·   ·still the intent of the department, to the best of   23

24·   ·my knowledge, so they're waiting to see how that     24

                                                            25
25·   ·plays out in the court.

                                               Page 263                                                              Page 265
·1·   · · · · · · But until then, those cases are -- the    ·1· ·CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC

·2·   ·decisions on those cases are not being issued, but   ·2· · · · · · ·I, Dana C. Ryan, Registered Professional

                                                            ·3· ·Reporter, Certified Realtime Reporter, the officer
·3·   ·the cases from my team's perspective are done.· We
·4·   ·have adjudicated them.· They're completed.           ·4· ·before whom the foregoing proceedings were taken

·5·   ·They're ready to go whenever there is an             ·5· ·do hereby certify that the foregoing transcript is

                                                            ·6· ·a true and correct record to the best of my
·6·   ·appropriate relief methodology to apply to them
·7·   ·and issue the decision.                              ·7· ·ability of the proceedings; that said proceedings

                                                            ·8· ·were taken by me stenographically and thereafter
·8·   · · · Q· · ·And are those cases that would receive
·9·   ·less than 100 percent relief?                        ·9· ·reduced to typewriting under my supervision; and

10·   · · · A· · ·I believe so, yeah.· I'm pretty sure we   10· ·that I am neither counsel for, related to, nor

                                                            11· ·employed by any of the parties to this case and
11·   ·continued to issue decisions on the 100 percent,
12·   ·the cases that under the 2017 relief methodology     12· ·have no interest, financial or otherwise, in its

13·   ·got 100 percent.· But I don't know that for sure     13· ·outcome.

                                                            14· · · · · · ·IN WITNESS WHEREOF, I have hereunto set
14·   ·because we don't issue the decisions, but I
15·   ·believe that's the case.                             15· ·my hand and affixed my notarial seal this 14th day

                                                            16· ·of December 2020.
16·   · · · · · · MR. MERRITT:· Okay.· That's all I have.
17·   · · · · · · MS. ELLIS:· Okay.                         17· ·My Commission expires:

18·   · · · · · · MR. MERRITT:· And I would just like to    18· ·November 23, 2024

                                                            19
19·   ·request the opportunity for the witness to read
20·   ·and sign the transcript.                             20

21·   · · · · · · MS. ELLIS:· Fine by me.                   21

                                                            22· ·_____________________________
22·   · · · · · · Joe, could you please tell us how long
23·   ·we've been on the record?                            23· ·NOTARY PUBLIC IN AND FOR THE

24·   · · · · · · THE VIDEOGRAPHER:· Sure.· You want me     24· ·STATE OF ALABAMA

                                                            25
25·   ·to go off the record first real quick and then


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·1· · · · · · · · INSTRUCTIONS TO WITNESS                           ·1· · · · · · · ACKNOWLEDGMENT OF DEPONENT

·2                                                                  ·2· · · · · · · I, Colleen M. Nevin, do hereby

·3· · · · · · · Please read your deposition over                    ·3· ·acknowledge that I have read and examined the

·4· ·carefully and make any necessary corrections.· You             ·4· ·foregoing testimony, and the same is a true,

·5· ·should state the reason in the appropriate space               ·5· ·correct and complete transcription of the

·6· ·on the errata sheet for any corrections that are               ·6· ·testimony given by me and any corrections appear

·7· ·made.                                                          ·7· ·on the attached Errata sheet signed by me.

·8· · · · · · · After doing so, please sign the errata              ·8

·9· ·sheet and date it.                                             ·9

10· · · · · · · You are signing same subject to the                 10

11· ·changes you have noted on the errata sheet which               11· ·_____________________· · ·______________________

12· ·will be attached to your deposition.                           12· ·(DATE)· · · · · · · · · · · · (SIGNATURE)

13· · · · · · · It is imperative that you return the                13

14· ·original errata sheet to the deposing attorney                 14

15· ·within thirty (30) days of receipt of the                      15· · · · · · ·CERTIFICATE OF NOTARY PUBLIC

16· ·deposition transcript by you.· If you fail to do               16· ·Sworn and subscribed to before me this

17· ·so, the deposition transcript may be deemed to be              17· ·_______ day of _______________, _________

18· ·accurate and may be used in court.                             18

19                                                                  19

20                                                                  20· ·_____________________· · ·______________________

21                                                                  21· ·NOTARY PUBLIC· · · · · · · ·MY COMMISSION EXPIRES

22                                                                  22

23                                                                  23

24                                                                  24

25                                                                  25



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·1· · · · · · · · E R R A T A· S H E E T

·2· ·IN RE:· THERESA SWEET, et al. v. ELISABETH DEVOS,

·3· ·in her official capacity as Secretary of the

·4· ·United States Department of Education.

·5

·6· ·PAGE· LINE· · · · · · · · CORRECTION AND REASON

·7· ·_____ _____· · · · · · · ·________________________

·8· ·_____ _____· · · · · · · ·________________________

·9· ·_____ _____· · · · · · · ·________________________

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23· ·_____ _____· · · · · · · ·________________________

24· ·_______________· · · · · ·________________________

25· · · (DATE)· · · · · · · · · · · (SIGNATURE)




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·2· ·IN RE:· THERESA SWEET, et al. v. ELISABETH DEVOS,

·3· ·in her official capacity as Secretary of the

·4· ·United States Department of Education.

·5
                                        · CORRECTION AND REASON
·6· ·PAGE· LINE· · · · ·
                                 "has" should be
·7· ·_19__ _12__· · · · ·        "hasn't"________________
                                 Beckwood should be
·8· ·_49__ __21_· · · · ·        Westwood__________________

·9· ·_49__ __22_· · · · ·        American should be "Marinello"
                                 "in-state" should be
10· ·__64__ _21__· · ·· ·        "intake"_____________________
                                 "an illegal" should be "a
11· ·__82_ __11__· · ·· ·        legal"_____________________
                                 "crew at" should be
12· ·__86_ __11__· · ·· ·        "COO"______________________
                                 "included" should be
13· ·_100_ __6__· · · · ·        "concluded"___________________
                                 "power" should be
14· ·_126__ __4__· · ·· ·
                                 "Bauer"_____________________
                                 "plied" should be
15· ·_156__ __22_· · ·· ·
                                 "applied"________________
16· ·_170__ __5__· · ·· ·        "release" should be
                                 "relief"_______________________
17· ·_181_ ___3__· · ·· ·        "lot" should be
                                 "law"_______________________
18· ·_223__ __5__· · ·· ·        "AG" should be
                                 "IG"____________________·_________
19· ·_223__ _6 and 7· ·· ·       _"release" should be
                                 "relief"__________·_______________
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21· _231__ _2____· · ·· ·        _"proved should be "approved"____

22· ·__234_ _2___· · ·· ·        __document should be
                                 "documents"___________________
23· ·_239__ __7__· · ·· ·
                             "courtroom" should be "court"
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·1· · · · · · · ACKNOWLEDGMENT OF DEPONENT

·2· · · · · · · I, Colleen M. Nevin, do hereby

·3· ·acknowledge that I have read and examined the

·4· ·foregoing testimony, and the same is a true,

·5· ·correct and complete transcription of the

·6· ·testimony given by me and any corrections appear

·7· ·on the attached Errata sheet signed by me.

·8

·9

10

        1.12.21
11· ·_____________________· · ·______________________

12· ·(DATE)· · · · · · · · · · · · (SIGNATURE)

13

14

15· · · · · · ·CERTIFICATE OF NOTARY PUBLIC

16· ·Sworn and subscribed to before me this

17· ·_______ day of _______________, _________

18

19

20· ·_____________________· · ·______________________

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